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                       Exhibit 1
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                                                                                           USOO8214007B2


 (12) United States Patent                                               (10) Patent No.:                 US 8,214,007 B2
        Baker et al.                                                     (45) Date of Patent:                           Jul. 3, 2012

 (54) BODY WORN PHYSIOLOGICAL SENSOR                                       35E A ck 1 t E. yOOper et al.
                                                                                                     al ................ 341 142
         DEVICE HAVING A DSPOSABLE                                         5,309,918 A *     5/1994 Schraag ........................ 600,508
         ELECTRODEMODULE                                                   5,319,363 A       6/1994 Welch et al.
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 (75) Inventors: Steven D. Baker, Beaverton, OR (US);                      5,515,735 A       5/1996 Sarihan
                      Eric T. McAdams, Whitehead (GB);                      3: A               E.         t     al
                      James P. Welch, Laguna Niguel, CA                    5.579.00. A      1/1996 5 Ny et al
                      (US); Norbert Ohlenbusch, Andover,                    - -                 Continued
                      MA (US); Thomas P. Blackadar,                                            (Continued)
                Natick, MA (US)                                                   FOREIGN PATENT DOCUMENTS
 (73) Assignee: Welch Allyn, Inc., Skaneateles Falls, NY            EP               0209804 A2 1, 1987
                      (US)                                                                (Continued)
 (*) Notice:          Subject to any disclaimer, the term of this                     OTHER PUBLICATIONS
                      patent is extended or adjusted under 35       Japanese Office Action dated Jan. 12, 2010 for Japanese Patent Appli
                      U.S.C. 154(b) by 491 days.                    cation No. 2006-507455 (5 pages).
 (21) Appl. No.: 11/591,619                                         Primary Examiner — Nicole F Lavert
 (22) Filed:          Nov.e --9
                            1, 2006                                 (74) Attorney, Agent, or Firm — Sonny Z. Zhan
 (65)                    Prior Publication Data                     (57)                      ABSTRACT
                                                                    A body worn patient monitoring device includes at least one
     US 2008/O1399.53 A1              Jun. 12, 2008                 disposable module including a plurality of electrical connec
 51) Int. C                                                         tions to the body. The body worn patient monitoring device
 (51)        N iMO                2006.O1                           also includes at least one communication-computation mod
         A6B 5/04                 3.6. 8                            ule, the communication-computation module having at least
                               ( 2n )                               one microprocessor to actively monitor the patient and to
 (52) U.S. Cl. ........ . 600/372, 607/60; 600/382: 60.59           perform a real-time physiological analysis of the physiologi
 (58) Field of Classification Search .................... 607/60;   cal signals. A radio circuit communicates a raw physiological
                                          6OOf372, 382, 509         signal or a result of the physiological analysis at a predeter
      See application file for complete search history.             mined time or on the occurrence of a predetermined event, via
                                                                    a radio transmission to a remote radio receiver, wherein the at
 (56)                   References Cited                            least one disposable module is mechanically and electrically
                                                                    coupled directly to the at least one communication-computa
                  U.S. PATENT DOCUMENTS                             tion module. The body worn patient monitoring device,
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        2.86. A         18 SA al.                                   one communication-computation module, is directly non
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                                        O).               4.

                         412
                                 4.
                                       FIG.4B



                  412                                          404
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      ELECTRODES
                                     PROTECT
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         ECG  Pl,
                                     PROTECT
                                      CKTS F           ESSEB
                                                         508)"
      ELECTRODES



                703
            VIRTUAL
            ELECTRODE                 FIG.7B
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                                                      ENABLE
                                                    PACER CKTS


                                                   EXTERNAL PACED
                                                     CONFIRMED               ENABLE
                                                          p                PACER CKTS




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                                                       FILTERED DATA 6.5-500 HZ
                                                                                90




     . 5OOHZ LOW PASS FILTER


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         - MAGNTUDE
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                                                      US 8,214,007 B2
                                1.                                                                    2
       BODY WORN PHYSIOLOGICAL SENSOR                                transmission requires significant power to transmit large
          DEVICE HAVING A DSPOSABLE                                  amounts of data and restricts the design from being Small and
              ELECTRODE MODULE                                       inexpensive.
                                                                        Yet another problem is that arrhythmia analysis is a com
                  FIELD OF THE INVENTION                             putationally intensive operation not well-suited to existing
                                                                     small portable monitors that presently have no ability to per
    This invention relates generally to a physiological monitor form arrhythmia analysis.
 and more particularly to a body worn physiological monitor.            Therefore, there is a need for a body worn combined physi
                                                                     ological sensor and monitor having a disposable sensor, but
            BACKGROUND OF THE INVENTION                           10 used and worn by a patient as a single unit directly and
                                                                     non-permanently affixed to a patient’s body. Also, what is
    Measurements of various physiological parameters are needed is a physically compact resistive element for protect
 important to the study of the human condition. Physiological ing a body worn device from damage caused by multiple
 measurements can be particularly important in a health care 15 defibrillation cycles. Also, what is needed is a medical-grade
 setting, Such as in a hospital. One of the more important monitor that can intelligently measure and transmit data only
 physiological measurements performed on a patient is the as required to alert clinicians that the patient needs additional
 electrocardiogram (ECG), showing the condition of the attention.              What is also needed is a body-worn device capable
                                                                     of running arrhythmia analysis through computationally effi
 human heart.
                                                                     cient algorithms.
    Portable patient monitors have evolved that allow patients
 to enjoy at least some mobility. Typically a battery operated                    SUMMARY OF THE INVENTION
 monitor can be hung on a belt, shoulder strap, or carried by a
 patient using some other similar hanging arrangement. Sen              According to one aspect, a body worn patient monitoring
 sors, such as ECG electrodes, are affixed to the patient’s body, device comprises at least one disposable module including a
 Such as with tape, and connected to the battery operated 25 plurality of electrical connections to the body. The electrical
 monitor by wires. After a fixed interval of time, or at a low connections are coupled to a skin Surface of the patient to
 battery indication, the batteries can be replaced or recharged. measure physiological signals of the patient. The at least one
 One example of a portable patient monitor is the Micropaq disposable module includes a disposable module connector.
 wireless patient monitor, manufactured by Welch Allyn, Inc., The body worn patient monitoring device includes at least
 that permits multi-parameter monitoring and patient alarm 30 one internal or external power source to power the body worn
 capabilities built in a small, rugged, lightweight, patient patient monitoring device. The body worn patient monitoring
 wearable device.                                                    device also includes at least one communication-computation
    Another version of a portable physiological monitor is the module, having a communication-computation module con
 heart rate monitor typically used by individuals engaged in an nector to receive physiological signals from the at least one
 athletic activity. The monitor includes a sensor, which gener 35 disposable module via said disposable module connector. The
 ally makes director indirect contact with an individual’s chest communication-computation module also includes at least
 to monitor heart beats and then by wires, or by wireless one microprocessor to actively monitor the patient and to
 techniques, the sensor transmits the sensed heart beat to a perform a real-time physiological analysis of the physiologi
 nearby microcomputer based monitor and display. Such units cal signals and a radio circuit to communicate a raw physi
 generally measure only heart beat and are not capable of 40 ological signal or a result of the physiological analysis at a
 doing any of the traditional ECG analysis functions.                predetermined time or on the occurrence of a predetermined
    A recurrent problem with the portable monitors typically event, via a radio transmission to a remote radio receiver,
 used in healthcare applications is the need for wires from wherein the at least one disposable module is mechanically
 sensors situated on the patient’s body to the portable unit. and electrically coupled directly to the at least one commu
 These wires can become tangled and cause discomfort or 45 nication-computation module. The body worn patient moni
 become unplugged when inadvertently pulled or tugged on. toring device, including the at least one disposable module
 In addition, wire motion can increase ECG noise due to the          and the at least one communication-computation module, is
 triboelectric effect. Muscle movement can also increase ECG         directly non-permanently affixed to the skin surface of the
 noise, due to the typical placement of ECG electrodes over patient.
 major muscles. Moreover, portable monitor battery mainte 50 According to another aspect, a method of providing high
 nance (e.g. battery recharging or replacement) can be time Voltage circuit protection for a body worn monitor comprises
 consuming and costly.                                               the steps of providing a Substrate that Supports one or more
    Another problem is related to the requirement that a medi electrical connections to a patient's body; determining a print
 cal grade monitor survive multiple defibrillation cycles of at pattern and thickness of a first material having a first resistiv
 least 360 joules. Conventionally, this requirement has been 55 ity to be printed on the Substrate; determining a print pattern
 met by one or more power resistors situated in series with the and thickness of a second material having a second resistivity
 wire leads of a fixed or portable physiological monitor. The to be printed on the substrate; printing the first material onto
 problem is that the physical volume of conventional power the Substrate; and printing the second material onto the Sub
 resistors is too large for use in a compact monitor application.    strate wherein at least part of the second material overlays the
    Another shortcoming of Small sensor devices is that these 60 first material.
 devices lack the intelligence to vary the amount and type of
 data transmitted, depending on patient condition. Exercise                  BRIEF DESCRIPTION OF THE DRAWINGS
 heart monitors do not transmit a full patient waveform for
 clinical analysis while medical monitors measure and trans             For a further understanding of these and objects of the
 mit the full patient waveform, even when the patient is 65 invention, reference will be made to the following Detailed
 healthy. While transmitting the full patient waveform is the Description which is to be read in connection with the accom
 preferred solution from a purely clinical standpoint, Such panying drawings, in which:
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                                                      US 8,214,007 B2
                             3                                                                   4
    FIG. 1A shows an exemplary body worn physiological              mechanical packaging Suitable for use as body worn moni
 monitor having a disposable electrode module;                      tors. Drawings are not necessarily shown to scale.
    FIG. 1B shows a partially unassembled side view of the
 body worn physiological monitor of FIG. 1A:                                         DETAILED DESCRIPTION
    FIG. 1C shows an assembled side view of the body worn
 physiological monitor of FIG. 1A:                                      A “body worn” device is described herein with regard to
    FIG.1D shows a bottom view of the body worn physiologi           certain exemplary embodiments. A “body worn” device is
 cal monitor of FIG. 1A:                                             defined herein as a device that is directly, but non-perma
    FIG. 2 shows an exploded perspective view of an exem 10 nently,  a device
                                                                              affixed to a patient’s body. A “body worn monitor” is
                                                                                that can be directly “worn” on the patient’s body as
 plary body worn physiological monitor;                              a single  unit, including one or more physiological sensors and
    FIG. 3 shows an exploded perspective view of an exem a communications                   and computation module to perform at
 plary computation and communication module:
    FIG. 4A shows an exemplary disposable unit flexible cir ments made using one of
                                                                     least initial processing    one or more physiological measure
                                                                                               or more physiological sensors. Unlike
 cuit board;                                                      15 prior art patient-wearable devices, at least one sensor can be
    FIG. 4B shows a partial enlarged view of a portion of the incorporated into the device that makes a direct or indirect
 flexible circuit board of FIG. 4A, further showing an exem (such as by capacitive coupling) electrical connection with
 plary resistive trace having a fillet;                              the patient’s body without the use of external wires from
    FIG. 4C shows a partial side elevated view of a portion of sensors to the device. In addition and unlike athletic heart
 the flexible circuit board of FIG. 4A, further showing an monitors, a “body worn monitor can be a full functioning
 exemplary conductive Surface overlaying a resistive material; medical grade monitor, e.g. meeting the requirements of
    FIG. 4D shows a partial side elevational view of the circuit European Unions Medical Device Directive and other appli
 board of FIG. 4A, further showing an exemplary conductive cable industry standards, such as EC-13 for an electrocardio
 Surface having a Snap receptacle;                                   graph. The body worn medical-grade monitor can include a
    FIG.5 shows a block diagram of one embodimentofa body 25 device, for example, such as a pulse Oximeter, CO monitor,
 worn physiological monitor having a power source in a dis respiration monitor, or can function as an ECG monitor,
 posable unit;                                                       incorporating physiological sensors, front end analog elec
    FIG. 6 shows a block diagram of one embodimentofa body tronic signal conditioning circuits, and a microcomputer
 worn physiological monitor having a power source in or based computation unit with wireless reporting of measured
 connected to the computation and communication module; 30 physiological data, all contained within in a “body worn
    FIG. 7A shows a schematic diagram of a direct connected package that can be non-permanently affixed directly to a
 reference electrode used in conjunction with a body worn patient’s body. A body-worn medical-grade monitor can also
 physiological monitor,                                              include additional measurement capabilities beyond those
    FIG. 7B shows a schematic diagram of a virtual reference mentioned here.
 electrode as used in conjunction with a body worn physiologi 35 FIGS. 1A-1D depict various views of an exemplary body
 cal monitor;                                                        worn physiological monitor 100 having a communication and
    FIG. 8 shows a schematic diagram depicting one embodi computation module 102 and a disposable electrode module
 ment of an analog Switching arrangement provided on a body 110. In this exemplary embodiment, physiological monitor
 worn physiological monitor to select a reference electrode 100 is designed for use as an electrocardiogram (ECG) moni
 configuration;                                                   40 tor for obtaining and recording and/or transmitting ECG
    FIG. 8A shows an exemplary driven lead circuit topology information, including ECG waveforms and alarms for a
 for use with electrodes of a body worn physiological monitor; person, such as a patient, wearing body worn physiological
    FIG. 9 shows an exemplary ESIS filter circuit topology monitor 100.
 with circuit protection;                                               FIG. 1A shows an exemplary top view of body worn physi
    FIG. 10 shows an alternative circuit protection to that 45 ological monitor 100. A crescent shape allows the body worn
 depicted in FIG.9;                                                  physiological monitor 100 to be placed on the chest of a
    FIG. 11 shows a flow chart for an algorithm utilized by a patient, and more specifically around the pectoralis major, to
 body worn physiological monitor to detect whether a patient allow measurement of lead configuration I, II, or III, or to be
 has a pace maker,                                                   placed on the patient's side allowing measurement using a
    FIG. 12 shows a circuit topology of a high pass filter useful 50 V-lead configuration. Though not shown, multiple body worn
 for baseline restoration;                                           physiological monitor 100 units can be used to effectively
    FIG. 13 shows seven graphs of amplitudes plotted versus provide multiple leads. By placing electrodes around the
 frequency to illustrate exemplary operation of the circuit of body so that they are not situated directly atop major muscles,
 FIG. 12;                                                           both motion noise artifacts and muscle noise artifacts can be
    FIG. 14 shows two exemplary positions for a body worn 55 prevented. Moreover, by eliminating cables, noise due to
 ECG monitor to be non-permanently affixed directly to a cable motion or compression (i.e. triboelectric effect) can be
 patient’s body;                                                  eliminated.
    FIG. 15 shows a block diagram of a setup for simulating the      FIG. 1B shows a side elevated view of physiological moni
 effect of patient defibrillation on resistive traces:            tor 100 having an exemplary attachment mechanism, such as
    FIG. 16A symbolically shows resistive dots silk screened 60 a retention clip 104, to mechanically attach communications
 on a tray:                                                       and computation module 102 to the top surface of the dispos
    FIG. 16B shows a histogram of an exemplary resistive able electrode module 110. Flexible printed circuit layer 101
 distribution of baked resistive dots; and                        can be made from a thin insulating material. Such as accord
    FIG. 17 shows an exemplary ECG waveform.                      ing to this embodiment, a 75 micron thicklayer of MYLAR(R).
    Package styling varies slightly between the drawings. Such 65 Typically electrical traces (not shown in FIGS. 1A-1D) on
 minor differences, e.g. the case styling of computation and flexible printed circuit layer 101 can be further protected by
 communication module 102, illustrate minor variations in         an insulating covering, analogous to a conformal coating. A
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                                                      US 8,214,007 B2
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 formed plastic layer or a cloth with adhesive on one side            plurality of spring fingers with latching clips. Retention clip
 thereof can be used to cover and protect flexible printed 104, affixed to disposable electrode module 110, can be used
 circuit layer 101, as well as to provide anaesthetic outer layer to secure reusable communications and computation module
 to make the body worn monitor 100 visually appealing.                102 to disposable package 110. Reusable communications
    FIG.1C shows a side view of physiological monitor 100 in 5 and computation module 102 is herein illustrated in a simpli
 which the communications and computation module 102 has fied representation, including cover 201, communications
 been affixed to disposable electrode module 110. FIG. 1D and computation printed circuitboard assembly 202, and base
 depicts a view of the underside of exemplary physiological 2O3.
 monitor 100 showing one embodiment of disposable elec                   FIG.3 shows a mechanical view of an exemplary reusable
 trode module 110 having electrodes 109. In this embodiment, 10 communications and computation module 102, as well as a
 each electrode 109 comprises electrode gel 103 and conduc preferred method for making an electrical connection
 tive surface 404 (FIG. 4). Together, electrode gel 103 and between flexible printed circuit layer 101 in disposable elec
 conductive surface 404 create a half-cell, such as, for              trical module 110 and communications and computation
 example, a Silver/Silver Chloride half cell. Also and accord printed circuit board assembly 202 situated in reusable com
 ing to this embodiment, conductive surface 404 can directly 15 munications and computation module 102. In this exemplary
 accept the electrode gel 103.                                        embodiment, communications and computation printed cir
    FIG. 2 shows an exploded assembly view of the exemplary cuit board assembly 202 can include a plurality of press fit
 body worn physiological monitor 100. As noted with regard and/or soldered conductive sockets 301 for receiving electri
 to FIGS. 1A-1D, the body worn physiological monitor 100 cal plug 302, the plug having a corresponding plurality of
 includes a removable and reusable communications and com             conductive pins. Each conductive pin shown in plug 302 can
 putation module 102 and a disposable electrode module 110. correspond to an electrical connection pad on flexible printed
 the later including electrodegels 103 for ECG monitoring and circuit layer 101. A row of mechanical sockets 303 can
 batteries 204 to power communications and computation receive the multi-pin row of plug 302. Thus, an electrical
 module 102. A flat planar insulating/adhesive member 105 connection can be made between each pad offlexible printed
 includes a plurality of openings that are each sized to receive 25 circuit layer 101 having a conductive post on plug 302 and
 electrode gels 103. The insulating member 105 provides a each corresponding conductive Socket 301 on communica
 bottom side cover for the flexible printed circuit layer 101 and tions and computation printed circuit board assembly 202.
 augments adhesion to the human body. Electrode gel 103.              Posts 304 can align and secure each of the cover 201, com
 when attached to an appropriate Substrate Such as silver munications and computation printed circuit board assembly
 silver-chloride or other substrate, can be used to establish a 30 202, and base 203. Note that in FIG. 3, a simplified drawing
 relatively low impedance electrical connection between con of cover 201 omits slots to receive retention clip 104 to affix
 ductive surface 404 (FIG. 4) and the patient’s skin.                 communications and computation module 102 to disposable
    Electrode gels 103 can adhere to a patient’s skin. While package 110. A body worn monitor 100 would typically also
 electrode gel 103 is typically an adhesive electrode gel, the include retention clip 104 FIG. 2, or other suitable type of
 adhesion offered by electrode gels 103 alone might not give a 35 mechanical clip(s), in order to provide a secure mechanical
 Sufficient holding force for non-permanently affixing body connection between communications and computation mod
 worn physiological monitor 100 to a patient. To achieve a ule 102 and disposable electrode module 110.
 better adhesion of body worn monitor 100 to a patient’s skin,           FIG. 4A shows one embodiment of flexible circuit board
 insulating/adhesive member 105 can be used to non-perma              101 in an expanded (e.g. unassembled view. Flexible circuit
 nently affix body worn physiological monitor 100 to a patient. 40 board 101 is formed on a substrate 406. Substrate 406 can be
 Thus, body worn monitor 100 can be applied to a patient in the cut, for example, from MYLAR(R) sheet of suitable thickness.
 same way an adhesive Strip is applied, such as for example,          In this embodiment, one battery 204 can be mounted adjacent
 those adhesive strips sold under the brand name "BAND to an conductive surface 404. Conductive gel 103 (not shown
 AID(R”. One exemplary type of foam adhesive suitable for in FIG. 4) can be mounted on the exposed conductive side of
 affixing a flexible circuit board to a patient is 1.6 mm adhesive 45 a conductive surface 404.
 foam from Scapa Medical of Bedfordshire, UK. As shown in                Conductive surface 404 can also be viewed as the electrode
 FIGS. 1B and 1C (although not to scale), each of the electrode portion of a half cell and electrode gel 103 can be considered
 gels 103 extend sufficiently below adhesive layer 105 in order to be the electrolyte portion of a half cell. In conventional
 to ensure good electrical connection with a patient’s skin terms of art, the combination of electrode and electrolyte and
 surface (not shown). Tab 106, FIG. 1A, allows for easy 50 ECG electrode is typically referred to as a half cell. For
 removal of a protective backing 111 from adhesive layer 105. example, the combination of a conductive Surface 404 and an
    Flexible printed circuit layer 101 can include contacts, electrolyte layer (e.g., electrodegel 103) forms a half cell. For
 Such as battery clips (not shown), to receive and connect to convenient quick reference to a half cell structure, the term
 batteries 204. (It is contemplated that in some future embodi “electrode' (assigned reference designator “109) is used
 ments, a single battery can provide Sufficient electrical 55 interchangeably with “half cell herein. It is understood that
 power.) In the exemplary embodiment, as shown in FIG. 2, in typical embodiments, electrode 109 comprises conductive
 batteries 204 can be mounted under respective battery flaps surface 404 and electrode gel 103.
 205 arranged on opposite sides of the flexible printed circuit          Typically, electrodes make use of a circular or square con
 layer 101. Alternatively, battery clips (not shown) or battery ductive surface. Increasing the ratio of the perimeter of the
 holders (not shown) can be used to provide both mechanical 60 surface to the area of the surface affects current density dis
 Support and electrical connections for each of the batteries tribution and defibrillation recovery.
 204. One type of battery holder suitable for such use, for              For convenience, we define the term “annulus' herein and
 example, is the model 2990 battery holder, manufactured by throughout as the region between two simple curves. A simple
 the Keystone Electronics Corp. of Astoria, N.Y. Battery cover curve is a closed curve that does not cross itself. Under this
 107 provides protection for batteries 204 as well as a surface 65 definition, an annulus can include Substantially square
 to press upon when applying electrodes 103 to conductive shapes, Substantially rectangular shapes, Substantially circu
 surface 404. Retention clips 104 can comprise, for example, a lar shapes, Substantially oval shapes, as well as Substantially
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 rectangular shapes with rounded corners. Further we include Silver, including silver inks, while useable, was found to be
 in the definition of annulus, the case of a substantially “U” less desirable, because it was difficult to achieve sufficiently
 shaped surface as described by a single closed curve.              thin silver traces on MYLAR(R) to achieve high enough resis
    One exemplary electrodegel 103 suitable for such use on a tances. Carbon, including carbon pastes and carbon inks, was
 body worn monitor is type LT00063 hydrogel supplied by also tried and found to be suitable. In order to use carbon
 Tyco Healthcare of Prague, Czech Republic. Typically, a however, several additional problems had to be solved. At 1
 conductive surface 404 creates the electrode portion of the kilo ohm, the power dissipated by the resistors caused them to
 half-cell. By increasing the ratio of perimeter to area of the degrade across multiple defibrillation cycles. The solution
 circular electrode portion of the half cell, the signal to noise was to make carbon traces in the range of about 8 to 10 kilo
 ratio of the input ECG signal can be increased.                 10 ohms. 10 kilo ohm resistances proved to be a good compro
    As depicted herein on the exemplary circuit layout, two mise between noise levels, power dissipation by the resistors,
 batteries 304 can be connected in series, with one polarity and manufacturing tolerances for depositing carbon ink on a
 being made available at connection pad 407 from battery MYLAR(R) substrate to dissipate the power from multiple
 connection 402, battery connection 401 creating the series defibrillation cycles. To achieve the desired resistance of
 connection between the two batteries, and connection pad 15 about 10 kilo ohms (interchangeably represented herein as
 410, from battery connection 403, providing the second “10 k” or “10 kS2'), for a given resistivity of the carbon paste,
 polarity of the series connected batteries. Note that in some and given trace width and thickness (height), the length of the
 embodiments, a single battery alternatively may be used in trace is then defined. In some cases, such as for traces 412, the
 lieu of the exemplary arrangement or two batteries can be also length needed for a trace run, as between conductive Surface
 wired in parallel, depending on the Voltage requirements of a 404 and connection point 409, might belonger than the length
 particular communications and computation module 102.              defined for a particular trace resistance (typically 10k). In this
    Connection pads 408 and 409 electrically couple the sig case, traces can be extended by lengths of silver conductive
 nals from electrode gels 103 (not shown in FIGS. 4A-4D) via traces. There can be a short overlay distance, on the order of
 conductive surface 404 and resistive traces 412 to electrical      5 to 10 mm, in which a silver trace overlaps the carbon trace
 plug 302 (not shown in FIGS. 4A-4D). Electrode contact pad 25 to provide a more robust connection between the resistive and
 405 can be connected via resistive trace 413 to connection pad conductive portions of the traces. Where overlap is used, the
 411 to provide a direct-connected reference electrode (not overall length of the resistive portion can be adjusted slightly
 shown in FIGS. 4A-4D). Traces 412 extending between con to maintain the desired overall resistance.
 ductive surface 404 and connection pads 408 and 409 and               Another problem associated with carbon traces was arcing
 trace 413 extending between conductive surface 405 and 30 at the interface between the carbon and conductive traces.
 connection pad 411 can be made from resistive materials Arcing was particularly problematic at the abrupt connection
 including resistive metals, carbon, silverink, powders, paints, between the carbon trace and conductive surface 404. Arcing
 or other material of determinable electrical resistance.            was also observed to occur between the end section of the
    Resistive traces on flexible circuit board layer 101 replace carbon trace and conductive surface 404. (Electrode gels 103
 the bulky power resistors needed by prior art monitors, having 35 create the conductive path to the patient through conductive
 electrodes or sensors connected by wires or leads. These Surface 404 and a layer of conductive gel.)
 resistive traces should survive multiple defibrillation cycles           According to one solution to the above noted arcing prob
 such that body worn monitor 100 remains functional even lem, as shown in FIG. 4B, a rounded (fillet) section 430 of
 after one or more attempts to re-startapatient’s heart. In order carbon trace can be added at the interface to conductive Sur
 to survive defibrillation, the resistive traces should dissipate 40 face 404. A fillet or “tear drop' shape causes the carbon trace
 that portion of the potentially damaging defibrillation energy to become gradually wider as it connects to conductive Sur
 that is coupled into the monitor. This fractional portion of the face 404 and relieves the electrical potential stress at the
 defibrillation energy typically enters body worn monitor 100 interface.
 from electrodes 109, FIG. 1D (electrodes 109 including con               An alternative solution to the arcing problem is shown in
 ductive surface 404 and electrodegel 103).                         45 FIG. 4C, wherein carbon can be laid down beyond the trace
    It is desirable that the resistances of the protective resistive (412) to include a pattern of conductive surface 404 formed
 traces be in a range between about 1 kilo ohm to about 10 kilo from carbon. A carbon annulus pattern can be deposited
 ohms. Below 1 kilo ohm, depending on the resistive material before the conductive surface 404 is deposited. Conductive
 used, it can be more likely that the resistance of the resistive surface 404 can then be deposited as an overlay over the
 traces 412 and 413 will increase with each successive defibril 50 earlier formed carbon annulus shape. Finally, conductive gel
 lation pulse. Above 10 kilo ohms, a high resistance impairs           103 can be attached to the conductive surface layer (the car
 the signal to noise ratio, specifically due to thermal noise, bon layer residing between conductive surface 404 and the
 which has a mean square value of 4*k*T*R*BW, where “k” MYLAR(R) substrate used as flexible circuit board 101). Both
 is Boltzmann's constant, “T” is temperature measured in of the aforementioned arcing solutions can be used together.
 degrees Kelvin, “R” is resistance in ohms, and “BW is band 55 It should also be noted that conductive surface 404 can be
 width, in Hz, which becomes significant relative to the EC-13 formed from suitable materials other than silver, including,
 requirement that the noise referred to input be less than 30 V for example, materials such as silver chloride.
 peak-to-valley.                                                          Arcing can also occur between the resistive traces and
    Power dissipation in the herein described traces can be other (typically silver) conductive traces on the flexible cir
 calculated by E/R, in which E refers to the potential across 60 cuit board 101. Trace to trace arcing can be suppressed by
 the trace and R is the resistance of the trace. R can be calcu        allowing Sufficient spacing between the traces. Generally a
 lated by pl/A, where p is the resistivity of the material used minimum spacing of about 3 mm/kV, as required by ASNI/
 to form the trace, L is the length of the trace, and A is the AAMIDF80:2003 57.10 BB, has been found to be sufficient
 cross-sectional area of the trace.                                    to prevent trace to trace arcing from a defibrillation event.
    In developing resistive traces for use on a flexible printed 65 Closer trace spacing, as close as 0.01 mm/kV, can be
 circuit layer 101, typically formed on a MYLARR) substrate employed Successfully by first applying an insulating dielec
 406, such as shown in FIG. 4A, various materials were tested.         tric layer, similar to a conformal coating, over the Surface of
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 flexible circuitboard 101 that covers most of the substrate and   The substrate containing the deposited silver ink was then
 traces. The insulating dielectric layer can be prevented from cured inside a fan assisted air circulated oven at 120° C. for a
 forming or adhering to conductive Surface 404. Such as by use period of 15 minutes.
 of a mask during application of the insulating layer.               FIG. 15 diagrammatically depicts an exemplary test setup
    In an alternate embodiment, as depicted in FIG. 4D, a Snap used to simulate the effect of a patient defibrillation on resis
 device can be added to conductive surface 404 to accept a tive        traces. Defibrillator 1501 was used to apply multiple
 manufacture Snap-on electrode (not shown), such as, for defibrillation shocks of 360 Joules each to the 100 ohm resis
 example, the ConMed Cleartrace line of ECG electrodes tor 1502. The 100 ohm resistor according to this setup simu
 including the model 1700 Cleartrace electrode manufactured lated       a patient’s body. Note that most of the defibrillation
                                                                  energy goes into the patient’s body by design, to restart the
 by the ConMed Corp. of Utica, N.Y. or similar type electrodes 10 patient’s heart. Resistive traces 1503 and 1504 were wired
 made by the 3M Corp. of St. Paul, Minn. When designed to across resistor         1502, also as shown in FIG. 15, in order to
 accept a Snap-on electrode, the conductive Surface 404 is simulate the electrical        circuit that would be formed between
 typically smaller than in the previous embodiment. A recep the resistive traces in a body worn monitor situated on a
 tacle Snap 432 for receiving the commercial Snap-on elec 15 patient undergoing defibrillation. Neon bulbs 1506 were used
 trode can be inserted by any suitable method, such as by press as part of the protection circuitry that can be used with resis
 fitting or other fastening method, into conductive surface 404. tive traces in a body worn monitor. 400 ohm safety resistor
 typically also penetrating through Substrate 406. In this        1505 was present as a precaution to limit short circuit current
 embodiment, arcing can be similarly Suppressed in this in the event of a test setup failure. Both the 100 ohm resistor
 embodiment by adding a fillet to the carbon-conductive sur (simulating human skin resistance) and the 400 ohm safety
 face interface and/or deposing a conductive Surface 404 over resistor were used in accordance with medical specification
 a carbon layer as previously described.                          AAMI EC-13. Following 3 defibrillation shocks of 360
    Example: Resistive traces and an annulus were tested on a Joules each, the measured resistance of the 10k carbon track
 substrate formed from CT3 heat stabilized treated polyester changed from 10k to 11 k following the first shock, to 13.1 k
 (75 microns thick), such as manufactured by the MacDermid 25 following the second shock, and to 13.2 k following the third
 Autotype Corp. of Schaumburg, Ill. Resistive traces were silk shock. The measured resistance of the 9.7 k trace changed
 screened onto the Substrate using 7102 carbon paste conduc from 9.7 k to 11.6 k following the first shock, to 13.0 k
 tor from the DuPont Corporation of Wilmington, Del. The following the second shock, and finally to 13.2 k, following
 carbon paste conductor was deposited through a 43T silk the third shock. In a subsequent related test, the 100 ohm
 screen mesh. The Substrate containing the paste deposit was 30 resistor was replaced by a closer simulation in the form of a
 then cured inside a fan assisted air circulated oven at 120° C.  fresh (dead) chicken. The setup otherwise remained the same
 for a period of 5 minutes. The traces formed were about 55 as shown in FIG. 15. In this case, the resistance as measured
 mm long and 2 mm wide, having an overall thickness of about on each of the test resistive traces changed from 10.7 k to
 7.5 microns. The initial measured resistance of each trace was   10.25 k, and from 8.5 k to 9.4 k, following multiple defibril
 about 14 kilo ohms. After each trace was subjected to 3 35 lations. During testing, it was also noted that the change in
 defibrillation cycles, the measured resistance increased to measured resistance of the resistive traces was generally con
 about 15 kilo ohms. Over a 3 mm length, the trace widens to sistent. It was also noted that as a given resistive trace was
 about 5 mm, terminating into a carbon annulus with an outer increased, the (delta R caused by defibrillation/R nettrace
 diameter of about 20 mm and an inner diameter of about 10         resistance) can be minimized.
 mm. A silver layer of PF-410 silver ink from the Norcote 40 The screen printing technique for laying down resistive
 Corp. of Eastleigh Hampshire, UK was then deposited over traces was further investigated by printing a plurality of small
 the carbon annulus, also to an overall thickness of about 7.5   carbon resistive dots 1601 of about 20 mm in diameter using
 microns. The deposition of the silver layer was via the silk a 7102 carbon ink applied by a screen printer (not shown).
 screen printing method, in which a 90T silkscreen mesh was The carbon dots 1601 were laid out on a tray 1602 as shown
 used. The Substrate containing the deposited silver ink was 45 in FIG. 16A, for baking in an oven. A manually operated
 then cured inside a fan assisted air circulated oven at 120° C. Squeegee (not shown) was used to apply the resistive dots
 for a period of 15 minutes. A third dielectric insulating layer 1601 to the tray 1602 through a mask (not shown). It was
 comprising SD2460, components A & B (dielectric and hard determined that control of thickness during application was
 ener), manufactured by Lackwerke Peters GmbH+Co. KG of one important factor for controlling the distribution of resis
 Kempen, Germany, and having a thickness of approximately 50 tance. It was noted that during manual application, the varia
 13 microns was then deposited over the traces and Substrate, tion of resistance depended upon the distance between the
 but not over the annulus. (The electrodes were formed by plurality of dots 1601 and the person applying the resistive
 attaching a conductive gel to the annulus. The conductive gel paste, and that the pressure applied using the Squeegee could
 used was LT00063 hydrogel from Tyco Healthcare of Prague, also affect the final resistance by a factor of two. It was further
 Czech Republic.) Again, the silk screen printing process was 55 noted that “even heating across the tray 1602 was advanta
 used to deposit the dielectric layer through a 90T screen geous during oven drying, although this factor was found to
 mesh. The Substrate was placed again into a fan assisted air have less effect on the final dot resistance distribution. A
 circulated oven at 120° C. for a period of 30 minutes.          resistance distribution of the baked and measured dots 1601 is
    Example: Silver traces for use as conductive (not resistive) shown in the histogram of FIG. 16B. This testing indicated
 traces on a body worn monitor circuit substrate were formed 60 that production traces laid down on a Substrate. Such as
 from a silver paste that was silk screened onto a MYLAR(R) MYLAR(R), for use in a body worn monitor should preferably
 Substrate. 45 mm long traces had a measured resistance in a be printed using a semi-automatic screen print process. Such
 range of 3.5 to 6 ohms, 75 mm traces had a measured resis as by a screen printing mechanical roller process. A digital
 tance in a range of 6.5 to 13 ohms, and 105 mm traces had a multimeter (“DMM) with probes placed at each edge of a dot
 measured resistance in a range of 10 to 16 ohms. The depo 65 1601 was used to measure the resistance from one edge of the
 sition of the silver layer was performed via the silk screen dot to the other. It was found that uniform application of ink
 printing method in which a 90T silk screen mesh was used. was important to keeping a tight distribution of resistance,
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 with even heating having a smaller influence on the distribu          referred to in the plural, since there can be individual circuits
 tion of the resistance of the test dots. Since a trace with too low   for each measured physiological signal. Such as for each
 a resistance has a greater AR/R, and higher probability of            measured ECG vector.
 failing and very high resistance traces result in worse S/N            Electrical power from power source 515 can be regulated
 ratio, it is important to have areasonably tight tolerance on the   by regulator 514 and distributed as regulated voltage 517 to
 trace resistance.                                                   most function blocks (as represented herein by the label
    FIG. 5 shows a block diagram representative of one “POWER”), such as including the function block radio 513
 embodiment of the body worn physiological monitor 100. which is electrically coupled to antenna 518. Each of these
 Physiological sensors 501 (such as electrodes 109 in FIG.1D) function blocks also has a control (“CTRL) input 511 from
 can be electrically coupled to electromechanical connector 10 microprocessor 512, allowing these circuits to be disabled,
 502 (as by the resistive traces 412 shown in FIG. 4). Connec when not needed, in order to save battery power. When
 tor 502 serves to electrically couple communications and viewed over time, most of the ECG waveform does not con
 computation module 102 to a disposable electrode module tain useful information since there is significant “dead time”
 110 (FIG. 2). Secondary connector 503 can also electrically between heartbeats. Therefore, for example, from the end of
 couple one or more additional sensors, which can be situated 15 a “T wave' at the end of one heartbeat to the beginning of a
 both on and off of disposable electrode module 110, to elec “P wave' at the beginning of the next heartbeat, circuits can
 tromechanical connector 502 for electrical coupling along be powered down (in a device “sleep mode’) to save on the
 with physiological sensor signals 501 to communications and order of 60% of the energy stored in the power source that
 computation module 102 (shown in FIG. 1) via electrome would have otherwise been used during this dead time.
 chanical connector 505. Signals received by the communica              FIG. 17 shows an exemplary ECG waveform. In brief, the
 tions and computation module 102 can be electrically P wave can be related to the electrical current causing atrial
 coupled into communications and computation module 102 contraction. The QRS complex can be related to ventricular
 via electronic protection circuits 506 and/or filters, such as contraction of the left and right ventricles. The Q wave can be
 ESIS filters 507.                                                   related to electrical current traveling through the intraven
    Signals can be limited or clipped in amplitude, as needed, 25 tricular septum, while the Rand S waves can be related to the
 by protection circuit 506, and filtered by filter 507. One or Ventricles contracting. The T-wave is due to the re-polariza
 more analog amplifiers 508 can be used to amplify the ampli tion of the Ventricles. Usually, atrial re-polarization occurs
 tude limited and filtered signals. In the exemplary body worn atop the QRS complex, and being much smaller than the QRS
 ECG monitor, amplifiers 508 can advantageously be differ complex, is not seen. The ST segment connects the QRS
 ential amplifiers to amplify the difference signal (e.g. the 30 complex to the T-wave. Irregular or missing waves may be
 ECG “vector”) between two ECG electrodes. The electrical indicators of cardiac issues including: ischemic tissue, e.g.
 output of amplifiers 508 can be electrically coupled to both due to myocardial infarction, bundle branch block, atrial
 PACER circuits 509 and ECG circuits 510. PACER circuits             problems (specifically P-wave abnormalities), pericarditis,
 509 are described further below. ECG circuits 510 perform and electrolyte disturbance.
 several functions, including “trace restore, low pass filtering 35 Generally, power source 515 can include one or more “but
 (anti-aliasing), high pass filtering, and amplification (gain). ton' cells typically disposed on disposable electrode module
 Low pass filtering filters signals according to the Nyquist 110; however, the block diagram of FIG. 6 shows an embodi
 criterion to avoidaliasing later when the signals are digitized ment of a body worn physiological monitor 100 where power
 by analog to digital converter (ADC) 516. The high pass filter is Supplied by a power source located on, or connected to
 causes the input to be AC coupled from a roll off frequency of 40 communications and computation module 102 instead of
 about 0.05 Hz, as specified by industry ECG standards. Gain residing within disposable electrode module 110.
 is required to cause the Small pre-amplified potentials from           Beyond power saving considerations, it can also be desir
 physiological sensors (such as electrodes 109) to more able in Some embodiments of body worn physiological moni
 closely match the available dynamic range of the digitizing tor 100 to put the microcontroller and/or other circuits,
 ADC516. Note that ADC516 can be a dedicated ADC chip or 45 including particularly digital circuits, into a sleep mode dur
 can be included in a microcomputer integrated circuit, such as ing an ADC conversion cycle to minimize pickup of self
 a microcomputer serving as microprocessor 512.                      generated electrical noise and to minimize power use. Pref
    A microprocessor, such as microprocessor 512, is defined erably, the A/D circuit can acquire multiple samples and
 herein as synonymous and interchangeable with the terms buffer the samples, before awakening the microprocessor,
 “microcomputer”, “microcontroller, and “microprocessor. 50 which then can batch-process the data. Buffering can be set to
 Such microprocessors are also interchangeably represented match the patient’s heart rate, as there is no significant clinical
 herein as “uP’ or “LLC. Further, any microprocessor dis benefit to analyzing every sample as it is taken.
 closed herein can be replaced by any integrated device that            Turning back to the input circuits, typically amplifiers 508
 can perform the function of a microprocessor, Such as, but not are differential or instrumentation amplifiers useful to selec
 limited to, a field programmable gate array (“FPGA) pro 55 tively amplify desired difference signals between connector
 grammed to perform the functions of a microprocessor.               terminals (such as an ECG vector), while rejecting common
    Typically, one or more differential amplifiers can be dedi mode signals (such as interfering signals that appear simul
 cated to particular difference Voltages associated with physi taneously on both connector terminals). Beyond using a dif
 ological sensors 501 or 504, but it should be noted that one or ferential amplifier, other techniques can be advantageously
 more amplifiers 508 can also be multiplexed by techniques as 60 used to further reduce common mode pickup (CMR) and thus
 known in the art, to serve multiple physiological sensors to improve the common mode rejection ratio (CMRR) of the
 using a lesser number of amplifiers. Similarly, one or more input amplifier stages of body worn physiological monitor
 ADCs 516 can serve two or more signals from physiological           100. CMR is of particular concern with regard to body worn
 sensors 501 or 504 using techniques such as multiplexing in physiological monitor 100 because of the proliferation of
 time that is digitizing one physiological sensor difference 65 potentially interfering electromagnetic fields, such as from 50
 signal at a time sending a digital result to a next stage one after HZ or 60Hz AC power line distribution throughout a hospital.
 the other. ECG circuits 510 and PACER circuits 509 are              For example, many fluorescent ceiling lamp fixtures generate
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 strong 60 Hz, alternating current (AC) electromagnetic fields       configuration can be selected by electronic switching. FIG. 8
 that can appear as common mode signals on physiological             shows one such exemplary Switching block represented as
 sensors 501, such as ECG electrodes 109.                            reference electrode switch 801. Microprocessor (uP) 512 can
    FIG. 7A shows one embodiment in which body worn control reference electrode switch 801 to select direct con
 physiological sensor 501 comprises a plurality of ECG elec nected electrode 701, virtual electrode 702, or directly con
 trodes 109 and 701. Two electrodes 109 generate an ECG nected electrode 701 additionally driven by a driven lead
 difference potential for patient 703. A third electrode, refer circuit 802. It should also be noted that in the embodiment of
 ence electrode 701 can be electrically coupled to electronics FIG. 8, when virtual electrode 702 provides sufficient CMR,
 common 704 (or other potential level) and can be used to electrode 701 can be used as a third electrode, thus allowing
 improve CMR. In this embodiment, the electronics common 10 body worn monitor 100 to simultaneously measure two dif
 704 (shown as the negative terminal of the battery in FIG.7A) ferent heart vectors.
 can be directly tied to the patient in the vicinity of electrodes       FIG.9 shows one embodiment of an exemplary defibrilla
 109. Thus, the electronics common of the electronic circuits
 in communications and computation module 102 can be                  tion protection circuit (506) and ESIS filter 507. As shown in
 made to more closely follow any change in potential in the 15 FIG. 9, electrodes 109 can be connected via input resistors
 vicinity of electrodes 109. Reference electrode 701 can be R91 and R92. Gas discharge tubes, such as neon bulbs L1 and
 particularly helpful to ensure that inputs 109 remain within a L2, can be used for over Voltage protection by firing at a
 reasonably narrow common mode range. Such as by reducing designed Voltage to prevent large potentials from appearing at
 a 60 Hz, potential that would otherwise appear to move the the input leads to amplifier 508. The gas discharge tubes can
 electronics common 704 at 60 Hz, with respect to electrodes be disposed on either disposable electrode module 110 or on
 109.                                                                 the communication and computation module 102. Defibrilla
    In another embodiment as shown in FIG. 7B, virtual elec           tion protection resistors R91 and R92 can further reside in
 trode 702 performs a similar function as previously described disposable electrode module 110, such as in the form of the
 with regard to reference electrode 701. In this embodiment, resistance of traces 412.
 instead of creating a DC-coupled reference electrode, elec 25 ESIS filters 507 can be used to satisfy AAMI standard
 trode 701 is replaced by the capacitive coupling between EC13 on Electrosurgical Interference Suppression (ESIS).
 flexible printed circuit layer 101 and the patient 703, resulting Standard EC13 addresses the ability of an ECG monitor to
 in a virtual electrode 702 with an AC coupled common. Such display and process ECG signals in a satisfactory manner
 AC coupling increases with decreased distance between flex while connected to a patient on whom an electroSurgical
 ible printed circuit layer 101 and the patient and can advan 30 device is being used. Without such suppression, the high RF
 tageously reduce 60 HZ common mode signals (AC signals). output of an electroSurgical device can render ECG monitor
    In yet another version of a directly connected electrode ing impossible and or render the monitor unusable. Resistors
 701, as shown in FIG. 8A, electrode 701 can be actively R93 to R98 and capacitors C91 to C96 form cascaded low
 driven by an electrical output from communications and com pass filter sections (e.g. R93-C1). Three cascaded single pole
 putation module 102. Typically, an operational amplifier 35 filters are shown on each input leg of amplifier 508 as an
 (OpAmp) or other type of amplifier can be used to create a example; more or less stages can also be used. It is also not
 “driven lead’. Driven lead circuits can be used to further           necessary for each section of the cascaded filter to have iden
 improve CMR over passive electrodes 701 as shown in FIG. tical values or roll off points in the frequency domain to create
 7A. An exemplary circuit suitable for use to drive an electrode a specific response, e.g., Bessel, Chebychev, or other filter
 701 is shown in FIG. 8A. Amplifiers (OpAmps) 810 and 811 40 response known to those skilled in the art. Also, ESIS filters
 buffer the high impedance signals from electrode 1 and 2 are not limited to cascaded single pole filters and can take
 (exemplary electrodes 109). Difference amplifier 508 con other forms as known in the art.
 veys the difference signal (such as an ECG vector) as previ             Test circuit 906 can provide a relatively sharp transient
 ously described. The two 10 kilo ohm resistors provide an signal for testing the PACER circuit described below as part
 average of the common mode signals appearing simulta 45 of a body worn monitor 100 “power on self test”. Resistors
 neously at the inputs of buffer amplifiers 810 and 811. The R99 and R100 can pull the output of the differential amplifier
 inverting low pass filter built around OpAmp 812 inverts the 508 allowing the microcontroller (512) to detect which elec
 averaged common mode pickup signal (at electrodes 1 and 2) trode, if any, has detached, much as a “lead failed detection
 and applies that signal out of phase (180 degree phase shifted) is accomplished by ECG monitors having leads. Body worn
 to a directly connected driven electrode (such as electrode 50 monitor 100 does not use leads, but it is still possible for one
 701). By applying the average common mode signal to the or both of the physiological sensors to move free of a patients
 driven electrode, amplifier812 effectively suppresses com body. Such disconnects can occur in situations in which body
 mon mode signals at electrodes 1 and 2 within the effective worn monitor 100 partially moves away from the body to
 bandwidth of the negative feedback loop by active noise which it is non-permanently affixed. The input impedance at
 cancellation. In theory, a virtual electrode 702 could be simi 55 one or both of the electrodes 109 changes in a sensor off
 larly driven, but the Voltage requirements to drive a capaci (sensor disconnect) event. When a patient is attached, ampli
 tively coupled common electrode are high enough to make a fier 508 typically has an output voltage of near Zero volts.
 “driven virtual electrode a less practical option. Thus, it can However, if one of the electrodes 109 comes off, resistors R99
 be seen that a reference electrode can be a passive connection or R100 cause the output of amplifier 508 to move to a most
 or an actively driven connection.                                 60 positive output ("positive rail’) or to a most negative output
    It can also be desirable to have more than one CMR tech           (“negative rail'). Note that the negative rail can be a small
 nique available. For example, in a low noise environment, a Voltage near Zero, in the case of single Supply circuit opera
 lower power reference electrode might be used for CMR. tion, and that both inputs could be pulled to the same rail.
 Then if the noise increases to a level where the reference           Lead-fail detection can also be analyzed to determine when
 electrode provides insufficient CMR, the body worn monitor 65 the device is attached to the patient and then to automatically
 can switch to a driven lead more suitable for CMR in a high enter full operational mode. Such analysis can be done at a
 noise environment. In this embodiment, a particular CMR low frequency.
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    The ESIS filter 507 also can cause a stretching in the time The radio could be 802.11 compliant, but generally would use
 domain of a pacerpulse so that the eventis recorded by at least a lighter-weight (simpler) protocol that can be more energy
 one sample, even though the pacer pulse itself is of Small efficient. A suitable lighter weight protocol could be propri
 duration compared to the ADC sample rate and the pacer etary, or standards-based. Such as ZigBee or Bluetooth. A
 pulse is likely to occur between samples.                        5 body worn physiological monitor 100 is particularly well
    FIG. 10 shows an alternative circuit to accomplish over Suited for use in hospital environment as part of an integrated
 Voltage protection, such as is required during defibrillation. In wireless monitoring network. The details of such monitoring
 FIG. 10, diodes 1001 prevent the electrode potentials from networks are disclosed in U.S. patent application Ser. No.
 going much more than one diode Voltage drop above Vcc or 11/031,736 entitled, “Personal Status Physiological Monitor
 below ground and resistors R91 and R92 limit current. Using 10 System and Architecture and Related Monitoring Methods',
 circuit protection, such as gas discharge tubes L1 and L2 which is incorporated by reference herein in its entirety.
 (FIG.9) and/or diodes 1001 (FIG. 10) combined with resis               FIG. 12 shows a high pass filter (HPF) suitable for use in
 tances R91 and R92, typically in the form of resistive traces ECG circuits block 510. An advantage of a 0.5 Hz HPF is
 412, a body worn device can survive multiple defibrillation faster recovery from DC offsets due to patient movement,
 cycles of at least 360 joules.                                   15 defibrillation, electrocuatery, etc. However ST segment
    PACER circuit 509 detects pacemaker pulses. One reason analysis is negatively impacted if HPF cutoff is greater than
 to detect a pacemaker is to prevent the ECG circuitry from about 0.05 Hz. Thus, it is preferable to have the ability to
 inadvertently registering the regular pulses from a pacemaker change between a 0.5 and 0.05 Hz cutoff frequency. The high
 as an actual heart rhythm. Separation of a pacemaker signal pass filter of FIG. 12 is implemented by a low pass filter
 from signals generated by the heart is important both togen configured as an inverting amplifier in a negative feedback
 erate accurate ECG analysis results as well as to correctly circuit to give a net effective high pass transfer function from
 detect the absence of an actual heart rhythm. For example, a circuit input to output. The corner frequency of the composite
 pacemaker continues to function even where a human heart filter can be adjusted by switching in resistor R2'. Alterna
 has completely failed.                                              tively, S1 can be switched at a periodic rate to place a duty
    A pacer event (pacemaker signal) is typically a narrow 25 cycle on C. Note that the frequency of switching of S1 should
 pulse typically less than 100 microseconds wide. Because of be fast with respect to the corner frequency of the anti-alias
 the capacitance between the pacer in a patient and an ECG ing low pass filter. The graphs A-D of FIG. 13 further illus
 circuit, an otherwise relatively square pacer pulse as admin trate the performance of the exemplary filter of FIG. 12. These
 istered at the patient's heart by a pacemaker, can appear to an graphs show normalized amplitude on the vertical axis plot
 ECG monitor as a pulse with a negative undershoot and an 30 ted against frequency on the horizontal axis. FIG. 13, graph A
 exponential return to Zero that could inadvertently mimic a represents a raw input signal. FIG. 13, graphs B and C are
 QRS signal. A pacer signal, however, can be recognized by an Bode Plots representing the high and low-pass filter sections.
 analog differentiator and alert microprocessor 512 to the pres After applying filter responses B & C to input Data A, filtered
 ence of a pacer and to disregard the refractory period of the data D is the result. The HPF cutoff can be 0.5 Hz or some
 corresponding R-C recovery due to the pacer signal. The 35 lower value depending on whether R2 is switching in or if C
 pacer detection circuit or PACER circuit can generate a is duty cycled.
 microprocessor interrupt to inform the microprocessor that a           Another method to achieve this frequency change is to use
 pacerevent occurred and to marka corresponding physiologi digital filters implemented on Microprocessor 512 to reverse
 cal signal in time as related to a pacer event. PACER circuit the effects of the 0.5 Hz HPF, then implement a digital HPF at
 509 can also cause one or more pacer related circuits to 40 a lower cutoff frequency, 0.05 Hz, for example. The response
 automatically power down for power saving, where it is deter of the 0.5 Hz filter should be known to implement the inverse
 mined that a patient is not using a pacemaker.                      filter. This response can be measured using microprocessor
    FIG.11 shows an algorithm useful to determine if the pacer 512 to trigger the test circuit 906 to create an impulse, H(s).
 circuit should be enabled. A typical PACER detection circuit The inverse response is the 1-H(s) (FIG. 13, graph E) and
 uses a significant percentage of the energy available from a 45 this inverse filter can be digitally implemented by methods
 power source such as batteries 204. If a PACER signal is not familiar to those skilled in the art. H'(s) is the frequency
 detected, such as at power up of body worn monitor 100, the response of the new HPF with lower cutoff frequency, nomi
 pacer circuit can be automatically disabled allowing for a nally 0.05 Hz. The digital filter for H'(s) is digitally generated
 longer battery life. Since typical PACER circuits can use (F) and applied along with 1-H(s) (FIG. 13, graphE), result
 several amplifiers (Op.Amps), they can consume up to one 50 ing in the frequency response displayed in FIG. 13, graph G.
 third of the analog power, therefore securing the PACER A high pass filter suitable for use in ECG circuits block 510
 circuits when they are not needed (i.e. the patient does not can be implemented in full or in part by software that can run
 have a pace maker) can cause a significant improvement in on microprocessor 512.
 battery life. The algorithm also can also provide checks to            FIG.14 shows how a body worn monitor 100 configured as
 determine if a demand type pace maker begins operation 55 an ECG monitor can be situated on a patient in at least two
 (which might be inactive at power up of body worn monitor different orientations to measure different heart vectors. A
 100) by analyzing beat variability. While it can be advanta primary heart vector is measured by orientation from the
 geous to have the body worn device automatically sense the patient’s right shoulder to the left hip, as shown by position
 presence of a pacemaker and to enable the PACER detection 1401. An alternative position 1402 can be more suitable
 circuit, the choice as to whether to enable or disable the 60 where there is injury or where patient anatomy is such that it
 PACER circuit can also be done by externally configuring the causes the preferred position 1401 to be less desirable. Also,
 body worn device. Such external configuration can be done body worn monitor 100 can be affixed to the side of patient
 through a hardwired communication connection cable or via 703 (similar to a measurement made by a conventional ECG
 communications and computation module 102, in which “V” lead) or back of a patient 703 (such as where a patient
 communications and computation module 102 is a two-way 65 needs to sleep on their stomach) to monitor still other ECG
 radio transceiver communication device capable of receiving vectors (not shown). In effect, a body worn monitor 100 can
 a configuration command sent for a remote radio transceiver. be placed to pick a particular vector that can be traversed by
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 the electrodes 109. For example at least the first three primary   tional cost methods can allow a body worn monitor device to
 heart vectors, i.e. I, II, and III, can be made conveniently       begin transmitting full waveforms for either clinical or algo
 available in this manner.                                          rithmic analysis by a more powerful engine, when the prob
    While illustrated with an internal battery, it is important to ability of other arrhythmias is high. Transmitting only the
 note that a body worn physiological monitor 100 can be R-R intervals of ECG waveforms is an example of a lossy data
 powered by either an internal power source only, an external compression method. R-R intervals comprise a string of data
 power source only, or by an internal or an external power and the string of data can also be compressed. Lossless or
 Source. An internal power source can be a renewable power lossy data compression of the entire waveform can be imple
 Source. Such as a rechargeable battery.                            mented to save battery life, including not transmitting (or
    Another type of internal power source is a Peltier device 10 perhaps not even sampling) data between the T and the P
 operated in reverse, also called a Seebeck device. Seebeck wave. Because data compression results in less data to trans
 discovered that a conductor generates a Voltage when Sub mit, the power saved may offset the computation cost of the
 jected to a temperature gradient. Thermoelectric couples are data compression.
 Solid-state devices capable of generating electrical power            While we have referred often to ECG applications herein,
 from a temperature gradient, known as the Seebeck effect. 15 the application of low-intensity computational methods as a
 (By contrast, the Peltier effect refers to the situation where power saving measure apply equally well to other types of
 electrical energy is converted into a temperature gradient.) A low power-sensors, including, but not limited to EEG, SPO,
 Seebeck device “couple' consists of one N-type and one temperature, and invasive or non-invasive blood pressure
 P-type semiconductor pellet. The temperature differential measurements. Whether the body-worn medical-grade moni
 causes electron flow from hot to cold in the N-type couple and tor performs complex analysis or simply compares a single
 hole flow from hot to cold in the P-type couple. To create an numeric value to a single numeric limit, the device can func
 electromotive force (EMF), the following connections are tion in a low-power radio state until a predetermined thresh
 made: On the cold side (i.e. the side that is exposed to room old is exceeded. A body worn monitor can also periodically
 temperature) the pellets are joined and on the hot side (i.e. the send data or send data upon external request. Additionally,
 patient side), the pellets are connected to a load. Such as the 25 external devices can send commands to modify the operating
 computation and communication module 102. The open cir parameters and thresholds.
 cuit voltage of a Seebeck device is given by V=SAT, in which          Turning to other communication matters, it may be that
 S is the Seebeck coefficient in volts/ K and AT is the tem         adverse events occur in which no uplink is available. In a case
 perature difference between the hot and cold sides. It is a of no uplink (failed communications), the body worn monitor
 challenge today to completely power the computation and 30 can buffer time-stamped waveforms corresponding to any
 communication module 102 from a Seebeck device that is of          adverse events. The buffers can also store waveforms for later
 the same size as the computation and communication module analysis in which this storage is triggered by the patient when
 102. Presently, a Seebeck device may only provide supple the patient recognizes a condition, Such as chest pain. In the
 mentary power, but as electronics migrate toward lower case of an alarm that occurs when there is no uplink, alarms
 power and Seebeck coefficients and thermocouple densities 35 can be configured to be latched until confirmed by a clinician.
 improve, a Seebeck device can be a viable long-term power Preferably, non-continuous data are marked (time stamp,
 Solution for a patient-worn monitor. Other methods of gener sample number) to allow correlation of non-continuous data
 ating energy, such as mechanical (as is used in some wrist with continuous data and data are also marked to indicate
 watches) and Solar, can also be viable methods for providing when an alarm was initiated for later data analysis, including
 a renewable self-contained power source for a body worn 40 algorithm performance analysis.
 monitor.                                                            In those instances in which many body worn monitor
    Turning to analysis routines Suitable for use on abody worn devices are used in close proximity to one another, there can
 monitor, typically, ECG beat picking, such as by using wave be concern that the reports from one body worn monitor
 let or Fourier transforms and/or matched filter analysis in the might be interchanged with reports from another body worn
 time domain can be computationally expensive. Modeling the 45 monitor. The body worn monitor presented herein, can be
 QRS pulse as three triangles with alternating polarities cre configured with a patient context (i.e. name, room number,
 ates a rough matched filter for the QRS pulse. Taking the patient ID, age, etc) and can maintain that context for as long
 second derivative results in impulse functions at the peaks of as the monitor is connected to the patient to avoid such prob
 the triangles (where the first derivative is discontinuous), and lems. The body worn monitor can determine the status of its
 all other points are zero. The second derivative method also 50 connection to the patient via a continuous vital signs monitor,
 makes the convolution with incoming data extremely efficient pressure, temperature, galvanic response, or similar input.
 as most of the multiplies have a 0 as the multiplicand and Upon detection of a loss of connection with a patient, the
 requires minimal computation. The result can then be inte device can, depending upon different variable settings, either
 grated twice to produce a matched-filter output, which can be erase the patient context or when re-connected to the patient,
 fed into the beat-picking algorithm that provides fiducial 55 require the care giver to confirm the patient context. When the
 marks. Using a second matched filter that is sinusoidal in body worn monitor is initially powered up or connected to a
 shape and with appropriate discriminators, the system can patient, it can have a time holdoff for alarms to prevent false
 provide indications of Life Threatening Arrhythmias (LTA); alarms (e.g. low heart rate, lead-fail detection) while the
 that is, Asystole, Vfib, and Vtach. While the accuracy of this system stabilizes.
 system is less competitive with a high-end Arrhythmia solu 60 Regarding firmware updates, where there are large num
 tions such as those provided, for example, by Mortara, the bers of body worn monitors in a hospital, it can be problem
 filters can be tuned to err toward false positives and upon a atic to keep them all updated with the latest version of firm
 positive LTA response, activate transmission of full wave ware. One solution to this problem is to provide a wireless
 forms.                                                            update ability for downloading and installing new firmware
    Research has also shown that analysis of the R-R portion of 65 and/or configurations into all of the body worn monitors.
 the ECG waveform interval statistics can provide a method to        While the present invention has been particularly shown
 predict atrial flutter. Applying this and other low-computa and described with reference to the preferred mode as illus
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 trated in the drawings, it will be understood by one skilled in        8. The body worn device of claim 4, wherein the mechani
 the art that various changes in detail may be effected therein      cal interface from the at least one series current-limiting
 without departing from the spirit and scope of the invention as     resistor to the EGG electrode comprises overlapped layers.
 defined by the following claims. It is further understood that         9. The body worn device of claim 8, wherein the over
 several aspects of the invention, including, but not limited to,    lapped layers comprise a carbon resistive layer screened over
 defibrillation protection resistors, pacer detect circuit dis       a conductive surface, the carbon resistive layer having Sub
 abling, methods for ECG signal high pass filtering, and vari        stantially the same shape as the conductive surface.
 ous other low power modes are not limited to body worn                 10. The body worn device of claim 1, further comprising an
 monitors, and can be used in ECG monitors of any type.              insulating  material overlaying the at least one series current
                                                                  10
    We claim:
                                                                     limiting  resistor to prevent arcing.
    1. A body worn patient monitoring device comprising:                11. The   body  worn device of claim 5, wherein the EGG
    a disposable module including a plurality of electrical con electrodes are formed Substantially in the shape of an annulus.
       nections, said electrical connections adapted to be cou comprises12. The body worn device of claim 11, wherein the annulus
       plable to a skin Surface to measure physiological signals, 15             a conductive link.
       at least one of said electrical connections comprising a         13. The body worn device of claim 5, wherein the substrate
       half cell, the disposable module including a disposable is shaped to allow placement on the patient to monitor at least
       module connector;                                             one of a set of standard ECG vectors while simultaneously
    a power Source to power the body worn patient monitoring reducing motion and muscle artifact in the corresponding
       device;                                                       ECG vector signal.
    a communication-computation module being removable                  14. The body worn device of claim 1, wherein the power
       and reusable, having a communication-computation source is a renewable power source internal to the body worn
       module connector to receive physiological signals from device.
       the disposable module via said disposable module con             15. The body worn device of claim 1, wherein the power
       nector, the communication-computation module includ 25 Source comprises a rechargeable battery or a one time use
       ing:                                                          battery.
       a microprocessor to actively monitor the patient and to          16. The body worn device of claim 1, wherein the power
          perform a real-time physiological analysis of the Source is a battery contained within said disposable module.
          physiological signals, said analysis determining an           17. The body worn device of claim 1, wherein the power
          occurrence of a predetermined physiological event, 30 source       is a Seebeck device.
          and
                                                                        18. The  body worn device of claim 1, wherein one of the
       a radio circuit to communicate, upon determination of electrical connections           is a reference electrode that can be used
          the predetermined physiological event, a result of the to improve common mode             rejection (CMR).
          physiological analysis on the occurrence of the pre
          determined physiological event, via a radio transmis 35 19. The body worn device of claim 1, further comprising a
          sion to a remote radio receiver, wherein the disposable virtual electrode as a reference electrode to improve CMR.
          module is mechanically and electrically coupled               20. The body worn device of claim 19, wherein the virtual
          directly to the communication-computation module electrode is an electrode adapted to be situated near the skin of
          and the body worn patient monitoring device includ the patient, but not directly connected to the skin.
          ing the disposable module and the communication 40 21. The body worn device of claim 19, wherein the virtual
          computation module is adapted to be directly non electrode is adapted to include a capacitive coupling of a body
          permanently affixed to the skin surface of the patient; of the communication-computation module to the skin Sur
          and                                                        face of the patient to reduce power line frequency interfer
    at least one series current-limiting resistor configured to CCC.
       protect the communication-computation module, the at 45 22. The body worn device of claim 19, including a refer
       least one series current-limiting resistor being screened ence electrode Switch for selectively choosing between using
       on a flexible substrate, the at least one series current      the virtual electrode as the reference electrode and a directly
       limiting resistor being in the form of resistive traces.      connected electrode as the reference electrode and wherein
    2. The body worn device of claim 1, wherein the plurality when the reference electrode switch selects the virtual elec
 of electrical connections to the body comprise at least one of 50 trode, the directly connected electrode can be used as an
 direct electrical connections to the body and indirect electri additional ECG electrode.
 cal connections to the body.                                           23. The body worn device of claim 19, wherein the refer
    3. The body worn device of claim 2, wherein the indirect ence electrode is a passive electrical connection or the refer
 electrical connections to the body comprise capacitive con ence electrode is actively driven.
 nections to the body.                                            55    24. The body worn device of claim 1, wherein the commu
    4. The body worn device of claim 1, wherein the body worn nication-computation module includes a pacer detection cir
 patient monitoring device comprises an ECG monitor and at cuit.
 least two of the electrical connections are ECG electrodes.            25. The body worn device of claim 24, wherein the pacer
    5. The body worn device of claim 4, wherein the ECG detection circuit generates a microprocessor interrupt to
 electrodes comprise a material screened onto the flexible 60 inform the microprocessor that a pacer event occurred.
 substrate.                                                             26. The body worn device of claim 25, wherein the micro
    6. The body worn device of claim 5, wherein the at least one processor interrupt is used to mark a corresponding physi
 series current-limiting resistor protects the communication ological signal in time as related to a pacer event.
 computation module during a patient defibrillation event.              27. The body worn device of claim 25, wherein the device
    7. The body worn device of claim 4, wherein the mechani 65 automatically determines if a patient has a pacemaker and
 cal interface from the at least one series current-limiting only enables the pacer detect circuit when a pacemaker is
 resistor to the EGG electrode includes a filleted edge.             present.
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    28. The body worn device of claim 25, wherein the device             41. The body worn device of claim 1, wherein neon bulbs
 is configured by an external input to enable or disable the connected from the physiological sensors to an electronics
 pacer detect circuit.                                                common (ground) protect one or more internal circuits of the
    29. The body worn device of claim 1, wherein the body communication-computation module from a defibrillation
 worn device includes circuit protection to allow the device to 5 pulse.
 survive multiple defibrillation cycles of at least 360 joules.          42. The body worn device of claim 1, wherein a plurality of
    30. The body worn device of claim 29, wherein the circuit diodes disposed between the physiological sensors and an
 protection comprises a gas discharge tube or a plurality of electronics common (ground) protect one or more internal
 diodes to clamp or limit the signals from the electrical con circuits of the communication-computation module from a
 nections.
    31. The body worn device of claim 29, wherein a plurality defibrillation           pulse.
                                                                   10

 of components of the circuit protection are distributed                 43.  The   body   worn device of claim 1, wherein the radio
 between the disposable module and the communication-com circuit              communicates an unprocessed physiological signal.
                                                                         44. The body worn device of claim 1, wherein the radio
 putation module.
    32. The body worn device of claim 1, further comprising a 15 circuit
                                                                      a
                                                                              communicates a result of the physiological analysis at
                                                                        predetermined      time.
 high pass filter with a selectable corner frequency to filter the       45. A  body    worn    patient monitoring device comprising:
 physiological signals.                                                  a disposable    module    including a plurality of electrical con
    33. The body worn device of claim 32, wherein the corner                nections,   the  electrical  connections adapted for electri
 frequency is selected by a Switch selectable resistance.                   cal  coupling    to  a skin  Surface  to receive physiological
    34. The body worn device of claim 32, wherein the corner                signals,   the  disposable    module   including a disposable
 frequency is selected by one or more Switching capacitors                  module    connector;
 Switched a rate higher than the corner frequency of a low pass          a power source to power the body worn patient monitoring
 anti-aliasing filter.                                                      device;
    35. The body worn device of claim 32, wherein the high               a communication-computation            module, having a commu
 pass filter is implemented in Software running on the micro 25             nication-computation module connector to receive the
 processor.
    36. The body worn device of claim 1, wherein the body                   physiological signals from the disposable module via
 worn device self checks a pacer detection circuit by injecting             the  disposable module connector, the communication
 a simulated pacer pulse into a front end amplifier to stimulate            computation      module including:
 the pacer detection circuit by simulating the presence of a 30             a  microprocessor       to actively monitor a patient and to
 patient’s pacemaker.                                                          perform     a   real-time   physiological analysis of the
                                                                               physiological signals, the analysis determining an
    37. The body worn device of claim 1, wherein the commu                     occurrence of a predetermined ECG event,
 nication-computation module includes circuit components                    a radio   circuit to communicate an unprocessed physi
 configured to detect failure of contact of one or more of the                 ological   signal or a result of the physiological analy
 electrical connections with the skin surface of the patient. 35               sis, at a predetermined       time or on an occurrence of a
    38. The body worn device of claim 1, wherein the commu                     predetermined       event,   via a radio transmission to a
 nication-computation module is protected from external high                   remote radio receiver, and
 energy signals by electro-Surgical isolation Suppression cir               wherein the disposable module has a mechanical and
 cuits.
    39. The body worn device of claim 1, wherein an algorithm 40               electrical coupling to the communication-computa
 running on a microprocessor in the body worn device causes                    tion  module, forming the body worn patient monitor
 the body worn device to enter a low power mode that disables                  ing  device   as a single unit that is adapted to be directly
 at least one circuit of the body worn device, from the end of a               and  non-permanently       affixed to the skin Surface of the
 “T wave' at the end of one heartbeat to the beginning of a “P                 patient;  and
 wave' at the beginning of the next heartbeat, to save power. 45 at protect least one series current-limiting resistor configured to
                                                                                     the communication-computation module, the at
    40. The body worn device of claim 4, including an ESIS                  least one   series current-limiting resistor being screened
 filter having a low enough corner frequency such that the                  on  a  flexible   substrate, the at least one series current
 energy from a pacer pulse is recorded by at least one sample,              limiting   resistor   being in the form of resistive traces.
 even though the pacer pulse itself is of Small duration com
 pared to the sample rate and the pacer pulse occurs between
 samples.
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                        Exhibit 2
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 (12) United States Patent                                              (10) Patent No.:                  US 8,965,492 B2
        Baker et al.                                                    (45) Date of Patent:                        Feb. 24, 2015

 (54) BODY WORN PHYSIOLOGICAL SENSOR                                                 A61B5/0816 (2013.01); A61 B 5/14552
        DEVICE HAVING A DSPOSABLE                                                          (2013.01); A61 B 5/742 (2013.01);
        ELECTRODEMODULE                                                                  (Continued)
 (71) Applicant: Welch Allyn, Inc., Skaneateles Falls, NY          (58) Field of Classification Search
                 (US)                                                      USPC .......................................... 600/372, 508–509
                                                                           See application file for complete search history.
 (72) Inventors: Steven D. Baker, Beaverton, OR (US);              (56)                     References Cited
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                 James P. Welch, Mission Viejo, CA                                  U.S. PATENT DOCUMENTS
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 (73) Assignee: Welch Allyn, Inc., Skaneateles Falls, NY                  4,791933 A        12/1988 Asai et al.
                 (US)                                                                          (Continued)
 (*) Notice: Subject to any disclaimer, the term of this                         FOREIGN PATENT DOCUMENTS
                 patent is extended or adjusted under 35
                 U.S.C. 154(b) by 0 days.                          EP                 0209804 A2         1, 1987
                                                                   EP                 O770349 A1         5, 1997
 (21) Appl. No.: 14/268,666                                                                    (Continued)
 (22) Filed:         May 2, 2014                                                       OTHER PUBLICATIONS

 (65)                   Prior Publication Data                     Japanese Office Action dated Jan. 12, 2010 for Japanese Patent Appli
                                                                   cation No. 2006-507455 (5 pages).
        US 2014/0243694 A1          Aug. 28, 2014
                                                                                               (Continued)
                  Related U.S. Application Data
                                                                   Primary Examiner — Nicole F Lavert
 (60) Continuation of application No. 14/103,219, filed on         (74) Attorney, Agent, or Firm — Hiscock & Barclay, LLP
        Dec. 11, 2013, now Pat. No. 8,750,974, which is a
        division of application No. 13/488,520, filed on Jun. 5,   (57)                       ABSTRACT
        2012, now Pat. No. 8,630,699, which is a continuation
        of application No. 1 1/591,619, filed on Nov. 1, 2006,     A body-worn patient monitoring device includes providing a
        now Pat. No. 8,214,007.                                    Substrate that Supports one or more electrical connections to a
                                                                   patient’s body. The method further includes determining a
 (51)   Int. C.                                                    print pattern and thickness of a first material having a first
        A6 IB5/02               (2006.01)                          resistivity to be printed on the Substrate, determining a print
        A6 IB5/04               (2006.01)                          pattern and thickness of a second material having a second
                          (Continued)                              resistivity to be printed on the substrate, printing the first
                                                                   material onto the Substrate, and printing the second material
 (52)   U.S. C.                                                    onto the substrate wherein at least part of the second the
        CPC ........... A61B5/04087 (2013.01); A61B5/0006          material overlays the first material.
                    (2013.01); A61B5/04085 (2013.01); A61B
                   5/04282 (2013.01); A61B5/0416 (2013.01);                         14 Claims, 14 Drawing Sheets
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                         412
                               N        430


                                   FIG.4B




                  412                                     494, 2
       c                                -                                2
                             406
                                   FIG.4C
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           ECG
                pe,
        ELECTRODES
                                        PROTECT




                  703




                                        PROTECT
                                         CKS EESIS C.
           ECG  Pe.
        ELECTRODES



                 703
             VIRTUAL
              ELECTRODE                  FIG.7B
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                                         CONFIRMED                      ENABLE
                                                                      PACER CKTS




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      .           UNFILTERED DATA               FILTERED DATA 6.5-500 HZ
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       B                                           V                            O
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            5Hz HIGH PASS FILTERT                                              -90
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                                      FIG.13 FILTERED DATA 0.05-5OOHZ
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                                                     US 8,965,492 B2
                               1.                                                                   2
       BODY WORN PHYSIOLOGICAL SENSOR                                noise, due to the typical placement of ECG electrodes over
          DEVICE HAVING A DSPOSABLE                                  major muscles. Moreover, portable monitor battery mainte
              ELECTRODE MODULE                                       nance (e.g. battery recharging or replacement) can be time
                                                                     consuming and costly.
             CROSS REFERENCE TO RELATED                                 Another problem is related to the requirement that a medi
                         APPLICATIONS                                cal grade monitor survive multiple defibrillation cycles of at
                                                                     least 360 joules. Conventionally, this requirement has been
    This patent application is a continuation application of, and met by one or more power resistors situated in series with the
 claims priority and benefit to co-pending U.S. patent appli wire leads of a fixed or portable physiological monitor. The
 cation Ser. No. 14/103,219, filed Dec. 11, 2013 and entitled 10 problem is that the physical volume of conventional power
 "Body Worn Physiological Sensor Device Having a Dispos resistors is too large for use in a compact monitor application.
 able Electrode Module', which is a divisional application of           Another shortcoming of Small sensor devices is that these
 and claims priority and benefit to, co-pending U.S. patent devices           lack the intelligence to vary the amount and type of
 application Ser. No. 13/488,520, filed Jun. 5, 2012 and data transmitted, depending on patient condition. Exercise
 entitled "Body Worn Physiological Sensor Device Having a heart monitors do not transmit a full patient waveform for
                                                                  15
 Disposable Electrode Module', and now issued U.S. Pat. No. clinical analysis while medical monitors measure and trans
 8,630,699, which is a continuation application of U.S. patent mit the full patient waveform, even when the patient is
 application Ser. No. 1 1/591,619, filed Nov. 1, 2006 and healthy.            While transmitting the full patient waveform is the
 entitled "Body Worn Physiological Sensor Device Having a
 Disposable Electrode Module” and now issued U.S. Pat. No.           preferred  solution from a purely clinical standpoint, Such
 8,214,007. All of the aforementioned patent(s) and patent transmission requires significant power to transmit large
 application(s) are herein incorporated by reference in their amounts of data and restricts the design from being Small and
 entirety.                                                           inexpensive.
                                                                        Yet another problem is that arrhythmia analysis is a com
                  FIELD OF THE INVENTION                          25 putationally intensive operation not well-suited to existing
                                                                     small portable monitors that presently have no ability to per
    This invention relates generally to a physiological monitor form arrhythmia analysis.
 and more particularly to a body worn physiological monitor.            Therefore, there is a need for a body worn combined physi
            BACKGROUND OF THE INVENTION                           30
                                                                     ological  sensor and monitor having a disposable sensor, but
                                                                     used and worn by a patient as a single unit directly and
    Measurements of various physiological parameters are needed      non-permanently affixed to a patient’s body. Also, what is
 important to the study of the human condition. Physiological ing a body     is a physically compact resistive element for protect
 measurements can be particularly important in a health care defibrillationworn          device from damage caused by multiple
                                                                                    cycles. Also, what is needed is a medical-grade
 setting, Such as in a hospital. One of the more important 35
 physiological measurements performed on a patient is the monitor that can intelligently measure and transmit data only
 electrocardiogram (ECG), showing the condition of the as required to alert clinicians that the patient needs additional
 human heart.                                                        attention. What is also needed is a body-worn device capable
    Portable patient monitors have evolved that allow patients of running arrhythmia analysis through computationally effi
 to enjoy at least some mobility. Typically a battery operated 40 cient algorithms.
 monitor can be hung on a belt, shoulder strap, or carried by a
 patient using some other similar hanging arrangement. Sen                        SUMMARY OF THE INVENTION
 sors, such as ECG electrodes, are affixed to the patient’s body,
 Such as with tape, and connected to the battery operated               According to one aspect, a body worn patient monitoring
 monitor by wires. After a fixed interval of time, or at a low 45 device comprises at least one disposable module including a
 battery indication, the batteries can be replaced or recharged. plurality of electrical connections to the body. The electrical
 One example of a portable patient monitor is the Micropaq connections are coupled to a skin Surface of the patient to
 wireless patient monitor, manufactured by Welch Allyn, Inc., measure physiological signals of the patient. The at least one
 that permits multi-parameter monitoring and patient alarm disposable module includes a disposable module connector.
 capabilities built in a small, rugged, lightweight, patient 50 The body worn patient monitoring device includes at least
 wearable device.                                                    one internal or external power source to power the body worn
    Another version of a portable physiological monitor is the patient monitoring device. The body worn patient monitoring
 heart rate monitor typically used by individuals engaged in an device also includes at least one communication-computation
 athletic activity. The monitor includes a sensor, which gener module, having a communication-computation module con
 ally makes director indirect contact with an individual’s chest 55 nector to receive physiological signals from the at least one
 to monitor heart beats and then by wires, or by wireless disposable module via said disposable module connector. The
 techniques, the sensor transmits the sensed heart beat to a communication-computation module also includes at least
 nearby microcomputer based monitor and display. Such units one microprocessor to actively monitor the patient and to
 generally measure only heart beat and are not capable of perform a real-time physiological analysis of the physiologi
 doing any of the traditional ECG analysis functions.             60 cal signals and a radio circuit to communicate a raw physi
    A recurrent problem with the portable monitors typically ological signal or a result of the physiological analysis at a
 used in healthcare applications is the need for wires from predetermined time or on the occurrence of a predetermined
 sensors situated on the patient’s body to the portable unit. event, via a radio transmission to a remote radio receiver,
 These wires can become tangled and cause discomfort or wherein the at least one disposable module is mechanically
 become unplugged when inadvertently pulled or tugged on. 65 and electrically coupled directly to the at least one commu
 In addition, wire motion can increase ECG noise due to the          nication-computation module. The body worn patient moni
 triboelectric effect. Muscle movement can also increase ECG         toring device, including the at least one disposable module
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                                                     US 8,965,492 B2
                                  3                                                              4
 and the at least one communication-computation module, is           FIG. 11 shows a flow chart for an algorithm utilized by a
 directly non-permanently affixed to the skin surface of the body worn physiological monitor to detect whether a patient
 patient.                                                          has a pace maker,
    According to another aspect, a method of providing high          FIG. 12 shows a circuit topology of a high pass filter useful
 Voltage circuit protection for a body worn monitor comprises 5 for baseline restoration;
 the steps of providing a substrate that Supports one or more        FIG. 13 shows seven graphs of amplitudes plotted versus
 electrical connections to a patient's body; determining a print frequency to illustrate exemplary operation of the circuit of
 pattern and thickness of a first material having a first resistiv FIG. 12;
 ity to be printed on the Substrate; determining a print pattern 10 FIG. 14 shows two exemplary positions for a body worn
                                                                   ECG monitor to be non-permanently affixed directly to a
 and thickness of a second material having a second resistivity patient’s
 to be printed on the substrate; printing the first material onto           body;
                                                                     FIG.15  shows a block diagram of a setup for simulating the
 the Substrate; and printing the second material onto the Sub effect of patient
 strate wherein at least part of the second material overlays the                  defibrillation on resistive traces:
 first material.                                                     FIG. 16A symbolically shows resistive dots silk screened
                                                                15   on a tray:
       BRIEF DESCRIPTION OF THE DRAWINGS                               FIG. 16B shows a histogram of an exemplary resistive
                                                                     distribution of baked resistive dots; and
    For a further understanding of these and objects of the           FIG. 17 shows an exemplary ECG waveform.
                                                                      Package styling varies slightly between the drawings. Such
 invention, reference will be made to the following Detailed minor differences, e.g. the case styling of computation and
 Description which is to be read in connection with the accom communication module 102, illustrate minor variations in
 panying drawings, in which:                                       mechanical packaging Suitable for use as body worn moni
    FIG. 1A shows an exemplary body worn physiological tors. Drawings are not necessarily shown to scale.
 monitor having a disposable electrode module;
    FIG. 1B shows a partially unassembled side view of the 25                        DETAILED DESCRIPTION
 body worn physiological monitor of FIG. 1A:
    FIG. 1C shows an assembled side view of the body worn             A “body worn” device is described herein with regard to
 physiological monitor of FIG. 1A:                                 certain exemplary embodiments. A “body worn” device is
    FIG.1D shows a bottom view of the body worn physiologi defined herein as a device that is directly, but non-perma
 cal monitor of FIG. 1A:                                        30 nently, affixed to a patient’s body. A “body worn monitor” is
    FIG. 2 shows an exploded perspective view of an exem a device that can be directly “worn” on the patient’s body as
 plary body worn physiological monitor;                            a single unit, including one or more physiological sensors and
    FIG. 3 shows an exploded perspective view of an exem a communications and computation module to perform at
 plary computation and communication module:                       least initial processing of one or more physiological measure
    FIG. 4A shows an exemplary disposable unit flexible cir 35 ments made using one or more physiological sensors. Unlike
 cuit board;                                                       prior art patient-wearable devices, at least one sensor can be
    FIG. 4B shows a partial enlarged view of a portion of the incorporated into the device that makes a direct or indirect
 flexible circuit board of FIG. 4A, further showing an exem (such as by capacitive coupling) electrical connection with
 plary resistive trace having a fillet;                            the patient’s body without the use of external wires from
    FIG. 4C shows a partial side elevated view of a portion of 40 sensors to the device. In addition and unlike athletic heart
 the flexible circuit hoard of FIG. 4A, further showing an monitors, a “body worn monitor can be a full functioning
 exemplary conductive Surface overlaying a resistive material; medical grade monitor, e.g. meeting the requirements of
    FIG. 4D shows a partial side elevational view of the circuit European Unions Medical Device Directive and other appli
 board of FIG. 4A, further showing an exemplary conductive cable industry standards, such as EC-13 for an electrocardio
 Surface having a Snap receptacle;                              45 graph. The body worn medical-grade monitor can include a
    FIG.5 shows a block diagram of one embodimentofa body device, for example, such as a pulse Oximeter, CO monitor,
 worn physiological monitor having a power source in a dis respiration monitor, or can function as an ECG monitor,
 posable unit;                                                     incorporating physiological sensors, front end analog elec
    FIG. 6 shows a block diagram of one embodimentofa body tronic signal conditioning circuits, and a microcomputer
 worn physiological monitor having a power source in or 50 based computation unit with wireless reporting of measured
 connected to the computation and communication module;            physiological data, all contained within in a “body worn
    FIG. 7A shows a schematic diagram of a direct connected package that can be non-permanently affixed directly to a
 reference electrode used in conjunction with a body worn patient’s body. A body-worn medical-grade monitor can also
 physiological monitor,                                            include additional measurement capabilities beyond those
    FIG. 7B shows a schematic diagram of a virtual reference 55 mentioned here.
 electrode as used in conjunction with a body worn physiologi         FIGS. 1A-1D depict various views of an exemplary body
 cal monitor;                                                      worn physiological monitor 100 having a communication and
    FIG. 8 shows a schematic diagram depicting one embodi computation module 102 and a disposable electrode module
 ment of an analog Switching arrangement provided on a body 110. In this exemplary embodiment, physiological monitor
 worn physiological monitor to select a reference electrode 60 100 is designed for use as an electrocardiogram (ECG) moni
 configuration;                                                    tor for obtaining and recording and/or transmitting ECG
    FIG. 8A shows an exemplary driven lead circuit topology information, including ECG waveforms and alarms for a
 for use with electrodes of a body worn physiological monitor; person, such as a patient, wearing body worn physiological
    FIG. 9 shows an exemplary ESIS filter circuit topology monitor 100.
 with circuit protection;                                       65    FIG. 1A shows an exemplary top view of body worn physi
    FIG. 10 shows an alternative circuit protection to that ological monitor 100. A crescent shape allows the body worn
 depicted in FIG.9;                                                physiological monitor 100 to be placed on the chest of a
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 patient, and more specifically around the pectoralis major, to      FIGS. 1B and 1C (although not to scale), each of the electrode
 allow measurement of lead configuration I, II, or III, or to be     gels 103 extend sufficiently below adhesive layer 105 in order
 placed on the patient's side allowing measurement using a           to ensure good electrical connection with a patient’s skin
 V-lead configuration. Though not shown, multiple body worn          surface (not shown). Tab 106, FIG. 1A, allows for easy
 physiological monitor 100 units can be used to effectively          removal of a protective backing 111 from adhesive layer 105.
 provide multiple leads. By placing electrodes around the               Flexible printed circuit layer 101 can include contacts,
 body so that they are not situated directly atop major muscles,     Such  as battery clips (not shown), to receive and connect to
 both motion noise artifacts and muscle noise artifacts can be
 prevented. Moreover, by eliminating cables, noise due to ments, a204.
                                                                     batteries      (It is contemplated that in some future embodi
                                                                                single   battery can provide Sufficient electrical
 cable motion or compression (i.e. triboelectric effect) can be 10 power.) In the exemplary embodiment, as shown in FIG. 2,
 eliminated.
    FIG. 1B shows a side elevated view of physiological moni batteries
                                                                     205
                                                                               204 can be mounted under respective battery flaps
                                                                          arranged  on opposite sides of the flexible printed circuit
 tor 100 having an exemplary attachment mechanism, Such as layer 101. Alternatively,            battery clips (not shown) or battery
 a retention clip 104, to mechanically attach communications
 and computation module 102 to the top surface of the dispos 15 holders (not shown) can be used to provide both mechanical
 able electrode module 110. Flexible printed circuit layer 101       Support and electrical connections for each of the batteries
 can be Made from a thin insulating material. Such as accord         204.  One type of battery holder suitable for such use, for
 ing to this embodiment, a 75 micron thick layer of Mylar R. example, is the model 2990 battery holder, manufactured by
 Typically electrical traces (not shown in FIGS. 1A-1D) on the Keystone Electronics Corp. of Astoria, N.Y. Battery cover
 flexible printed circuit layer 101 can be further protected by 107 provides protection for batteries 204 as well as a surface
 an insulating covering, analogous to a conformal coating. A to press upon when applying electrodes 103 to conductive
 formed plastic layer or a cloth with adhesive on one side surface 404. Retention clips 104 can comprise, for example, a
 thereof can be used to cover and protect flexible printed plurality of spring fingers with latching clips. Retention clip
 circuit layer 101, as well as to provide anaesthetic outer layer 104, affixed to disposable electrode module 110, can be used
 to make the body worn monitor 100 visually appealing.            25 to secure reusable communications and computation module
    FIG.1C shows a side view of physiological monitor 100 in 102 to disposable package 110. Reusable communications
 which the communications and computation module 102 has and computation module 102 is herein illustrated in a simpli
 been affixed to disposable electrode module 110. FIG. 1D fied representation, including cover 201, communications
 depicts a view of the underside of exemplary physiological and computation printed circuitboard assembly 202, and base
 monitor 100 showing one embodiment of disposable elec 30 2O3.
 trode module 110 having electrodes 109. In this embodiment,            FIG.3 shows a mechanical view of an exemplary reusable
 each electrode 109 comprises electrodegel 103 and conduc communications and computation module 102, as well as a
 tive surface 404 (FIG. 4). Together, electrode gel 103 and preferred method for making an electrical connection
 conductive surface 404 create a half cell, such as, for             between flexible printed circuit layer 101 in disposable elec
 example, a Silver/Silver Chloride half cell. Also and accord 35 trical module 110 and communications and computation
 ing to this embodiment, conductive surface 404 can directly printed circuit board assembly 202 situated in reusable com
 accept the electrode gel 103.                                       munications and computation module 102. In this exemplary
    FIG. 2 shows an exploded assembly view of the exemplary embodiment, communications and computation printed cir
 body worn physiological monitor 100. As noted with regard cuit board assembly 202 can include a plurality of press fit
 to FIGS. 1A-1D, the body worn physiological monitor 100 40 and/or soldered conductive sockets 301 for receiving electri
 includes a removable and reusable communications and com            cal plug 302, the plug having a corresponding plurality of
 putation module 102 and a disposable electrode module 110. conductive pins. Each conductive pin shown in plug 302 can
 the later including electrodegels 103 for ECG monitoring and correspond to an electrical connection pad on flexible printed
 batteries 204 to power communications and computation circuit layer 101. A row of mechanical sockets 303 can
 module 102. A flat planar insulating/adhesive member 105 45 receive the multi-pin row of plug 302. Thus, an electrical
 includes a plurality of openings that are each sized to receive connection can be made between each pad offlexible printed
 electrode gels 103. The insulating member 105 provides a circuit layer 101 having a conductive post on plug 302 and
 bottom side cover for the flexible printed circuit layer 101 and each corresponding conductive Socket 301 on communica
 augments adhesion to the human body. Electrode gel 103. tions and computation printed circuit board assembly 202.
 when attached to an appropriate Substrate Such as silver 50 Posts 304 can align and secure each of the cover 201, com
 silver-chloride or other substrate, can be used to establish a      munications and computation printed circuit board assembly
 relatively low impedance electrical connection between con 202, and base 203. Note that in FIG. 3, a simplified drawing
 ductive surface 404 (FIG. 4) and the patient’s skin.                of cover 201 omits slots to receive retention clip 104 to affix
    Electrode gels 103 can adhere to a patient’s skin. While communications and computation module 102 to disposable
 electrode gel 103 is typically an adhesive electrode gel, the 55 package 110. A body worn monitor 100 would typically also
 adhesion offered by electrode gels 103 alone might not give a include retention clip 104 FIG. 2, or other suitable type of
 Sufficient holding force for non-permanently affixing body mechanical clip(s), in order to provide a secure mechanical
 worn physiological monitor 100 to a patient. To achieve a connection between communications and computation mod
 better adhesion of body worn monitor 100 to a patient’s skin, ule 102 and disposable electrode module 110.
 insulating/adhesive member 105 can be used to non-perma 60 FIG. 4A shows one embodiment of flexible circuit board
 nently affix body worn physiological monitor 100 to a patient.      101 in an expanded (e.g. unassembled) view. Flexible circuit
 Thus, body worn monitor 100 can be applied to a patient in the board 101 is formed on a substrate 406. Substrate 406 can be
 same way an adhesive Strip is applied, such as for example, cut, for example, from a Mylar sheet of suitable thickness. In
 those adhesive strips sold under the brand name "BAND this embodiment, one battery 204 can be mounted adjacent to
 AID(R”. One exemplary type of foam adhesive suitable for 65 a conductive surface 404. Conductive gel 103 (not shown in
 affixing a flexible circuit board to a patient is 1.6 mm adhesive FIG. 4) can be mounted on the exposed conductive side of a
 foam from Scapa Medical of Bedfordshire, UK. As shown in conductive surface 404.
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   Conductive surface 404 can also be viewed as the electrode             It is desirable that the resistances of the protective resistive
 portion of a half cell and electrodegel 103 can be considered         traces be in a range between about 1 kilo ohm to about 10 kilo
 to be the electrolyte portion of a half cell. In conventional         ohms. Below 1 kilo ohm, depending on the resistive material
 terms of art, the combination of electrode and electrolyte and        used, it can be more likely that the resistance of the resistive
 ECG electrode is typically referred to as a half cell. For traces 412 and 413 will increase with each successive defibril
 example, the combination of a conductive Surface 404 and an lation pulse. Above 10 kilo ohms, a high resistance impairs
 electrolyte layer (e.g., electrodegel 103) forms a half cell. For the signal to noise ratio, specifically due to thermal noise,
 convenient quick reference to a half cell structure, the term which has a mean square value of 4*k*T*R*BW, where “k”
 “electrode' (assigned reference designator “109) is used is Boltzmann's constant, “T” is temperature measured in
 interchangeably with “half cell herein. It is understood that 10 degrees Kelvin, “R” is resistance in ohms, and “BW is band
 in typical embodiments, electrode 109 comprises conductive width, in Hz, which becomes significant relative to the EC-13
 surface 404 and electrode gel 103.                                requirement that the noise referred to input be less than 30 V
    Typically, electrodes make use of a circular or square con peak-to-valley.
 ductive surface. Increasing the ratio of the perimeter of the        Power dissipation in the herein described traces can be
 surface to the area of the surface affects current density dis 15 calculated by E/R, in which E refers to the potential across
 tribution and defibrillation recovery.                            the trace and R is the resistance of the trace. R can be calcu
    For convenience, we define the term “annulus' herein and       lated by pl/A, where p is the resistivity of the material used
 throughout as the region between two simple curves. A simple to form the trace, L is the length of the trace, and A is the
 curve is a closed curve that does not cross itself. Under this        cross-sectional area of the trace.
 definition, an annulus can include Substantially square               In developing resistive traces for use on a flexible printed
 shapes, Substantially rectangular shapes, Substantially circu circuit layer 101, typically formed on a Mylar substrate 406,
 lar shapes, Substantially oval shapes, as well as Substantially such as shown in FIG. 4A, various materials were tested.
 rectangular shapes with rounded corners. Further we include Silver, including silver inks, while useable, was found to be
 in the definition of annulus, the case of a substantially “U” less desirable, because it was difficult to achieve sufficiently
 shaped surface as described by a single closed curve.           25 thin silver traces on Mylar to achieve high enough resistances.
    One exemplary electrodegel 103 suitable for such use on a Carbon, including carbon pastes and carbon inks, was also
 body worn monitor is type LT00063 hydrogel supplied by tried and found to be suitable. In order to use carbon however,
 Tyco Healthcare of Prague, Czech Republic. Typically, a several additional problems had to be solved. At 1 kilo ohm,
 conductive surface 404 creates the electrode portion of the the power dissipated by the resistors caused them to degrade
 half cell. By increasing the ratio of perimeter to area of the 30 across multiple defibrillation cycles. The solution was to
 circular electrode portion of the half cell, the signal to noise make carbon traces in the range of about 8 to 10 kilo ohms. 10
 ratio of the input ECG signal can be increased.                    kilo ohm resistances proved to be a good compromise
    As depicted herein on the exemplary circuit layout, two between noise levels, power dissipation by the resistors, and
 batteries 304 can be connected in series, with one polarity manufacturing tolerances for depositing carbon ink on a
 being made available at connection pad 407 from battery 35 Mylar substrate to dissipate the power from multiple defibril
 connection 402, battery connection 401 creating the series lation cycles. To achieve the desired resistance of about 10
 connection between the two batteries, and connection pad kilo ohms (interchangeably represented herein as “10 k” or
 410 providing the second polarity of the series connected “10kS2'), for a given resistivity of the carbon paste, and given
 batteries. Note that in some embodiments, a single battery trace width and thickness (height), the length of the trace is
 alternatively may be used in lieu of the exemplary arrange 40 then defined. In some cases, such as for traces 412, the length
 ment or two batteries can be also wired in parallel, depending needed for a trace run, as between conductive surface 404 and
 on the Voltage requirements of a particular communications connection point 409, might belonger than the length defined
 and computation module 102.                                        for a particular trace resistance (typically 10 k). In this case,
    Connection pads 408 and 409 electrically couple the sig traces can be extended by lengths of silver conductive traces.
 nals from electrode gels 103 (not shown in FIGS. 4A-4D) via 45 There can be a short overlay distance, on the order of 5 to 10
 conductive surface 404 and resistive traces 412 to electrical      mm, in which a silver trace overlaps the carbon trace to
 plug 302 (not shown in FIGS. 4A-4D). Electrode contact pad provide a more robust connection between the resistive and
 405 can be connected via resistive trace 413 to connection pad conductive portions of the traces. Where overlap is used, the
 411 to provide a direct-connected reference electrode (not overall length of the resistive portion can be adjusted slightly
 shown in FIGS. 4A-4D). Traces 412 extending between con 50 to maintain the desired overall resistance.
 ductive surface 404 and connection pads 408 and 409 and               Another problem associated with carbon traces was arcing
 trace 413 extending between conductive surface 405 and at the interface between the carbon and conductive traces.
 connection pad 411 can be made from resistive materials Arcing was particularly problematic at the abrupt connection
 including resistive metals, carbon, silverink, powders, paints, between the carbon trace and conductive surface 404. Arcing
 or other material of determinable electrical resistance.         55   was also observed to occur between the end section of the
    Resistive traces on flexible circuit board layer 101 replace carbon trace and conductive surface 404. (Electrode gels 103
 the bulky power resistors needed by prior art monitors, having create the conductive path to the patient through conductive
 electrodes or sensors connected by wires or leads. These Surface 404 and a layer of conductive gel.)
 resistive traces should survive multiple defibrillation cycles     According to one solution to the above noted arcing prob
 such that body worn monitor 100 remains functional even 60 lem, as shown in FIG. 4B, a rounded (fillet) section 430 of
 after one or more attempts to re-startapatient’s heart. In order carbon trace can be added at the interface to conductive Sur
 to survive defibrillation, the resistive traces should dissipate face 404. A fillet or “tear drop' shape causes the carbon trace
 that portion of the potentially damaging defibrillation energy to become gradually wider as it connects to conductive Sur
 that is coupled into the monitor. This fractional portion of the face 404 and relieves the electrical potential stress at the
 defibrillation energy typically enters body worn monitor 100 65 interface.
 from electrodes 109, FIG. 1D (electrodes 109 including con         An alternative solution to the arcing problem is shown in
 ductive surface 404 and electrodegel 103).                       FIG. 4C, wherein carbon can be laid down beyond the trace
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 (412) to include a pattern of conductive surface 404 formed for a period of 15 minutes. A third dielectric insulating layer
 from carbon. A carbon annulus pattern can be deposited comprising SD2460, components A & B (dielectric and hard
 before the conductive surface 404 is deposited. Conductive ener), manufactured by Lackwerke Peters GmbH+Co. KG of
 surface 404 can then be deposited as an overlay over the Kempen, Germany, and having a thickness of approximately
 earlier formed carbon annulus shape. Finally, conductive gel      13 microns was then deposited over the traces and Substrate,
 103 can be attached to the conductive surface layer (the car but not over the annulus. (The electrodes were formed by
 bon layer residing between conductive surface 404 and the attaching a conductive gel to the annulus. The conductive gel
 Mylar substrate used as flexible circuit board 101). Both of used was LT00063 hydrogel from Tyco Healthcare of Prague,
 the aforementioned arcing solutions can be used together. It Czech Republic.) Again, the silk screen printing process was
 should also be noted that conductive surface 404 can be 10 used to deposit the dielectric layer through a 90T screen
 formed from suitable materials other than silver, including, mesh. The Substrate was placed again into a fan assisted air
 for example, materials such as silver chloride.                   circulated oven at 120° C. for a period of 30 minutes.
    Arcing can also occur between the resistive traces and            Example: Silver traces for use as conductive (not resistive)
 other (typically silver) conductive traces on the flexible cir traces on a body worn monitor circuit substrate were formed
 cuit board 101. Trace to trace arcing can be suppressed by 15 from a silver paste that was silk screened onto a Mylar sub
 allowing Sufficient spacing between the traces. Generally a strate. 45 mm long traces had a measured resistance in a range
 minimum spacing of about 3 mm/kV, as required by ASNI/ of 3.5 to 6 ohms, 75 mm traces had a measured resistance in
 AAMI. DF80:2003 57.10 BB, has been found to be sufficient         a range of 6.5 to 13 ohms, and 105 mm traces had a measured
 to prevent trace to trace arcing from a defibrillation event. resistance in a range of 10 to 16 ohms. The deposition of the
 Closer trace spacing, as close as 0.01 mm/kV, can be silver layer was performed via the silkscreen printing method
 employed Successfully by first applying an insulating dielec in which a 90T silk screen mesh was used. The substrate
 tric layer, similar to a conformal coating, over the Surface of containing the deposited silverink was then cured inside a fan
 flexible circuitboard 101 that covers most of the substrate and   assisted air circulated oven at 120° C. for a period of 15
 traces. The insulating dielectric layer can be prevented from minutes.
 forming or adhering to conductive Surface 404. Such as by use 25 FIG. 15 diagrammatically depicts an exemplary test setup
 of a mask during application of the insulating layer.             used to simulate the effect of a patient defibrillation on resis
    In an alternate embodiment, as depicted in FIG. 4D, a Snap tive traces. Defibrillator 1501 was used to apply multiple
 device can be added to conductive surface 404 to accept a defibrillation shocks of 360 Joules each to the 100 ohm resis
 manufacture Snap-on electrode (not shown), such as, for tor 1502. The 100 ohm resistor according to this setup simu
 example, the ConMed Cleartrace line of ECG electrodes 30 lated a patient’s body. Note that most of the defibrillation
 including the model 1700 Cleartrace electrode manufactured energy goes into the patient’s body by design, to restart the
 by the ConMed Corp. of Utica, N.Y. or similar type electrodes patient’s heart. Resistive traces 1503 and 1504 were wired
 made by the 3M Corp. of St. Paul, Minn. When designed to across resistor 1502, also as shown in FIG. 15, in order to
 accept a Snap-on electrode, the conductive Surface 404 is simulate the electrical circuit that would be formed between
 typically smaller than in the previous embodiment. A recep 35 the resistive traces in a body worn monitor situated on a
 tacle Snap 432 for receiving the commercial Snap-on elec patient undergoing defibrillation. Neon bulbs 1506 were used
 trode can be inserted by any suitable method, such as by press as part of the protection circuitry that can be used with resis
 fitting or other fastening method, into conductive surface 404. tive traces in a body worn monitor. 400 ohm safety resistor
 typically also penetrating through Substrate 406. In this         1505 was present as a precaution to limit short circuit current
 embodiment, arcing can be similarly Suppressed in this 40 in the event of a test setup failure. Both the 100 ohm resistor
 embodiment by adding a fillet to the carbon-conductive sur (simulating human skin resistance) and the 400 ohm safety
 face interface and/or deposing a conductive Surface 404 over resistor were used in accordance with medical specification
 a carbon layer as previously described.                           AAMI EC-13. Following 3 defibrillation shocks of 360
    Example: Resistive traces and an annulus were tested on a Joules each, the measured resistance of the 10k carbon track
 substrate formed from CT3 heat stabilized treated polyester 45 changed from 10k to 11 k following the first shock, to 13.1 k
 (75 microns thick), such as manufactured by the MacDermid following the second shock, and to 13.2 k following the third
 Autotype Corp. of Schaumburg, Ill. Resistive traces were silk shock. The measured resistance of the 9.7 k trace changed
 screened onto the substrate using 7102 carbon paste conduc from 9.7 k to 11.6 k following the first shock, to 13.0 k
 tor from the DuPont Corporation of Wilmington, Del. The following the second shock, and finally to 13.2 k, following
 carbon paste conductor was deposited through a 43T silk 50 the third shock. In a subsequent related test, the 100 ohm
 screen mesh. The Substrate containing the paste deposit was resistor was replaced by a closer simulation in the form of a
 then cured inside a fan assisted air circulated oven at 120° C.   fresh (dead) chicken. The setup otherwise remained the same
 for a period of 5 minutes. The traces formed were about 55 as shown in FIG. 15. In this case, the resistance as measured
 mm long and 2 mm wide, having an overall thickness of about on each of the test resistive traces changed from 10.7 k to
 7.5 microns. The initial measured resistance of each trace was 55 10.25 k, and from 8.5 k to 9.4 k, following multiple defibril
 about 14 kilo ohms. After each trace was subjected to 3 lations. During testing, it was also noted that the change in
 defibrillation cycles, the measured resistance increased to measured resistance of the resistive traces was generally con
 about 15 kilo ohms. Over a 3 mm length, the trace widens to sistent. It was also noted that as a given resistive trace was
 about 5 mm, terminating into a carbon annulus with an outer increased, the (delta R caused by defibrillation/R nettrace
 diameter of about 20 mm and an inner diameter of about 10 60 resistance) can be minimized.
 mm. A silver layer of PF-410 silver ink from the Norcote           The screen printing technique for laying down resistive
 Corp. of Eastleigh Hampshire, UK was then deposited over        traces was further investigated by printing a plurality of small
 the carbon annulus, also to an overall thickness of about 7.5   carbon resistive dots 1601 of about 20 mm in diameter using
 microns. The deposition of the silver layer was via the silk a 7102 carbon ink applied by a screen printer (not shown).
 screen printing method, in which a 90T silkscreen mesh was 65 The carbon dots 1601 were laid out on a tray 1602 as shown
 used. The Substrate containing the deposited silver ink was in FIG. 16A, for baking in an oven. A manually operated
 then cured inside a fan assisted air circulated oven at 120° C. Squeegee (not shown) was used to apply the resistive dots
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 1601 to the tray 1602 through a mask (not shown). It was can be included in a microcomputerintegrated circuit, such as
 determined that control of thickness during application was a microcomputer serving as microprocessor 512.
 one important factor for controlling the distribution of resis         A microprocessor, Such as microprocessor 512, is defined
 tance. It was noted that during manual application, the varia herein as synonymous and interchangeable with the terms
 tion of resistance depended upon the distance between the 5 “microcomputer”, “microcontroller, and “microprocessor.
 plurality of dots 1601 and the person applying the resistive Such microprocessors are also interchangeably represented
 paste, and that the pressure applied using the Squeegee could herein as “uP’ or “LLC. Further, any microprocessor dis
 also affect the final resistance by a factor of two. It was further closed  herein can be replaced by any integrated device that
 noted that “even heating across the tray 1602 was advanta 10 limited to, athe
                                                                     can perform       function of a microprocessor, Such as, but not
                                                                                    field programmable gate array (“FPGA) pro
 geous during oven drying, although this factor was found to grammed to perform             the functions of a microprocessor.
 have less effect on the final dot resistance distribution. A
 resistance distribution of the baked and measured dots 1601 is         Typically, one  or more  differential amplifiers can be dedi
                                                                     cated to particular difference Voltages associated with physi
 shown in the histogram of FIG. 16B. This testing indicated
 that production traces laid down on a Substrate, such as Mylar, 15 ological   sensors 501 or 504, but it should be noted that one or
                                                                     more amplifiers 508 can also be multiplexed by techniques as
 for use in a body worn monitor should preferably be printed known in the art, to serve multiple physiological sensors
 using a semi-automatic screen print process. Such as by a using a lesser number of amplifiers. Similarly, one or more
 screen printing mechanical roller process. A digital multim ADCs 516 can serve two or more signals from physiological
 eter (“DMM) with probes placed at each edge of a dot 1601           sensors 501 or 504 using techniques such as multiplexing in
 was used to measure the resistance from one edge of the dot time that is digitizing one physiological sensor difference
 to the other. It was found that uniform application of ink was signal at a time sending a digital result to a next stage one after
 important to keeping a tight distribution of resistance, with the other. ECG circuits 510 and PACER circuits 509 are
 even heating having a smaller influence on the distribution of referred to in the plural, since there can be individual circuits
 the resistance of the test dots. Since a trace with too low a       for each measured physiological signal. Such as for each
 resistance has a greater A R/R, and higher probability of 25 measured ECG vector.
 failing and very high resistance traces result in worse S/N            Electrical power from power source 515 can be regulated
 ratio, it is important to have areasonably tight tolerance on the by regulator 514 and distributed as regulated voltage 517 to
 trace resistance.                                                   most function blocks (as represented herein by the label
    FIG. 5 shows a block diagram representative of one “POWER”). Each of these function blocks also has a control
 embodiment of the body worn physiological monitor 100. 30 (“CTRL) input 511 from microprocessor 512, allowing
 Physiological sensors 501 (such as electrodes 109 in FIG.1D) these circuits to be disabled, when not needed, in order to save
 can be electrically coupled to electromechanical connector battery power. When viewed over time, most of the ECG
 502 (as by the resistive traces 412 shown in FIG. 4). Connec waveform does not contain useful information since there is
 tor 502 serves to electrically couple communications and significant “dead time' between heartbeats. Therefore, for
 computation module 102 to a disposable electrode module 35 example, from the end of a “T wave' at the end of one heart
 110 (FIG. 2). Secondary connector 503 can also electrically beat to the beginning of a “P wave' at the beginning of the
 couple one or more additional sensors, which can be situated next heartbeat, circuits can be powered down (in a device
 both on and off of disposable electrode module 110, to elec “sleep mode’) to save on the order of 60% of the energy
 tromechanical connector 502 for electrical coupling along stored in the power source that would have otherwise been
 with physiological sensor signals 501 to communications and 40 used during this dead time.
 computation module 102 (shown in FIG. 1) via electrome                 FIG. 17 shows an exemplary ECG waveform. In brief, the
 chanical connector 505. Signals received by the communica P wave can be related to the electrical current causing atrial
 tions and computation module 102 can be electrically contraction. The QRS complex can be related to ventricular
 coupled into communications and computation module 102 contraction of the left and right ventricles. The Q wave can be
 via electronic protection circuits 506 and/or filters, such as 45 related to electrical current traveling through the intraven
 ESIS filters 507.                                                   tricular septum, while the Rand S waves can be related to the
    Signals can be limited or clipped in amplitude, as needed, Ventricles contracting. The T-wave is due to the re-polariza
 by protection circuit 506, and filtered by filter 507. One or tion of the Ventricles. Usually, atrial re-polarization occurs
 more analog amplifiers 508 can be used to amplify the ampli atop the QRS complex, and being much smaller than the QRS
 tude limited and filtered signals. In the exemplary body worn 50 complex, is not seen. The ST segment connects the QRS
 ECG monitor, amplifiers 508 can advantageously be differ complex to the T-wave. Irregular or missing waves may be
 ential amplifiers to amplify the difference signal (e.g. the indicators of cardiac issues including: ischemic tissue, e.g.
 ECG “vector”) between two ECG electrodes. The electrical due to myocardial infarction, bundle branch block, atrial
 output of amplifiers 508 can be electrically coupled to both problems (specifically P-wave abnormalities), pericarditis,
 PACER circuits 509 and ECG circuits 510. PACER circuits 55 and electrolyte disturbance.
 509 are described further below. ECG circuits 510 perform              Generally, power source 515 can include one or more “but
 several functions, including “trace restore, low pass filtering ton' cells typically disposed on disposable electrode module
 (anti-aliasing), high pass filtering, and amplification (gain).     110; however, the block diagram of FIG. 6 shows an embodi
 Low pass filtering filters signals according to the Nyquist ment of a body worn physiological monitor 100 where power
 criterion to avoidaliasing later when the signals are digitized 60 is Supplied by a power source located on, or connected to
 by analog to digital converter (ADC) 516. The high pass filter communications and computation module 102 instead of
 causes the input to be AC coupled from a roll off frequency of residing within disposable electrode module 110.
 about 0.05 Hz, as specified by industry ECG standards. Gain            Beyond power saving considerations, it can also be desir
 is required to cause the Small pre-amplified potentials from able in Some embodiments of body worn physiological moni
 physiological sensors (such as electrodes 109) to more 65 tor 100 to put the microcontroller and/or other circuits,
 closely match the available dynamic range of the digitizing including particularly digital circuits, into a sleep mode dur
 ADC516, Note that ADC516 can be a dedicated ADC chip or ing an ADC conversion cycle to minimize pickup of self
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 generated electrical noise and to minimize power use. Pref inverting low pass filter built around OpAmp 812 inverts the
 erably, the A/D circuit can acquire multiple samples and averaged common mode pickup signal (at electrodes 1 and 2)
 buffer the samples, before awakening the microprocessor, and applies that signal out of phase (180° phase shifted) to a
 which then can batch-process the data. Buffering can be set to directly connected driven electrode (such as electrode 701).
 match the patient's heart rate, as there is no significant clinical By applying the average common mode signal to the driven
 benefit to analyzing every sample as it is taken.                   electrode, amplifier 812 effectively suppresses common
    Turning back to the input circuits, typically amplifiers 508 mode signals at electrodes 1 and 2 within the effective band
 are differential or instrumentation amplifiers useful to selec width of the negative feedback loop by active noise cancel
 tively amplify desired difference signals between connector lation. In theory, a virtual electrode 702 could be similarly
 terminals (such as an ECG vector), while rejecting common 10 driven, but the Voltage requirements to drive a capacitively
 mode signals (such as interfering signals that appear simul coupled common electrode are high enough to make a “driven
 taneously on both connector terminals). Beyond using a dif virtual electrode' a less practical option. Thus, it can be seen
 ferential amplifier, other techniques can be advantageously that a reference electrode can be a passive connection or an
 used to further reduce common mode pickup (CMR) and thus actively driven connection.
 to improve the common mode rejection ratio (CMRR) of the 15 It can also be desirable to have more than one CMR tech
 input amplifier stages of body worn physiological monitor nique available. For example, in a low noise environment, a
 100. CMR is of particular concern with regard to body worn lower power reference electrode might be used for CMR.
 physiological monitor 100 because of the proliferation of Then if the noise increases to a level where the reference
 potentially interfering electromagnetic fields, such as from 50 electrode provides insufficient CMR, the body worn monitor
 HZ or 60Hz AC power line distribution throughout a hospital. can switch to a driven lead more suitable for CMR in a high
 For example, many fluorescent ceiling lamp fixtures generate noise environment. In this embodiment, a particular CMR
 strong 60 Hz, alternating current (AC) electromagnetic fields configuration can be selected by electronic switching. FIG. 8
 that can appear as common mode signals on physiological shows one such exemplary Switching block represented as
 sensors 501, such as ECG electrodes 109.                            reference electrode switch 801. Microprocessor uP) 512 can
    FIG. 7A shows one embodiment in which body worn 25 control reference electrode switch 801 to select direct con
 physiological sensor 501 comprises a plurality of ECG elec nected electrode 701, virtual electrode 702, or directly con
 trodes 109 and 701. Two electrodes 109 generate an ECG nected electrode 701 additionally driven by a driven lead
 difference potential for patient 703. A third electrode, refer circuit 802. It should also be noted that in the embodiment of
 ence electrode 701 can be electrically coupled to electronics FIG. 8, when virtual electrode 702 provides sufficient CMR,
 common 704 (or other potential level) and can be used to 30 electrode 701 can be used as a third electrode, thus allowing
 improve CMR, In this embodiment, the electronics common body worn monitor 100 to simultaneously measure two dif
 704 (shown as the negative terminal of the battery in FIG.7A) ferent heart vectors.
 can be directly tied to the patient in the vicinity of electrodes      FIG.9 shows one embodiment of an exemplary defibrilla
 109. Thus, the electronics common of the electronic circuits        tion protection circuit (506) and ESIS filter 507. As shown in
 in communications and computation module 102 can be 35 FIG. 9, electrodes 109 can be connected via input resistors
 made to more closely follow any change in potential in the R91 and R92. Gas discharge tubes, such as neon bulbs L1 and
 vicinity of electrodes 109, Reference electrode 701 can be L2, can be used for over Voltage protection by firing at a
 particularly helpful to ensure that inputs 109 remain within a designed Voltage to prevent large potentials from appearing at
 reasonably narrow common mode range. Such as by reducing the input leads to amplifier 508. The gas discharge tubes can
 a 60 Hz, potential that would otherwise appear to move the 40 be disposed on either disposable electrode module 110 or on
 electronics common 704 at 60 Hz, with respect to electrodes the communication and computation module 102. Defibrilla
 109.                                                                tion protection resistors R91 and R92 can further reside in
    In another embodiment as shown in FIG. 7B, virtual elec          disposable electrode module 110, such as in the form of the
 trode 702 performs a similar function as previously described resistance of traces 412.
 with regard to reference electrode 701. In this embodiment, 45 ESIS filters 507 can be used to satisfy AAMI standard
 instead of creating a DC-coupled reference electrode, elec EC13 on Electrosurgical Interference Suppression (ESIS).
 trode 701 is replaced by the capacitive coupling between Standard EC13 addresses the ability of an ECG monitor to
 flexible printed circuit layer 101 and the patient 703, resulting display and process ECG signals in a satisfactory manner
 in a virtual electrode 702 with an AC coupled common. Such while connected to a patient on whom an electroSurgical
 AC coupling increases with decreased distance between flex 50 device is being used. Without such suppression, the high RF
 ible printed circuit layer 101 and the patient and can advan output of an electroSurgical device can render ECG monitor
 tageously reduce 60 HZ common mode signals (AC signals). ing impossible and or render the monitor unusable. Resistors
    In yet another version of a directly connected electrode R93 to R98 and capacitors C91 to C96 form cascaded low
 701, as shown in FIG. 8A, electrode 701 can be actively pass filter sections (e.g. R93-C1), Three cascaded single pole
 driven by an electrical output from communications and com 55 filters are shown on each input leg of amplifier 508 as an
 putation module 102. Typically, an operational amplifier example; more or less stages can also be used. It is also not
 (OpAmp) or other type of amplifier can be used to create a necessary for each section of the cascaded filter to have iden
 “driven lead’. Driven lead circuits can be used to further          tical values or roll off points in the frequency domain to create
 improve CMR over passive electrodes 701 as shown in FIG. a specific response, e.g., Bessel, Chebychev, or other filter
 7A. An exemplary circuit suitable for use to drive an electrode 60 response known to those skilled in the art. Also, ESIS filters
 701 is shown in FIG. 8A. Amplifiers (OpAmps) 810 and 811            are not limited to cascaded single pole filters and can take
 buffer the high impedance signals from electrode 1 and 2 other forms as known in the art.
 (exemplary electrodes 109). Difference amplifier 508 con               Test circuit 906 can provide a relatively sharp transient
 veys the difference signal (such as an ECG vector) as previ signal for testing the PACER circuit described below as part
 ously described. The two 10 kilo ohm resistors provide an 65 of a body worn monitor 100 “power on self test”. Resistors
 average of the common mode signals appearing simulta R99 and R100 can pull the output of the differential amplifier
 neously at the inputs of buffer amplifiers 810 and 811. The 508 allowing the microcontroller (512) to detect which elec
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 trode, if any, has detached, much as a “lead failed detection       pacer   circuit can be automatically disabled allowing for a
 is accomplished by ECG monitors having leads. Body worn longer battery life. Since typical PACER circuits can use
 monitor 100 does not use leads, but it is still possible for one several amplifiers (Op.Amps), they can consume up to one
 or both of the physiological sensors to move free of a patients third of the analog power, therefore securing the PACER
 body. Such disconnects can occur in situations in which body circuits when they are not needed (i.e. the patient does not
 worn monitor 100 partially moves away from the body to have a pace maker) can cause a significant improvement in
 which it is non-permanently affixed. The input impedance at battery life. The algorithm also can also provide checks to
 one or both of the electrodes 109 changes in a sensor off determine if a demand type pace maker begins operation
 (sensor disconnect) event. When a patient is attached, ampli (which might be inactive at power up of body worn monitor
 fier 508 typically has an output voltage of near Zero volts. 10 100) by analyzing beat variability. While it can be advanta
 However, if one of the electrodes 109 comes off, resistors R99      geous to have the body worn device automatically sense the
 or R100 cause the output of amplifier 508 to move to a most presence of a pacemaker and to enable the PACER detection
 positive output ("positive rail’) or to a most negative output circuit, the choice as to whether to enable or disable the
 (“negative rail'). Note that the negative rail can be a small PACER circuit can also be done by externally configuring the
 Voltage near Zero, in the case of single Supply circuit opera 15 body worn device. Such external configuration can be done
 tion, and that both inputs could be pulled to the same rail. through a hardwired communication connection cable or via
 Lead-fail detection can also be analyzed to determine when communications and computation module 102, in which
 the device is attached to the patient and then to automatically communications and computation module 102 is a two-way
 enter full operational mode. Such analysis can be done at a radio transceiver communication device capable of receiving
 low frequency.                                                      a configuration command sent for a remote radio transceiver.
    The ESIS filter 507 also can cause a stretching in the time The radio could be 802.11 compliant, but generally would use
 domain of a pacerpulse so that the eventis recorded by at least a lighter-weight (simpler) protocol that can be more energy
 one sample, even though the pacer pulse itself is of Small efficient. A suitable lighter weight protocol could be propri
 duration compared to the ADC sample rate and the pacer etary, or standards-based. Such as ZigBee or Bluetooth. A
 pulse is likely to occur between samples.                        25 body worn physiological monitor 100 is particularly well
    FIG. 10 shows an alternative circuit to accomplish over Suited for use in hospital environment as part of an integrated
 Voltage protection, such as is required during defibrillation. In wireless monitoring network. The details of such monitoring
 FIG. 10, diodes 1001 prevent the electrode potentials from networks are disclosed in U.S. patent application Ser. No.
 going much more than one diode Voltage drop above Vcc or 11/031,736 entitled, “Personal Status Physiological Monitor
 below ground and resistors R91 and R92 limit current. Using 30 System and Architecture and Related Monitoring Methods',
 circuit protection, such as gas discharge tubes L1 and L2 which is incorporated by reference herein in its entirety.
 (FIG.9) and/or diodes 1001 (FIG. 10) combined with resis               FIG. 12 shows a high pass filter (HPF) suitable for use in
 tances R91 and R92, typically in the form of resistive traces ECG circuits block 510. An advantage of a 0.5 Hz HPF is
 412, a body worn device can survive multiple defibrillation faster recovery from DC offsets due to patient movement,
 cycles of at least 360 joules.                                   35 defibrillation, electrocuatery, etc. However ST segment
    PACER circuit 509 detects pacemaker pulses. One reason analysis is negatively impacted if HPF cutoff is greater than
 to detect a pacemaker is to prevent the ECG circuitry from about 0.05 Hz. Thus, it is preferable to have the ability to
 inadvertently registering the regular pulses from a pacemaker change between a 0.5 and 0.05 Hz cutoff frequency. The high
 as an actual heart rhythm. Separation of a pacemaker signal pass filter of FIG. 12 is implemented by a low pass filter
 from signals generated by the heart is important both togen 40 configured as an inverting amplifier in a negative feedback
 erate accurate ECG analysis results as well as to correctly circuit to give a net effective high pass transfer function from
 detect the absence of an actual heart rhythm. For example, a circuit input to output. The corner frequency of the composite
 pacemaker continues to function even where a human heart filter can be adjusted by switching in resistor R2'. Alterna
 has completely failed.                                              tively, S1 can be switched at a periodic rate to place a duty
    A pacer event (pacemaker signal) is typically a narrow 45 cycle on C. Note that the frequency of switching of S1 should
 pulse typically less than 100 microseconds wide. Because of be fast with respect to the corner frequency of the anti-alias
 the capacitance between the pacer in a patient and an ECG ing low pass filter. The graphs A-D of FIG. 13 further illus
 circuit, an otherwise relatively square pacer pulse as admin trate the performance of the exemplary filter of FIG. 12. These
 istered at the patient's heart by a pacemaker, can appear to an graphs show normalized amplitude on the vertical axis plot
 ECG monitor as a pulse with a negative undershoot and an 50 ted against frequency on the horizontal axis. FIG. 13, graph A
 exponential return to Zero that could inadvertently mimic a represents a raw input signal. FIG. 13, graphs B and C are
 QRS signal. A pacer signal, however, can be recognized by an Bode Plots representing the high and low-pass filter sections.
 analog differentiator and alert microprocessor 512 to the pres After applying filter responses B & C to input Data A, filtered
 ence of a pacer and to disregard the refractory period of the data D is the result. The HPF cutoff can be 0.5 Hz or some
 corresponding R-C recovery due to the pacer signal. The 55 lower value depending on whether R2 is switching in or if C
 pacer detection circuit or PACER circuit can generate a is duty cycled.
 microprocessor interrupt to inform the microprocessor that a           Another method to achieve this frequency change is to use
 pacerevent occurred and to marka corresponding physiologi digital filters implemented on Microprocessor 512 to reverse
 cal signal in time as related to a pacer event. PACER circuit the effects of the 0.5 Hz HPF, then implement a digital HPF at
 509 can also cause one or more pacer related circuits to 60 a lower cutoff frequency, 0.05 Hz, for example. The response
 automatically power down for power saving, where it is deter of the 0.5 Hz filter should be known to implement the inverse
 mined that a patient is not using a pacemaker.                      filter. This response can be measured using microprocessor
    FIG.11 shows an algorithm useful to determine if the pacer 512 to trigger the test circuit 906 to create an impulse, H(s).
 circuit should be enabled. A typical PACER detection circuit The inverse response is the 1-H(s) (FIG. 13, graph E) and
 uses a significant percentage of the energy available from a 65 this inverse filter can be digitally implemented by methods
 power source such as batteries 204. If a PACER signal is not familiar to those skilled in the art. H(s) is the frequency
 detected, such as at power up of body worn monitor 100, the response of the new HPF with lower cutoff frequency, nomi
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 nally 0.05 Hz. The digital filter for H(s) is digitally generated  second derivative results in impulse functions at the peaks of
 (F) and applied along with 1-H(s) (FIG. 13, graphE), result        the triangles (where the first derivative is discontinuous), and
 ing in the frequency response displayed in FIG. 13, graph G.       all other points are zero. The second derivative method also
 A high pass filter suitable for use in ECG circuits block 510      makes the convolution with incoming data extremely efficient
 can be implemented in full or in part by software that can run     as most of the multiplies have a 0 as the multiplicand and
 on microprocessor 512.                                             requires minimal computation. The result can then be inte
    FIG. 14 shows how a body worn monitor 100 configured as         grated twice to produce a matched-filter output, which can be
 an ECG monitor can be situated on a patient in at least two        fed into the beat-picking algorithm that provides fiducial
 different orientations to measure different heart vectors. A       marks. Using a second matched filter that is sinusoidal in
 primary heart vector is measured by orientation from the 10 shape and with appropriate discriminators, the system can
 patient’s right shoulder to the left hip, as shown by position provide indications of Life Threatening Arrhythmias (LTA);
 1401. An alternative position 1402 can be more suitable that is, Asystole, Vfib, and Vtach. While the accuracy of this
 where there is injury or where patient anatomy is such that it system is less competitive with a high-end Arrhythmia solu
 causes the preferred position 1401 to be less desirable. Also, tions such as those provided, for example, by Mortara, the
 body worn monitor 100 can be affixed to the side of patient 15 filters can be tuned to err toward false positives and upon a
 703 (similar to a measurement made by a conventional ECG positive LTA response, activate transmission of full wave
 “V” lead) or back of a patient 703 (such as where a patient forms.
 needs to sleep on their stomach) to monitor still other ECG           Research has also shown that analysis of the R-R portion of
 vectors (not shown). In effect, a body worn monitor 100 can the ECG waveform interval statistics can provide a method to
 be placed to pick a particular vector that can be traversed by predict atrial flutter. Applying this and other low-computa
 the electrodes 109. For example at least the first three primary tional cost methods can allow a body worn monitor device to
 heart vectors, i.e. I, II, and III, can be made conveniently begin transmitting full waveforms for either clinical or algo
 available in this manner.                                          rithmic analysis by a more powerful engine, when the prob
    While illustrated with an internal battery, it is important to ability of other arrhythmias is high. Transmitting only the
 note that a body worn physiological monitor 100 can be 25 R-R intervals of ECG waveforms is an example of a lossy data
 powered by either an internal power source only, an external compression method. R-R intervals comprise a string of data
 power source only, or by an internal or an external power and the string of data can also be compressed. Lossless or
 Source. An internal power source can be a renewable power lossy data compression of the entire waveform can be imple
 Source. Such as a rechargeable battery.                            mented to save battery life, including not transmitting (or
    Another type of internal power source is a Peltier device 30 perhaps not even sampling) data between the T and the P
 operated in reverse, also called a Seebeck device. Seebeck wave. Because data compression results in less data to trans
 discovered that a conductor generates a voltage when sub mit, the power saved may offset the computation cost of the
 jected to a temperature gradient. Thermoelectric couples are data compression.
 Solid-state devices capable of generating electrical power            While we have referred often to ECG applications herein,
 from a temperature gradient, known as the Seebeck effect. 35 the application of low-intensity computational methods as a
 (By contrast, the Peltier effect refers to the situation where power saving measure apply equally well to other types of
 electrical energy is converted into a temperature gradient.) A low power-sensors, including, but not limited to EEG, SPO,
 Seebeck device “couple' consists of one N-type and one temperature, and invasive or non-invasive blood pressure
 P-type semiconductor pellet. The temperature differential measurements. Whether the body-worn medical-grade moni
 causes electron flow from hot to cold in the N-type couple and 40 tor performs complex analysis or simply compares a single
 hole flow from hot to cold in the P-type couple. To create an numeric value to a single numeric limit, the device can func
 electromotive force (EMF), the following connections are tion in a low-power radio state until a predetermined thresh
 made: On the cold side (i.e. the side that is exposed to room old is exceeded. A body worn monitor can also periodically
 temperature) the pellets are joined and on the hot side (i.e. the send data or send data upon external request. Additionally,
 patient side), the pellets are connected to a load. Such as the 45 external devices can send commands to modify the operating
 computation and communication module 102. The open cir parameters and thresholds.
 cuit voltage of a Seebeck device is given by V=SAT, in which          Turning to other communication matters, it may be that
 S is the Seebeck coefficient in volts, K and A T is the            adverse events occur in which no uplink is available. In a case
 temperature difference between the hot and cold sides. It is a of no uplink (failed communications), the body worn monitor
 challenge today to completely power the computation and 50 can buffer time-stamped waveforms corresponding to any
 communication module 102 from a Seebeck device that is of           adverse events. The buffers can also store waveforms for later
 the same size as the computation and communication module analysis in which this storage is triggered by the patient when
 102. Presently, a Seebeck device may only provide supple the patient recognizes a condition, Such as chest pain. In the
 mentary power, but as electronics migrate toward lower case of an alarm that occurs when there is no uplink, alarms
 power and Seebeck coefficients and thermocouple densities 55 can be configured to be latched until confirmed by a clinician.
 improve, a Seebeck device can be a viable long-term power Preferably, non-continuous data are marked (time stamp,
 Solution for a patient-worn monitor. Other methods of gener sample number) to allow correlation of non-continuous data
 ating energy, such as mechanical (as is used in some wrist with continuous data and data are also marked to indicate
 watches) and Solar, can also be viable methods for providing when an alarm was initiated for later data analysis, including
 a renewable self-contained power source for a body worn 60 algorithm performance analysis.
 monitor.                                                          In those instances in which many body worn monitor
    Turning to analysis routines Suitable for use on abody worn devices are used in close proximity to one another, there can
 monitor, typically, ECG beat picking, such as by using wave be concern that the reports from one body worn monitor
 let or Fourier transforms and/or matched filter analysis in the might be interchanged with reports from another body worn
 time domain can be computationally expensive. Modeling the 65 monitor. The body worn monitor presented herein, can be
 QRS pulse as three triangles with alternating polarities cre configured with a patient context (i.e. name, room number,
 ates a rough matched filter for the QRS pulse. Taking the patient ID, age, etc) and can maintain that context for as long
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 as the monitor is connected to the patient to avoid Such prob          4. The   body-worn    patient monitoring device of claim 3,
 lems. The body worn monitor can determine the status of its including a retention member to provide mechanical Support
 connection to the patient via a continuous vital signs monitor, for the at least one battery and to enable an electrical connec
 pressure, temperature, galvanic response, or similar input. tion with the conductive surface of the at least one electrode.
 Upon detection of a loss of connection with a patient, the             5. The body worn patient monitoring device of claim 1,
 device can, depending upon different variable settings, either further comprising an ECG monitor having a programmed
 erase the patient context or when re-connected to the patient, microprocessor and a plurality of electrical connections to
 require the care giver to confirm the patient context. When the measure patient heartbeat signals.
 body worn monitor is initially powered up or connected to a            6. The body-worn patient monitoring device of claim 1,
 patient, it can have a time holdoff for alarms to prevent false 10 wherein the at least one electrode includes an electrodegel
 alarms (e.g. low heart rate, lead-fail detection) while the and a conductive surface, thereby creating a half cell.
 system stabilizes.                                                     7. A body-worn patient monitoring device comprising:
    Regarding firmware updates, where there are large num
 bers of body worn monitors in a hospital, it can be problem            a disposable electrode portion; and
 atic to keep them all updated with the latest version of firm    15    a reusable communication module, the disposable elec
 ware. One solution to this problem is to provide a wireless               trode portion comprising a flexible printed circuit layer
 update ability for downloading and installing new firmware                made from an insulating material and defining a Sub
 and/or configurations into all of the body worn monitors.                 strate, at least two electrodes being disposed onto a
    While the present invention has been particularly shown                surface of the substrate and electrical traces defined
 and described with reference to the preferred mode as illus               between the at least two electrodes and a connection pad,
 trated in the drawings, it will be understood by one skilled in        wherein the reusable communication and computation
 the art that various changes in detail may be effected therein            module comprises a housing containing a processor and
 without departing from the spirit and scope of the invention as           a wireless communication unit, and in which the reus
 defined by the following claims. It is further understood that            able communication module is releasably attached to the
 several aspects of the invention, including, but not limited to, 25       disposable electrode portion by at least one latching clip.
 defibrillation protection resistors, pacer detect circuit dis          8. The body-worn patient monitoring device of claim 7.
 abling, methods for ECG signal high pass filtering, and vari wherein          the electrodes are integrated into the flexible printed
 ous other low power modes are not limited to body worn circuit layer               of the disposable portion of the device.
 monitors, and can be used in ECG monitors of any type.                 9. The   body-worn    patient monitoring device of claim 7.
    What is claimed is:                                           30
    1. A body-worn patient monitoring device comprising:             wherein the electrodes are snap fitted to the flexible printed
    a flexible printed circuit layer made from an insulating circuit layer.
       material and defining a Substrate;                               10. The body-worn patient monitoring device of claim 9.
    at least one electrode disposed onto a surface of the Sub wherein the Snap is disposed at the end of an extension.
       Strate;                                                    35    11. The body-worn patient monitoring device of claim 7.
    at least one connection pad;                                     wherein the electrical traces are screened onto the flexible
    at least one electrical trace extending between the at least printed circuit layer.
       one connection pad and a conductive Surface of the least         12. The body-worn patient monitoring device of claim 11,
       one electrode, the at least one electrical trace being made including an insulating layer applied onto the electrical
       at least in part from a resistive material; and            40 traces.
    an insulating layer covering the flexible printed circuit           13. The body-worn patient monitoring device of claim 12,
       layer.                                                        wherein   the insulating layer is screen printed onto the elec
    2. The body-worn patient monitoring device of claim 1, trical traces           of the flexible printed circuit layer.
 wherein the at least one electrical trace includes a filleted
 portion formed at the electrode.                                 45    14. The   body-worn    patient monitoring device of claim 7.
    3. The body-worn patient monitoring device of claim 2,           wherein   each  electrode   includes an electrode gel and a con
 including at least one battery mounted on the flexible circuit ductive surface defining a half cell.
 layer.                                                                                        k   k   k   k  k
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                        Exhibit 3
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                                                                                        US009 155484B2


 (12) United States Patent                                            (10) Patent No.:                  US 9,155.484 B2
        Baker et al.                                                  (45) Date of Patent:                       *Oct. 13, 2015
 (54)   BODY WORN PHYSIOLOGICAL SENSOR                                              A61B5/0816 (2013.01); A61 B 5/14542
        DEVICE HAVING A DSPOSABLE                                               (2013.01); A61 B 5/14552 (2013.01); A61B
        ELECTRODEMODULE                                                           5/6832 (2013.01); A61 B 5/742 (2013.01);
 (71) Applicant: Welch Allyn, Inc., Skaneateles Falls, NY                            A61B5/746 (2013.01); A61 B 5/04286
                 (US)                                                                                           (2013.01);
                                                                                       (Continued)
 (72) Inventors: Steven D. Baker, Beaverton, NY (US);            (58) Field of Classification Search
                 Eric T. McAdams, Whitehead (GB);                        USPC .......................................... 600/372, 508–509
                 James P. Welch, Mission Viejo, CA                       See application file for complete search history.
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 (73) Assignee:  Welch  Allyn, Inc., Skaneateles Falls, NY       (56)                     References Cited
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                     claimer.
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 (21) Appl. No.: 14/595,815                                      EP                 0209804 A2         1, 1987
 (22) Filed:     Jan. 13, 2015                                   EP                 O770349 A1         5, 1997
 (65)               Prior Publication Data                                                   (Continued)
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              Related U.S. Application Data                      Japanese Office Action dated Jan. 12, 2010 for Japanese Patent Appli
 (60) Continuation of application No. 14/268,666, filed on       cation No. 2006-507455 (5 pages).
      May 2, 2014, now Pat. No. 8,965,492, which is a                                    (Continued)
      continuation of application No. 14/103,219, filed on       Primary Examiner — Nicole F Lavert
      Dec. 11, 2013, now Pat. No. 8,750,974, which is a          (74) Attorney, Agent, or Firm — Barclay Damon, LLP
      division of application No. 13/488,520, filed on Jun. 5,
      2012, now Pat. No. 8,630,699, which is a continuation
      of application No. 1 1/591,619, filed on Nov. 1, 2006,     (57)                       ABSTRACT
        now Pat. No. 8,214,007.                                  A body-worn physiological sensor includes a computation
 (51)   Int. C.                                                  communication module, and a flexible circuit layer config
        A6 IB5/00               (2006.01)                        ured to be coupled to a skin Surface of a subject to measure
        A6 IB5/02               (2006.01)                        physiological signals. An adhesive covers at least a portion of
                                                                 the flexible circuit layer and a protective covering protects the
                          (Continued)                            adhesive. The computation-communication module can be
 (52)   U.S. C.                                                  releasably attached to the sensor using electrical traces pro
        CPC ........... A61B5/04085 (2013.01); A61B5/0006        vided on the flexible circuit layer.
                     (2013.01); A61B5/0416 (2013.01); A61B
                  5/04087 (2013.01); A61B5/04282 (2013.01);                      20 Claims, 14 Drawing Sheets
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                                                 40 4

                         412          450


                                  FIG.4B



                   412                                  404



                                  FIG.4C
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                                      PROTECT
               Pe.                      CKTS    EESS D
          ECG
       ELECTRODES


                703




                                      PROTECT
                                       CKS F        ESSEC

                703
            VIRTUAL
             ELECTRODE                 FIG.7B
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                                          ENABLE
                                        PACER CKTS


                                       EXTERNAL PACED
                                          CONFIRMED               ENABLE
                                                                PACER CKTS




                                                             - - - -- -    900


                                                                           90
               UNFILTERED DATA             FILTERED DATA 6.5-500 Hz
                                                                           90

                                                                           O 1
                                                                          -90
                                                                                90

          5OOHz LOW PASS FILTER                                             -90 01.
                                                O.O5Hz HPF                    2
                                       1---M/N------- --90
                  PHASE      ?m.               A
            - MAGNTUDE FIG.13 FILTERED DATA 0.05–500Hz
                                                       go                   -90
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                                                     US 9,155,484 B2
                               1.                                                           2
       BODY WORN PHYSIOLOGICAL SENSOR                              These wires can become tangled and cause discomfort or
          DEVICE HAVING A DSPOSABLE                                become unplugged when inadvertently pulled or tugged on.
              ELECTRODE MODULE                                      In addition, wire motion can increase ECG noise due to the
                                                                   triboelectric effect. Muscle movement can also increase ECG
            CROSS REFERENCE TO RELATED                              noise, due to the typical placement of ECG electrodes over
                   APPLICATIONS                                     major muscles. Moreover, portable monitor battery mainte
                                                                    nance (e.g. battery recharging or replacement) can be time
    This patent application is a continuation application of, and consuming and costly.
 claims priority and benefit to co-pending U.S. patent appli           Another problem is related to the requirement that a medi
 cation Ser. No. 14/268,666, filed May 2, 2014, and entitled: 10 cal grade monitor survive multiple defibrillation cycles of at
 "Body Worn Physiological Sensor Device Having a Dispos least 360 joules. Conventionally, this requirement has been
 able Electrode Module', which is a continuation application met by one or more power resistors situated in series with the
 of U.S. patent application Ser. No. 14/103,219, filed Dec. 11, wire leads of a fixed or portable physiological monitor. The
 2013, and entitled “Body Worn Physiological Sensor Device problem is that the physical volume of conventional power
 Having a Disposable Electrode Module', now issued U.S. 15 resistors is too large for use in a compact monitor application.
 Pat. No. 8,750,974 B2, which is a divisional application of           Another shortcoming of Small sensor devices is that these
 and claims priority and benefit to, co-pending U.S. patent devices lack the intelligence to vary the amount and type of
 application Ser. No. 13/488,520, filed Jun. 5, 2012, and data transmitted, depending on patient condition. Exercise
 entitled "Body Worn Physiological Sensor Device Having a heart monitors do not transmit a full patient waveform for
 Disposable Electrode Module', and now issued U.S. Pat. No. clinical analysis while medical monitors measure and trans
 8,630,699, which is a continuation application of U.S. patent mit the full patient waveform, even when the patient is
 application Ser. No. 1 1/591,619, filed Nov. 1, 2006, and healthy. While transmitting the full patient waveform is the
 entitled "Body Worn Physiological Sensor Device Having a preferred solution from a purely clinical standpoint, Such
 Disposable Electrode Module” and now issued U.S. Pat. No. transmission requires significant power to transmit large
 8,214,007. All of the aforementioned patent(s) and patent 25 amounts of data and restricts the design from being Small and
 application(s) are herein incorporated by reference in their inexpensive.
 entirety.                                                            Yet another problem is that arrhythmia analysis is a com
                                                                    putationally intensive operation not well-suited to existing
                  FIELD OF THE INVENTION                            small portable monitors that presently have no ability to per
                                                                 30 form arrhythmia analysis.
    This invention relates generally to a physiological monitor        Therefore, there is a need for a body worn combined physi
 and more particularly to a body worn physiological monitor. ological sensor and monitor having a disposable sensor, but
                                                                    used and worn by a patient as a single unit directly and
            BACKGROUND OF THE INVENTION                             non-permanently affixed to a patient’s body. Also, what is
                                                                 35 needed is a physically compact resistive element for protect
    Measurements of various physiological parameters are ing a body worn device from damage caused by multiple
 important to the study of the human condition. Physiological defibrillation cycles. Also, what is needed is a medical-grade
 measurements can be particularly important in a health care monitor that can intelligently measure and transmit data only
 setting, Such as in a hospital. One of the more important as required to alert clinicians that the patient needs additional
 physiological measurements performed on a patient is the 40 attention. What is also needed is a body-worn device capable
 electrocardiogram (ECG), showing the condition of the of running arrhythmia analysis through computationally effi
 human heart.                                                       cient algorithms.
    Portable patient monitors have evolved that allow patients
 to enjoy at least some mobility. Typically a battery operated                   SUMMARY OF THE INVENTION
 monitor can be hung on a belt, shoulder strap, or carried by a 45
 patient using some other similar hanging arrangement. Sen             According to one aspect, a body worn patient monitoring
 sors, such as ECG electrodes, are affixed to the patient’s body, device comprises at least one disposable module including a
 Such as with tape, and connected to the battery operated plurality of electrical connections to the body. The electrical
 monitor by wires. After a fixed interval of time, or at a low connections are coupled to a skin Surface of the patient to
 battery indication, the batteries can be replaced or recharged. 50 measure physiological signals of the patient. The at least one
 One example of a portable patient monitor is the Micropaq disposable module includes a disposable module connector.
 wireless patient monitor, manufactured by Welch Allyn, Inc., The body worn patient monitoring device includes at least
 that permits multi-parameter monitoring and patient alarm one internal or external power source to power the body worn
 capabilities built in a small, rugged, lightweight, patient patient monitoring device. The body worn patient monitoring
 wearable device.                                                55 device also includes at least one communication-computation
    Another version of a portable physiological monitor is the module, having a communication-computation module con
 heart rate monitor typically used by individuals engaged in an nector to receive physiological signals from the at least one
 athletic activity. The monitor includes a sensor, which gener disposable module via said disposable module connector. The
 ally makes director indirect contact with an individual’s chest communication-computation module also includes at least
 to monitor heart beats and then by wires, or by wireless 60 one microprocessor to actively monitor the patient and to
 techniques, the sensor transmits the sensed heart beat to a perform a real-time physiological analysis of the physiologi
 nearby microcomputer based monitor and display. Such units cal signals and a radio circuit to communicate a raw physi
 generally measure only heart beat and are not capable of ological signal or a result of the physiological analysis at a
 doing any of the traditional ECG analysis functions.               predetermined time or on the occurrence of a predetermined
    A recurrent problem with the portable monitors typically 65 event, via a radio transmission to a remote radio receiver,
 used in healthcare applications is the need for wires from wherein the at least one disposable module is mechanically
 sensors situated on the patient’s body to the portable unit. and electrically coupled directly to the at least one commu
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 nication-computation module. The body worn patient moni              FIG. 10 shows an alternative circuit protection to that
 toring device, including the at least one disposable module        depicted in FIG.9;
 and the at least one communication-computation module, is            FIG. 11 shows a flow chart for an algorithm utilized by a
 directly non-permanently affixed to the skin surface of the        body worn physiological monitor to detect whether a patient
 patient.                                                         5 has a pace maker,
    According to another aspect, a method of providing high           FIG. 12 shows a circuit topology of a high pass filter useful
 Voltage circuit protection for a body worn monitor comprises for baseline restoration;
 the steps of providing a substrate that Supports one or more         FIG. 13 shows seven graphs of amplitudes plotted versus
 electrical connections to a patient's body; determining a print 10 frequency to illustrate exemplary operation of the circuit of
 pattern and thickness of a first material having a first resistiv FIG. 12;
 ity to be printed on the Substrate; determining a print pattern      FIG. 14 shows two exemplary positions for a body worn
 and thickness of a second material having a second resistivity ECG monitor to be non-permanently affixed directly to a
 to be printed on the substrate; printing the first material onto patient’s body;
 the Substrate; and printing the second material onto the Sub 15 FIG.15 shows a block diagram of a setup for simulating the
 strate wherein at least part of the second material overlays the effect of patient defibrillation on resistive traces:
 first material.                                                      FIG. 16A symbolically shows resistive dots silk screened
                                                                     on a tray:
       BRIEF DESCRIPTION OF THE DRAWINGS                               FIG. 16B shows a histogram of an exemplary resistive
                                                                2O   distribution of baked resistive dots; and
    For a further understanding of these and objects of the            FIG. 17 shows an exemplary ECG waveform.
 invention, reference will be made to the following Detailed           Package styling varies slightly between the drawings. Such
 Description which is to be read in connection with the accom minor differences, e.g. the case styling of computation and
 panying drawings, in which:                                        communication module 102, illustrate minor variations in
    FIG. 1A shows an exemplary body worn physiological 25 mechanical packaging Suitable for use as body worn moni
 monitor having a disposable electrode module;                      tors. Drawings are not necessarily shown to scale.
    FIG. 1B shows a partially unassembled side view of the
 body worn physiological monitor of FIG. 1A:                                        DETAILED DESCRIPTION
    FIG. 1C shows an assembled side view of the body worn
 physiological monitor of FIG. 1A:                               30 A “body worn” device is described herein with regard to
    FIG.1D shows a bottom view of the body worn physiologi certain exemplary embodiments. A “body worn” device is
 cal monitor of FIG. 1A:                                            defined herein as a device that is directly, but non-perma
    FIG. 2 shows an exploded perspective view of an exem nently, affixed to a patient’s body. A “body worn monitor” is
 plary body worn physiological monitor;                             a device that can be directly “worn” on the patient’s body as
    FIG. 3 shows an exploded perspective view of an exem- 35 a single unit, including one or more physiological sensors and
 plary computation and communication module:                        a communications and computation module to perform at
    FIG. 4A shows an exemplary disposable unit flexible cir least initial processing of one or more physiological measure
 cuit board;                                                        ments made using one or more physiological sensors. Unlike
    FIG. 4B shows a partial enlarged view of a portion of the prior art patient-wearable devices, at least one sensor can be
 flexible circuit board of FIG. 4A, further showing an exem- 40 incorporated into the device that makes a direct or indirect
 plary resistive trace having a fillet;                             (such as by capacitive coupling) electrical connection with
    FIG. 4C shows a partial side elevated view of a portion of the patient’s body without the use of external wires from
 the flexible circuit board of FIG. 4A, further showing an sensors to the device. In addition and unlike athletic heart
 exemplary conductive Surface overlaying a resistive material; monitors, a “body worn monitor can be a full functioning
    FIG. 4D shows a partial side elevational view of the circuit 45 medical grade monitor, e.g. meeting the requirements of
 board of FIG. 4A, further showing an exemplary conductive European Unions Medical Device Directive and other appli
 Surface having a Snap receptacle;                                  cable industry standards, such as EC-13 for an electrocardio
    FIG.5 shows a block diagram of one embodimentofa body graph. The body worn medical-grade monitor can include a
 worn physiological monitor having a power source in a dis device, for example, such as a pulse oximeter, CO monitor,
 posable unit;                                                   50 respiration monitor, or can function as an ECG monitor,
    FIG. 6 shows a block diagram of one embodimentofa body incorporating physiological sensors, front end analog elec
 worn physiological monitor having a power source in or tronic signal conditioning circuits, and a microcomputer
 connected to the computation and communication module;             based computation unit with wireless reporting of measured
    FIG. 7A shows a schematic diagram of a direct connected physiological data, all contained within in a “body worn
 reference electrode used in conjunction with a body worn 55 package that can be non-permanently affixed directly to a
 physiological monitor,                                             patient’s body. A body-worn medical-grade monitor can also
    FIG. 7B shows a schematic diagram of a virtual reference include additional measurement capabilities beyond those
 electrode as used in conjunction with a body worn physiologi mentioned here.
 cal monitor;                                                          FIGS. 1A-1D depict various views of an exemplary body
    FIG. 8 shows a schematic diagram depicting one embodi- 60 worn physiological monitor 100 having a communication and
 ment of an analog Switching arrangement provided on a body computation module 102 and a disposable electrode module
 worn physiological monitor to select a reference electrode 110. In this exemplary embodiment, physiological monitor
 configuration;                                                     100 is designed for use as an electrocardiogram (ECG) moni
    FIG. 8A shows an exemplary driven lead circuit topology tor for obtaining and recording and/or transmitting ECG
 for use with electrodes of a body worn physiological monitor; 65 information, including ECG waveforms and alarms for a
    FIG. 9 shows an exemplary ESIS filter circuit topology person, such as a patient, wearing body worn physiological
 with circuit protection;                                           monitor 100.
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    FIG. 1A shows an exemplary top view of body worn physi AID(R”. One exemplary type of foam adhesive suitable for
 ological monitor 100. A crescent shape allows the body worn affixing a flexible circuitboard to a patient is 1.6 mm adhesive
 physiological monitor 100 to be placed on the chest of a foam from Scapa Medical of Bedfordshire, UK. As shown in
 patient, and more specifically around the pectoralis major, to FIGS. 1B and 1C (although not to scale), each of the electrode
 allow measurement of lead configuration I, II, or III, or to be gels 103 extend sufficiently below adhesive layer 105 in order
 placed on the patient's side allowing measurement using a to ensure good electrical connection with a patient’s skin
 V-lead configuration. Though not shown, multiple body worn surface (not shown). Tab 106, FIG. 1A, allows for easy
 physiological monitor 100 units can be used to effectively removal of a protective backing 111 from adhesive layer 105.
 provide multiple leads. By placing electrodes around the              Flexible printed circuit layer 101 can include contacts,
 body so that they are not situated directly atop major muscles, 10 Such  as battery clips (not shown), to receive and connect to
 both motion noise artifacts and muscle noise artifacts can be
 prevented. Moreover, by eliminating cables, noise due to ments, a204.
                                                                    batteries      (It is contemplated that in some future embodi
                                                                               single   battery can provide Sufficient electrical
 cable motion or compression (i.e. triboelectric effect) can be power.) In the exemplary         embodiment, as shown in FIG. 2,
 eliminated.
    FIG. 1B shows a side elevated view of physiological moni     15 batteries 204  can  be  mounted  under respective battery flaps
 tor 100 having an exemplary attachment mechanism, Such as 205 arranged on opposite sides of the flexible printed circuit
 a retention clip 104, to mechanically attach communications layer 101. Alternatively, battery clips (not shown) or battery
 and computation module 102 to the top surface of the dispos holders (not shown) can be used to provide both mechanical
 able electrode module 110. Flexible printed circuit layer 101      Support and electrical connections for each of the batteries
 can be made from a thin insulating material. Such as accord 204. One type of battery holder suitable for such use, for
 ing to this embodiment, a 75 micron thick layer of Mylar R. example, is the model 2990 battery holder, manufactured by
 Typically electrical traces (not shown in FIGS. 1A-1D) on the Keystone Electronics Corp. of Astoria, N.Y. Battery cover
 flexible printed circuit layer 101 can be further protected by 107 provides protection for batteries 204 as well as a surface
 an insulating covering, analogous to a conformal coating. A to press upon when applying electrodes 103 to conductive
 formed plastic layer or a cloth with adhesive on one side 25 surface 404. Retention clips 104 can comprise, for example, a
 thereof can be used to cover and protect flexible printed plurality of spring fingers with latching clips. Retention clip
 circuit layer 101, as well as to provide anaesthetic outer layer 104, affixed to disposable electrode module 110, can be used
 to make the body worn monitor 100 visually appealing.              to secure reusable communications and computation module
    FIG.1C shows a side view of physiological monitor 100 in 102 to disposable package 110. Reusable communications
 which the communications and computation module 102 has 30 and computation module 102 is herein illustrated in a simpli
 been affixed to disposable electrode module 110. FIG. 1D fied representation, including cover 201, communications
 depicts a view of the underside of exemplary physiological and computation printed circuitboard assembly 202, and base
 monitor 100 showing one embodiment of disposable elec 2O3.
 trode module 110 having electrodes 109. In this embodiment,           FIG.3 shows a mechanical view of an exemplary reusable
 each electrode 109 comprises electrode gel 103 and conduc 35 communications and computation module 102, as well as a
 tive surface 404 (FIG. 4). Together, electrode gel 103 and preferred method for making an electrical connection
 conductive surface 404 create a half cell, such as, for            between flexible printed circuit layer 101 in disposable elec
 example, a Silver/Silver Chloride half cell. Also and accord trical module 110 and communications and computation
 ing to this embodiment, conductive surface 404 can directly printed circuit board assembly 202 situated in reusable com
 accept the electrode gel 103.                                   40 munications and computation module 102. In this exemplary
    FIG. 2 shows an exploded assembly view of the exemplary embodiment, communications and computation printed cir
 body worn physiological monitor 100. As noted with regard cuit board assembly 202 can include a plurality of press fit
 to FIGS. 1A-1D, the body worn physiological monitor 100 and/or soldered conductive sockets 301 for receiving electri
 includes a removable and reusable communications and com           cal plug 302, the plug having a corresponding plurality of
 putation module 102 and a disposable electrode module 110. 45 conductive pins. Each conductive pin shown in plug 302 can
 the later including electrodegels 103 for ECG monitoring and correspond to an electrical connection pad on flexible printed
 batteries 204 to power communications and computation circuit layer 101. A row of mechanical sockets 303 can
 module 102. A flat planar insulating/adhesive member 105 receive the multi-pin row of plug 302. Thus, an electrical
 includes a plurality of openings that are each sized to receive connection can be made between each pad offlexible printed
 electrode gels 103. The insulating member 105 provides a 50 circuit layer 101 having a conductive post on plug 302 and
 bottom side cover for the flexible printed circuit layer 101 and each corresponding conductive Socket 301 on communica
 augments adhesion to the human body. Electrode gel 103. tions and computation printed circuit board assembly 202.
 when attached to an appropriate Substrate Such as silver Posts 304 can align and secure each of the cover 201, com
 silver-chloride or other substrate, can be used to establish a     munications and computation printed circuit board assembly
 relatively low impedance electrical connection between con 55 202, and base 203. Note that in FIG. 3, a simplified drawing
 ductive surface 404 (FIG. 4) and the patient’s skin.               of cover 201 omits slots to receive retention clip 104 to affix
    Electrode gels 103 can adhere to a patient’s skin. While communications and computation module 102 to disposable
 electrode gel 103 is typically an adhesive electrode gel, the package 110. A body worn monitor 100 would typically also
 adhesion offered by electrode gels 103 alone might not give a include retention clip 104 FIG. 2, or other suitable type of
 Sufficient holding force for non-permanently affixing body 60 mechanical clip(s), in order to provide a secure mechanical
 worn physiological monitor 100 to a patient. To achieve a connection between communications and computation mod
 better adhesion of body worn monitor 100 to a patient’s skin, ule 102 and disposable electrode module 110.
 insulating/adhesive member 105 can be used to non-perma               FIG. 4A shows one embodiment of flexible circuit board
 nently affix body worn physiological monitor 100 to a patient.     101 in an expanded (e.g. unassembled) view. Flexible circuit
 Thus, body worn monitor 100 can be applied to a patient in the 65 board 101 is formed on a substrate 406. Substrate 406 can be
 same way an adhesive Strip is applied, such as for example, cut, for example, from a Mylar sheet of suitable thickness. In
 those adhesive strips sold under the brand name "BAND this embodiment, one battery 204 can be mounted adjacent to
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 a conductive surface 404. Conductive gel 103 (not shown in           defibrillation energy typically enters body worn monitor 100
 FIG. 4) can be mounted on the exposed conductive side of a           from electrodes 109, FIG. 1D (electrodes 109 including con
 conductive surface 404.                                              ductive surface 404 and electrodegel 103).
    Conductive surface 404 can also be viewed as the electrode           It is desirable that the resistances of the protective resistive
 portion of a half cell and electrodegel 103 can be considered 5 traces be in a range between about 1 kilo ohm to about 10 kilo
 to be the electrolyte portion of a half cell. In conventional ohms. Below 1 kilo ohm, depending on the resistive material
 terms of art, the combination of electrode and electrolyte and used, it can be more likely that the resistance of the resistive
 ECG electrode is typically referred to as a half cell. For traces 412 and 413 will increase with each successive defibril
 example, the combination of a conductive Surface 404 and an lation pulse. Above 10 kilo ohms, a high resistance impairs
 electrolyte layer (e.g., electrodegel 103) forms a half cell. For 10 the signal to noise ratio, specifically due to thermal noise,
 convenient quick reference to a half cell structure, the term which has a mean square value of 4*k*T*R*BW, where “k”
 “electrode' (assigned reference designator “109) is used is Boltzmann's constant, “T” is temperature measured in
 interchangeably with “half cell herein. It is understood that
 in typical embodiments, electrode 109 comprises conductive degrees Kelvin, “R” is resistance in ohms, and “BW is band
 surface 404 and electrode gel 103.                                15 width, in Hz, which becomes significant relative to the EC-13
    Typically, electrodes make use of a circular or square con requirement that the noise referred to input be less than 30 V
 ductive surface. Increasing the ratio of the perimeter of the peak-to-valley.
 surface to the area of the surface affects current density dis          Power dissipation in the herein described traces can be
 tribution and defibrillation recovery.                               calculated by E/R, in which E refers to the potential across
   For convenience, we define the term “annulus' herein and            the trace and R is the resistance of the trace. R can be calcu
 throughout as the region between two simple curves. A simple          lated by pl/A, where p is the resistivity of the material used
 curve is a closed curve that does not cross itself. Under this        to form the trace, L is the length of the trace, and A is the
 definition, an annulus can include Substantially square cross-sectional area of the trace.
 shapes, Substantially rectangular shapes, Substantially circu          In developing resistive traces for use on a flexible printed
 lar shapes, Substantially oval shapes, as well as Substantially 25 circuit layer 101, typically formed on a Mylar substrate 406,
 rectangular shapes with rounded corners. Further we include such as shown in FIG. 4A, various materials were tested.
 in the definition of annulus, the case of a substantially “U” Silver, including silver inks, while useable, was found to be
 shaped surface as described by a single closed curve.               less desirable, because it was difficult to achieve sufficiently
    One exemplary electrodegel 103 suitable for such use on a thin silver traces on Mylar to achieve high enough resistances.
 body worn monitor is type LT00063 hydrogel supplied by 30 Carbon, including carbon pastes and carbon inks, was also
 Tyco Healthcare of Prague, Czech Republic. Typically, a
 conductive surface 404 creates the electrode portion of the tried         and found to be suitable. In order to use carbon however,
                                                                     several additional problems had to be solved. At 1 kilo ohm,
 half cell. By increasing the ratio of perimeter to area of the the      power dissipated by the resistors caused them to degrade
 circular electrode portion of the half cell, the signal to noise across     multiple defibrillation cycles. The solution was to
 ratio of the input ECG signal can be increased.                  35
    As depicted herein on the exemplary circuit layout, two          make   carbon traces in the range of about 8 to 10 kilo ohms. 10
 batteries 304 can be connected in series, with one polarity         kilo  ohm   resistances   proved to be a good compromise
 being made available at connection pad 407 from battery between noise levels, power dissipation by the resistors, and
 connection 402, battery connection 401 creating the series manufacturing tolerances for depositing carbon ink on a
 connection between the two batteries, and connection pad 40 Mylar substrate to dissipate the power from multiple defibril
 410 providing the second polarity of the series connected lation cycles. To achieve the desired resistance of about 10
 batteries. Note that in some embodiments, a single battery kilo ohms (interchangeably represented herein as “10 k” or
 alternatively may be used in lieu of the exemplary arrange “10kS2'), for a given resistivity of the carbon paste, and given
 ment or two batteries can be also wired in parallel, depending trace width and thickness (height), the length of the trace is
 on the Voltage requirements of a particular communications 45 then defined. In some cases, such as for traces 412, the length
 and computation module 102.                                         needed for a trace run, as between conductive surface 404 and
    Connection pads 408 and 409 electrically couple the sig connection point 409, might belonger than the length defined
 nals from electrode gels 103 (not shown in FIGS. 4A-4D) via for a particular trace resistance (typically 10 k). In this case,
 conductive surface 404 and resistive traces 412 to electrical       traces can be extended by lengths of silver conductive traces.
 plug 302 (not shown in FIGS. 4A-4D). Electrode contact pad 50 There can be a short overlay distance, on the order of 5 to 10
 405 can be connected via resistive trace 413 to connection pad mm, in which a silver trace overlaps the carbon trace to
 411 to provide a direct-connected reference electrode (not provide a more robust connection between the resistive and
 shown in FIGS. 4A-4D). Traces 412 extending between con conductive portions of the traces. Where overlap is used, the
 ductive surface 404 and connection pads 408 and 409 and overall length of the resistive portion can be adjusted slightly
 trace 413 extending between conductive surface 405 and 55 to maintain the desired overall resistance.
 connection pad 411 can be made from resistive materials                Another problem associated with carbon traces was arcing
 including resistive metals, carbon, silverink, powders, paints, at the interface between the carbon and conductive traces.
 or other material of determinable electrical resistance.            Arcing was particularly problematic at the abrupt connection
    Resistive traces on flexible circuit board layer 101 replace between the carbon trace and conductive surface 404. Arcing
 the bulky power resistors needed by prior art monitors, having 60 was also observed to occur between the end section of the
 electrodes or sensors connected by wires or leads. These carbon trace and conductive surface 404. (Electrode gels 103
 resistive traces should survive multiple defibrillation cycles create the conductive path to the patient through conductive
 such that body worn monitor 100 remains functional even Surface 404 and a layer of conductive gel.)
 after one or more attempts to re-startapatient’s heart. In order       According to one solution to the above noted arcing prob
 to survive defibrillation, the resistive traces should dissipate 65 lem, as shown in FIG. 4B, a rounded (fillet) section 430 of
 that portion of the potentially damaging defibrillation energy carbon trace can be added at the interface to conductive Sur
 that is coupled into the monitor. This fractional portion of the face 404. A fillet or “tear drop' shape causes the carbon trace
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 to become gradually wider as it connects to conductive Sur         the carbon annulus, also to an overall thickness of about 7.5
 face 404 and relieves the electrical potential stress at the       microns. The deposition of the silver layer was via the silk
 interface.                                                         screen printing method, in which a 90T silkscreen mesh was
    An alternative solution to the arcing problem is shown in       used. The Substrate containing the deposited silver ink was
 FIG. 4C, wherein carbon can be laid down beyond the trace then cured inside a fan assisted air circulated oven at 120° C.
 (412) to include a pattern of conductive surface 404 formed for a period of 15 minutes. A third dielectric insulating layer
 from carbon. A carbon annulus pattern can be deposited comprising SD2460, components A & B (dielectric and hard
 before the conductive surface 404 is deposited. Conductive ener), manufactured by Lackwerke Peters GmbH+Co. KG of
 surface 404 can then be deposited as an overlay over the Kempen, Germany, and having a thickness of approximately
 earlier formed carbon annulus shape. Finally, conductive gel 10 13 microns was then deposited over the traces and Substrate,
 103 can be attached to the conductive surface layer (the car but not over the annulus. (The electrodes were formed by
 bon layer residing between conductive surface 404 and the attaching a conductive gel to the annulus. The conductive gel
 Mylar substrate used as flexible circuit board 101). Both of used was LT00063 hydrogel from Tyco Healthcare of Prague,
 the aforementioned arcing solutions can be used together. It Czech Republic.) Again, the silk screen printing process was
 should also be noted that conductive surface 404 can be 15 used to deposit the dielectric layer through a 90 T screen
 formed from suitable materials other than silver, including, mesh. The Substrate was placed again into a fan assisted air
 for example, materials such as silver chloride.                   circulated oven at 120° C. for a period of 30 minutes.
    Arcing can also occur between the resistive traces and            Example: Silver traces for use as conductive (not resistive)
 other (typically silver) conductive traces on the flexible cir traces on a body worn monitor circuit substrate were formed
 cuit board 101. Trace to trace arcing can be suppressed by from a silver paste that was silk screened onto a Mylar sub
 allowing Sufficient spacing between the traces. Generally a strate. 45 mm long traces had a measured resistance in a range
 minimum spacing of about 3 mm/kV, as required by ASNI/ of 3.5 to 6 ohms, 75 mm traces had a measured resistance in
 AAMIDF80:2003 57.10 BB, has been found to be sufficient           a range of 6.5 to 13 ohms, and 105 mm traces had a measured
 to prevent trace to trace arcing from a defibrillation event. resistance in a range of 10 to 16 ohms. The deposition of the
 Closer trace spacing, as close as 0.01 mm/kV, can be 25 silver layer was performed via the silkscreen printing method
 employed Successfully by first applying an insulating dielec in which a 90 T silk screen mesh was used. The substrate
 tric layer, similar to a conformal coating, over the Surface of containing the deposited silverink was then cured inside a fan
 flexible circuitboard 101 that covers most of the substrate and   assisted air circulated oven at 120° C. for a period of 15
 traces. The insulating dielectric layer can be prevented from minutes.
 forming or adhering to conductive Surface 404. Such as by use 30 FIG. 15 diagrammatically depicts an exemplary test setup
 of a mask during application of the insulating layer.             used to simulate the effect of a patient defibrillation on resis
    In an alternate embodiment, as depicted in FIG. 4D, a snap tive traces. Defibrillator 1501 was used to apply multiple
 device can be added to conductive surface 404 to accept a defibrillation shocks of 360 Joules each to the 100 ohm resis
 manufacture Snap-on electrode (not shown), such as, for tor 1502. The 100 ohm resistor according to this setup simu
 example, the ConMed Cleartrace line of ECG electrodes 35 lated a patient’s body. Note that most of the defibrillation
 including the model 1700 Cleartrace electrode manufactured energy goes into the patient’s body by design, to restart the
 by the ConMed Corp. of Utica, N.Y. or similar type electrodes patient’s heart. Resistive traces 1503 and 1504 were wired
 made by the 3M Corp. of St. Paul, Minn. When designed to across resistor 1502, also as shown in FIG. 15, in order to
 accept a Snap-on electrode, the conductive Surface 404 is simulate the electrical circuit that would be formed between
 typically smaller than in the previous embodiment. A recep 40 the resistive traces in a body worn monitor situated on a
 tacle Snap 432 for receiving the commercial Snap-on elec patient undergoing defibrillation. Neon bulbs 1506 were used
 trode can be inserted by any suitable method, such as by press as part of the protection circuitry that can be used with resis
 fitting or other fastening method, into conductive surface 404. tive traces in a body worn monitor. 400 ohm safety resistor
 typically also penetrating through Substrate 406. In this         1505 was present as a precaution to limit short circuit current
 embodiment, arcing can be similarly Suppressed in this 45 in the event of a test setup failure. Both the 100 ohm resistor
 embodiment by adding a fillet to the carbon-conductive sur (simulating human skin resistance) and the 400 ohm safety
 face interface and/or deposing a conductive Surface 404 over resistor were used in accordance with medical specification
 a carbon layer as previously described.                           AAMI EC-13. Following 3 defibrillation shocks of 360
    Example: Resistive traces and an annulus were tested on a Joules each, the measured resistance of the 10k carbon track
 substrate formed from CT3 heat stabilized treated polyester 50 changed from 10k to 11 k following the first shock, to 13.1 k
 (75 microns thick), such as manufactured by the MacDermid following the second shock, and to 13.2 k following the third
 Autotype Corp. of Schaumburg, Ill. Resistive traces were silk shock. The measured resistance of the 9.7 k trace changed
 screened onto the Substrate using 7102 carbon paste conduc from 9.7 k to 11.6 k following the first shock, to 13.0 k
 tor from the DuPont Corporation of Wilmington, Del. The following the second shock, and finally to 13.2 k, following
 carbon paste conductor was deposited through a 43 T silk 55 the third shock. In a subsequent related test, the 100 ohm
 screen mesh. The Substrate containing the paste deposit was resistor was replaced by a closer simulation in the form of a
 then cured inside a fan assisted air circulated oven at 120° C.   fresh (dead) chicken. The setup otherwise remained the same
 for a period of 5 minutes. The traces formed were about 55 as shown in FIG. 15. In this case, the resistance as measured
 mm long and 2 mm wide, having an overall thickness of about on each of the test resistive traces changed from 10.7 k to
 7.5 microns. The initial measured resistance of each trace was 60 10.25 k, and from 8.5 k to 9.4 k, following multiple defibril
 about 14 kilo ohms. After each trace was subjected to 3 lations. During testing, it was also noted that the change in
 defibrillation cycles, the measured resistance increased to measured resistance of the resistive traces was generally con
 about 15 kilo ohms. Over a 3 mm length, the trace widens to sistent. It was also noted that as a given resistive trace was
 about 5 mm, terminating into a carbon annulus with an outer increased, the (delta R{caused by defibrillation/Rnet trace
 diameter of about 20 mm and an inner diameter of about 10 65 resistance) can be minimized.
 mm. A silver layer of PF-410 silver ink from the Norcote              The screen printing technique for laying down resistive
 Corp. of Eastleigh Hampshire, UK was then deposited over           traces was further investigated by printing a plurality of small
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 carbon resistive dots 1601 of about 20 mm in diameter using           is required to  cause  the Small  pre-amplified potentials from
 a 7102 carbon ink applied by a screen printer (not shown). physiological sensors (such as electrodes 109) to more
 The carbon dots 1601 were laid out on a tray 1602 as shown closely match the available dynamic range of the digitizing
 in FIG. 16A, for baking in an oven. A manually operated ADC516. Note that ADC516 can be a dedicated ADC chip or
 Squeegee (not shown) was used to apply the resistive dots can be included in a microcomputerintegrated circuit, such as
 1601 to the tray 1602 through a mask (not shown). It was a microcomputer serving as microprocessor 512.
 determined that control of thickness during application was              A microprocessor, Such as microprocessor 512, is defined
 one important factor for controlling the distribution of resis herein as synonymous and interchangeable with the terms
 tance. It was noted that during manual application, the varia “microcomputer”, “microcontroller, and “microprocessor.
 tion of resistance depended upon the distance between the 10 Such microprocessors are also interchangeably represented
 plurality of dots 1601 and the person applying the resistive herein as “u P’ or “LL C. Further, any microprocessor dis
 paste, and that the pressure applied using the Squeegee could closed herein can be replaced by any integrated device that
 also affect the final resistance by a factor of two. It was further can perform the function of a microprocessor, Such as, but not
 noted that “even heating across the tray 1602 was advanta limited to, a field programmable gate array (“FPGA) pro
 geous during oven drying, although this factor was found to 15
 have less effect on the final dot resistance distribution. A          grammed to perform the functions of a microprocessor.
 resistance distribution of the baked and measured dots 1601 is           Typically, one or more differential amplifiers can be dedi
 shown in the histogram of FIG. 16B. This testing indicated cated to particular difference Voltages associated with physi
 that production traces laid down on a Substrate, such as Mylar, ological sensors 501 or 504, but it should be noted that one or
 for use in a body worn monitor should preferably be printed more amplifiers 508 can also be multiplexed by techniques as
 using a semi-automatic screen print process. Such as by a known in the art, to serve multiple physiological sensors
 screen printing mechanical roller process. A digital multim using a lesser number of amplifiers. Similarly, one or more
 eter (“DMM) with probes placed at each edge of a dot 1601 ADCs 516 can serve two or more signals from physiological
 was used to measure the resistance from one edge of the dot sensors 501 or 504 using techniques such as multiplexing in
 to the other. It was found that uniform application of ink was 25 time that is digitizing one physiological sensor difference
 important to keeping a tight distribution of resistance, with signal at a time sending a digital result to a next stage one after
 even heating having a smaller influence on the distribution of the other. ECG circuits 510 and PACER circuits 509 are
 the resistance of the test dots. Since a trace with too low a         referred to in the plural, since there can be individual circuits
 resistance has a greater A R/R, and higher probability of for each measured physiological signal. Such as for each
 failing and very high resistance traces result in worse S/N 30 measured ECG vector.
 ratio, it is important to have areasonably tight tolerance on the        Electrical power from power source 515 can be regulated
 trace resistance.                                                     by regulator 514 and distributed as regulated voltage 517 to
    FIG. 5 shows a block diagram representative of one most function blocks (as represented herein by the label
 embodiment of the body worn physiological monitor 100. “POWER”). Each of these function blocks also has a control
 Physiological sensors 501 (such as electrodes 109 in FIG.1D) 35 (“CTRL) input 511 from microprocessor 512, allowing
 can be electrically coupled to electromechanical connector these circuits to be disabled, when not needed, in order to save
 502 (as by the resistive traces 412 shown in FIG. 4). Connec battery power. When viewed over time, most of the ECG
 tor 502 serves to electrically couple communications and waveform does not contain useful information since there is
 computation module 102 to a disposable electrode module significant “dead time' between heartbeats. Therefore, for
 110 (FIG. 2). Secondary connector 503 can also electrically 40 example, from the end of a “T wave' at the end of one heart
 couple one or more additional sensors, which can be situated beat to the beginning of a “P wave' at the beginning of the
 both on and off of disposable electrode module 110, to elec next heartbeat, circuits can be powered down (in a device
 tromechanical connector 502 for electrical coupling along “sleep mode’) to save on the order of 60% of the energy
 with physiological sensor signals 501 to communications and stored in the power source that would have otherwise been
 computation module 102 (shown in FIG. 1) via electrome 45 used during this dead time.
 chanical connector 505. Signals received by the communica                FIG. 17 shows an exemplary ECG waveform. In brief, the
 tions and computation module 102 can be electrically P wave can be related to the electrical current causing atrial
 coupled into communications and computation module 102 contraction. The QRS complex can be related to ventricular
 via electronic protection circuits 506 and/or filters, such as contraction of the left and right ventricles. The Q wave can be
 ESIS filters 507.                                                  50 related to electrical current traveling through the intraven
    Signals can be limited or clipped in amplitude, as needed, tricular septum, while the Rand S waves can be related to the
 by protection circuit 506, and filtered by filter 507. One or Ventricles contracting. The T-wave is due to the re-polariza
 more analog amplifiers 508 can be used to amplify the ampli tion of the Ventricles. Usually, atrial re-polarization occurs
 tude limited and filtered signals. In the exemplary body worn atop the QRS complex, and being much smaller than the QRS
 ECG monitor, amplifiers 508 can advantageously be differ 55 complex, is not seen. The ST segment connects the QRS
 ential amplifiers to amplify the difference signal (e.g. the complex to the T-wave. Irregular or missing waves may be
 ECG “vector”) between two ECG electrodes. The electrical indicators of cardiac issues including: ischemic tissue, e.g.
 output of amplifiers 508 can be electrically coupled to both due to myocardial infarction, bundle branch block, atrial
 PACER circuits 509 and ECG circuits 510. PACER circuits               problems (specifically P-wave abnormalities), pericarditis,
 509 are described further below. ECG circuits 510 perform 60 and electrolyte disturbance.
 several functions, including “trace restore, low pass filtering          Generally, power source 515 can include one or more “but
 (anti-aliasing), high pass filtering, and amplification (gain). ton' cells typically disposed on disposable electrode module
 Low pass filtering filters signals according to the Nyquist 110; however, the block diagram of FIG. 6 shows an embodi
 criterion to avoidaliasing later when the signals are digitized ment of a body worn physiological monitor 100 where power
 by analog to digital converter (ADC) 516. The high pass filter 65 is Supplied by a power source located on, or connected to
 causes the input to be AC coupled from a roll off frequency of communications and computation module 102 instead of
 about 0.05 Hz, as specified by industry ECG standards. Gain residing within disposable electrode module 110.
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    Beyond power saving considerations, it can also be desir (exemplary electrodes 109). Difference amplifier 508 con
 able in Some embodiments of body worn physiological moni veys the difference signal (such as an ECG vector) as previ
 tor 100 to put the microcontroller and/or other circuits, ously described. The two 10 kilo ohm resistors provide an
 including particularly digital circuits, into a sleep mode dur average of the common mode signals appearing simulta
 ing an ADC conversion cycle to minimize pickup of self 5 neously at the inputs of buffer amplifiers 810 and 811. The
 generated electrical noise and to minimize power use. Pref inverting low pass filter built around OpAmp 812 inverts the
 erably, the A/D circuit can acquire multiple samples and averaged common mode pickup signal (at electrodes 1 and 2)
 buffer the samples, before awakening the microprocessor, and applies that signal out of phase (180° phase shifted) to a
 which then can batch-process the data. Buffering can be set to directly connected driven electrode (such as electrode 701).
 match the patient's heart rate, as there is no significant clinical 10 By applying the average common mode signal to the driven
 benefit to analyzing every sample as it is taken.                      electrode, amplifier 812 effectively suppresses common
    Turning back to the input circuits, typically amplifiers 508 mode signals at electrodes 1 and 2 within the effective band
 are differential or instrumentation amplifiers useful to selec width of the negative feedback loop by active noise cancel
 tively amplify desired difference signals between connector lation. In theory, a virtual electrode 702 could be similarly
 terminals (such as an ECG vector), while rejecting common 15 driven, but the Voltage requirements to drive a capacitively
 mode signals (such as interfering signals that appear simul coupled common electrode are high enough to make a “driven
 taneously on both connector terminals). Beyond using a dif virtual electrode' a less practical option. Thus, it can be seen
 ferential amplifier, other techniques can be advantageously that a reference electrode can be a passive connection or an
 used to further reduce common mode pickup (CMR) and thus actively driven connection.
 to improve the common mode rejection ratio (CMRR) of the                  It can also be desirable to have more than one CMR tech
 input amplifier stages of body worn physiological monitor nique available. For example, in a low noise environment, a
 100. CMR is of particular concern with regard to body worn lower power reference electrode might be used for CMR.
 physiological monitor 100 because of the proliferation of Then if the noise increases to a level where the reference
 potentially interfering electromagnetic fields, such as from 50 electrode provides insufficient CMR, the body worn monitor
 HZ or 60Hz AC power line distribution throughout a hospital. 25 can switch to a driven lead more suitable for CMR in a high
 For example, many fluorescent ceiling lamp fixtures generate noise environment. In this embodiment, a particular CMR
 strong 60 Hz, alternating current (AC) electromagnetic fields configuration can be selected by electronic switching. FIG. 8
 that can appear as common mode signals on physiological shows one such exemplary Switching block represented as
 sensors 501, such as ECG electrodes 109.                               reference electrode switch 801. Microprocessor LP) 512 can
    FIG. 7A shows one embodiment in which body worn 30 control reference electrode switch 801 to select direct con
 physiological sensor 501 comprises a plurality of ECG elec nected electrode 701, virtual electrode 702, or directly con
 trodes 109 and 701. Two electrodes 109 generate an ECG nected electrode 701 additionally driven by a driven lead
 difference potential for patient 703. A third electrode, refer circuit 802. It should also be noted that in the embodiment of
 ence electrode 701 can be electrically coupled to electronics FIG. 8, when virtual electrode 702 provides sufficient CMR,
 common 704 (or other potential level) and can be used to 35 electrode 701 can be used as a third electrode, thus allowing
 improve CMR. In this embodiment, the electronics common body worn monitor 100 to simultaneously measure two dif
 704 (shown as the negative terminal of the battery in FIG.7A) ferent heart vectors.
 can be directly tied to the patient in the vicinity of electrodes         FIG.9 shows one embodiment of an exemplary defibrilla
 109. Thus, the electronics common of the electronic circuits           tion protection circuit (506) and ESIS filter 507. As shown in
 in communications and computation module 102 can be 40 FIG. 9, electrodes 109 can be connected via input resistors
 made to more closely follow any change in potential in the R91 and R92. Gas discharge tubes, such as neon bulbs L1 and
 vicinity of electrodes 109. Reference electrode 701 can be L2, can be used for over Voltage protection by firing at a
 particularly helpful to ensure that inputs 109 remain within a designed Voltage to prevent large potentials from appearing at
 reasonably narrow common mode range. Such as by reducing the input leads to amplifier 508. The gas discharge tubes can
 a 60 Hz, potential that would otherwise appear to move the 45 be disposed on either disposable electrode module 110 or on
 electronics common 704 at 60 Hz, with respect to electrodes the communication and computation module 102. Defibrilla
 109.                                                                   tion protection resistors R91 and R92 can further reside in
    In another embodiment as shown in FIG. 7B, virtual elec             disposable electrode module 110, such as in the form of the
 trode 702 performs a similar function as previously described resistance of traces 412.
 with regard to reference electrode 701. In this embodiment, 50 ESIS filters 507 can be used to satisfy AAMI standard
 instead of creating a DC-coupled reference electrode, elec EC13 on Electrosurgical Interference Suppression (ESIS).
 trode 701 is replaced by the capacitive coupling between Standard EC13 addresses the ability of an ECG monitor to
 flexible printed circuit layer 101 and the patient 703, resulting display and process ECG signals in a satisfactory manner
 in a virtual electrode 702 with an AC coupled common. Such while connected to a patient on whom an electroSurgical
 AC coupling increases with decreased distance between flex 55 device is being used. Without such suppression, the high RF
 ible printed circuit layer 101 and the patient and can advan output of an electroSurgical device can render ECG monitor
 tageously reduce 60 HZ common mode signals (AC signals). ing impossible and or render the monitor unusable. Resistors
    In yet another version of a directly connected electrode R93 to R98 and capacitors C91 to C96 form cascaded low
 701, as shown in FIG. 8A, electrode 701 can be actively pass filter sections (e.g. R93-C1). Three cascaded single pole
 driven by an electrical output from communications and com 60 filters are shown on each input leg of amplifier 508 as an
 putation module 102. Typically, an operational amplifier example; more or less stages can also be used. It is also not
 (OpAmp) or other type of amplifier can be used to create a necessary for each section of the cascaded filter to have iden
 “driven lead’. Driven lead circuits can be used to further             tical values or roll off points in the frequency domain to create
 improve CMR over passive electrodes 701 as shown in FIG. a specific response, e.g., Bessel, Chebychev, or other filter
 7A. An exemplary circuit suitable for use to drive an electrode 65 response known to those skilled in the art. Also, ESIS filters
 701 is shown in FIG. 8A. Amplifiers (OpAmps) 810 and 811               are not limited to cascaded single pole filters and can take
 buffer the high impedance signals from electrode 1 and 2 other forms as known in the art.
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    Test circuit 906 can provide a relatively sharp transient           FIG.11 shows an algorithm useful to determine if the pacer
 signal for testing the PACER circuit described below as part circuit should be enabled. A typical PACER detection circuit
 of a body worn monitor 100 “power on self test”. Resistors uses a significant percentage of the energy available from a
 R99 and R100 can pull the output of the differential amplifier power source such as batteries 204. If a PACER signal is not
 508 allowing the microcontroller (512) to detect which elec 5 detected, such as at power up of body worn monitor 100, the
 trode, if any, has detached, much as a “lead failed detection pacer circuit can be automatically disabled allowing for a
 is accomplished by ECG monitors having leads. Body worn longer battery life. Since typical PACER circuits can use
 monitor 100 does not use leads, but it is still possible for one several amplifiers (Op.Amps), they can consume up to one
 or both of the physiological sensors to move free of a patients third of the analog power, therefore securing the PACER
 body. Such disconnects can occur in situations in which body 10 circuits when they are not needed (i.e. the patient does not
 worn monitor 100 partially moves away from the body to have a pace maker) can cause a significant improvement in
 which it is non-permanently affixed. The input impedance at battery life. The algorithm also can also provide checks to
 one or both of the electrodes 109 changes in a sensor off determine if a demand type pace maker begins operation
 (sensor disconnect) event. When a patient is attached, ampli (which might be inactive at power up of body worn monitor
 fier 508 typically has an output voltage of near Zero volts. 15 100) by analyzing beat variability. While it can be advanta
 However, if one of the electrodes 109 comes off, resistors R99      geous to have the body worn device automatically sense the
 or R100 cause the output of amplifier 508 to move to a most presence of a pacemaker and to enable the PACER detection
 positive output ("positive rail’) or to a most negative output circuit, the choice as to whether to enable or disable the
 (“negative rail'). Note that the negative rail can be a small PACER circuit can also be done by externally configuring the
 Voltage near Zero, in the case of single Supply circuit opera body worn device. Such external configuration can be done
 tion, and that both inputs could be pulled to the same rail. through a hardwired communication connection cable or via
 Lead-fail detection can also be analyzed to determine when communications and computation module 102, in which
 the device is attached to the patient and then to automatically communications and computation module 102 is a two-way
 enter full operational mode. Such analysis can be done at a radio transceiver communication device capable of receiving
 low frequency.                                                   25 a configuration command sent for a remote radio transceiver.
    The ESIS filter 507 also can cause a stretching in the time The radio could be 802.11 compliant, but generally would use
 domain of a pacerpulse so that the eventis recorded by at least a lighter-weight (simpler) protocol that can be more energy
 one sample, even though the pacer pulse itself is of Small efficient, A suitable lighter weight protocol could be propri
 duration compared to the ADC sample rate and the pacer etary, or standards-based. Such as ZigBee or Bluetooth. A
 pulse is likely to occur between samples.                        30 body worn physiological monitor 100 is particularly well
    FIG. 10 shows an alternative circuit to accomplish over Suited for use in hospital environment as part of an integrated
 voltage protection, such as is required during defibrillation. In wireless monitoring network. The details of such monitoring
 FIG. 10, diodes 1001 prevent the electrode potentials from networks are disclosed in U.S. patent application Ser. No.
 going much more than one diode Voltage drop above Vcc or 11/031,736 entitled, “Personal Status Physiological Monitor
 below ground and resistors R91 and R92 limit current. Using 35 System and Architecture and Related Monitoring Methods',
 circuit protection, such as gas discharge tubes L1 and L2 which is incorporated by reference herein in its entirety.
 (FIG.9) and/or diodes 1001 (FIG. 10) combined with resis               FIG. 12 shows a high pass filter (HPF) suitable for use in
 tances R91 and R92, typically in the form of resistive traces ECG circuits block 510. An advantage of a 0.5 Hz HPF is
 412, a body worn device can survive multiple defibrillation faster recovery from DC offsets due to patient movement,
 cycles of at least 360 joules.                                   40 defibrillation, electrocautery, etc. However ST segment
    PACER circuit 509 detects pacemaker pulses. One reason analysis is negatively impacted if HPF cutoff is greater than
 to detect a pacemaker is to prevent the ECG circuitry from about 0.05 Hz. Thus, it is preferable to have the ability to
 inadvertently registering the regular pulses from a pacemaker change between a 0.5 and 0.05 Hz cutoff frequency. The high
 as an actual heart rhythm. Separation of a pacemaker signal pass filter of FIG. 12 is implemented by a low pass filter
 from signals generated by the heart is important both togen 45 configured as an inverting amplifier in a negative feedback
 erate accurate ECG analysis results as well as to correctly circuit to give a net effective high pass transfer function from
 detect the absence of an actual heart rhythm. For example, a circuit input to output. The corner frequency of the composite
 pacemaker continues to function even where a human heart filter can be adjusted by switching in resistor R2'. Alterna
 has completely failed.                                              tively, S1 can be switched at a periodic rate to place a duty
    A pacer event (pacemaker signal) is typically a narrow 50 cycle on C. Note that the frequency of switching of SI should
 pulse typically less than 100 microseconds wide. Because of be fast with respect to the corner frequency of the anti-alias
 the capacitance between the pacer in a patient and an ECG ing low pass filter. The graphs A-D of FIG. 13 further illus
 circuit, an otherwise relatively square pacer pulse as admin trate the performance of the exemplary filter of FIG. 12. These
 istered at the patient's heart by a pacemaker, can appear to an graphs show normalized amplitude on the vertical axis plot
 ECG monitor as a pulse with a negative undershoot and an 55 ted against frequency on the horizontal axis. FIG. 13, graph A
 exponential return to Zero that could inadvertently mimic a represents a raw input signal, FIG. 13, graphs B and C are
 QRS signal. A pacer signal, however, can be recognized by an Bode Plots representing the high and low-pass filter sections.
 analog differentiator and alert microprocessor 512 to the pres After applying filter responses B & C to input Data A, filtered
 ence of a pacer and to disregard the refractory period of the data D is the result. The HPF cutoff can be 0.5 Hz or some
 corresponding R-C recovery due to the pacer signal. The 60 lower value depending on whether R2 is switching in or if C
 pacer detection circuit or PACER circuit can generate a is duty cycled.
 microprocessor interrupt to inform the microprocessor that a           Another method to achieve this frequency change is to use
 pacerevent occurred and to marka corresponding physiologi digital filters implemented on Microprocessor 512 to reverse
 cal signal in time as related to a pacer event. PACER circuit the effects of the 0.5 Hz HPF, then implement a digital HPF at
 509 can also cause one or more pacer related circuits to 65 a lower cutoff frequency, 0.05 Hz, for example. The response
 automatically power down for power saving, where it is deter of the 0.5 Hz filter should be known to implement the inverse
 mined that a patient is not using a pacemaker.                      filter. This response can be measured using microprocessor
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 512 to trigger the test circuit 906 to create an impulse, H(s).        Turning to analysis routines Suitable for use on abody worn
 The inverse response is the 1-H(s) (FIG. 13, graph E) and monitor, typically, ECG beat picking, such as by using wave
 this inverse filter can be digitally implemented by methods let or Fourier transforms and/or matched filter analysis in the
 familiar to those skilled in the art. H(s) is the frequency time domain can be computationally expensive. Modeling the
 response of the new HPF with lower cutoff frequency, nomi QRS pulse as three triangles with alternating polarities cre
 nally 0.05 Hz. The digital filter for H'(s) is digitally generated ates a rough matched filter for the QRS pulse. Taking the
 (F) and applied along with 1-H(s) (FIG. 13, graphE), result second derivative results in impulse functions at the peaks of
 ing in the frequency response displayed in FIG. 13, graph G. the triangles (where the first derivative is discontinuous), and
 A high pass filter suitable for use in ECG circuits block 510 10 all other points are zero. The second derivative method also
 can be implemented in full or in part by software that can run makes the convolution with incoming data extremely efficient
 on microprocessor 512.                                               as most of the multiplies have a 0 as the multiplicand and
    FIG. 14 shows how a body worn monitor 100 configured as requires minimal computation. The result can then be inte
 an ECG monitor can be situated on a patient in at least two grated twice to produce a matched-filter output, which can be
 different orientations to measure different heart vectors. A 15 fed into the beat-picking algorithm that provides fiducial
 primary heart vector is measured by orientation from the marks. Using a second matched filter that is sinusoidal in
 patient’s right shoulder to the left hip, as shown by position shape and with appropriate discriminators, the system can
 1401. An alternative position 1402 can be more suitable provide indications of Life Threatening Arrhythmias (LTA);
 where there is injury or where patient anatomy is such that it that is, Asystole, Vfib, and Vtach. While the accuracy of this
 causes the preferred position 1401 to be less desirable. Also,       system is less competitive with a high-end Arrhythmia solu
 body worn monitor 100 can be affixed to the side of patient tions such as those provided, for example, by Mortara, the
 703 (similar to a measurement made by a conventional ECG filters can be tuned to err toward false positives and upon a
 “V” lead) or back of a patient 703 (such as where a patient positive LTA response, activate transmission of full wave
 needs to sleep on their stomach) to monitor still other ECG forms.
 vectors (not shown). In effect, a body worn monitor 100 can 25 Research has also shown that analysis of the R-R portion of
 be placed to pick a particular vector that can be traversed by the ECG waveform interval statistics can provide a method to
 the electrodes 109. For example at least the first three primary predict atrial flutter. Applying this and other low-computa
 heart vectors, i.e. I, II, and III, can be made conveniently tional cost methods can allow a body worn monitor device to
 available in this manner.                                            begin transmitting full waveforms for either clinical or algo
    While illustrated with an internal battery, it is important to 30 rithmic analysis by a more powerful engine, when the prob
 note that a body worn physiological monitor 100 can be ability of other arrhythmias is high. Transmitting only the
 powered by either an internal power source only, an external R-R intervals of ECG waveforms is an example of a lossy data
 power source only, or by an internal or an external power compression method. R-R intervals comprise a string of data
 Source. An internal power source can be a renewable power and the string of data can also be compressed. Lossless or
 Source. Such as a rechargeable battery.                           35 lossy data compression of the entire waveform can be imple
    Another type of internal power source is a Peltier device mented to save battery life, including not transmitting (or
 operated in reverse, also called a Seebeck device. Seebeck perhaps not even sampling) data between the T and the P
 discovered that a conductor generates a Voltage when Sub wave. Because data compression results in less data to trans
 jected to a temperature gradient. Thermoelectric couples are mit, the power saved may offset the computation cost of the
 Solid-state devices capable of generating electrical power 40 data compression.
 from a temperature gradient, known as the Seebeck effect.              While we have referred often to ECG applications herein,
 (By contrast, the Peltier effect refers to the situation where the application of low-intensity computational methods as a
 electrical energy is converted into a temperature gradient.) A power saving measure apply equally well to other types of
 Seebeck device “couple' consists of one N-type and one low power-sensors, including, but not limited to EEG, SPO,
 P-type semiconductor pellet. The temperature differential 45 temperature, and invasive or non-invasive blood pressure
 causes electron flow from hot to cold in the N-type couple and measurements. Whether the body-worn medical-grade moni
 hole flow from hot to cold in the P-type couple. To create an tor performs complex analysis or simply compares a single
 electromotive force (EMF), the following connections are numeric value to a single numeric limit, the device can func
 made: On the cold side (i.e. the side that is exposed to room tion in a low-power radio state until a predetermined thresh
 temperature) the pellets are joined and on the hot side (i.e. the 50 old is exceeded. A body worn monitor can also periodically
 patient side), the pellets are connected to a load. Such as the send data or send data upon external request. Additionally,
 computation and communication module 102. The open cir external devices can send commands to modify the operating
 cuit voltage of a Seebeck device is given by V=SAT, in which parameters and thresholds.
 S is the Seebeck coefficient in volts/ K and AT is the tem             Turning to other communication matters, it may be that
 perature difference between the hot and cold sides. It is a 55 adverse events occur in which no uplink is available. In a case
 challenge today to completely power the computation and of no uplink (failed communications), the body worn monitor
 communication module 102 from a Seebeck device that is of            can buffer time-stamped waveforms corresponding to any
 the same size as the computation and communication module adverse events. The buffers can also store waveforms for later
 102. Presently, a Seebeck device may only provide supple analysis in which this storage is triggered by the patient when
 mentary power, but as electronics migrate toward lower 60 the patient recognizes a condition, Such as chest pain. In the
 power and Seebeck coefficients and thermocouple densities case of an alarm that occurs when there is no uplink, alarms
 improve, a Seebeck device can be a viable long-term power can be configured to be latched until confirmed by a clinician.
 Solution for a patient-worn monitor. Other methods of gener Preferably, non-continuous data are marked (time stamp,
 ating energy, such as mechanical (as is used in some wrist sample number) to allow correlation of non-continuous data
 watches) and Solar, can also be viable methods for providing 65 with continuous data and data are also marked to indicate
 a renewable self-contained power source for a body worn when an alarm was initiated for later data analysis, including
 monitor.                                                             algorithm performance analysis.
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                                                       US 9,155,484 B2
                                19                                                                20
    In those instances in which many body worn monitor              7. A  body-worn    patient monitoring   device comprising:
 devices are used in close proximity to one another, there can      a disposable electrode portion comprising:
 be concern that the reports from one body worn monitor                a flexible printed circuit layer made from an insulating
 might be interchanged with reports from another body worn                material and defining a substrate,
 monitor. The body worn monitor presented herein, can be               at least two electrodes being disposed onto a surface of
 configured with a patient context (i.e. name, room number,               the substrate,
 patient ID, age, etc) and can maintain that context for as long       electrical traces defined between the at least two elec
 as the monitor is connected to the patient to avoid such prob            trodes, and
 lems. The body worn monitor can determine the status of its           a connection pad;
 connection to the patient via a continuous vital signs monitor, 10 a reusable  communication module comprising:
                                                                       a housing containing a processor, and
 pressure, temperature, galvanic response, or similar input.
 Upon detection of a loss of connection with a patient, the            a wireless communication unit, and in which the reus
 device can, depending upon different variable settings, either           able communication module is releasably attached to
 erase the patient context or when re-connected to the patient,           the disposable electrode portion by at least one latch
                                                                          ing clip; and
 require the care giver to confirm the patient context. When the 15 a hard-wired
 body worn monitor is initially powered up or connected to a                       communication cable.
 patient, it can have a time holdoff for alarms to prevent false wherein the electrodespatient
                                                                    8. The   body-worn
                                                                                           are
                                                                                                   monitoring device of claim 7.
                                                                                                integrated into the flexible circuit
 alarms (e.g. low heart rate, lead-fail detection) while the layer of the disposable electrode portion.
 system stabilizes.                                                 9. The body-worn patient monitoring device of claim 7.
    Regarding firmware updates, where there are large num
 bers of body worn monitors in a hospital, it can be problem wherein       the electrodes are snap fitted to the flexible printed
 atic to keep them all updated with the latest version of firm circuit   layer.
                                                                    10. The body-worn patient monitoring device of claim 9,
 ware. One solution to this problem is to provide a wireless wherein       the Snap is disposed at the end of an extension.
 update ability for downloading and installing new firmware         11. The body-worn patient monitoring device of claim 7.
 and/or configurations into all of the body worn monitors. 25 wherein       the electrical traces are screened onto the flexible
    While the present invention has been particularly shown printed circuit       layer.
 and described with reference to the preferred mode as illus        12. The   body-worn   patient monitoring device of claim 11,
 trated in the drawings, it will be understood by one skilled in including an insulating       layer applied onto the electrical
 the art that various changes in detail may be effected therein traces.
 without departing from the spirit and scope of the invention as 30 13. The body-worn patient monitoring device of claim 12,
 defined by the following claims. It is further understood that       wherein the insulating layer is a fabric applied over the elec
 several aspects of the invention, including, but not limited to,
 defibrillation protection resistors, pacer detect circuit dis trical         traces of the flexible printed circuit layer.
                                                                          14. The body-worn patient monitoring device of claim 13,
 abling, methods for ECG signal high pass filtering, and vari
 ous other low power modes are not limited to body worn 35 wherein               each electrode includes an electrode gel and a con
                                                                       ductive surface defining a half cell.
 monitors, and can be used in ECG monitors of any type.                   15. A body-worn physiological sensor comprising:
    What is claimed is:                                                  a  computation-communication module including a hous
    1. A body-worn physiological sensor comprising:                          ing retaining a processor;
    a computation-communication module including a hous 40               a  flexible printed circuit layer configured to be coupled to
       ing retaining a processor;                                            a skin surface of a subject to measure physiological
    a flexible circuit layer configured to be coupled to a skin              signals, the computation-communication module being
       Surface of a subject to measure physiological signals,                attached to the flexible printed circuit layer;
       said computation-communication module being                       an adhesive covering at least a portion of the flexible
       attached to the flexible circuit layer;                      45       printed circuit layer;
    an adhesive covering at least a portion of the flexible circuit      and   a protective covering for the flexible printed circuit
       layer; and                                                            layer.
    a protective covering that protects the adhesive.                     16. The body-worn physiological sensor of claim 15, in
                                                                       which
    2. The sensor of claim 1, in which the flexible circuit layer for electrodethe protective covering includes at least one opening
 has traces of determinable electrical resistance.                  50                gels.
    3. The sensor of claim 2, in which the traces on the flexible wherein 17. The body-worn physiological sensor of claim 15,
 circuit layer are configured to electrically couple the compu                   the flexible printed circuit layer includes openings
 tation-communication module to the flexible circuit layer,            sized  to receive electrode gels.
 thereby forming a disposable module connector.                           18.  The   body-worn    physiological sensor of claim 15,
    4. The sensor of claim 1, in which the traces on the flexible 55 wherein     the protective covering is non removable and made
 circuit layer are at least partially covered by a non-removable from         an insulating material.
                                                                          19. The body-worn physiological sensor of claim 15,
 insulating covering.
    5. The sensor of claim 1, wherein the flexible circuit layer wherein         the computation communication module is releas
 further comprises a plurality of openings sized to receive ably             attached to the flexible printed circuit layer.
                                                                         20. The body-worn physiological sensor of claim 15,
 electrode gels.                                                    60
    6. The sensor of claim 1, further comprising a hard-wired wherein the protective covering covers the adhesive.
 communication cable.                                                                        ck   ck   ck   ck   ck
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                        Exhibit 4
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                                                                                                US010159422B2

  (12) United States Patent                                                (10) Patent No.: US 10 , 159,422 B2
        Baker et al.                                                       (45) Date of Patent:                          * Dec . 25, 2018
  (54 ) BODY WORN PHYSIOLOGICAL SENSOR                                (58) USPC
                                                                           Field of.. .Classification Search
         DEVICE HAVING A DISPOSABLE                                                    . . .. .         ........... 600 /372 , 508 - 509
         ELECTRODE MODULE                                                       See application file for complete search history .
  (71) Applicant: Welch Allyn , Inc., Skaneateles Falls ,             ( 56 )                     References Cited
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 ( 73 ) Assignee : Welch Allyn , Inc ., Skaneateles Falls ,                           FOREIGN PATENT DOCUMENTS
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 ( * ) Notice : Subject to any disclaimer, the term of this                                          (Continued )
                   patent is extended or adjusted under 35
                   U .S . C . 154 (b ) by 0 days.                                     OTHER PUBLICATIONS
                   This patent is subject to a terminal dis           Supplementary European Search Report for EP 07 844 766 .1; dated
                      claimer .                                       May 31, 2017 ; 10 pages.
 (21) Appl. No.: 15/880,712                                                                          (Continued )
 (22 ) Filed: Jan . 26 , 2018                                         Primary Examiner — Nicole F Johnson
                                                                      (74 ) Attorney , Agent, or Firm — Barclay Damon , LLP
 (65)                 Prior Publication Data                          (57)                     ABSTRACT
         US 2018 /0146877 A1 May 31 , 2018                            A body worn patient monitoring device includes a flexible
                                                                      substrate having a plurality of electrical connections adapted
             Related U .S . Application Data                          to be coupled to a skin surface to measure physiological
 (60 ) Continuation of application No. 15 / 237,719, filed on         signals. The flexible substrate is adapted to be directly and
       Aug. 16 , 2016 , now Pat. No. 9 ,877 ,663 , which is a         non - permanently affixed to a skin surface of a patient and
                             (Continued )                             configured for single patient use . A communication - compu
                                                                      tation module , removably attached to an upper surface of the
  (51) Int. CI.                                                       flexible substrate, is configured to receive physiological
       A61B 5 /04                  (2006 .01)                         signals from the flexible substrate and includes a micropro
       A61B 5 / 02                 ( 2006 .01 )                       cessor that is configured to process and analyze the physi
                             (Continued )                             ological signals. A series of resistive traces screened onto the
                                                                      flexible substrate are configured as at least one series cur
  ( 52 ) U .S . CI.                                                   rent- limiting resistor to protect the communication - compu
         CPC ........ A61B 5 /04017 (2013 . 01) ; A61B 5 /0006        tation module.
                              (2013 . 01 ); A61B 5 /024 (2013 .01);
                             (Continued )                                                20 Claims, 14 Drawing Sheets


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                                        FIG . 3
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                                       L402
                               401
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                                                       404


                          412430
                          412



                                        FIG .4B



           22 -412  412                                      404
                                                             492 )
                                                             - 412


                              ( 406
                                        FIG.4C


                                         452 404
                                        mm   412
                          4321                     7406
                                        FIG .4D
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                                          2511
      51820 CPOTWREL CPOTWRELECGCKTS PCOTWREL
                    RADIO 5131 510 PACERCIR UITS              )
                                                              509




                          CPOTWREL ADC 5164
                                                             1508                                          5
                                                                                                           .
                                                                                                           FIG


                                                   CPOTWREL DIFF AMPS
                      5127HC
                                    5177 ESISFILTERS507
                                                    -
                                                                              PHYSIOLGCA  SE N
                                                                                           501
                                                                                           (
                                                                                               O RS
                                                                                                                      2515
                                                  506 PROTEC
                                                                  TION                              POWER S O U R C E
                                   514 REGULATION                                            -
                                                                                             503                504
                                                                                                                -

                                                 -
                                                 505
                                                                             -7502ELECTRO
                                                     ELCTROMECHANI LCONECTOR MECHANI LCONETR SECONDARYCONETR OTHERSENORS
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      51820 CPOTWREL ECGCKTS              2511
           CPOTWREL RADIO 5134 510 CPOTWREL PACERCIR UITS )509


                            CTRLPOWER ADC 516
                                                                         1508                                            6
                                                                                                                         .
                                                                                                                         FIG



                         ??                                      DIFF

                         512
                                                         CPT507O-RWELR AFMILPTSER
                                                                   ESIS                     PHYSIOLGCA
                                                                                                     SENORS   L501

                                       5177
                                       _
                                       |
                                       RE-
                                         GULATION 506, TION
                         POWE515-SOURCER 5147   REGULATION P R O T E C                                          503
                                                                                                                -
                                                        505                             ELECTRO
                                                                                        502
                                                                                        -                                  7O5T0H4ER
                                                                ELCTRO MECHANI L CONETR MECHANI L CONETR SECONDARYCONETR SENORS
                                                                                    -
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             ECG
                   PATENT 100 PROTECT 508150 Yee
                   PATIENT /
                                109
                                         PROTECT
                                           CKTS
                                                              507 VCC
                                                           ESIS

         ELECTRODES                       51722VCC
                          Jer 701                I704
                   YON                     FIG .ZA



                                            1506            r507 Vcc
                                         PROTECT           ESIS
                   PATIENT                CKTS
            ECG
        ELECTRODES             702,       5177 Vec
                                                 Ir 704
                  7031
              VIRTUAL ECG                  FIG . 7B
               ELECTRODE
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         atent           Dec . 25, 2018                 Sheet 9 of 14                      US 10 , 159 ,422 B2




                 Vcc
                  508                                    508
                                                                  MP
                                                                      1512
                                       DRIVENLEADCKTS
                  ,
                  507     ESIS Vcc
                               802
                                                                                               8
                                                                                               .
                                                                                               FIG
                        !PROTECTCKTS
                 ,
                 506
                                                                    1LT801
                                                         AN LOGSWITCHES
                           109

                                 PATIENT   702 701 703
                                                   %                         VIRTUALELCTRODE
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                           VECTOR
                           E2
                           -
                           E1                                        8A
                                                                     .
                                                                     FIG

                                     805A
                      1




                          Ohm
                          10k            Ohm
                                         10k
                                         11
         018
          -
          IV                                                   ohm100Kwe


         1EL CTRODE                    2EL CTRODE
                                                                            EDLRCITVOEDN
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                                    08



                         TEST
                              906
                              Y
                              CIRCUIT                                           508
        OVCc R99                                            PVC R10 2
                   C93                                                                2507
                                                                        ESISFILTER
                        com                9
                                           .
                                           FIG                               PVCC             10
                                                                                              .
                                                                                              FIG
        ESISFILTER R94R95                            1001
                                                     -
                                                                    *
                                                                    .
                                                                    2001               1001
               com
                                                       rok v1ce09Sam
                                                                .




                                                                               R92
             R93
                   Bucam                                                         b




             R91
                   gaum
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                                                    ( START
                                                    ENABLE
                                                  PACER CKTS

                                 ( END           EXTERNAL PACED
                                                    CONFIRMED                                ENABLE
                                                                                         PACER CKTS
                                                             N
                                                     PACERS                                   REACH
                                                    DETECTED                               THRESHOLD
                                                                                              H        wWWWWW



                                                    DISABLE                             ANALYZE BEAT
                                                  PACER CKTS                              VARIABILITY
                                                      FIG . 11
                         mits
                                 R1



                                                                                                      - 90
                       UNFILTERED DATA        FILTERED DATA 6 .5 - 500 Hz
                               -       9001 A                             90
           :5Hz HIGH PASS FILTER
              .   ..
                                                        INVERSE 0 . 5Hz HPF
                                                     - - -      - - -- - - - - - - - - - - -- - - -
          500Hz LOW PASS FILTER                                                                           - 90F
                                                                 0 .05Hz HPF
                                                                                                  -- - - - + 90
            - - - - - - PHASE
                                                        - - -      - - - - -                                 OG
                                                                                                       - - -- 90
                        MAGNITUDE                     FILTERED DATA 0 .05 - 500Hz
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                           DEFIB
                                    11001
                                    /
                                    1502
                                                   1504
                                                   (

                                                             Pa    kg
                                                                   7
                                                                   .
                                                                   9




                                                                          G?D
                                                                          '
                                                                                        NLE15O0N6 FIG
                                                                                                   BULBS
                                                                                                  15
                                                                                                  .

                   15010                                        10 k 12
                                                   1503     Lot                  S40 0 1AF5E0TY6
                                                                          -
                                                                          1505



                                      .     ....                  1402

                                                                                                           14
                                                                                                           .
                                                                                                           FIG




                                                                                                             1401
                                                                                                             -
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                                                      ST
                                                             |SEGMENT                                    QTINTERVAL                     17
                                                                                                                                        .
                                                                                                                                        FIG
                             QRS   COMPLEX             PR
                                                                     SEGMNT
                                                                                                   S




                                                                                     PR
                                                                                            INTERVAL

                                                                                                                                            ,230--211
                                                                                                                                            220   ?221
                               ?-160?1 .? ?
                          ? ? ?? ? ? ? ? ?
                                                                                                                                                .        ..“ :
                                                                          190-181     * *
                                                                                            .
                                                                                            ??
                                                                                                       19•                               ? ?.       ?    ?????????


        BACKOFOVEN   10
                     9
                     8
                     7
                     6
                     5
                     4
                     3
                     2
                     1
                                                        OFOFRVOENT                  160~161
                                                                                                                .. . ..... ??????????     ? ??????? ?? ????????
                                                                                                                                                                     ORAHNMGSE
                                                                                                       150-141                                           ,




                                                                              -




                                                             1602 250                                  FREQUENCY
                                     16A
                                     .
                                     FIG                                                                                                                16B
                                                                                                                                                        .
                                                                                                                                                        FIG
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                                                            US 10 , 159 ,422 B2
        BODY WORN PHYSIOLOGICAL SENSOR                                        patient alarm capabilities built in a small, rugged , light
             DEVICE HAVING A DISPOSABLE                                       weight, patient-wearable device .
                 ELECTRODE MODULE                                                Another version of a portable physiologicalmonitor is the
                                                                              heart rate monitor typically used by individuals engaged in
              CROSS REFERENCE TO RELATED                                    5 an athletic activity . The monitor includes a sensor, which
                         APPLICATIONS                                         generally makes direct or indirect contact with an individu
                                                                        al's chest to monitor heart beats and then by wires, or by
      This patent application is a continuation application of wireless techniques, the sensor transmits the sensed heart
  and claims priority and benefit to co -pending U .S016  . patent      beat to a nearby microcomputer based monitor and display .
  application Ser. No. 15 /237,719 , filed Aug. 16 , 2016 and  and 1010 Such units generally measure only heart beat and are not
  entitled : “ Body Worn Physiological Sensor Device Having capable of doing any of the traditional ECG analysis func
  a Disposable Electrode Module ” , which is a continuation of tions         .
  U .S . patent application Ser . No. 14/ 880 ,413, filed Oct. 12 , used recurrent
                                                                           A             problem with the portable monitors typically
                                                                               in healthcare applications is the need for wires from
  2015 and entitled : “ Body Worn Physiological Sensor Device
  Having a Disposable Electrode Module ”, now issued U .S . 15 sensors            situated on the patient's body to the portable unit.
                                                                         These wires can become tangled and cause discomfort or
  Pat. No. 9,433, 366 B2, which is a continuation of U .S . become unplugged when inadvertently pulled or tugged on .
  patent application Ser. No. 14/ 595 ,815 , filed Jan . 13, 2015 In addition, wire motion can increase ECG noise due to the
  and entitled : " Body Worn Physiological Sensor Device triboelectric effect. Muscle movement can also increase
  Having a Disposable Electrode Module ” , now issued U .S . 20 ECG noise , due to the typical placement of ECG electrodes
  Pat. No. 9 , 155 ,484 B2, which is a continuation of U .S . over major muscles. Moreover, portable monitor battery
  patent application Ser. No. 14 /268,666 , filed May 2 , 2014 , maintenance ( e.g . battery recharging or replacement) can be
  and entitled : " Body Worn Physiological Sensor Device time consuming and costly.
  Having a Disposable Electrode Module ” , now issued U . S .        Another problem is related to the requirement that a
  Pat. No . 8, 965 ,492 B2, which is a continuation application 25 medical grade monitor survive multiple defibrillation cycles
  of U . S . patent application Ser. No. 14 / 103 ,219 , filed Dec . 11 ,      of at least 360 joules. Conventionally , this requirement has
  2013, and entitled “ Body Worn Physiological Sensor Device                  been met by one or more power resistors situated in series
  Having a Disposable Electrode Module ” , now issued U . S .                  with the wire leads of a fixed or portable physiological
  Pat. No . 8 , 750 , 974 B2, which is a divisional application of, monitor. The problem is that the physical volume of con
  and claims priority and benefit to , U . S . patent application 30 ventional power resistors is too large for use in a compact
  Ser. No. 13 / 488 ,520 , filed Jun . 5 , 2012 , and entitled “ Body monitor application .
  Worn Physiological Sensor Device Having a Disposable                   Another shortcoming of small sensor devices is that these
  Electrode Module”, and now issued U .S . Pat .No. 8 ,630,699 ,              devices lack the intelligence to vary the amount and type of
  which is a continuation application of U .S . patent applica-               data transmitted , depending on patient condition . Exercise
  tion Ser. No. 11/ 591,619 , filed Nov. 1, 2006 , and entitled 35 heart monitors do not transmit a full patient waveform for
  “ Body Worn Physiological Sensor Device Having a Dispos                      clinical analysis while medical monitors measure and trans
  able Electrode Module” and now issued U .S . Pat. No. mit the full patient waveform , even when the patient is
  8 ,214 , 007 . All of the aforementioned patent( s) and patent healthy . While transmitting the full patient waveform is the
  application (s) are herein incorporated by reference in their preferred solution from a purely clinical standpoint, such
  entirety.                                                     40 transmission requires significant power to transmit large
                                                                   amounts of data and restricts the design from being small
                    FIELD OF THE INVENTION                         and inexpensive .
                                                                                  Yet another problem is that arrhythmia analysis is a
     This invention relates generally to a physiological moni -                computationally intensive operation not well- suited to exist
  tor and more particularly to a body worn physiological 45 ing small portable monitors that presently have no ability to
  monitor.                                                  perform arrhythmia analysis .
                                                               Therefore , there is a need for a body worn combined
          BACKGROUND OF THE INVENTION                       physiological sensor and monitor having a disposable sen
                                                            sor, but used and worn by a patient as a single unit directly
    Measurements of various physiological parameters are 50 and non -permanently affixed to a patient's body. Also , what
  important to the study of the human condition . Physiological               is needed is a physically compact resistive element for
  measurements can be particularly important in a health care                 protecting a body worn device from damage caused by
  setting , such as in a hospital. One of the more important multiple defibrillation cycles . Also , what is needed is a
  physiological measurements performed on a patient is the medical- grade monitor that can intelligently measure and
  electrocardiogram ( ECG ), showing the condition of the 55 transmit data only as required to alert clinicians that the
  human heart.                                                   patient needs additional attention . What is also needed is a
     Portable patientmonitors have evolved that allow patients body -worn device capable of running arrhythmia analysis
  to enjoy at least somemobility . Typically a battery operated through computationally efficient algorithms.
  monitor can be hung on a belt , shoulder strap , or carried by
  a patient using some other similar hanging arrangement. 60                 SUMMARY OF THE INVENTION
  Sensors , such as ECG electrodes , are affixed to the patient' s
  body, such as with tape, and connected to the battery                          According to one aspect, a body worn patient monitoring
  operated monitor by wires. After a fixed interval of time, or                device comprises at least one disposable module including a
  at a low battery indication , the batteries can be replaced or               plurality of electrical connections to the body . The electrical
  recharged . One example of a portable patientmonitor is the 65 connections are coupled to a skin surface of the patient to
  Micropaq wireless patient monitor, manufactured by Welch       measure physiological signals of the patient. The at least one
  Allyn , Inc., that permits multi-parameter monitoring and disposable module includes a disposable module connector.
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                                                      US 10 , 159, 422 B2
   The body worn patientmonitoring device includes at least                 FIG . 6 shows a block diagram of one embodiment of a
  one internal or external power source to power the body                 body worn physiological monitor having a power source in
  worn patient monitoring device . The body worn patient                  or connected to the computation and communication mod
  monitoring device also includes at least one communication -            ule ;
  computation module , having a communication - computation 5                FIG . 7A shows a schematic diagram of a direct connected
  module connector to receive physiological signals from the              reference electrode used in conjunction with a body worn
  at least one disposable module via said disposable module               physiological monitor;
  connector. The communication -computation module also                      FIG . 7B shows a schematic diagram of a virtual reference
  includes at least one microprocessor to actively monitor the            electrode as used in conjunction with a body worn physi
  patient and to perform a real-time physiological analysis of              FIG . 8 shows a schematic diagram depicting one embodi
  the physiological signals and a radio circuit to communicate            ment of an analog switching arrangement provided on a
  a raw physiological signal or a result of the physiological  body worn physiological monitor to select a reference
  analysis at a predetermined time or on the occurrence of a
  predetermined event, via a radio transmission to a remote 16 electrode configuration ;
                                                                 FIG . 8A shows an exemplary driven lead circuit topology
  radio receiver, wherein the at least one disposable module is           for use with electrodes of a body worn physiological moni
  mechanically and electrically coupled directly to the at least
                                                              tor;
  one communication - computation module . The body worn         FIG . 9 shows an exemplary ESIS filter circuit topology
  patient monitoring device , including the at least one dispos -
                                                              with circuit protection :
  able module and the at least one communication -computa - 20 FIG . 10 shows an alternative circuit protection to that
  tion module, is directly non -permanently affixed to the skin depicted in FIG . 9 ;
  surface of the patient.                                            FIG . 11 shows a flow chart for an algorithm utilized by a
     According to another aspect, a method of providing high body worn physiological monitor to detect whether a patient
  voltage circuit protection for a body worn monitor com - has a pace maker ;
  prises the steps of: providing a substrate that supports one or 25 FIG . 12 shows a circuit topology of a high pass filter
  more electrical connections to a patient' s body ; determining          useful for baseline restoration ;
  a print pattern and thickness of a first material having a first           FIG . 13 shows seven graphs of amplitudes plotted versus
  resistivity to be printed on the substrate ; determining a print        frequency to illustrate exemplary operation of the circuit of
  pattern and thickness of a second material having a second              FIG . 12 ;
  resistivity to be printed on the substrate ; printing the first 30         FIG . 14 shows two exemplary positions for a body worn
  material onto the substrate ; and printing the second material          ECG monitor to be non -permanently affixed directly to a
  onto the substrate wherein at least part of the second material         patient 's body ;
  overlays the first material.                                               FIG . 15 shows a block diagram of a setup for simulating
                                                                          the effect of patient defibrillation on resistive traces;
        BRIEF DESCRIPTION OF THE DRAWINGS                    35 FIG . 16A symbolically shows resistive dots silk screened
                                                               on a tray ;
     For a further understanding of these and objects of the     FIG . 16B shows a histogram of an exemplary resistive
  invention , reference will be made to the following Detailed            distribution of baked resistive dots; and
  Description which is to be read in connection with the                     FIG . 17 shows an exemplary ECG waveform .
  accompanying drawings, in which :                                  40      Package styling varies slightly between the drawings.
     FIG . 1A shows an exemplary body worn physiological                  Such minor differences, e . g . the case styling of computation
  monitor having a disposable electrode module;                           and communication module 102 , illustrate minor variations
    FIG . 1B shows a partially unassembled side view of the in mechanical packaging suitable for use as body worn
  body worn physiological monitor of FIG . 1A ;               monitors . Drawings are not necessarily shown to scale .
    FIG . 1C shows an assembled side view of the body worn 45
  physiological monitor of FIG . 1A ;                                                    DETAILED DESCRIPTION
     FIG . 1D shows a bottom view of the body worn physi
  ological monitor of FIG . 1A ;                                             A “ body worn ” device is described herein with regard to
     FIG . 2 shows an exploded perspective view of an exem -            certain exemplary embodiments . A " body worn ” device is
  plary body worn physiological monitor;                             50 defined herein as a device that is directly , but non -perma
     FIG . 3 shows an exploded perspective view of an exem -              nently , affixed to a patient' s body . A “ body worn monitor” is
  plary computation and communication module ;                     a device that can be directly " worn ” on the patient' s body as
     FIG . 4A shows an exemplary disposable unit flexible          a single unit, including one or more physiological sensors
  circuit board ;                                                  and a communications and computation module to perform
     FIG . 4B shows a partial enlarged view of a portion of the 55 at least initial processing of one or more physiological
  flexible circuit board of FIG . 4A , further showing an exem     measurements made using one or more physiological sen
  plary resistive trace having a fillet;                            sors . Unlike prior art patient -wearable devices , at least one
     FIG . 4C shows a partial side elevated view of a portion of sensor can be incorporated into the device that makes a
  the flexible circuit board of FIG . 4A , further showing an   direct or indirect (such as by capacitive coupling) electrical
  exemplary conductive surface overlaying a resistive mate - 60 connection with the patient's body without the use of
  rial;                                                         external wires from sensors to the device . In addition and
     FIG . 4D shows a partial side elevational view of the unlike athletic heart monitors, a “ body worn " monitor can be
  circuit board of FIG . 4A , further showing an exemplary                a full functioning medical grade monitor, e.g . meeting the
  conductive surface having a snap receptacle ;             requirements of European Unions ' Medical Device Direc
    FIG . 5 shows a block diagram of one embodiment of a 65 tive and other applicable industry standards , such as EC -13
  body worn physiological monitor having a power source in  for an electrocardiograph . The body worn medical - grade
  a disposable unit ;                                                     monitor can include a device , for example , such as a pulse
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                                                      US 10 , 159,422 B2
  oximeter , CO , monitor, respiration monitor , or can function     member 105 includes a plurality of openings that are each
  as an ECG monitor , incorporating physiological sensors ,          sized to receive electrode gels 103 . The insulating member
  front end analog electronic signal conditioning circuits, and      105 provides a bottom side cover for the flexible printed
  a microcomputer based computation unit with wireless               circuit layer 101 and augments adhesion to the human body .
  reporting of measured physiological data , all contained 5 Electrode gel 103 , when attached to an appropriate substrate
  within in a “ body worn ” package that can be non - perma-         such as silver- silver -chloride or other substrate , can be used
  nently affixed directly to a patient' s body. A body -worn         to establish a relatively low impedance electrical connection
  medical- grade monitor can also include additional measure         between conductive surface 404 (FIG . 4 ) and the patient' s
  ment capabilities beyond those mentioned here .              skin .
    FIGS . 1A - 1D depict various views of an exemplary body 10 Electrode gels 103 can adhere to a patient's skin . While
  worn physiological monitor 100 having a communication              electrode gel 103 is typically an adhesive electrode gel, the
  and computation module 102 and a disposable electrode              adhesion offered by electrode gels 103 alone might not give
  module 110 . In this exemplary embodiment, physiological           a sufficient holding force for non -permanently affixing body
  monitor 100 is designed for use as an electrocardiogram            worn physiological monitor 100 to a patient. To achieve a
  (ECG )monitor for obtaining and recording and / or transmit- 15 better adhesion ofbody worn monitor 100 to a patient' s skin ,
  ting ECG information , including ECG waveforms and                 insulating/adhesive member 105 can be used to non -perma
  alarms for a person , such as a patient, wearing body worn nently affix body worn physiological monitor 100 to a
  physiological monitor 100.                                     patient. Thus, body worn monitor 100 can be applied to a
     FIG . 1A shows an exemplary top view of body worn           patient in the sameway an adhesive strip is applied , such as
  physiologicalmonitor 100 . A crescent shape allows the body 20 for example , those adhesive strips sold under the brand name
  worn physiological monitor 100 to be placed on the chest of “ BAND -AID® ” . One exemplary type of foam adhesive
  a patient, and more specifically around the pectoralis major,      suitable for affixing a flexible circuit board to a patient is 1.6
  to allow measurement of lead configuration I, II, or III , or to   mm adhesive foam from Scapa Medical of Bedfordshire,
  be placed on the patient 's side allowing measurement using        UK . As shown in FIGS. 1B and 1C (although not to scale ),
  a V -lead configuration . Though not shown, multiple body 25 each of the electrode gels 103 extend sufficiently below
  worn physiological monitor 100 units can be used to effec -  adhesive layer 105 in order to ensure good electrical con
  tively provide multiple leads. By placing electrodes around        nection with a patient's skin surface (not shown ). Tab 106 ,
  the body so that they are not situated directly atop major         FIG . 1A , allows for easy removal of a protective backing 111
  muscles , both motion noise artifacts and muscle noise arti-       from adhesive layer 105 .
  facts can be prevented . Moreover, by eliminating cables, 30          Flexible printed circuit layer 101 can include contacts,
  noise due to cable motion or compression (i.e . triboelectric       such as battery clips (not shown ), to receive and connect to
  effect) can be eliminated .                                        batteries 204 . (It is contemplated that in some future
     FIG . 1B shows a side elevated view of physiological            embodiments , a single battery can provide sufficient elec
  monitor 100 having an exemplary attachmentmechanism ,              trical power.) In the exemplary embodiment, as shown in
  such as a retention clip 104 , to mechanically attach com - 35 FIG . 2 , batteries 204 can be mounted under respective
  munications and computation module 102 to the top surface          battery flaps 205 arranged on opposite sides of the flexible
  of the disposable electrode module 110 . Flexible printed          printed circuit layer 101 . Alternatively, battery clips (not
  circuit layer 101 can be made from a thin insulatingmaterial,      shown ) or battery holders (not shown ) can be used to
  such as according to this embodiment, a 75 micron thick        provide both mechanical support and electrical connections
  layer of Mylar® . Typically electrical traces (not shown in 40 for each of the batteries 204 . One type of battery holder
  FIGS. 1A - 1D ) on flexible printed circuit layer 101 can be   suitable for such use , for example , is themodel 2990 battery
  further protected by an insulating covering, analogous to a holder, manufactured by the Keystone Electronics Corp . of
  conformal coating . A formed plastic layer or a cloth with         Astoria , N . Y . Battery cover 107 provides protection for
  adhesive on one side thereof can be used to cover and protect      batteries 204 as well as a surface to press upon when
  flexible printed circuit layer 101, as well as to provide an 45 applying electrodes 103 to conductive surface 404 . Reten
  aesthetic outer layer to make the body worn monitor 100            tion clips 104 can comprise, for example , a plurality of
  visually appealing.                                                spring fingers with latching clips. Retention clip 104 , affixed
     FIG . 1C shows a side view of physiological monitor 100         to disposable electrode module 110 , can be used to secure
  in which the communications and computation module 102 reusable communications and computation module 102 to
  has been affixed to disposable electrode module 110 . FIG . 50 disposable package 110 . Reusable communications and
  1D depicts a view of the underside of exemplary physiologi -   computation module 102 is herein illustrated in a simplified
  cal monitor 100 showing one embodiment of disposable               representation , including cover 201 , communications and
  electrode module 110 having electrodes 109. In this embodi-        computation printed circuit board assembly 202 , and base
  ment, each electrode 109 comprises electrode gel 103 and 203 .
  conductive surface 404 (FIG . 4 ). Together, electrode gel 103 55 FIG . 3 shows a mechanical view of an exemplary reusable
  and conductive surface 404 create a half cell, such as , for       communications and computation module 102 , as well as a
  example, a Silver/Silver Chloride half cell . Also and accord -    preferred method for making an electrical connection
  ing to this embodiment, conductive surface 404 can directly        between flexible printed circuit layer 101 in disposable
  accept the electrode gel 103 .                               electricalmodule 110 and communications and computation
     FIG . 2 shows an exploded assembly view of the exem - 60 printed circuit board assembly 202 situated in reusable
  plary body worn physiological monitor 100 . As noted with   communications and computation module 102 . In this exem
  regard to FIGS. 1A - 1D , the body worn physiological moni- plary embodiment, communications and computation
  tor 100 includes a removable and reusable communications printed circuit board assembly 202 can include a plurality of
  and computation module 102 and a disposable electrode              press fit and / or soldered conductive sockets 301 for receiv
  module 110 , the later including electrode gels 103 for ECG 65 ing electrical plug 302 , the plug having a corresponding
  monitoring and batteries 204 to power communications and       plurality of conductive pins. Each conductive pin shown in
  computation module 102 . A flat planar insulating/ adhesive        plug 302 can correspond to an electrical connection pad on
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                                                       US 10 , 159,422 B2
  flexible printed circuit layer 101. A row of mechanical               m ent or two batteries can be also wired in parallel , depend
  sockets 303 can receive the multi-pin row of plug 302 . Thus,          ing on the voltage requirements of a particular communica
  an electrical connection can be made between each pad of               tions and computation module 102 .
  flexible printed circuit layer 101 having a conductive post on Connection pads 408 and 409 electrically couple the
  plug 302 and each corresponding conductive socket 301 on 5 signals from electrode gels 103 (not shown in FIGS . 4A -4D )
  communications and computation printed circuit board                   via conductive surface 404 and resistive traces 412 to
  assembly 202 . Posts 304 can align and secure each of the              electrical plug 302 ( not shown in FIGS. 4A -4D ) . Electrode
  cover 201, communications and computation printed circuit              contact pad 405 can be connected via resistive trace 413 to
  board assembly 202, and base 203. Note that in FIG . 3 , a             connection pad 411 to provide a direct -connected reference
  simplified drawing of cover 201 omits slots to receive 10 electrode (not shown in FIGS . 4A -4D ). Traces 412 extend
  retention clip 104 to affix communications and computation             ing between conductive surface 404 and connection pads
  module 102 to disposable package 110 . A body worn moni                408 and 409 and trace 413 extending between conductive
  tor 100 would typically also include retention clip 104 FIG .          surface 405 and connection pad 411 can be made from
   2 , or other suitable type of mechanical clip ( s), in order to       resistive materials including resistive metals, carbon , silver
  provide a secure mechanical connection between commu - 15 ink , powders , paints , or other material of determinable
  nications and computation module 102 and disposable elec - electrical resistance .
  trode module 110 .                                                       Resistive traces on flexible circuit board layer 101 replace
     FIG . 4A shows one embodiment of flexible circuit board             the bulky power resistors needed by prior art monitors,
   101 in an expanded ( e .g . unassembled ) view . Flexible circuit having electrodes or sensors connected by wires or leads .
  board 101 is formed on a substrate 406 . Substrate 406 can 20 These resistive traces should survive multiple defibrillation
  be cut, for example , from a Mylar sheet of suitable thick - cycles such that body worn monitor 100 remains functional
  ness. In this embodiment, one battery 204 can be mounted               even after one or more attempts to re -start a patient 's heart.
  adjacent to a conductive surface 404 . Conductive gel 103              In order to survive defibrillation , the resistive traces should
  (not shown in FIG . 4 ) can be mounted on the exposed                  dissipate that portion of the potentially damaging defibril
  conductive side of a conductive surface 404 .                       25 lation energy that is coupled into the monitor. This fractional
     Conductive surface 404 can also be viewed as the elec -             portion of the defibrillation energy typically enters body
  trode portion of a half cell and electrode gel 103 can be worn monitor 100 from electrodes 109 , FIG . 1D ( electrodes
  considered to be the electrolyte portion of a half cell . In   109 including conductive surface 404 and electrode gel
  conventional terms of art, the combination of electrode and    103 ).
  electrolyte and ECG electrode is typically referred to as a 30 It is desirable that the resistances of the protective resis
  half cell . For example , the combination of a conductive tive traces be in a range between about 1 kilo ohm to about
  surface 404 and an electrolyte layer (e .g ., electrode gel 103)        10 kilo ohms. Below 1 kilo ohm , depending on the resistive
  forms a half cell . For convenient quick reference to a half           material used , it can bemore likely that the resistance of the
  cell structure , the term “ electrode ” (assigned reference des -      resistive traces 412 and 413 will increase with each succes
  ignator “ 109" ) is used interchangeably with " half cell ” 35 sive defibrillation pulse . Above 10 kilo ohms, a high resis
  herein . It is understood that in typical embodiments, elec -          tance impairs the signal to noise ratio , specifically due to
  trode 109 comprises conductive surface 404 and electrode               thermal noise , which has a mean square value of
  gel 103.                                                         4 * * * T * R * BW , where “ k ” is Boltzmann 's constant, “ T ” is
     Typically , electrodes make use of a circular or square       temperature measured in degrees Kelvin , “ R ” is resistance in
  conductive surface . Increasing the ratio of the perimeter of 40 ohms, and " BW ” is bandwidth , in Hz, which becomes
  the surface to the area of the surface affects current density   significant relative to the EC - 13 requirement that the noise
  distribution and defibrillation recovery .                             referred to input be less than 30 uV peak - to - valley .
    For convenience, we define the term “ annulus” herein and              Power dissipation in the herein described traces can be
  throughout as the region between two simple curves. A                  calculated by EP/R , in which E refers to the potential across
  simple curve is a closed curve that does not cross itself. 45 the trace and R is the resistance of the trace . R can be
  Under this definition , an annulus can include substantially  calculated by p * L / A , where p is the resistivity of the
  square shapes , substantially rectangular shapes, substan -           material used to form the trace , L is the length of the trace ,
  tially circular shapes , substantially oval shapes , as well as        and A is the cross - sectional area of the trace .
  substantially rectangular shapes with rounded corners. Fur -       In developing resistive traces for use on a flexible printed
  ther we include in the definition of annulus , the case of a 50 circuit layer 101, typically formed on a Mylar substrate 406 ,
  substantially “ U ” shaped surface as described by a single            such as shown in FIG . 4A , various materials were tested .
  closed curve.                                                          Silver, including silver inks , while useable , was found to be
     One exemplary electrode gel 103 suitable for such use on            less desirable ,because it was difficult to achieve sufficiently
  a body worn monitor is type LT00063 hydrogel supplied by               thin silver traces on Mylar to achieve high enough resis
   Tyco Healthcare of Prague , Czech Republic . Typically , a 55 tances . Carbon , including carbon pastes and carbon inks ,
  conductive surface 404 creates the electrode portion of the      was also tried and found to be suitable . In order to use
  half cell. By increasing the ratio of perimeter to area of the   carbon however, several additional problems had to be
  circular electrode portion of the half cell, the signal to noise solved . At 1 kilo ohm , the power dissipated by the resistors
  ratio of the input ECG signal can be increased .                 caused them to degrade across multiple defibrillation cycles .
     As depicted herein on the exemplary circuit layout, two 60 The solution was to make carbon traces in the range of about
  batteries 304 can be connected in series , with one polarity           8 to 10 kilo ohms. 10 kilo ohm resistances proved to be a
  being made available at connection pad 407 from battery                good compromise between noise levels, power dissipation
   connection 402 , battery connection 401 creating the series           by the resistors , and manufacturing tolerances for depositing
  connection between the two batteries , and connection pad              carbon ink on a Mylar substrate to dissipate the power from
  410 providing the second polarity of the series connected 65 multiple defibrillation cycles. To achieve the desired resis
  batteries . Note that in some embodiments, a single battery            tance of about 10 kilo ohms (interchangeably represented
  alternatively may be used in lieu of the exemplary arrange -           herein as “ 10 k ” or “ 10 kg ” ), for a given resistivity of the
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                                                       US 10 , 159, 422 B2
                                                                                                   10
  carbon paste , and given trace width and thickness (height ),      such as by press fitting or other fastening method , into
  the length of the trace is then defined . In some cases, such      conductive surface 404, typically also penetrating through
  as for traces 412, the length needed for a trace run , as          substrate 406 . In this embodiment, arcing can be similarly
  between conductive surface 404 and connection point 409 ,          suppressed in this embodiment by adding a fillet to the
  might be longer than the length defined for a particular trace 5 carbon - conductive surface interface and /or deposing a con
  resistance (typically 10 k ). In this case , traces can be         ductive surface 404 over a carbon layer as previously
  extended by lengths of silver conductive traces. There can be      described .
  a short overlay distance, on the order of 5 to 10 mm , in            Example : Resistive traces and an annulus were tested on
  which a silver trace overlaps the carbon trace to provide a        a substrate formed from CT3 heat stabilized treated poly
  more robust connection between the resistive and conduc - 10 ester (75 microns thick ), such as manufactured by the
  tive portions of the traces . Where overlap is used , the overall MacDermid Autotype Corp . of Schaumburg , Ill. Resistive
   length of the resistive portion can be adjusted slightly to      traces were silk screened onto the substrate using 7102
  maintain the desired overall resistance .                         carbon paste conductor from the DuPont Corporation of
      Another problem associated with carbon traces was arcing      Wilmington , Del. The carbon paste conductor was deposited
   at the interface between the carbon and conductive traces. 15 through a 43T silk screen mesh . The substrate containing the
   Arcing was particularly problematic at the abrupt connection paste deposit was then cured inside a fan assisted air
  between the carbon trace and conductive surface 404 . Arcing      circulated oven at 120° C . for a period of 5 minutes . The
  was also observed to occur between the end section of the          traces formed were about 55 mm long and 2 mm wide ,
  carbon trace and conductive surface 404. (Electrode gels 103       having an overall thickness of about 7 .5 microns . The initial
  create the conductive path to the patient through conductive 20 measured resistance of each trace was about 14 kilo ohms.
  surface 404 and a layer of conductive gel .)                       After each trace was subjected to 3 defibrillation cycles , the
    According to one solution to the above noted arcing              measured resistance increased to about 15 kilo ohms. Over
  problem , as shown in FIG . 4B , a rounded (fillet) section 430    a 3 mm length , the trace widens to about 5 mm , terminating
  of carbon trace can be added at the interface to conductive        into a carbon annulus with an outer diameter of about 20 mm
  surface 404 . A fillet or " tear drop " shape causes the carbon 25 and an inner diameter of about 10 mm . A silver layer of
  trace to become gradually wider as it connects to conductive       PF -410 silver ink from the Norcote Corp . of Eastleigh
  surface 404 and relieves the electrical potential stress at the    Hampshire , UK was then deposited over the carbon annulus,
  interface .                                                        also to an overall thickness of about 7 .5 microns. The
      An alternative solution to the arcing problem is shown in   deposition of the silver layer was via the silk screen printing
  FIG . 4C , wherein carbon can be laid down beyond the trace 30 method , in which a 90T silk screen mesh was used . The
  ( 412 ) to include a pattern of conductive surface 404 formed  substrate containing the deposited silver ink was then cured
  from carbon . A carbon annulus pattern can be deposited        inside a fan assisted air circulated oven at 120° C . for a
  before the conductive surface 404 is deposited . Conductive        period of 15 minutes. A third dielectric insulating layer
  surface 404 can then be deposited as an overlay over the           comprising SD2460 , components A & B ( dielectric and
  earlier formed carbon annulus shape . Finally , conductive gel 35 hardener ), manufactured by Lackwerke Peters GmbH +Co
  103 can be attached to the conductive surface layer (the           KG of Kempen , Germany, and having a thickness of
  carbon layer residing between conductive surface 404 and           approximately 13 microns was then deposited over the
  the Mylar substrate used as flexible circuit board 101). Both      traces and substrate , but not over the annulus . ( The elec
  of the aforementioned arcing solutions can be used together.       trodes were formed by attaching a conductive gel to the
  It should also be noted that conductive surface 404 can be 40 annulus . The conductive gel used was LT00063 hydrogel
  formed from suitable materials other than silver, including,       from Tyco Healthcare of Prague, Czech Republic .) Again ,
  for example , materials such as silver chloride .                  the silk screen printing process was used to deposit the
     Arcing can also occur between the resistive traces and          dielectric layer through a 90T screen mesh . The substrate
  other (typically silver ) conductive traces on the flexible        was placed again into a fan assisted air circulated oven at
  circuit board 101. Trace to trace arcing can be suppressed by 45 120° C . for a period of 30 minutes.
  allowing sufficient spacing between the traces . Generally a         Example : Silver traces for use as conductive (not resis
  minimum spacing of about 3 mm /kV , as required by ASNI/           tive ) traces on a body worn monitor circuit substrate were
  AAMIDF80 : 2003 57.10 BB ,has been found to be sufficient          formed from a silver paste that was silk screened onto a
  to prevent trace to trace arcing from a defibrillation event.      Mylar substrate . 45 mm long traces had a measured resis
  Closer trace spacing , as close as 0 .01 mm /kV, can be 50 tance in a range of 3 . 5 to 6 ohms, 75 mm traces had a
  employed successfully by first applying an insulating dielec -     measured resistance in a range of 6 . 5 to 13 ohms, and 105
  tric layer, similar to a conformal coating , over the surface of   mm traces had a measured resistance in a range of 10 to 16
  flexible circuit board 101 that covers most of the substrate       ohms. The deposition of the silver layer was performed via
  and traces . The insulating dielectric layer can be prevented      the silk screen printing method in which a 90T silk screen
  from forming or adhering to conductive surface 404 , such as 55 mesh was used . The substrate containing the deposited silver
  by use of a mask during application of the insulating layer .      ink was then cured inside a fan assisted air circulated oven
     In an alternate embodiment, as depicted in FIG . 4D , a         at 120° C . for a period of 15 minutes .
  snap device can be added to conductive surface 404 to                FIG . 15 diagrammatically depicts an exemplary test setup
  accept a manufacture snap -on electrode (not shown ), such    used to simulate the effect of a patient defibrillation on
  as, for example , the ConMed Cleartrace line of ECG elec - 60 resistive traces . Defibrillator 1501 was used to apply mul
  trodes including the model 1700 Cleartrace electrode manu - tiple defibrillation shocks of 360 Joules each to the 100 ohm
  factured by the ConMed Corp . of Utica , N . Y . or similar type resistor 1502 . The 100 ohm resistor according to this setup
  electrodes made by the 3M Corp . of St. Paul, Minn . When simulated a patient's body . Note that most of the defibril
  designed to accept a snap -on electrode , the conductive lation energy goes into the patient' s body by design , to
  surface 404 is typically smaller than in the previous embodi- 65 restart the patient's heart. Resistive traces 1503 and 1504
  ment. A receptacle snap 432 for receiving the commercial           were wired across resistor 1502, also as shown in FIG . 15 ,
  snap -on electrode can be inserted by any suitable method ,        in order to simulate the electrical circuit that would be
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                                                       US 10 , 159,422 B2
                                 11
  formed between the resistive traces in a body worn monitor          and computation module 102 to a disposable electrode
  situated on a patient undergoing defibrillation . Neon bulbs        module 110 (FIG . 2 ). Secondary connector 503 can also
  1506 were used as part of the protection circuitry that can be      electrically couple one or more additional sensors , which
  used with resistive traces in a body worn monitor. 400 ohm          can be situated both on and off of disposable electrode
  safety resistor 1505 was present as a precaution to limit short 5 module 110 , to electromechanical connector 502 for elec
  circuit current in the event of a test setup failure . Both the      trical coupling along with physiological sensor signals 501
   100 ohm resistor (simulating human skin resistance ) and the to communications and computation module 102 ( shown in
  400 ohm safety resistor were used in accordance with           FIG . 1 ) via electromechanical connector 505 . Signals
  medical specification AAMI EC - 13 . Following 3 defibrilla - received by the communications and computation module
  tion shocks of 360 Joules each , the measured resistance of 10 102 can be electrically coupled into communications and
  the 10 k carbon track changed from 10 k to 11 k following      computation module 102 via electronic protection circuits
  the first shock , to 13 .1 k following the second shock , and to     506 and/or filters , such as ESIS filters 507.
  13 .2 k following the third shock . Themeasured resistance of          Signals can be limited or clipped in amplitude, as needed ,
  the 9 .7 k trace changed from 9 .7 k to 11 .6 k following the       by protection circuit 506 , and filtered by filter 507. One or
  first shock , to 13 . 0 k following the second shock , and finally 15 more analog amplifiers 508 can be used to amplify the
  to 13 .2 k , following the third shock . In a subsequent related     amplitude limited and filtered signals. In the exemplary
  test, the 100 ohm resistor was replaced by a closer simula -         body worn ECG monitor, amplifiers 508 can advantageously
  tion in the form of a fresh (dead ) chicken . The setup             be differential amplifiers to amplify the difference signal
  otherwise remained the same as shown in FIG . 15 . In this           (e .g . the ECG “ vector” ) between two ECG electrodes . The
  case , the resistance asmeasured on each of the test resistive 20 electrical output of amplifiers 508 can be electrically
  traces changed from 10 .7 k to 10 .25 k , and from 8 .5 k to 9 . 4 coupled to both PACER circuits 509 and ECG circuits 510 .
  k , following multiple defibrillations . During testing , it was PACER circuits 509 are described further below . ECG
  also noted that the change in measured resistance of the             circuits 510 perform several functions, including “ trace
  resistive traces was generally consistent. It was also noted    restore ” , low pass filtering (anti-aliasing ), high pass filtering,
  that as a given resistive trace was increased , the (delta R 25 and amplification ( gain ). Low pass filtering filters signals
  { caused by defibrillation } / R net trace resistance } ) can be     according to the Nyquist criterion to avoid aliasing later
  minimized .                                                          when the signals are digitized by analog to digital converter
     The screen printing technique for laying down resistive           (ADC ) 516 . The high pass filter causes the input to be AC
  traces was further investigated by printing a plurality of     coupled from a roll off frequency of about 0 . 05 Hz, as
  small carbon resistive dots 1601 of about 20 mm in diameter 30 specified by industry ECG standards. Gain is required to
  using a 7102 carbon ink applied by a screen printer (not             cause the small pre -amplified potentials from physiological
  shown ). The carbon dots 1601 were laid out on a tray 1602           sensors ( such as electrodes 109) to more closely match the
  as shown in FIG . 16A , for baking in an oven . A manually           available dynamic range of the digitizing ADC 516 . Note
  operated squeegee ( not shown ) was used to apply the                that ADC 516 can be a dedicated ADC chip or can be
  resistive dots 1601 to the tray 1602 through a mask (not 35 included in a microcomputer integrated circuit, such as a
  shown). It was determined that control of thickness during          microcomputer serving as microprocessor 512 .
  application was one important factor for controlling the                A microprocessor, such as microprocessor 512 , is defined
  distribution of resistance . It was noted that during manual        herein as synonymous and interchangeable with the terms
  application, the variation of resistance depended upon the "microcomputer” , “ microcontroller” , and “ microprocessor” .
  distance between the plurality of dots 1601 and the person 40 Such microprocessors are also interchangeably represented
  applying the resistive paste , and that the pressure applied herein as " u P ” or “ u C ” . Further, any microprocessor
  using the squeegee could also affect the final resistance by         disclosed herein can be replaced by any integrated device
  a factor of two . It was further noted that “ even ” heating         that can perform the function of a microprocessor , such as,
  across the tray 1602 was advantageous during oven drying,            but not limited to , a field programmable gate array
  although this factor was found to have less effect on the final 45 (“ FPGA ” ) programmed to perform the functions of a micro
  dot resistance distribution . A resistance distribution of the       processor.
  baked and measured dots 1601 is shown in the histogram of               Typically , one or more differential amplifiers can be
  FIG . 16B . This testing indicated that production traces laid       dedicated to particular difference voltages associated with
  down on a substrate, such as Mylar, for use in a body worn           physiological sensors 501 or 504 , but it should be noted that
  monitor should preferably be printed using a semi- automatic 50 one or more amplifiers 508 can also be multiplexed by
  screen print process , such as by a screen printing mechanical       techniques as known in the art, to servemultiple physiologi
  roller process . A digital multimeter (" DMM " ) with probes         cal sensors using a lesser number of amplifiers . Similarly ,
  placed at each edge of a dot 1601 was used to measure the            one or more ADCs 516 can serve two or more signals from
  resistance from one edge of the dot to the other. It was found       physiological sensors 501 or 504 using techniques such as
  that uniform application of ink was important to keeping a 55 multiplexing in time that is digitizing one physiological
  tight distribution of resistance , with even heating having a        sensor difference signal at a time sending a digital result to
  smaller influence on the distribution of the resistance of the       a next stage one after the other . ECG circuits 510 and
  test dots . Since a trace with too low a resistance has a greater    PACER circuits 509 are referred to in the plural, since there
  A R /R , and higher probability of failing and very high             can be individual circuits for each measured physiological
  resistance traces result in worse S / N ratio , it is important to 60 signal, such as for each measured ECG vector.
  have a reasonably tight tolerance on the trace resistance .              Electrical power from power source 515 can be regulated
     FIG . 5 shows a block diagram representative of one by regulator514 and distributed as regulated voltage 517 to
  embodiment of the body worn physiological monitor 100 . most function blocks (as represented herein by the label
  Physiological sensors 501 ( such as electrodes 109 in FIG . “ POWER ” ). Each of these function blocks also has a control
  1D ) can be electrically coupled to electromechanical con - 65 (" CTRL " ) input 511 from microprocessor 512 , allowing
  nector 502 ( as by the resistive traces 412 shown in FIG . 4 ). these circuits to be disabled, when not needed , in order to
  Connector 502 serves to electrically couple communications save battery power. When viewed over time, most of the
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                                                       US 10 , 159 ,422 B2
                                 13                                                                     14
  ECG waveform does not contain useful information since                 common 704 (shown as the negative terminal of the battery
  there is significant " dead time” between heart beats . There          in FIG . 7A ) can be directly tied to the patient in the vicinity
  fore, for example , from the end of a “ ? wave” at the end of          of electrodes 109. Thus , the electronics common of the
  one heart beat to the beginning of a “ P wave ” at the                 electronic circuits in communications and computation
  beginning of the next heartbeat, circuits can be powered 5 module 102 can be made to more closely follow any change
  down ( in a device " sleep mode ” ) to save on the order of 60 %  in potential in the vicinity of electrodes 109 . Reference
  of the energy stored in the power source that would have          electrode 701 can be particularly helpful to ensure that
  otherwise been used during this dead time.                        inputs 109 remain within a reasonably narrow common
     FIG . 17 shows an exemplary ECG waveform . In brief, the mode range , such as by reducing a 60 Hz potential that
  P wave can be related to the electrical current causing atrial 10 would otherwise appear to move the electronics common
  contraction . The QRS complex can be related to ventricular 704 at 60 Hz with respect to electrodes 109 .
  contraction of the left and right ventricles . The Q wave can             In another embodiment as shown in FIG . 7B , virtual
  be related to electrical current traveling through the intra -         electrode 702 performs a similar function as previously
  ventricular septum , while the R and S waves can be related            described with regard to reference electrode 701. In this
  to the ventricles contracting. The T -wave is due to the 15 embodiment, instead of creating a DC - coupled reference
  re - polarization of the ventricles. Usually , atrial re -polariza - electrode, electrode 701 is replaced by the capacitive cou
  tion occurs atop the QRS complex , and being much smaller              pling between flexible printed circuit layer 101 and the
  than the QRS complex , is not seen . The ST segment con -              patient 703, resulting in a virtual electrode 702 with an AC
  nects the QRS complex to the T-wave . Irregular or missing             coupled common . Such AC coupling increases with
  waves may be indicators of cardiac issues including : isch - 20 decreased distance between flexible printed circuit layer 101
  emic tissue, e . g . due to myocardial infarction , bundle branch      and the patient and can advantageously reduce 60 Hz
  block , atrial problems ( specifically P -wave abnormalities ),        common mode signals (AC signals) .
  pericarditis, and electrolyte disturbance .                              In yet another version of a directly connected electrode
     Generally , power source 515 can include one or more        701 , as shown in FIG . 8A , electrode 701 can be actively
  " button " cells typically disposed on disposable electrode 25 driven by an electrical output from communications and
  module 110 ; however, the block diagram of FIG . 6 shows an    computation module 102 . Typically, an operational amplifier
  embodiment of a body worn physiological monitor 100            (OpAmp ) or other type of amplifier can be used to create a
  where power is supplied by a power source located on , or              " driven lead ” . Driven lead circuits can be used to further
  connected to communications and computation module 102                 improve CMR over passive electrodes 701 as shown in FIG .
  instead of residing within disposable electrode module 110 . 30 7A . An exemplary circuit suitable for use to drive an
     Beyond power saving considerations, it can also be desir -          electrode 701 is shown in FIG . 8A . Amplifiers (OpAmps )
  able in some embodiments of body worn physiological                    810 and 811 buffer the high impedance signals from elec
  monitor 100 to put the microcontroller and/ or other circuits ,        trode 1 and 2 (exemplary electrodes 109). Difference ampli
  including particularly digital circuits, into a sleep mode             fier 508 conveys the difference signal (such as an ECG
  during an ADC conversion cycle to minimize pickup of self 35 vector ) as previously described . The two 10 kilo ohm
  generated electrical noise and to minimize power use . Pref- resistors provide an average of the common mode signals
  erably , the A / D circuit can acquire multiple samples and appearing simultaneously at the inputs of buffer amplifiers
  buffer the samples , before awakening the microprocessor,        810 and 811 . The inverting low pass filter built around
  which then can batch -process the data . Buffering can be set Op Amp 812 inverts the averaged common mode pickup
  to match the patient's heart rate, as there is no significant 40 signal (at electrodes 1 and 2 ) and applies that signal out of
  clinical benefit to analyzing every sample as it is taken .      phase ( 180° phase shifted ) to a directly connected driven
     Turning back to the input circuits, typically amplifiers 508  electrode (such as electrode 701 ). By applying the average
  are differential or instrumentation amplifiers useful to selec - common mode signal to the driven electrode , amplifier 812
  tively amplify desired difference signals between connector effectively suppresses common mode signals at electrodes 1
  terminals ( such as an ECG vector ), while rejecting common 45 and 2 within the effective bandwidth of the negative feed
  mode signals (such as interfering signals that appear simul-           back loop by active noise cancellation . In theory , a virtual
  taneously on both connector terminals ). Beyond using a                electrode 702 could be similarly driven , but the voltage
  differential amplifier, other techniques can be advanta -              requirements to drive a capacitively coupled common elec
  geously used to further reduce common mode pickup       trode are high enough to make a “ driven virtual electrode ”
  (CMR ) and thus to improve the common mode rejection 50 a less practical option . Thus , it can be seen that a reference
  ratio (CMRR ) of the input amplifier stages of body worn               electrode can be a passive connection or an actively driven
  physiological monitor 100 . CMR is of particular concern               connection .
  with regard to body worn physiologicalmonitor 100 because
                                                         It can also be desirable to have more than one CMR
  ofthe proliferation of potentially interfering electromagnetic
                                                       technique available. For example , in a low noise environ
  fields, such as from 50 Hz or 60 Hz AC power line 55 ment, a lower power reference electrode might be used for
  distribution throughout a hospital. For example , many fluo -          CMR . Then if the noise increases to a level where the
  rescent ceiling lamp fixtures generate strong 60 Hz alternat-          reference electrode provides insufficient CMR , the body
  ing current ( AC ) electromagnetic fields that can appear as           worn monitor can switch to a driven lead more suitable for
  common mode signals on physiological sensors 501, such as              CMR in a high noise environment. In this embodiment, a
  ECG electrodes 109 .                                                60 particular CMR configuration can be selected by electronic
     FIG . 7A shows one embodiment in which body worn                    switching. FIG . 8 shows one such exemplary switching
  physiological sensor 501 comprises a plurality of ECG                  block represented as reference electrode switch 801 . Micro
  electrodes 109 and 701. Two electrodes 109 generate an                 processor u P ) 512 can control reference electrode switch
  ECG difference potential for patient 703 . A third electrode ,         801 to select direct connected electrode 701, virtual elec
  reference electrode 701 can be electrically coupled to elec - 65 trode 702 , or directly connected electrode 701 additionally
  tronics common 704 (or other potential level) and can be               driven by a driven lead circuit 802 . It should also be noted
  used to improve CMR . In this embodiment, the electronics              that in the embodiment of FIG . 8 , when virtual electrode 702
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                                                      US 10 ,159 ,422 B2
                                15                                                                   16
  provides sufficient CMR , electrode 701 can be used as a          Vcc or below ground and resistors R91 and R92 limit
  third electrode, thus allowing body worn monitor 100 to           current. Using circuit protection , such as gas discharge tubes
  simultaneously measure two different heart vectors .              L1 and L2 (FIG . 9 ) and/or diodes 1001 (FIG . 10 ) combined
     FIG . 9 shows one embodiment of an exemplary defibril- with resistances R91 and R92, typically in the form of
  lation protection circuit (506 ) and ESIS filter 507 . As shown 5 resistive traces 412 , a body worn device can survivemultiple
  in FIG . 9 , electrodes 109 can be connected via input resistors defibrillation cycles of at least 360 joules.
  R91 and R92 . Gas discharge tubes , such as neon bulbs L1            PACER circuit 509 detects pacemaker pulses. One reason
  and L2 , can be used for over voltage protection by firing at     to detect a pacemaker is to prevent the ECG circuitry from
  a designed voltage to prevent large potentials from appear        inadvertently registering the regular pulses from a pace
  ing at the input leads to amplifier 508 . The gas discharge 10 maker as an actual heart rhythm . Separation of a pacemaker
  tubes can be disposed on either disposable electrodemodule     signal from signals generated by the heart is important both
  110 or on the communication and computation module 102 . to generate accurate ECG analysis results as well as to
  Defibrillation protection resistors R91 and R92 can further           correctly detect the absence of an actual heart rhythm . For
  reside in disposable electrode module 110 , such as in the            example , a pacemaker continues to function even where a
  form of the resistance of traces 412 .                             15 human heart has completely failed .
     ESIS filters 507 can be used to satisfy AAMI standard                   pacer event (pacemaker signal) is typically a narrow
  EC13 on Electrosurgical Interference Suppression (ESIS ).            pulse typically less than 100 microseconds wide . Because of
  Standard EC13 addresses the ability of an ECG monitor to the capacitance between the pacer in a patient and an ECG
  display and process ECG signals in a satisfactory manner circuit, an otherwise relatively square pacer pulse as admin
  while connected to a patient on whom an electrosurgical 20 istered at the patient's heart by a pacemaker, can appear to
  device is being used . Without such suppression , the high RF         an ECG monitor as a pulse with a negative undershoot and
  output of an electrosurgical device can render ECG moni-              an exponential return to zero that could inadvertently mimic
  toring impossible and or render themonitor unusable . Resis .         a QRS signal. A pacer signal, however , can be recognized by
  tors R93 to R98 and capacitors C91 to 096 form cascaded               an analog differentiator and alert microprocessor 512 to the
  low pass filter sections ( e .g . R93-C1 ). Three cascaded single 25 presence of a pacer and to disregard the refractory period of
  pole filters are shown on each input leg of amplifier 508 as          the corresponding R - C recovery due to the pacer signal. The
  an example ; more or less stages can also be used . It is also       pacer detection circuit or PACER circuit can generate a
  not necessary for each section of the cascaded filter to have        microprocessor interrupt to inform the microprocessor that a
  identical values or roll off points in the frequency domain to      pacer event occurred and to mark a corresponding physi
  create a specific response , e . g., Bessel, Chebychev, or other 30 ological signal in time as related to a pacer event. PACER
  filter response known to those skilled in the art. Also , ESIS        circuit 509 can also cause one or more pacer related circuits
  filters are not limited to cascaded single pole filters and can      to automatically power down for power saving , where it is
  take other forms as known in the art.                                determined that a patient is not using a pacemaker.
      Test circuit 906 can provide a relatively sharp transient           FIG . 11 shows an algorithm useful to determine if the
  signal for testing the PACER circuit described below as part 35 pacer circuit should be enabled . A typical PACER detection
  of a body worn monitor 100 " power on self test” . Resistors    circuit uses a significant percentage of the energy available
  R99 and R100 can pull the output of the differential ampli-     from a power source such as batteries 204 . If a PACER
  fier 508 allowing the microcontroller (512 ) to detect which          signal is not detected , such as at power up of body worn
  electrode, if any , has detached , much as a " lead failed "         monitor 100 , the pacer circuit can be automatically disabled
  detection is accomplished by ECG monitors having leads. 40 allowing for a longer battery life. Since typical PACER
  Body worn monitor 100 does not use leads, but it is still             circuits can use several amplifiers (OpAmps ), they can
  possible for one or both of the physiological sensors to move         consume up to one third of the analog power, therefore
  free of a patient 's body. Such disconnects can occur in              securing the PACER circuits when they are not needed (i.e .
  situations in which body worn monitor 100 partially moves             the patient does not have a pace maker) can cause a
  away from the body to which it is non -permanently affixed . 45 significant improvement in battery life . The algorithm also
  The input impedance at one or both of the electrodes 109              can also provide checks to determine if a demand type pace
  changes in a sensor off ( sensor disconnect) event. When a           maker begins operation (which might be inactive at power
  patient is attached , amplifier 508 typically has an output           up of body worn monitor 100) by analyzing beat variability .
  voltage ofnear zero volts. However, if one of the electrodes While it can be advantageous to have the body worn device
  109 comes off , resistors R99 or R100 cause the output of 50 automatically sense the presence of a pacemaker and to
  amplifier 508 to move to a most positive output ( positive   enable the PACER detection circuit, the choice as to whether
  rail” ) or to a most negative output (" negative rail” ). Note to enable or disable the PACER circuit can also be done by
  that the negative rail can be a small voltage near zero , in the    externally configuring the body worn device . Such external
  case of single supply circuit operation , and that both inputs configuration can be done through a hardwired communi
  could be pulled to the same rail. Lead - fail detection can also 55 cation connection cable or via communications and compu
  be analyzed to determine when the device is attached to the tation module 102 , in which communications and compu
  patient and then to automatically enter full operational              tation module 102 is a two -way radio transceiver
  mode. Such analysis can be done at a low frequency .                  communication device capable of receiving a configuration
     The ESIS filter 507 also can cause a stretching in the time        command sent for a remote radio transceiver . The radio
  domain of a pacer pulse so that the event is recorded by at 60 could be 802 . 11 compliant, but generally would use a
  least one sample , even though the pacer pulse itself is of    lighter -weight ( simpler ) protocol that can be more energy
  small duration compared to the ADC sample rate and the              efficient. A suitable lighter weight protocol could be propri
  pacer pulse is likely to occur between samples .                    etary , or standards-based , such as ZigBee or Bluetooth . A
     FIG . 10 shows an alternative circuit to accomplish over body worn physiological monitor 100 is particularly well
  voltage protection , such as is required during defibrillation . 65 suited for use in hospital environment as part of an inte
  In FIG . 10 , diodes 1001 prevent the electrode potentials           g rated wireless monitoring network . The details of such
  from going much more than one diode voltage drop above               monitoring networks are disclosed in U . S . patent application
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                                                              US 10 , 159,422 B2
                                    17                                                                        18
  Ser . No. 11 /031 ,736 entitled , “ Personal Status Physiological            source . An internal power source can be a renewable power
  Monitor System and Architecture and Related Monitoring                       source , such as a rechargeable battery .
  Methods ” , which is incorporated by reference herein in its                    Another type of internal power source is a Peltier device
  entirety .                                                                   operated in reverse , also called a Seebeck device . Seebeck
    FIG . 12 shows a high pass filter (HPF ) suitable for use in 5 discovered that a conductor generates a voltage when sub
  ECG circuits block 510. An advantage of a 0 .5 Hz HPF is jected to a temperature gradient. Thermoelectric couples are
  faster recovery from DC offsets due to patient movement,                     solid -state devices capable of generating electrical power
  defibrillation , electrocautery , etc . However ST segment                   from a temperature gradient, known as the Seebeck effect .
  analysis is negatively impacted if HPF cutoff is greater than      (By contrast, the Peltier effect refers to the situation where
  about 0 . 05 Hz. Thus , it is preferable to have the ability to 10 electrical energy is converted into a temperature gradient.) A
  change between a 0 .5 and 0 .05 Hz cutoff frequency . The          Seebeck device " couple ” consists of one N - type and one
  high pass filter of FIG . 12 is implemented by a low pass filter   P -type semiconductor pellet. The temperature differential
  configured as an inverting amplifier in a negative feedback                  causes electron flow from hot to cold in the N - type couple
  circuit to give a net effective high pass transfer function from             and hole flow from hot to cold in the P -type couple . To create
  circuit input to output. The corner frequency of the com - 15 an electromotive force (EMF) , the following connections are
  posite filter can be adjusted by switching in resistor R2'.   made : On the cold side ( i. e . the side that is exposed to room
  Alternatively, S1 can be switched at a periodic rate to place                temperature ) the pellets are joined and on the hot side (i.e .
  a duty cycle on C . Note that the frequency of switching of                  the patient side ), the pellets are connected to a load , such as
  S1 should be fast with respect to the corner frequency of the                the computation and communication module 102 . The open
  anti -aliasing low pass filter . The graphs A - D of FIG . 13 20 circuit voltage of a Seebeck device is given by V = SAT, in
  further illustrate the performance of the exemplary filter of                which S is the Seebeck coefficient in volts /º K and AT is the
  FIG . 12 . These graphs show normalized amplitude on the                     temperature difference between the hot and cold sides. It is
  vertical axis plotted against frequency on the horizontal axis . a challenge today to completely power the computation and
  FIG . 13 , graph A represents a raw input signal. FIG . 13 ,     communication module 102 from a Seebeck device that is of
  graphs B and C are Bode Plots representing the high and 25 the same size as the computation and communication mod
  low -pass filter sections. After applying filter responses B &              ule 102. Presently , a Seebeck device may only provide
  C to input Data A , filtered data D is the result. The HPF      supplementary power, but as electronics migrate toward
  cutoff can be 0 .5 Hz or some lower value depending on          lower power and Seebeck coefficients and thermocouple
  whether R2' is switching in or if C is duty cycled .            densities improve , a Seebeck device can be a viable long
     Another method to achieve this frequency change is to use 30 term power solution for a patient-worn monitor. Other
  digital filters implemented on Microprocessor 512 to reverse methods of generating energy , such as mechanical (as is
  the effects of the 0 .5 Hz HPF, then implement a digital HPF    used in some wrist watches ) and solar, can also be viable
  at a lower cutoff frequency , 0 . 05 Hz, for example . The methods for providing a renewable self- contained power
  response of the 0 . 5 Hz filter should be known to implement                 source for a body worn monitor.
  the inverse filter. This response can be measured using 35 Turning to analysis routines suitable for use on a body
  microprocessor 512 to trigger the test circuit 906 to create an worn monitor, typically , ECG beat picking, such as by using
  impulse , H ( S ). The inverse response is the [ 1 - H ( S ) ] (FIG . 13,   wavelet or Fourier transforms and /or matched filter analysis
  graph E ) and this inverse filter can be digitally implemented              in the time domain can be computationally expensive .
  by methods familiar to those skilled in the art . H '(s ) is the            Modeling the QRS pulse as three triangles with alternating
  frequency response of the new HPF with lower cutoff 40 polarities creates a rough matched filter for the QRS pulse .
  frequency , nominally 0 .05 Hz. The digital filter for H '( s ) is Taking the second derivative results in impulse functions at
  digitally generated (F ) and applied along with [1 -H (s)] (FIG .            the peaks of the triangles (where the first derivative is
  13, graph E ), resulting in the frequency response displayed                 discontinuous ), and all other points are zero . The second
  in FIG . 13 , graph G . A high pass filter suitable for use in  derivative method also makes the convolution with incom
  ECG circuits block 510 can be implemented in full or in part 45 ing data extremely efficient as most of the multiplies have a
  by software that can run on microprocessor 512 .                O as the multiplicand and requires minimal computation . The
     FIG . 14 shows how a body worn monitor 100 configured        result can then be integrated twice to produce a matched
  as an ECG monitor can be situated on a patient in at least two               filter output , which can be fed into the beat-picking algo
  different orientations to measure different heart vectorsA .                r ithm that provides fiducial marks . Using a second matched
  primary heart vector is measured by orientation from the 50 filter that is sinusoidal in shape and with appropriate dis
  patient' s right shoulder to the left hip , as shown by position             criminators, the system can provide indications of Life
  1401. An alternative position 1402 can be more suitable                      Threatening Arrhythmias (LTA ); that is , Asystole, Vfib , and
  where there is injury or where patient anatomy is such that                  Vtach . While the accuracy of this system is less competitive
  it causes the preferred position 1401 to be less desirable . with a high - end Arrhythmia solutions such as those pro
  Also , body worn monitor 100 can be affixed to the side of 55 vided , for example , by Mortara , the filters can be tuned to err
  patient 703 (similar to a measurement made by a conven -                     toward false positives and upon a positive LTA response ,
  tional ECG “ V ” lead ) or back of a patient 703 ( such as where             activate transmission of full waveforms.
  a patient needs to sleep on their stomach ) to monitor still                   Research has also shown that analysis of the R - R portion
  other ECG vectors (not shown ). In effect, a body worn            of the ECG waveform interval statistics can provide a
  monitor 100 can be placed to pick a particular vector that can 60 method to predict atrial flutter. Applying this and other
  be traversed by the electrodes 109. For example at least the                 low -computational cost methods can allow a body worn
  first three primary heart vectors, i. e. I, II, and III, can be             monitor device to begin transmitting full waveforms for
  made conveniently available in this manner.                                 either clinical or algorithmic analysis by a more powerful
     While illustrated with an internalbattery , it is important to            engine , when the probability of other arrhythmias is high .
  note that a body worn physiological monitor 100 can be 65 Transmitting only the R -R intervals of ECG waveforms is an
  powered by either an internal power source only, an external example of a lossy data compression method . R - R intervals
  power source only , or by an internal or an external power comprise a string of data and the string of data can also be
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                                                         US 10 , 159 ,422 B2
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  compressed . Lossless or lossy data compression of the entire              including, but not limited to , defibrillation protection resis
  waveform can be implemented to save battery life , including               tors, pacer detect circuit disabling, methods for ECG signal
  not transmitting (or perhaps not even sampling) data                       high pass filtering , and various other low power modes are
  between the T and the P wave. Because data compression not limited to body worn monitors, and can be used in ECG
  results in less data to transmit, the power saved may offset 5 monitors of any type.
  the computation cost of the data compression .
    While we have referred often to ECG applications herein ,       What is claimed is :
  the application of low - intensity computationalmethods as a      1. A method formanufacturing a body-worn physiological
  power saving measure apply equally well to other types of sensor, the method comprising :
  low power -sensors , including, but not limited to EEG , SPO ,, 10 providing a disposable substrate made from an insulating
  temperature , and invasive or non -invasive blood pressure           material, said substrate comprising :
  measurements . Whether the body -worn medical- grade                  a flexible printed circuit board layer made from the
  monitor performs complex analysis or simply compares a                             insulating material ;
  single numeric value to a single numeric limit, the device                      at least two electrodes disposed on the disposable
   can function in a low -power radio state until a predeter- 15                     substrate ; and
  mined threshold is exceeded . A body worn monitor can also                     conductive traces defined between the at least two
  periodically send data or send data upon external request.                         electrodes ;
  Additionally, external devices can send commands to                          providing a computation -communication module, said
  modify the operating parameters and thresholds .                               module comprising :
     Turning to other communication matters, it may be that 20                    a housing;
  adverse events occur in which no uplink is available . In a                     a processor disposed in the housing; and
  case of no uplink ( failed communications), the body worn                    attaching the computation -communication module to the
  monitor can buffer time-stamped waveforms corresponding                         disposable substrate .
  to any adverse events . The buffers can also store waveforms      2 . The method of claim 1, further comprising:
  for later analysis in which this storage is triggered by the 25 providing conductive traces in the flexible circuit layer.
  patient when the patient recognizes a condition , such as         3 . The method of claim 2 , in which the conductive traces
  chest pain . In the case of an alarm that occurs when there is are configured on the flexible circuit layer to electrically
  no uplink , alarms can be configured to be latched until       couple with the attached computation - communication mod
  confirmed by a clinician . Preferably , non - continuous data  ule .
  are marked (time stamp, sample number ) to allow correla - 30 4 . The method of claim 1, further comprising:
  tion of non -continuous data with continuous data and data        providing a plurality of openings in the flexible printed
  are also marked to indicate when an alarm was initiated for                     circuit board layer, the openings being sized for receiv
  later data analysis , including algorithm performance analy                     ing electrode gels.
  sis.                                                                         5 . The method of claim 1 , in which the computation
     In those instances in which many body worn monitor 35 communication module is releasably attached to the dispos
  devices are used in close proximity to one another, there can able substrate .
  be concern that the reports from one body worn monitor           6 . The method of claim 1, further comprising:
  might be interchanged with reports from another body worn       providing a radio circuit in the computation - communica
  monitor. The body worn monitor presented herein , can be                        tion module .
  configured with a patient context (i. e . name, room number, 40              7 . The method of claim 3 , further comprising:
  patient ID , age , etc ) and can maintain that context for as long           at least partially covering the conductive traces with an
  as the monitor is connected to the patient to avoid such                         insulating covering
  problems. The body worn monitor can determine the status                     8 . The method of claim 7 , in which the insulating covering
  of its connection to the patient via a continuous vital signs              is a fabric .
  monitor, pressure , temperature , galvanic response , or similar 45          9 . The method of claim 1, further comprising:
  input. Upon detection of a loss of connection with a patient,                integrating at least two electrodes into the flexible printed
  the device can , depending upon different variable settings,                     circuit board layer of the disposable substrate .
  either erase the patient context or when re - connected to the                10 . The method of claim 3 , further comprising :
  patient, require the care giver to confirm the patient context.              screening the conductive traces onto the flexible printed
  When the body worn monitor is initially powered up or 50                        circuit board layer .
  connected to a patient, it can have a time holdoff for alarms                11 . The method of claim 9 , in which each electrode
  to prevent false alarms ( e.g . low heart rate , lead -fail detec -        includes an electrode gel and a conductive surface defining
  tion ) while the system stabilizes .                                       a half cell .
     Regarding firmware updates, where there are large num -                   12. The method of claim 11 , in which the disposable
  bers of body worn monitors in a hospital, it can be prob - 55 substrate is crescent shaped and in which the body -worn
  lematic to keep them all updated with the latest version of                physiological sensor is worn on the chest of a patient.
  firmware. One solution to this problem is to provide a                       13 . The method of claim 3 , further comprising :
  wireless update ability for downloading and installing new                   providing a pacer circuit in the flexible printed circuit
  firmware and/ or configurations into all of the body worn                      board layer of the disposable substrate .
  monitors .                                                            60     14 . A body -worn physiological sensor made by the pro
     While the present invention has been particularly shown cess of:
  and described with reference to the preferred mode as           providing a disposable substrate made from an insulating
  illustrated in the drawings, it will be understood by one         material, said substrate comprising :
  skilled in the art that various changes in detail may be           a flexible printed circuit board layer made from an
  effected therein without departing from the spirit and scope 65      insulating material;
  of the invention as defined by the following claims. It is        at least two electrodes disposed on the disposable
  further understood that several aspects of the invention ,           substrate; and
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                                                     US 10 , 159,422 B2
                               21
       conductive traces defined between the at least two
          electrodes ;
    providing a computation -communication module , said
       module comprising :
        a housing;                                              5
        a processor disposed in the housing ; and
    attaching the computation - communication module to the
        disposable substrate .
     15 . The body -worn physiological sensor of claim 14 ,
  wherein the process further comprises :                      10
    providing the conductive traces in the flexible printed
        circuit board layer.
     16 . The body -worn physiological sensor of claim 15 , in
  which the process further comprises :
     configuring the conductive traces in the flexible printed 15
        circuit board layer to electrically couple with the
        attached computation - communication module .
     17 . The body -worn physiological sensor of claim 14 , in
  which the computation - communication module is releasably
  attached to the disposable substrate.                        20
     18 . The body -worn physiological sensor of claim 14 ,
  wherein the process further comprises :
     providing the computation - communication module with a
       radio circuit.
     19. The body -worn physiological sensor of claim 16 , in 25
  which the process further comprises:
    at least partially covering the conductive traces with an
        insulating covering.
     20 . The body -worn physiological sensor of claim 14 , in
  which the process further comprises :                           30
    integrating at least two electrodes into the flexible printed
        circuit board layer of the disposable substrate .
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                        Exhibit 5
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                             ,ÿ)-+./0*$12$ÿ).1ÿ)23$$ÿ%4)%ÿ5647%48ÿ9$-4./*/25$':ÿ,.-;:ÿ5647%48ÿ9$-4./*/25$':ÿ#%1;ÿ/3
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                       5.D/38)%5/.ÿ5.ÿ)--/31).-$ÿ05%4ÿ%4$ÿ%$38'ÿ/Dÿ5647%48&'ÿE35?)-7ÿE/*5-7;ÿF7ÿ'<G85%%5.2ÿ%45'ÿD/38:
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               R P)%)ÿ/.ÿD5*$;ÿ5647%48ÿ9$-4./*/25$'QÿRSRT;
                                                               T`P)%)ÿ/.ÿD5*$;ÿ5647%48ÿ9$-4./*/25$'QÿRSRT:
               V P)%)ÿ/.ÿD5*$;ÿ5647%48ÿ9$-4./*/25$'QÿRSRR;       RSRR;
               \ P)%)ÿ/.ÿD5*$;ÿ5647%48ÿ9$-4./*/25$'QÿRSRTU Tab/*<8$ÿ3$D*$-%$1ÿ5.ÿ%4$ÿ1$?5-$ÿ4/<'5.2;
                 RSRR;
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               e P)%)ÿ/.ÿD5*$;ÿ5647%48ÿ9$-4./*/25$'QÿRSRV;       5647%48ÿ9$-4./*/25$'QÿRSRT;
               ` 6$7./*1'ÿW6:ÿE)''8).ÿ6X:ÿX05.1*$ÿYE:ÿ$% TKM5/ÿO9ÿ1/$'ÿ./%ÿ3$c<53$ÿG)%%$37ÿ-4).2$'ÿ/3
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                 )8G<*)%/37ÿ8/.5%/3'ÿD/3ÿ)3347%485)              %3).'85''5/.ÿ*585%'ÿ).1ÿ5'ÿ-/.%3)5.15-)%$1
                 15)2./'5'[ÿ)ÿ3$%3/'>$-%5?$ÿ).)*7'5'ÿ/D          D/3ÿ-35%5-)*ÿ-)3$ÿ>)%5$.%';ÿ6$D$3ÿ%/ÿ%4$ÿM5/ÿO9
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                 K`;                                             %4$ÿ1$?5-$ÿ)G/?$ÿ0)%$3;ÿE*$)'$ÿ3$D$3ÿ%/ÿ%4$
                                                                 M5/ÿ8/.5%/3ÿ*)G$*5.2ÿ5.'%3<-%5/.'ÿ/3ÿE)%5$.%
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                                                          P9:*1/937
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                        Exhibit 7
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                                             Indications for Use. .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 3
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                                             Troubleshooting.  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 11
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                                             Notice of Privacy Practices (NOPP). .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  .  . 21
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DESCRIPTION                                                                        INDICATIONS FOR USE
The Zio AT connected continuous ambulatory monitoring system (“Zio AT              The Zio AT ECG monitoring system is intended to capture, analyze and
system”) is an electrocardiogram (ECG) monitoring system. It consists of four      report symptomatic and asymptomatic cardiac events and continuous
components: (1) Zio AT patch ECG monitor that records continuously through         electrocardiogram (ECG) information for long-term monitoring. While
the entire wear period, (2) Zio AT wireless gateway that provides connectivity     continuously recording patient ECG, both patient-triggered and automatically
between the patch and the iRhythm monitoring center, (3) Zio arrhythmia            detected arrhythmia events are transmitted to a monitoring center for
detection algorithm and (4) ZioReports.com clinician portal.                       reporting. After wear, a final report is generated based on beat-to-beat
                                                                                   information from the entire ECG recording. It is indicated for use on patients
The Zio AT system is a single-patient-use ECG monitor that provides a
                                                                                   18 years or older who may be asymptomatic or who may suffer from
continuous, single-channel recording in addition to symptomatic and
                                                                                   transient symptoms such as palpitations, shortness of breath, dizziness,
asymptomatic data transmission for up to 14 days. The Zio AT patch is
                                                                                   light-headedness, pre-syncope, syncope, fatigue, or anxiety. The reports are
applied and activated by the patient. Once activated, the patch records ECG
                                                                                   provided for review by the intended user to render a diagnosis based on
without patient interaction, with the goal of improving patient compliance
                                                                                   clinical judgment and experience. It is not intended for use on critical care
via simplicity of operation. The Zio AT patch, in conjunction with the wireless
                                                                                   patients.
gateway and the Zio arrhythmia detection algorithm, has arrhythmia auto-
detection capabilities. Additionally, patients have the option of pressing a       CONTRAINDICATIONS
convenient trigger button which marks the continuous record and initiates
a wireless transfer of a 90 second ECG strip. The wireless transfer of data        •• Do not use Zio AT for patients with symptomatic episodes where variations
is enabled by the Zio AT gateway, which requires proximity and reception               in cardiac performance could result in immediate danger to the patient
but no patient interaction to transmit to the monitoring center. The patient is        or when real-time or in-patient monitoring should be prescribed.
encouraged to document symptomatic events, which will support symptom-
rhythm correlation in the Zio AT reports.
                                                                                   •• Do not use Zio AT for patients with known history of life threatening
                                                                                       arrhythmias.
At the conclusion of the wear period (up to 14 days), the patient removes the
Zio AT patch and returns it, along with the gateway, by mail to an iRhythm
                                                                                   •• Do not use Zio AT in combination with external cardiac defibrillators
                                                                                       or high frequency surgical equipment near strong magnetic fields or
data processing center.
                                                                                       devices such as MRI.
Upon receipt of symptomatic/asymptomatic transmissions or downloaded
continuous ECG data at iRhythm’s Clinical Center (iCC), the data is processed
                                                                                   •• Do not use Zio AT on patients with a neuro-stimulator, as it may disrupt
                                                                                       the quality of ECG data.
by iRhythm’s proprietary algorithm before an iRhythm Certified Cardiographic
Technician (CCT) reviews the results and generates a report.                       •• Do not use Zio AT on patients who do not have the competency to wear
                                                                                       the device for the prescribed monitoring period.
Upon explicit request from a clinician responsible for the patient’s healthcare,
segments of ECG data from the continuous recording on the patch can also be
wirelessly retrieved during the wear period.




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WARNINGS                                                                           •• CAUTION: Portable and mobile RF communications equipment can affect
                                                                                       medical electrical equipment.
•• Do not use the Zio AT patch on patients with known allergic reaction to
    adhesives or hydrogels or with family history of adhesive skin allergies.      •• WARNING: The Zio AT system should not be used adjacent to or stacked
    Patient may experience skin irritation.                                            with other equipment.

•• Do not reuse the Zio AT patch on multiple patients. It is a single patient      •• WARNING: The Zio AT system may be interfered with by other equipment,
    use device. Reuse will cause incorrect patient data and patient may                even if that other equipment complies with CISPR EMISSIONS
    experience cross contamination.                                                    requirements.

•• Do not use Zio AT system on patients residing in areas with limited to no       •• WARNING: Portable RF communications equipment (including
    cellular reception.                                                                peripherals such as antenna cables and external antennas) should be
                                                                                       used no closer than 30 cm (12 inches) to any part of the Zio AT patch or
•• Do not modify the Zio AT system.                                                    gateway. Otherwise, degradation of the performance of this equipment
                                                                                       could result.
•• The Zio AT system is MR Unsafe!
    oo   Do not expose the Zio AT patch or gateway to a magnetic resonance
         (MR) environment.
                                                                                   PRECAUTIONS
    oo   The Zio AT patch or gateway may present a risk of projectile injury
         due to the presence of ferromagnetic materials that can be attracted      •• Safety and effectiveness of the Zio AT Patch on patients receiving any
         by the MR magnet core.                                                        form of pacing therapy has not been established. Paced cardiac rhythms
                                                                                       may not be accurately detected and may be incorrectly classified.
    oo   Thermal injury and burns may occur due to the metal components
         of the Zio AT patch that can heat during MR scanning.                     •• Safety and effectiveness of the Zio AT system on pediatric patients
                                                                                       (younger than 18 years old) has not been established.
    oo   The Zio AT patch may generate artifacts in the MR image.
                                                                                   •• The Zio AT system includes temperature and humidity limitations when
    oo   The Zio AT patch or gateway may not function properly due to the              stored/transported. If exposed during storage/transport, patients may
         strong magnetic and radio-frequency fields generated by the MR                experience degradation of adhesive performance causing the Zio AT
         scanner.                                                                      patch to slip or fall off during the patient wear duration.

         If skin irritation such as severe redness, itching or allergic symptoms
                                                                                   •• The Zio AT system has a shelf-life date. Use of expired device may cause
                                                                                       a degradation of ECG signal quality and/or low battery condition.
         develop, remove the Zio AT patch from the patient’s chest. Call
         iRhythm Customer Service at 1.888.693.2401                                •• Do not use the Zio AT system if package is damaged. Device may not
                                                                                       perform as intended.
         CAUTION: Federal (USA) law restricts this device to sale by or on the
         order of a physician.                                                     •• Keep device and packaging away from young children. Contents may
                                                                                       be harmful if swallowed. Patch contains button cell batteries that are
                                                                                       not accessible during normal use but, if exposed, are known choking
ELECTRICAL SAFETY COMPATABILITY                                                        hazards and may cause severe tissue injury if ingested.
•• CAUTION: The Zio AT system needs special precautions regarding EMC              •• Registration errors may result in limited functionality or erroneous
    and needs to be utilized according to the EMC information provided in the          ECG reporting. Utmost caution should be applied to ensure that patient
    following tables.                                                                  registration is accurate and complete.

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PACKAGE CONTENTS                                                          DEVICE DIAGRAMS
                                                                                                              Zio Patch
1 Zio AT patch                       1 Zio AT gateway, containing:
                                                                                                               Outer Border
                                       • 1 postage-paid return envelope
                                                                                                              Adhesive Wings


                                                                                                                               Light

                                                                                Electrode                                                      Electrode



                                                                                                                ‘Zio’ Button


1 Skin preparation kit containing:
                                                                                                     Zio Gateway Exterior
  • 1 patch card template
  • 1 disposable razor
  • 1 abrader disc
  • 4 alcohol wipes                                                                                                                              Airplane Mode Light




1 Application instructions           1 Important information pamphlet                                                                            Outside Status Light



                                                                                                      Zio Gateway Interior
                                                                                            Airplane Button      Star Button           Cell Connection Light
                                                                                                                                                Patch Connection Light




1 Wearing Your Zio manual &
  button press log containing:
   • 1 adhesive remover wipe
   • 1 patient consent form                                                                                                                        Return Envelope
   • 1 patient survey


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ACCOUNT SETUP                                                                 REPORTS
To allow effective use of the Zio system, an account on iRhythm’s patient     ZIO AT REPORTS
management system (www.zioreports.com) is assigned to the clinic.
                                                                              All Zio AT Reports will be available in ZioReports.com.
Ensure you can access iRhythm patient management system via provided
                                                                              Note: Transmission time may vary significantly depending on how
username and password. If you are unable to access zioreports.com please
                                                                              effectively the patient maintains patch-gateway proximity and gateway
contact iRhythm Customer Service at 1.888.693.2401
                                                                              cellular reception. Transmission reports will be provided after iRhythm
                                                                              receipt and analysis of ECG strips.

DURING PATIENT VISIT                                                                      This device is not intended for use in critical care patients
                                                                                          because the reporting timeliness is not consistent with life-
REGISTRATION                                                                              threatening arrhythmias such as ventricular fibrillation.

Register patient online at www.zioreports.com.

iRhythm may contact the patient if any additional information is required.



APPLICATION INSTRUCTIONS
The Zio AT package contains instructions on how to apply the patch and
activate the patch and gateway.



DURING MONITORING
During monitoring the Zio AT device will record continuous beat to beat ECG
information and transmit patient triggered and asymptomatic ECG to provide
accurate arrhythmia detection.

In special circumstances, when patient data needs to be accessed by the
physician during the wear period, a Device Data Request can be made. In
order to make a Device Data Request, the clinician should call iRhythm at
1.888.693.2401. (Note: Device Data Requests are limited by availability of
remaining battery power and may not be successful late in a monitoring
period.)




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ASYMPTOMATIC ARRHYTHMIA DETECTION                                                      TROUBLESHOOTING
Asymptomatic arrhythmia events, as detected and transmitted during the                 FOR CUSTOMER SUPPORT, CALL 1.888.693.2401
monitoring period, are defined by the following parameters:
                                                                                       FREQUENTLY ASKED QUESTIONS
    Rhythm                                Heart Rate    Duration                       HEALTHCARE PROVIDER QUESTIONS
                                          ≤40 bpm       ≥60 seconds                    1. How long is the patient supposed to wear the Zio AT patch?
    Atrial Fibrillation
                                                                                           A patient can wear the Zio AT patch for up to 14 days or as prescribed.
                                          ≥180 bpm      ≥60 seconds
                                                                                           Note: The Zio AT patch will not record ECG data after 14 days.
                                          -             ≥4 seconds                         Based on individual wear experiences the patient’s actual wear time may
    Pause                                                                                  be shorter than prescribed.
                                          -             ≥3 seconds back-to-back
                                                                                       2. Who should the patient call if they have questions about the Zio AT
                                                                                          patch or gateway?
                                          ≥ 120 bpm     ≥ 30 seconds
    Ventricular
                                                                                           The patient can read the Wearing your Zio Manual & Button Press Log or
    Tachycardia
                                          ≥150 bpm      ≥15 seconds                        call Customer Service at 1.888.693.2401.
                                                                                       3. What if the patient does not have symptoms?
    Complete Heart Block
                                          < 50 bpm      ≥6 beats                           The Zio AT patch records every heartbeat. It also automatically detects
    (day 05:00~23:00)
                                                                                           and transmits asymptomatic arrhythmias, even if the patient does not
                                                                                           feel them.
    Complete Heart Block
                                          < 47 bpm      ≥6 beats
    (night 23:00~05:00)                                                                4. Does the patient need to do anything with the Zio gateway to send heart
                                                                                          rhythm data wirelessly?
    Bradycardia                           ≤30 bpm       ≥60 seconds                        The patient only needs to keep the gateway within 10 feet of the patch
                                                                                           and within range of good cellular reception. No action is required for the
    Tachycardia                           ≥ 200 bpm     ≥ 60 seconds                       gateway to send symptomatic heart rhythm data other than pressing the
                                                                                           Zio button on the patch.
                                                                                       5. Are there tests or treatments that are not compatible with the Zio AT
                  Sensitivity (%) 1                    Positive Predictivity (%) 1        patch?
             AHA                     MIT-BIH            AHA               MIT-BIH          Yes. The following are not recommended during wear of the Zio AT patch:
                                                                                           a. M
                                                                                               agnetic Field(s): Magnetic Resonance Imaging (MRI); MRI
            98.80                      99.33           99.45               99.43
                                                                                              Technician; Any job where the patient may be exposed to a large
For each of the arrhythmias listed above, the Zio AT patch will transmit up to                magnetic field
two ECG strips per hour.                                                                   b. N
                                                                                               euromuscular Stimulators: Brain Stimulator; Neurostimulator;
                                                                                              Spinal Stimulator; TENS Unit
                                                                                           c. External Cardioversion/Defibrillation
1
    REP543.B (On file at iRhythm Technologies, Inc.)
                                                                                           NOTE: Data may not be interpretable during the time the stimulators are
                                                                                           being used. Usage is at physician’s discretion.

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6. Can the Zio AT patch be left on a patient during Cardioversion/            13. Can I carry the gateway in a purse, bag or pocket?
   Defibrillation?
                                                                                  Yes. However, the gateway will need to be in front of your body and within
     No, the Zio AT patch should be removed if the patient requires               10 feet of the patch. You may also use the provided belt clip to carry the
     Cardioversion or Defibrillation.                                             gateway.
                                                                              14. What can affect wireless connection between the patch and the
PATIENT QUESTIONS                                                                 gateway?
                                                                                  Wireless devices that use 2.4 GHz signals such as baby monitors, TV
The Zio AT Monitoring System                                                      senders, and wireless routers can interrupt communication between
7. What is the patch doing?                                                       the patch and gateway if used within 6 feet. Objects placed inside the
                                                                                  gateway can also cause communication problems.
     The patch is recording every heartbeat. Your doctor will use the heart
     rhythm data from the patch to determine the right course of action.
                                                                              Activities
8. What is the gateway doing?
     The gateway wirelessly sends heart rhythm data recorded by your patch    15. Can I exercise while wearing the patch?
     to iRhythm. iRhythm analyzes the data and provides a report to your          Yes, you may exercise moderately, but excessive sweating may shorten
     doctor.                                                                      wear time.
9. How do I know the patch and the gateway are working?                       16. Can I shower with the patch on?
     If you saw green flashes after turning on the patch and gateway, both        After 24 hours following application, you may take brief showers.
     devices are working. When they are working normally, the patch and           Try to keep your back faced toward the shower. Hold the patch down
     gateway do not flash or make noise.                                          while towel drying to prevent accidental removal. Avoid getting the
10. I think I placed the Zio AT patch in the wrong                                gateway wet.
    position. Can I remove it and reposition it?                              17. Can I take a bath?
     No. If the Zio AT patch is over the heart in a                               Yes, but keep the patch above water. Keep the gateway away from all
     slight diagonal as shown, the positioning                                    water.
     should be acceptable.
                                                                              18. Can I go into a pool or a hot tub?
     DO NOT attempt to reapply the Zio AT patch.
                                                                                  No. The patch should not be submerged under water. Keep the gateway
11. The top label was peeled off, but there still seems to be a white label       away from all water.
    stuck to the wings of the Zio AT patch.
                                                                              19. Can I travel with the patch on?
     The top label may have separated. Peel the remaining white labels from
     the center of the Zio AT patch outward.                                      Yes. If questioned during airport security screening, show the statement
                                                                                  in the Traveling section. Note that the gateway will not have cellular
12. Do I need to do anything after pressing the patch button to send heart        connection outside the United States.
    rhythm data wirelessly?
                                                                              20. Can I fly with the gateway?
     Do your best to keep the gateway in front of you and within 10 feet as
     much as possible. The gateway should also be kept in a place with good       Yes, the gateway should be placed in “airplane mode.” See Traveling
     cellular connection.                                                         section.



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21. What activities should I avoid?                                                 29. I think I see blood under my patch. What should I do?

     Avoid activities that cause heavy sweating. Sweat can cause the patch to           Call Customer Service at 1.888.693.2401. It is probably due to a small
     slide, become loose or fall off. Activities that may submerge the patch in         shaving cut when the patch was applied to your chest.
     water should also be avoided.                                                  30. Is it normal for the Zio® AT patch wings to become cloudy?
                                                                                        Yes. The patch may move slightly from its original position. A blue gel
Recording Symptoms                                                                      may be seen under the wings of the patch.

22. What should I do if I feel a symptom?                                           31. Is it normal for the patch to move slightly from its original position?

     First, press the button on your patch. Then enter your symptoms in the             Yes. The patch may move slightly from its original position. A blue gel
     myZio app or in myzio.com. You may also fill out a page of the Button              may be seen under the wings of the patch.
     Press Log in this manual. Please choose only one option for recording          32. Is it normal to experience skin irritation or itchiness in the area of the
     your symptoms.                                                                     patch?
23. What if I forget to press the button when I feel a symptom?                         Many patients do not experience skin irritation or itchiness. However,
     The patch will still record your heartbeat and the gateway will send any           some patients report minor skin irritation and/or itching while
     information that is important for your doctor to know.                             wearing the patch. If the irritation or itching is severe or hives or
                                                                                        blisters develop, remove the patch and then call Customer Service
24. What if I press the button but forget to write down the symptom?                    at 1.888.693.2401.
     Recording your symptoms and activity gives your physician additional
     information about what may have caused the symptom. While this is
     useful, it is most important to press the button.                              Flashing Lights

25. What if I press the patch button while the gateway is not within 10 feet        33. Will the gateway show any lights or make any sounds?
    and in line of sight of the patch?                                                  No. As long as it is able to send data, the gateway will not flash or make
     The patch will store the data until the gateway is in range, then the data         noise.
     will be sent.                                                                  34. What if the patch flashes orange while I am wearing it?
26. What happens if I press the patch button while the gateway doesn’t                  If you see the patch flashing orange, this does not mean there is
    have cell signal?                                                                   a problem with your heart; it just means that the patch is not well
     The gateway will store the data until it has cell signal, then the data will       attached. Press evenly on the wings of the patch for 3 to 5 minutes.
     be sent.                                                                           If the flashing continues or comes back, call Customer Service at
                                                                                        1.888.693.2401
                                                                                    35. What should I do if my gateway is flashing orange?
The Patch
                                                                                        If you see the gateway flashing orange, this does not mean there is a
27. What should I do if the patch peels or lifts at the edges?                          problem with your heart; it just means that the patch cannot send
     Press evenly on the wings of the patch for 3 to 5 minutes to re-stick.             information wirelessly. Turn to Troubleshooting or call Customer Service
                                                                                        at 1.888.693.2401.
28. What should I do if the patch falls off?
     Call Customer Service at 1.888.693.2401.


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End of the Wear Period                                                         TROUBLESHOOTING THE PATCH
36. How long am I supposed to wear the patch?
     Wear the patch for as long as your doctor prescribed but no longer than
     14 days. NOTE: Each person’s wear experience is different and actual
     wear time may be shorter than prescribed.
37. I have removed the Patch and it is flashing orange. Is this okay?
     The patch may flash orange after removal. It is okay to mail the device
     while it is flashing. Turn to Patch Removal for return instructions.




                                                                               SLOW FLASHING (once every 3 seconds):

                                                                                   Indicates that the patch is not making good contact.

                                                                                  To remedy it, press evenly on the wings of the patch for 3 to 5 minutes.

                                                                                  If orange flashing continues, call Customer Service at 1.888.693.2401.

                                                                               FAST FLASHING (3 times per second):

                                                                                Indicates that the patch is not recording. Call Customer Service at
                                                                               	
                                                                                1.888.693.2401.




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TROUBLESHOOTING THE GATEWAY                                                       ZIO AT SERVICE NOTES


                                                                                       Situation                                      Note
                                                                                  myZio Registration –    In order for a patient to register with myZio they must
                                                                                  Patient Enrollment      first be enrolled by the clinic in www.zioreports.com. In
                                                                                                          the event that the patient attempts to register prior to
                                                                                                          completion of enrollment by the clinic they will receive
                                                                                                          a notification indicating “This Zio patch is currently not
                                                                                                          available for use. Please call Customer Service at
                                                                                                          1.888.693.2401.”, until enrollment has been completed.
                                                                                                          (SYS-2281)


                                                                                  Patient Timeline –      For patients with the Zio AT Patch, ZioReports provides
                                                                                  Paper Booklet Diary     a timeline screen that displays along with Transmission,
SLOW  (SQUARE) FLASHING (once every 3 seconds):                                  Entries                 DDR, Daily, and Final reports, patient provided diary entries.
                                                                                                          For each diary entry the date and time of the symptom
     Indicates that the gateway has lost connection to the patch.                                         reported is displayed. In the event that a patient does not
                                                                                                          provide the date/time for a symptom on the paper booklet,
     To remedy it, hold the star button for 3 seconds until the orange                                    the timeline will display a date with a year starting in 3000.
     light stays on. Then, if you see green flashing, the gateway has found                               Dates that have a year of 3000 or greater indicate that
     connection to the Patch.	                                                                            the patient did not provide the timestamp of the symptom
     If orange flashing continues, call Customer Service at 1.888.693.2401.                               experienced.
                                                                                                          (SYS-2315)

SLOW  (TRIANGLE) FLASHING (once every 3 seconds):
     Indicates that the gateway does not have cell signal.
     To remedy it, move the gateway to a place with a good cell signal (near
     a window or outside) and hold the star button for 3 seconds until the
     orange light stays on.
     Then, if you see green flashing, the gateway has found a cell signal. Do
     not move the gateway until the green flashing stops.
     If it does not flash green, move the gateway to a new place and try again.
     If orange flashing continues, call Customer Support at 1.888.693.2401.

FAST  (SQUARE) OR  (TRIANGLE) FLASHING (3 times per second):
     Indicates that the gateway is not working. Call Customer Support at
     1.888.693.2401.




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IRHYTHM CLINICAL FACILITY CERTIFICATION                                       NOTICE OF PRIVACY PRACTICES (NOPP)
The Zio AT monitoring system is analyzed at the iRhythm Clinical Center.      iRhythm is committed to protecting the privacy of your personal information.
iRhythm is an Independent Diagnostic Testing Facility (IDTF) dedicated to     We are required by the U.S. - EU Safe Harbor Framework to maintain the
providing world-class diagnostic service. As an IDTF, we adhere to Medicare   privacy of your personal information, and to notify you of our privacy practices,
Independent Diagnostic Testing Facility Performance Standards. A link         our legal duties, and your rights concerning your personal information.
to these standards (42 C.F.R. section 410.33) can be found at the iRhythm
website www.irhythmtech.com.                                                                     As participants in your health care, we are required by applicable federal
                                                                                                 and state law to maintain the privacy of your Protected Health Information
                                                                                                 ("PHI"). This notice describes our privacy practices, our legal duties, and
                                                                                                 your rights concerning your PHI. We will follow the privacy practices
                                                                                    Why?         described in this notice while it is in effect. We reserve the right to revise
                                                                                                 this notice and to make the new notice provisions effective for all PHI we
                                                                                                 maintain. If we revise this notice, we will post the revised notice on this
                                                                                                 page.

                                                                                                 In providing diagnostic services, the types of information we collect may
                                                                                                 include:
                                                                                                 - Name
                                                                                                 - Gender
                                                                                                 - Date of Birth
                                                                                                 - Medicare and Secondary Insurance Information
                                                                                                 - Address and Phone Number
                                                                                    Why?
                                                                                                 - Prescribing Physician and Office
                                                                                                 - Primary Indication
                                                                                                 - ECG Recording
                                                                                                 - Symptoms and Activities You Report, by Time and Date
                                                                                                 - Activity Level During Monitoring
                                                                                                 - Patient Identification Number
                                                                                                 - Clinical Information and Diagnostic Results

                                                                                                 By providing diagnostic services to our patients, we regularly collect
                                                                                                 information through:
                                                                                                 - Phone conversations
                                                                                    How?         - Patient submitted documents
                                                                                                 - Prescribing physician submitted documents
                                                                                                 - Zio Event card transmissions
                                                                                                 - Return of Zio XT or Zio AT Patches

                                                                                                           How We May Use Your Information

                                                                               We have the right to use and disclose health information for your treatment, to secure
                                                                               payment for your health care, and to operate our business.




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                                                                                  Can You                                                                                   Can You
                                                                          Does                                                                                      Does
                                                                                   Limit                                                                                     Limit
                   Without Specific Authorization                       iRhythm                               Without Specific Authorization                      iRhythm
                                                                                    This                                                                                      This
                                                                         Share?                                                                                    Share?
                                                                                  Sharing?                                                                                  Sharing?

                    We must disclose your PHI to you, as described                                             We may use both De-Identified and Limited
To You                                                                    Yes       Yes
                    in the "Your Rights" section of this notice.                                               Data Sets (a data set that, per the Health
                                                                                                               Insurance Portability and Accountability Act of
                    We may use and disclose PHI to obtain payment                                              1996 regulations, has had patient-identifiable
                    for services provided to you. We may also                                                  data removed except for dates of service) for
                    disclose your PHI to a health care provider or                                             development of future products, devices or
 For Payment                                                              Yes       Yes
                    health plan so that the provider or plan may                                               services.
                    obtain payment of a claim or engage in other                                               Once information is De-Identified through
                    payment activities.                                                                        an approved method, the data is stripped of
                                                                                             For Business
                                                                                                               individual identifiers, at which point iRhythm       Yes       Yes
                    We may use and disclose PHI to provide and                               Operations
                                                                                                               may share this information without restriction
                    manage your diagnostic services. That may
                                                                                                               externally to support research, market
                    include consulting with other health care
                                                                                                               development, trend analysis, etc.
                    providers about your diagnostic services.
 For Treatment                                                            Yes       No                         Information containing Limited Data Sets may
                    For example, we will release the results of
                                                                                                               be provided externally to support market and
                    your diagnostic services to your prescribing
                                                                                                               product development. However, iRhythm will
                    physician, to the physician treating you, or in a
                                                                                                               obtain the required data use agreements when
                    medical emergency, if applicable.
                                                                                                               transferring Limited Data Sets to external
                    We may use or disclose PHI to conduct quality                                              parties.
                    assessment and improvement activities,                                                     We may use or disclose PHI to the extent
                    to conduct fraud and abuse investigations,                                                 necessary to avert a serious and imminent
                    to engage in care coordination or case                                   For Public        threat to the health or safety of you or others.
                    management, or to communicate with you                                   Health And        We may also disclose PHI for public health and       Yes       No
                    about health related benefits and services or                            Safety            government health care oversight activities and
                    treatment alternatives that may be of interest                                             to report suspected abuse, neglect or domestic
                    to you. We may also disclose PHI to a health                                               violence to government authorities.
 For Health Care
                    care provider or health plan subject to federal       Yes       No
 Operations
                    privacy laws, as long as the provider or plan                            As Required By    We may use or disclose PHI when we are
                                                                                                                                                                    Yes       No
                    has or had a relationship with you and the                               Law               required to do so by law.
                    PHI is disclosed only for certain health care
                    operations of that provider or plan. We may                              For Process       We may disclose PHI in response to a court
                    also disclose PHI to other entities with which                           And               or administrative order, subpoena, discovery         Yes       No
                    we have contracted to perform or provide                                 Proceedings       request, or other lawful process.
                    certain services on our behalf (e.g., business
                                                                                                               We may disclose PHI to a law enforcement
                    associates).                                                             For Law
                                                                                                               official with regard to crime victims and            Yes       No
                                                                                             Enforcement
                                                                                                               criminal activities.

                                                                                                               We may disclose the PHI of military personnel
                                                                                             Special           or inmates or other persons in lawful custody
                                                                                             Government        under certain circumstances. We may disclose         Yes       No
                                                                                             Functions         PHI to authorized federal officials for lawful
                                                                                                               national security activities.

                                                                                             For Research,     We may use or disclose PHI in certain
                                                                                             Death, And        circumstances related to research, death or          Yes       No
                                                                                             Organ Donation    organ donation.




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                                                                                      Can You     Confidential          You have the right to request that we communicate with you in
                                                                            Does                  Communication         confidence about your PHI at an alternative address.
                                                                                       Limit
                   Without Specific Authorization                         iRhythm
                                                                                        This
                                                                           Share?                                       You have the right to request and receive a copy of this notice at any
                                                                                      Sharing?
                                                                                                  Privacy Notice        time. For more information or if you have questions about this notice,
For Workers'         We may disclose PHI as permitted by workers'                                                       please contact us using the information listed at the end of this notice.
                                                                            Yes           No
Compensation         compensation and similar laws.
                                                                                                                                    Complaints / Violations
                                                                                      Can You
                                                                            Does
                                                                                       Limit      If you are concerned that we may have violated your privacy rights, you may inquire with us
                   Without Specific Authorization                         iRhythm
                                                                                        This      using the contact information listed at the end of this notice. You may also submit a written
                                                                           Share?
                                                                                      Sharing?    complaint to the U.S. Department of Health and Human Services. We will provide you with
                                                                                                  the address for the U.S. Department of Health and Human Services upon request.
 You may give us written authorization to use your PHI or disclose it
 to anyone for any purpose not otherwise permitted or required by                                 To Limit Our
 law. If you give us such authorization, you may revoke it in writing       Yes          Yes      Sharing Or Submit     Call 1.888.693.2401 - our Customer Service staff will assist you
 at any time. Your revocation will not affect any use or disclosure                               Complaints
 permitted by your authorization while it was in effect.
                                                                                                  Questions?            Call 1.888.693.2401
 While the law permits us in certain circumstances to disclose
 your PHI to family, friends and others, we will do so only with
                                                                                                                                          Who We Are
 your authorization. In the event you are unable to authorize such
 disclosure, but emergency or similar circumstances indicate that           Yes          Yes
 disclosure would be in your best interest, we may disclose your PHI                                                    This privacy notice is being provided by iRhythm Technologies, Inc.,
                                                                                                  Who Is Providing
 to family, friends or others to the extent necessary to help with your                                                 and applies to the diagnostic services offered in connection with
                                                                                                  This Notice?
 health care coverage arrangements.                                                                                     prescribed health care.

                                                                                                                                           What We Do

                                          Your Rights                                                                   To protect your PHI from unauthorized access and use, iRhythm has
                                                                                                  How Does iRhythm
                                                                                                                        implemented security safeguards that comply with federal law to
                        With limited exceptions, you have the right to review in person, or       Protect My PHI?
                                                                                                                        secure physical and electronic information.
Access                  obtain copies of, your PHI. We may charge you a reasonable fee as
                        allowed by law to obtain this information.                                                                  Company Contact Details
                        With limited exceptions, you have the right to request that we amend
Amendment                                                                                                               iRhythm Technologies, Inc.
                        your PHI.
                                                                                                                        650 Townsend Street
                        You have the right to request and receive a list of certain disclosures                         Suite 500
                                                                                                  Address:
 Disclosure             made of your PHI. If you request this list more than once in a                                  San Francisco, CA 94103
 Accounting             12-month period, we may charge you a reasonable fee as allowed by                               Attn: Privacy Official
                        law to respond to any additional request.                                                       www.irhythmtech.com

                        You have the right to request that we restrict our use or disclosure      Phone:                415.632.5700
                        of your PHI for certain purposes. We are not required to agree to a
                                                                                                  Fax:                  415.632.5701
                        requested restriction. We will agree to restrict use or disclosure of
                        your PHI provided that the law allows and we determine the restriction
 Use/Disclosure
                        does not impact our ability to operate our business, provide diagnostic
 Restriction
                        services, and comply with the law. Even when we agree to a restriction
                        request, we may still disclose your PHI in a medical emergency and
                        use or disclose your PHI for public health and safety and other similar
                        public benefit purposes permitted or required by law.




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CYBERSECURITY MEASURES AND CONTROLS                                             DEVICE SPECIFICATIONS
As a connected medical device, the Zio AT patch was developed with careful      PATCH PERFORMANCE CHARACTERISTICS
consideration of cybersecurity risks and their compensating controls. Key
measures include manufacturing steps to exclusively pair one AT patch           ECG Channels                              1 channel
with one Gateway, thus preventing Bluetooth communication with any other
devices, and to configure encryption of all transmissions between these         Memory capacity                           14 days
devices. Similarly, encryption of all cellular communication between the        Recording Format                          Continuous
Gateway and the cloud is configured during manufacturing.
                                                                                Service Life                              Up to 14 days
iRhythm regularly evaluates the integrity of our cloud-based infrastructure
through both vulnerability and penetration testing of all internet-accessible   Shelf Life                                2 months
servers. Industry-standard encryption is employed for all data transfers to,
                                                                                ELECTRICAL CHARACTERISTICS
from and within the Cloud, and for protecting data at rest.

Patient data is protected during wear through use of proprietary data storage   Medical Equipment Type                    BF Applied Part
formats and access methods, and physically protected data ports. Once
                                                                                ECG Frequency Response                    0.5Hz to 30Hz
returned to iRhythm for processing, data integrity checks are used to ensure
the integrity of all recorded data.                                             ECG Input Impedance                       ≥ 10 MΩ

                                                                                ECG Differential Range                    ±1.65 mV

                                                                                ECG A/D Sampling Rate                     200 Hz

                                                                                ECG Resolution                            10 bits

                                                                                Patch Short-range RF Transmit/            2.4 GHz Bluetooth Low Energy
                                                                                Receive                                   Effective Radiated Power < 1mW

                                                                                Frequency Band of Transmission            2.4 GHz
                                                                                Bandwidth of the Receiver                 2400-2480 MHz
                                                                                Type and Frequency of Modulation          1-Mbps GFSK

                                                                                Gateway Short-range RF Transmit/          2.4 GHz Bluetooth Low Energy
                                                                                Receive                                   Effective Radiated Power < 1mW

                                                                                Gateway      Cellular    RF   Transmit/   800 MHz
                                                                                                                          750 / 1900  MHz
                                                                                                                                    LTE CatCDMA
                                                                                                                                            M1
                                                                                Receive                                   Effective Radiated Power ≤< 300mW
                                                                                                                                                      200 mW




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POWER CHARACTERISTICS                                                             HEART RATE CALCULATIONS

Patch Battery Type                     2 Lithium Manganese Dioxide Coin
                                       Cells                                                                        The maximum episode heart rate (i.e., maximum
                                                                                                             Max    of all instantaneous heart rates within the episode)
Gateway Battery Type                   1 Lithium Polymer Cell
Battery Life                           Continuous                                                                   The minimum episode heart rate (i.e., minimum of
                                                                                    Episode Heart Rates      Min    all instantaneous heart rates within the episode)
Service Life                           14 days

PHYSICAL CHARACTERISTICS                                                                                            The average episode heart rate (i.e., average of all
                                                                                                             Avg    instantaneous heart rates within the episode)

Patch Dimensions                       5.2 x 2.0 x 0.5 inches
                                                                                                                    The maximum overall heart rate (i.e., maximum of
Patch Weight                           24.7 g                                                                Max    all rhythm episode maximum heart rates within
                                                                                                                    the record)
Gateway Dimensions                     6.2 x 3.4 x 0.8 inches
                                                                                                                    The minimum overall heart rate (i.e., minimum of
                                                                                   Overall Rhythm Heart
Gateway Weight                         158 g                                                                 Min    all rhythm episode minimum heart rates exclusive
                                                                                           Rates                    of Pause heart rates within the record)
ENVIRONMENTAL CHARACTERISTICS                                                                                       The average overall heart rate (i.e., duration-
                                                                                                             Avg    weighted average of all rhythm episode heart
Operational Temperature                41 to 104 degrees                                                            rates within the record)

Operational Altitude                   -1,000 to 10,000 ft
Operational & Storage Humidity         10% to 95% (non-condensing)                PAUSE DETERMINATION

Shipping (Short-term Storage)          -4 to 104 degrees F                        Pause is defined as an RR interval greater than 3 seconds.
Temperature
Long-term Storage Temperature          55 to 85 degrees F
Storage Altitude                       -1,000 to 14,000 ft
Patch IP Classification                IP24
Gateway IP Classification              IP22

ESSENTIAL PERFORMANCE

The Zio AT device records and transmits ECG for analysis after receipt of
data. In the event it cannot record or transmit in a timely fashion, the Zio AT
alerts the patient that functionality is impaired.




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ELECTRICAL SAFETY AND COMPATIBILITY
                                                                                             Table 2: Guidance and manufacturer’s declaration—electromagnetic immunity
•• CAUTION: The Zio AT system needs special precautions regarding EMC
     and needs to be utilized according to the EMC information provided in the               The Zio AT system is intended for use in the electromagnetic environment specified below.
     following tables.                                                                       The customer or the user of the Zio AT system should assure that it is used in such an
                                                                                             environment.
•• CAUTION: Portable and mobile RF communications equipment can affect                                               IEC 60601 test    Compliance      Electromagnetic environment -
     medical electrical equipment.                                                           Immunity test
                                                                                                                     level             level           guidance

•• WARNING: The Zio AT system should not be used adjacent to or stacked                                                                                Floors should be wood, concrete,
                                                                                             Electrostatic                                             or ceramic tile. If floors are
     with other equipment.                                                                                           ±8 kV contact     ±8 kV contact
                                                                                             Discharge (ESD)                                           covered with synthetic material,
                                                                                                                     ±15 kV air        ±15 kV air
                                                                                             IEC 61000-4-2                                             the relative humidity should be at
•• WARNING: The Zio AT system may be interfered with by other equipment,                                                                               least 30 %.w
     even if that other equipment complies with CISPR EMISSIONS                                                                                        Power frequency magnetic fields
                                                                                             Power frequency
     requirements.                                                                                                                                     should be at levels characteristic
                                                                                             (50/60 Hz)
                                                                                                                     30 A/m            30 A/m          of a typical location in a
                                                                                             magnetic field
•• WARNING: Portable RF communications equipment (including                                  IEC 61000-4-8
                                                                                                                                                       typical commercial or hospital
     peripherals such as antenna cables and external antennas) should be                                                                               environment.
     used no closer than 30 cm (12 inches) to any part of the Zio AT patch or
     gateway. Otherwise, degradation of the performance of this equipment
     could result.


Table 1: Guidance and manufacturer’s declaration— electromagnetic emissions

The Zio AT system is intended for use in the electromagnetic environment specified below.
The customer or the user of the Zio AT system should assure that it is used in such an
environment.

Emissions test          Compliance          Electromagnetic environment - guidance

                                            The Zio AT system uses RF energy only for its
RF emissions                                internal function. Therefore, its RF emissions
                        Group 1
CISPR 11                                    are very low and are not likely to cause any
                                            interference in nearby electronic equipment.

                                            The Zio AT system is suitable for use in
RF emissions
                        Class B             all establishments, including domestic
CISPR 11
                                            establishments.

Harmonic emissions
                        Not applicable      Not applicable
IEC 61000-3-2
Voltage fluctuations/
flicker emissions IEC   Not applicable      Not applicable
61000-3-3




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Table 3: Guidance and manufacturer’s declaration—electromagnetic immunity                      Table 3, Continued


The Zio AT system is intended for use in the electromagnetic environment specified below.      NOTE 1—At 80 MHz and 800 MHz, the higher frequency range applies.
The customer or the user of the Zio AT system should assure that it is used in such an
environment.                                                                                   NOTE 2—These guidelines may not apply in all situations. Electromagnetic propagation is
                                                                                               affected by absorption and reflection from structures, objects, and people.

                    IEC 60601 test    Compliance        Electromagnetic environment -
Immunity test                                                                                  a
                    level             level             guidance                                   Field strengths from fixed transmitters, such as base stations for radio (cellular/cordless)
                                                                                                   telephones and land mobile radios, amateur radio, AM and FM radio broadcast, and TV
                                                        Portable and mobile RF                     broadcast cannot be predicted theoretically with accuracy. To assess the electromagnetic
                                                        communications equipment should            environment due to fixed RF transmitters, an electromagnetic site survey should be
                                                        be used no closer to any part of the       considered. If the measured field strength in the location in which the Zio AT system
                                                        Zio AT system , including cables,          is used exceeds the applicable RF compliance level above, the Zio AT system should
                    10 V/m                                                                         be observed to verify normal operation. If abnormal performance is observed, additional
                                                        than the recommended separation
                    80 MHz to 2.7     10 V/m                                                       measures may be necessary, such as re-orienting or relocating the Zio AT patch or
                                                        distance calculated from the
                    GHz                                                                            gateway.
                                                        equation applicable to the frequency
                                                                                               b   Over the frequency range 150 kHz to 80 MHz, field strengths should be less than 3 V/m.
                                                        of the transmitter.
                    28 V/m
                                                        Recommended separation distance
                    385, 450, 810,    28 V/m
                                                        d = 1.2√P
                    870, 930 MHz
                                                        d = 1.2√P 80 MHz to 800 MHz
                    18 Hz pulse
                                                        d = 2.3√P 800 MHz to 2.5 GHz
                                                        where P is the maximum output
                    9 V/m
                                                        power rating of the transmitter
                    710, 745,         9 V/m
Radiated RF                                             in watts (W) according to the
                    780 MHz
IEC 61000-4-3                                           transmitter manufacturer and d
                    217 Hz pulse
                                                        is the recommended separation
                                                        distance in meters (m).
                    28 V/m
                                                        Field strengths from fixed RF
                    1720, 1845,       28 V/m
                                                        transmitters, as determined by an
                    1970,
                                                        electromagnetic site survey,a should
                    2450 MHz
                                                        be less than the compliance level in
                    217 Hz pulse
                                                        each frequency range.b
                                                        Interference may occur in the
                    9 V/m
                                                        vicinity of equipment marked with
                    5240, 5500,       9 V/m
                                                        the following symbol:
                    5783 MHz
                    217 Hz pulse




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                                                                                                 SYMBOLS GLOSSARY
 Table 4: Recommended separation distances between portable and mobile RF
 communications equipment and the Zio AT system
                                                                                                                                                                 DESCRIPTION /
                                                                                                          STANDARD
                                                                                                 SYMBOL                   STANDARD TITLE          SYMBOL TITLE   EXPLANATORY
 The Zio AT system is intended for use in an electromagnetic environment in which radiated                REFERENCE
                                                                                                                                                                 TEXT
 RF disturbances are controlled. The customer or the user of the Zio AT system can help
                                                                                                                          Medical devices —
 prevent electromagnetic interference by maintaining a minimum distance between
                                                                                                                          Symbols to be used
 portable and mobile RF communications equipment (transmitters) and the Zio AT system
                                                                                                          ISO 15223-1     with medical device
 as recommended below, according to the maximum output power of the communications                                                                               Indicates the
                                                                                                          Clause 5.1.1    labels, labelling and
 equipment.                                                                                                                                       Manufacturer   medical device
                                                                                                                          information to be
                        Separation distance according to frequency of transmitter                                         supplied                               manufacturer.
 Rated maximum          m
                                                                                                                          Graphical symbols for
 output power of                                                                                          ISO 7000-3082
                        150 kHz to                                      80 MHz to                                         use on equipment
 transmitter                                    80 MHz to 800 MHz
                        80 MHz                                          2.5 GHz                                           Medical devices —
 W
                        d = 1.2√P               d = 1.2√P               d = 2.3√P                                         Symbols to be used
                                                                                                          ISO 15223-1     with medical device                    Indicates the date
                                                                                                          Clause 5.1.3    labels, labelling and   Date of        when the medical
 0.01                   0.12                    0.12                    0.23
                                                                                                                          information to be       manufacture    device was
                                                                                                                          supplied                               manufactured
 0.1                    0.38                    0.38                    0.73
                                                                                                                          Graphical symbols for
                                                                                                          ISO 7000-2497
 1                      1.2                     1.2                     2.3                                               use on equipment
                                                                                                                          Medical devices —
 10                     3.8                     3.8                     7.3                                               Symbols to be used
                                                                                                          ISO 15223-1     with medical device                    Indicates the date
 100                    12                      12                      23                                Clause 5.1.4    labels, labelling and                  after which the
                                                                                                                          information to be       Use-by date
                                                                                                                                                                 medical device is
 For transmitters rated at a maximum output power not listed above, the recommended                                       supplied                               not to be used.
 separation distance d in meters (m) can be determined using the equation applicable to the                               Graphical symbols for
 frequency of the transmitter, where P is the maximum output power rating of the transmitter              ISO 7000-2607
                                                                                                                          use on equipment
 in watts (W) according to the transmitter manufacturer.
                                                                                                                          Medical devices —
 NOTE 1—At 80 MHz and 800 MHz, the separation distance for the higher frequency range                                     Symbols to be used                     Indicates the
 applies.                                                                                                 ISO 15223-1     with medical device                    manufacturer’s
                                                                                                          Clause 5.1.5    labels, labelling and                  batch code so
                                                                                                                          information to be       Batch code
 NOTE 2—These guidelines may not apply in all situations. Electromagnetic propagation is                                                                         that the batch
 affected by absorption and reflection from structures, objects, and people.                                              supplied                               or lot can be
                                                                                                                          Graphical symbols for                  identified.
                                                                                                          ISO 7000-2492
                                                                                                                          use on equipment
• This system complies with part 15 of the FCC Rules. Operation is subject to the following
  two conditions: (1) This system may not cause harmful interference, and (2) this device must                            Medical devices —
  accept any interference received, including interference that may cause undesired operation.                            Symbols to be used                     Indicates the
• For body worn operation, this system has been tested and meets FCC RF exposure guidelines               ISO 15223-1     with medical device                    manufacturer’s
  when used with an accessory that contains no metal, such as the belt clip provided, and that            Clause 5.1.6    labels, labelling and                  catalogue
                                                                                                                                                  Catalogue
  positions the Gateway a minimum 1 cm from the body. Use of other accessories may not                                    information to be                      number so that
                                                                                                                                                  number
  ensurecompliance with FCC RF exposure guidelines.                                                                       supplied                               the medical
• Changes or modifications not expressly approved by the party responsible for compliance                                                                        device can be
                                                                                                                          Graphical symbols for                  identified.
  could void the user's authority to operate the equipment.                                               ISO 7000-2493
                                                                                                                          use on equipment
• The gateway has been tested and meets FCC RF exposure guidelines when used and
  operated for its intended purpose and as instructed in the manual.




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                                                                 DESCRIPTION /                                                                      DESCRIPTION /
         STANDARD                                                                            STANDARD
SYMBOL                   STANDARD TITLE          SYMBOL TITLE    EXPLANATORY        SYMBOL                   STANDARD TITLE          SYMBOL TITLE   EXPLANATORY
         REFERENCE                                                                           REFERENCE
                                                                 TEXT                                                                               TEXT

                         Medical devices —                                                                   Medical devices —
                         Symbols to be used                      Indicates the                               Symbols to be used
         ISO 15223-1     with medical device                     manufacturer’s              ISO 15223-1     with medical device
         Clause 5.1.7    labels, labelling and                   serial number               Clause 5.4.3    labels, labelling and
                         information to be       Serial number   so that a                                   information to be
                                                                 specific medical                                                                   Indicates the
                         supplied                                                                            supplied
                                                                 device can be                                                       Consult        need for the
                         Graphical symbols for                   identified.                                 Graphical symbols for   instructions   user to consult
         ISO 7000-2498                                                                       ISO 7000-1641
                         use on equipment                                                                    use on equipment        for use        the instructions
                                                                                                                                                    for use.
                         Medical devices —                                                                   Medical electrical
                         Symbols to be used                                                  IEC 60601-      equipment — Part 1:
         ISO 15223-1     with medical device                     Indicates a                 1 Table D.1,    General requirements
         Clause 5.3.4    labels, labelling and                   medical device              Symbol 11       for basic safety and
                         information to be       Keep dry        that needs to be                            essential performance
                         supplied                                protected from
                                                                 moisture.                                   Medical devices —
                         Graphical symbols for                                                               Symbols to be used
         ISO 7000-0626
                         use on equipment                                                    ISO 15223-1     with medical device                    Indicates the
                                                                                             Clause 5.4.4    labels, labelling and                  need for the
                         Medical devices —
                                                                                                             information to be                      user to consult
                         Symbols to be used                      Indicates the                               supplied                               the instructions
         ISO 15223-1     with medical device                     temperature
         Clause 5.3.7    labels, labelling and                                                                                                      for use for
                                                 Temperature     limits to which                             Graphical symbols for
                                                                                             ISO 7000-0434                                          important
                         information to be       limit           the medical                                 use on equipment
                         supplied                                                                                                                   cautionary
                                                                 device can be
                                                                                                                                                    information
                         Graphical symbols for                   safely exposed.
         ISO 7000-0632                                                                                                                              such as
                         use on equipment                                                                                                           warnings and
                         Medical devices —                                                                                           Caution        precautions
                         Symbols to be used                      Indicates                                                                          that cannot,
         ISO 15223-1     with medical device                     the range of                                                                       for a variety
                                                                 humidity to                                 Medical electrical
         Clause 5.3.8    labels, labelling and   Humidity                                                                                           of reasons, be
                                                                 which the                   IEC 60601-      equipment — Part 1:
                         information to be       limitation                                                                                         presented on
                                                                 medical device              1 Table D.1,    General requirements
                         supplied                                                                                                                   the medical
                                                                 can be safely               Symbol 10       for basic safety and
                                                                                                                                                    device itself.
                         Graphical symbols for                   exposed.                                    essential performance
         ISO 7000-2620                                                                                                                              of reasons, be
                         use on equipment
                                                                                                                                                    presented on
                         Medical devices —                       Indicates a                                                                        the medical
                         Symbols to be used                      medical device                                                                     device itself.
         ISO 15223-1     with medical device                     that is intended
         Clause 5.4.2    labels, labelling and                   for one use, or
                         information to be       Do not re-use
                                                                 for use on a
                         supplied                                single patient
                         Graphical symbols for                   during a single
         ISO 7000-1051                                           procedure.
                         use on equipment




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                                                                     DESCRIPTION /                                                                    DESCRIPTION /
         STANDARD                                                                               STANDARD
SYMBOL                    STANDARD TITLE            SYMBOL TITLE     EXPLANATORY       SYMBOL                    STANDARD TITLE        SYMBOL TITLE   EXPLANATORY
         REFERENCE                                                                              REFERENCE
                                                                     TEXT                                                                             TEXT

                          Marking of electrical                                                                                                       Manufacturer-
                                                                     To indicate
                          and electronic                                                                                                              determined
                                                                     that the
                          equipment in                                                                                                                degree of
         BS EN                                      Separate         product shall
                          accordance with                                                                                                             particle and
         50419:2006                                 Collection       be separated
                          article 11(2) of                                                                                                            water ingress
                                                                     when
                          Directive 2002/96/EC                                                                                                        protection,
                                                                     disposed.                  IEC 60601-
                          (WEEE)                                                                                                                      where:
                                                                                                1, Table D.3
                                                                                                                                                      N1 = Degrees
                          Graphical symbols for                      To indicate                Symbol 2
         IEC 60417-5140                                                                                                                               of protection
                          use on equipment                           generally                  IEC 60529
                                                                                                                                                      against access
                                                                     elevated,
                                                                                                                                                      to hazardous
                                                                     potentially
                                                                                                                                                      parts N2 =
                                                                     hazardous,
                                                                                                                                                      Degrees of
                          Medical electrical                         levels of
                                                                                                                                                      protection
                          equipment — Part 1-2:                      nonionizing
                                                                                                                                                      against water
                          General requirements Non-ionizing          radiation, or                               Medical electrical
                          for basic safety and                       to indicate                                                                      Protected
         IEC 60601-1-                            electromagnetic                                                 equipment — Part 1:
                          essential performance radiation            equipment or                                                                     against solid
         2:2007, Clause                                                                                          General requirements
                          — Collateral standard:                     systems e.g.                                                      Degrees of     foreign objects
         5.1.1                                                                                                   for basic safety and
                          Electromagnetic                            in the medical                                                    protection     of 12,5 mm
                                                                                                                 essential performance
                          compatibility —                            electrical area                                                   provided by    diameter and
                          Requirements and                           that include RF                                                   enclosure      greater, and
                                                                                                                 Degrees of Protection
                          tests                                      transmitters                                                                     protected
                                                                                                                 Provided by
                                                                     or that                                                                          against
                                                                                                                 Enclosures (IP Code)
                                                                     intentionally                                                                    splashing
                                                                     apply RF                                                                         water

                          Graphical symbols for                                                                                                       Protected
         IEC 60417-5333                                              To identify                                                                      against solid
                          use on equipment
                                                                     a type BF                                                                        foreign objects
                          Medical electrical    Type BF Applied      applied part                                                                     of 12,5 mm
         IEC 60601-       equipment — Part 1:   Part                 complying                                                                        diameter
         1, Table D.1,    General requirements                       with IEC                                                                         and greater,
         Symbol 20        for basic safety and                       60601-1.                                                                         and protected
                          essential performance                                                                                                       against
                          Standard Practice                                                                                                           vertically
                                                                     Keep away                                                                        falling water
                          for Marking Medical
                                                    Magnetic         from magnetic                                                                    drops when
                          Devices and Other
         ASTM F2503-13                              Resonance (MR)   resonance                                                                        enclosure
                          Items for Safety in the
                                                    unsafe           imaging (MRI)                                                                    tilted up to 15°
                          Magnetic Resonance
                                                                     equipment.
                          Environment                                                                            Labeling-Medical                     Requires
                                                                                                21 CFR 801.15(c) devices; prominence   Prescription   prescription
                                                                                                (1)(i)F          of required label     only           in the United
                                                                                                                 statements                           States




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                        iRhythm Technologies, Inc.
                        650 Townsend St., Suite 500
                       San Francisco, CA 94103 USA
                              1.888.693.2401
                             irhythmtech.com




                           ALB0031.01 • 2018-04-11
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                        Exhibit 8
      Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 159 of 703 PageID #: 900




                                               August 29, 2018
iRhythm Technologies, Inc.
Rich Laguna
Director of Quality and Regulatory Affairs
650 Townsend Street, Suite 500
San Francisco, California 94103

Re: K181502
    Trade/Device Name: Zio AT ECG Monitoring System
    Regulation Number: 21 CFR 870.2800
    Regulation Name: Medical Magnetic Tape Recorder
    Regulatory Class: Class II
    Product Code: DSH, DQK, DSI, DXH
    Dated: June 5, 2018
    Received: June 7, 2018

Dear Rich Laguna:

We have reviewed your Section 510(k) premarket notification of intent to market the device referenced
above and have determined the device is substantially equivalent (for the indications for use stated in the
enclosure) to legally marketed predicate devices marketed in interstate commerce prior to May 28, 1976, the
enactment date of the Medical Device Amendments, or to devices that have been reclassified in accordance
with the provisions of the Federal Food, Drug, and Cosmetic Act (Act) that do not require approval of a
premarket approval application (PMA). You may, therefore, market the device, subject to the general
controls provisions of the Act. Although this letter refers to your product as a device, please be aware that
some cleared products may instead be combination products. The 510(k) Premarket Notification Database
located at https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm identifies combination
product submissions. The general controls provisions of the Act include requirements for annual registration,
listing of devices, good manufacturing practice, labeling, and prohibitions against misbranding and
adulteration. Please note: CDRH does not evaluate information related to contract liability warranties. We
remind you, however, that device labeling must be truthful and not misleading.

If your device is classified (see above) into either class II (Special Controls) or class III (PMA), it may be
subject to additional controls. Existing major regulations affecting your device can be found in the Code of
Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may publish further announcements
concerning your device in the Federal Register.

Please be advised that FDA's issuance of a substantial equivalence determination does not mean that FDA
has made a determination that your device complies with other requirements of the Act or any Federal
statutes and regulations administered by other Federal agencies. You must comply with all the Act's
requirements, including, but not limited to: registration and listing (21 CFR Part 807); labeling (21 CFR Part


U.S. Food & Drug Administration
10903 New Hampshire Avenue                                                          Doc ID# 04017.02.12
Silver Spring, MD 20993
www.fda.gov
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Page 2 - Rich Laguna                                                                           K181502

801); medical device reporting (reporting of medical device-related adverse events) (21 CFR 803) for
devices or postmarketing safety reporting (21 CFR 4, Subpart B) for combination products (see
https://www.fda.gov/CombinationProducts/GuidanceRegulatoryInformation/ucm597488.htm); good
manufacturing practice requirements as set forth in the quality systems (QS) regulation (21 CFR Part 820)
for devices or current good manufacturing practices (21 CFR 4, Subpart A) for combination products; and, if
applicable, the electronic product radiation control provisions (Sections 531-542 of the Act); 21 CFR 1000-
1050.

Also, please note the regulation entitled, "Misbranding by reference to premarket notification" (21 CFR Part
807.97). For questions regarding the reporting of adverse events under the MDR regulation (21 CFR Part
803), please go to http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/default.htm.

For comprehensive regulatory information about medical devices and radiation-emitting products, including
information about labeling regulations, please see Device Advice
(https://www.fda.gov/MedicalDevices/DeviceRegulationandGuidance/) and CDRH Learn
(http://www.fda.gov/Training/CDRHLearn). Additionally, you may contact the Division of Industry and
Consumer Education (DICE) to ask a question about a specific regulatory topic. See the DICE website
(http://www.fda.gov/DICE) for more information or contact DICE by email (DICE@fda.hhs.gov) or phone
(1-800-638-2041 or 301-796-7100).

                                                Sincerely,


                                               Arielle Drummond -S
                                                for
                                                Bram D. Zuckerman, M.D.
                                                Director
                                                Division of Cardiovascular Devices
                                                Office of Device Evaluation
                                                Center for Devices and Radiological Health

Enclosure
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                   DEPARTMENT OF HEALTH AND HUMAN SERVICES                                  Form Approved: OMB No. 0910-0120
                           Food and Drug Administration                                     Expiration Date: 06/30/2020
                                 Indications for Use                                        See PRA Statement below.

510(k) Number (if known)
                                    ,
Device Name
Zio AT ECG Monitoring System



Indications for Use (Describe)
The device LVintended to capture, analyze and report symptomatic and asymptomatic cardiac events and continuous
electrocardiogram information for long-term monitoring. While continuously recording patient ECG, both patient-
triggered and automatically-detected arrhythmia events are transmitted to a monitoring center for reporting. After wear, a
final report is generated based on the beat-to-beat information from the entire ECG recording. It is indicated for use on
patients 18 years or older who may be asymptomatic or who may suffer from transient symptoms such as palpitations,
shortness of breath, dizziness, light-headedness, pre-syncope, syncope, fatigue, or anxiety and patients who are
asymptomatic. The reports are provided for review by the intended user to render a diagnosis based on clinical judgment
and experience. It is not intended for use on critical care patients.




Type of Use (Select one or both, as applicable)
                  Prescription Use (Part 21 CFR 801 Subpart D)             Over-The-Counter Use (21 CFR 801 Subpart C)

                                       CONTINUE ON A SEPARATE PAGE IF NEEDED.

                        This section applies only to requirements of the Paperwork Reduction Act of 1995.
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          The burden time for this collection of information is estimated to average 79 hours per response, including the
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                                                  Office of Chief Information Officer
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                                                                                                                      Page 17
FORM FDA 3881 (7/17)                                        Page 1 of 1                                   PSC Publishing Services (301) 443-6740   EF
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 162 of 703 PageID #: 903
                                                                 K181502 1/5


                                                       iRhythm Traditional 510(k) Notification

                           SECTION 5. 510(k) Summary
       1. GENERAL INFORMATION
          510(k) Sponsor
          iRhythm Technologies, Inc.
          650 Townsend Street, Suite 500
          San Francisco, CA. 94103
          Correspondence Person
          Rich Laguna
          Director of Quality and Regulatory Affairs
          Contact Information
          Email: rlaguna@irhythmtech.com
          Phone: (415) 632-5749
          Date Prepared
          08/29/2018

       2. PROPOSED DEVICE
          Proprietary Name
          Zio® AT ECG Monitoring System
          Common Name
          Zio® AT ECG Monitoring System
          Classification Name
          Medical magnetic tape recorder [21 CFR§870.2800]
          Programmable diagnostic computer [21CFR§870.1425]
          Telephone electrocardiograph transmitter and receiver [21CFR§870.2920]
          Arrhythmia detector and alarm (including ST-segment measurement and alarm) [21
          CFR§870.1025]
          Regulatory Class
          Class II
          Product Codes
          DSH, Recorder, Magnetic Tape, Medical
          DQK, Computer, Diagnostic, Programmable
          DXH, Transmitters And Receivers, Electrocardiograph, Telephone
          DSI, Detector And Alarm, Arrhythmia


       iRhythm Technologies, Inc.                                                  Page 19
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                                                         iRhythm Traditional 510(k) Notification

       3. PREDICATE DEVICE (ORIGINALLY CLEARED DEVICE)
          iRhythm Technologies, Inc. Zio AT ECG Monitoring System (K163512)

       4. DEVICE DESCRIPTION
          The ZEUS System was most recently 510(k) cleared under K163512 as part of the Zio
       AT ECG Monitoring System (“Zio® AT”). The original cleared ECG monitoring system
       components consisted of the 1) Zio AT Patch Recorder Device 2) Zio AT Wireless Gateway
       Device with Bluetooth and Cellular Technology, and 3) ZEUS System for analysis and
       reporting. This submission discusses the changes made to the ZEUS System only. The ZEUS
       System is an electrocardiogram (ECG) analysis and reporting software system, designed to
       process continuously recorded, signal-lead ECG data. The ZEUS System downloads, stores,
       analyzes and sorts the ECG data to allow iRhythm’s Certified Cardiographic Technicians
       (CCTs) to generate and distribute a report of the findings contained within the data, thereby
       enabling the provision of a complete ECG processing and analysis service.

           The ZEUS System is considered modified as a result of updating its rhythm classification
       algorithm from a rule and machine-learning implementation to a deep-learning basis. The
       comparison to the originally cleared device and performance test results demonstrate that the
       modified ZEUS System is substantially equivalent to the original ZEUS System cleared
       under K163512, and that the intended use of the device can be consistently fulfilled as
       originally cleared.

       5. INDICATIONS FOR USE
           The device is intended to capture, analyze and report symptomatic and asymptomatic
       cardiac events and continuous electrocardiogram information for long-term monitoring.
       While continuously recording patient ECG, both patient-triggered and automatically-detected
       arrhythmia events are transmitted to a monitoring center for reporting. After wear, a final
       report is generated based on the beat-to-beat information from the entire ECG recording. It is
       indicated for use on patients 18 years or older who may be asymptomatic or who may suffer
       from transient symptoms such as palpitations, shortness of breath, dizziness, light-
       headedness, pre-syncope, syncope, fatigue, or anxiety and patients who are asymptomatic.
       The reports are provided for review by the intended user to render a diagnosis based on
       clinical judgment and experience. It is not intended for use on critical care patients.




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                                                           iRhythm Traditional 510(k) Notification

       6. SUBSTANTIAL EQUIVALENCE SUMMARY
          The indications for use statement for the modified ZEUS System is an identical reflection
       of the indications for use as represented in the originally cleared device. The performance
       testing results demonstrate that the differences in the technological characteristics between the
       devices do not raise new issues of safety or effectiveness. Therefore, the modified ZEUS
       System is determined to be substantially equivalent to the original ZEUS System device. A
       comparison table outlining the differences and similarities between the modified and original
       ZEUS System is provided in Table 5.1.



        Table 5.1: Substantial Equivalence Summary Table

                                         Original Device:
        Feature/                                                        Modified Device:
                                         Zio AT ECG Monitoring
        Function                                                        ZEUS System
                                         System (K163512)


                                           General Characteristics
        Classification                  Class II                        Class II
                                        21 CFR 870.2800                 21 CFR 870.2800
                                        21 CFR 870.1425                 21 CFR 870.1425
        Classification Regulation(s)
                                        21 CFR 870.2920                 21 CFR 870.2920
                                        21 CFR 870.1025                 21 CFR 870.1025
        Product Code                    DSH, DQK, DXH, DSI              DSH, DQK, DXH, DSI

        Patient Environment             Ambulatory                      Ambulatory

                                        Non-pediatric, non-critical     Non-pediatric, non-critical care
        Patient Population
                                        care patients                   patients
                                        Technological Characteristics
                                        Digital long-term continuous    Digital long-term continuous
        Data Input                      and transmission ECG            and transmission ECG

        Data Download                   Yes                             Yes
        Data Storage                    Yes                             Yes
                                        Beat                            Beat
                                        Runs                            Runs
        ECG Analysis
                                        Rhythm Types                    Rhythm Types
                                        Heart Rates                     Heart Rates

        Rhythm Detection Algorithm      ECGML                           ECGML and ECGDL



       iRhythm Technologies, Inc.                                                            Page 21
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                                                       iRhythm Traditional 510(k) Notification



                                    Original Device:
        Feature/                                                   Modified Device:
                                    Zio AT ECG Monitoring
        Function                                                   ZEUS System
                                    System (K163512)

                                    -   Atrial fibrillation        -    Atrial fibrillation
                                    -   Complete heart block       -    Complete heart block
                                    -   Second degree AV           -    Second degree AV block-
                                        block-type II                   type II
                                    -   Pause >3 seconds           - Pause >3 seconds
                                    -   Sinus rhythm               - Sinus rhythm
                                    -   Supraventricular           - Supraventricular tachycardia
                                        tachycardia                - Ventricular bigeminy
        Rhythm Types                -   Ventricular bigeminy       - Ventricular fibrillation
                                    -   Ventricular fibrillation   - Ventricular
                                    -   Ventricular tachycardia         tachycardia
                                    -   Ventricular trigeminy      - Ventricular trigeminy
                                                                   - Second degree AV block-
                                                                        type I
                                                                   - Ectopic atrial rhythm
                                                                   - Junctional rhythm
                                                                   - Idioventricular rhythm
                                                                    Algorithm Controller, updated to
                                                                    initiate ECG Analysis through
        Result Integrator           Algorithm Controller
                                                                    ECGDL, and integrate the
                                                                    ECGML and ECGDL labels

        Architecture                Integrated Analysis Tool       Integrated Analysis Tool

                                    PC / Server Mix to
                                                                   PC / Server Mix to Clinician &
        Platform                    Clinician & Patient
                                                                   Patient Websites
                                    Websites
                                                                   Yes, updated to support the
        QA Tool                     Yes
                                                                   expanded rhythms

        Report Output               Yes                            Yes
                                    Store and retrieve the             Store and retrieve the integrated
        ZEUS Web Services           integrated ECGML Labels            ECGML and ECGDL Labels to
                                    to ZEUS Database                   ZEUS Database




       iRhythm Technologies, Inc.                                                           Page 22
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                                                                   K181502 5/5


                                                          iRhythm Traditional 510(k) Notification

       7. PERFORMANCE DATA
           Safety and performance of the modified ZEUS System has been evaluated and verified in
       accordance with design specifications and applicable performance standards. The modified
       device’s arrhythmia algorithm detection was tested in accordance to AAMI ANSI EC57:
       2012, Testing and Reporting Performance Results of Cardiac Rhythm and ST-Segment
       Measurement Algorithms; it was also evaluated according to 60601-2-47:2012, Medical
       Electrical Equipment- Part 2-47: Particular requirements for the basic safety and essential
       performance of ambulatory electrocardiographic systems. Additionally, the information
       presented in this submission has been developed in consideration of the recommendations
       contained in FDA Guidance documents, “Guidance for the Content of Premarket
       Submissions for Software Contained in Medical Devices” and “Content of Premarket
       Submission for Management of Cybersecurity in Medical Devices”.

           The nonclinical verification and performance test results established that the device meets
       its design requirements and intended use, that the modifications to the originally cleared
       device do not raise new questions of safety and efficacy. During the development, potential
       hazards were evaluated and controlled by the risk management activities, including risk
       analysis, risk mitigation, verification and risk-benefit analysis. The verification and full
       system-level regression testing demonstrate that the device meets all its specifications.

       8. CONCLUSION
           Based on the information submitted in this premarket notification, and based on the
       indications for use, technological characteristics and performance testing comparison to the
       originally cleared device, the modified ZEUS System raises no new questions of safety and
       effectiveness and is substantially equivalent to the predicate device.




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                          FCC / ISED & Test Report
                                                            For:
                                    iRhythm Technologies
                                                    Model Name:
                                                 A102A5001
                                             Product Description:
                                            Zio AT Gateway
                                    Applied Rules and Standards:
                                                 47 CFR Parts 27

                                     FCC ID: 2AFBP-AT18G
                                           IC ID: ----------------


                           REPORT #: EMC_IRHYT_011_FCC_27
                                   DATE: 2018-05-03



                                                                                 A2LA Accredited

                                                                                 IC recognized #
                                                                                     3462B-1



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     Date of Report                      2018-05-03         Page 2 of 18                                      IC ID: --------------

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    Test Report #:               EMC_IRHYT_011_FCC_27                           FCC ID: 2AFBP-AT18G
    Date of Report           2018-05-03         Page 3 of 18                    IC ID: --------------

1     Assessment

The following device as further described in section 3 of this report was evaluated against the applicable criteria
specified in the Code of Federal Regulations Title 47 parts 27.

No deficiencies were ascertained.



         Company Name                                    Product Description                                        Model #
      iRhythm Technologies                                  Zio AT Gateway                                        A102A5001




Responsible for Testing Laboratory:


                                                           James Donnellan
      2018-05-03            Compliance                   (Lab Manager - EMC)
         Date                 Section                             Name                                          Signature



Responsible for the Report:


                                                             Kevin Wang
      2018-05-03            Compliance                  (Senior EMC Engineer)
         Date                 Section                             Name                                          Signature




The test results of this test report relate exclusively to the test item specified in Section3.
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    Date of Report       2018-05-03         Page 4 of 18        IC ID: --------------

2      Administrative Data

     2.1   Identification of the Testing Laboratory Issuing the EMC Test Report

Company Name:                              CETECOM Inc.
Department:                                Compliance
Street Address:                            411 Dixon Landing Road
City/Zip Code                              Milpitas, CA 95035
Country                                    USA
Telephone:                                 +1 (408) 586 6200
Fax:                                       +1 (408) 586 6299
Lab Manager-EMC:                           James Donnellan
Responsible Project Leader:                Kevin Wang


     2.2   Identification of the Client

    Applicant’s Name:                       iRhythm Technologies
    Street Address:                         650 Townsend St. #500
    City/Zip Code                           San Francisco, CA 94103
    Country                                 United States


     2.3   Identification of the Manufacturer

    Manufacturer’s Name:                    iRhythm Technologies
    Manufacturers Address:                  11085 Knott Ave B
    City/Zip Code                           Cypress, CA 90630
    Country                                 United States
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3      Equipment Under Test (EUT)

     3.1     EUT Specifications

    Model No                      A102A5001
                                  Hardware PCBA PN: A102A6002
    HW Version
                                  Gateway Assembly PN: A102A5001
                                  Application Processor Firmware Version: 180321 Gateway CC2640R2F Production
                                  2.1.2.3
    SW Version
                                  Bluetooth Processor Firmware Version: 180321 Gateway EFM32GG290
                                  Manufacturing 2.1.1.3 Release
    FCC-ID                        2AFBP-AT18G
    IC-ID:                        -----------------
    HVIN:                         -----------------
    PMN:                          -----------------
                             Zio AT Gateway, The Gateway device transfers cardiac monitoring data to/from a
    Product Description      Bluetooth radio to/from a LTE Cat M1 radio, powered by a single LiPo battery for up to
                             14 days.
                             u-Blox Model: SARA-R410M-02B
                             FCC ID: XPY2AGQN4NNN
    Transceiver Technology /
                             FDD LTE 13: QPSK
    Type(s) of Modulation
                                  Bluetooth version 4.0 and 5.0, Low Energy: GFSK
                                  FDD LTE 13: 777-787 MHz
    Frequency Range
                                  Bluetooth Low Energy: 2400-2483.5MHz
    Max. declared antenna
                            Taoglas PA.26A - LTE chip antenna; peak gain: 1.13dBi.
    gain
    Power Supply/ Rated
                            Dedicated Battery Pack Vmin: 2.75 VDC/ Vnom: 3.6 VDC / Vmax: 4.2 VDC
    Operating Voltage Range
    Operating Temperature
                            0 ºC ~ 40 ºC
    Range
    Sample Revision               Prototype          Production            Pre-Production
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 3.2    EUT Sample details

EUT #      Serial Number          HW Version                          SW Version                        Comments
                                                 Application Processor Firmware Version:
                                 Hardware PCBA 180321 Gateway CC2640R2F Production
            KETA RPS             PN: A102A6002 2.1.2.3                                                   Radiated
  1
             180058             Gateway Assembly Bluetooth Processor Firmware Version:                    Testing
                                 PN: A102A5001 180321 Gateway EFM32GG290 Manufacturing
                                                 2.1.1.3 Release


 3.3    Accessory Equipment (AE) details

 AE #               Type                       Model                  Manufacturer              Serial Number
                                        NCA103450-PC-1
  1              3.6V Battery                                      House of Batteries             B622190812
                                            Rev. C


 3.4    Test Sample Configuration

Set-up #    EUT / AE used for set-up                                      Comments
                                          LTE Band 13 CAT M1 was configured as 1 RB for Uplink with NB Position at
                                          Low or High.
   1                  EUT#1
                                          Bluetooth LE was configured as BLE 5.0 with 2 Mbps on the low channel which
                                          has the highest output power.
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4     Subject of Investigation

The objective of the measurements done by CETECOM Inc. was to evaluate the compliance of the EUT against the
relevant requirements specified in the Code of Federal Regulations Title 47 part 27.


     4.1    Dates of Testing:

           03/26/2018 - 03/30/2018

     4.2    Measurement Uncertainty

Where relevant, the following measurement uncertainty levels have been estimated for tests performed on the
apparatus, with 95% confidence interval (in dB delta to result), based on a coverage factor k=1.

Radiated measurement

9 kHz to 30MHz                          ±2.5 dB (Magnetic Loop Antenna)
30 MHz to 1000 MHz                      ±2.0 dB (Biconilog Antenna)
1 GHz to 40 GHz                         ±2.3 dB (Horn Antenna)

Conducted measurement

150 kHz to 30 MHz                       ±0.7 dB (LISN)

RF conducted measurement                ±0.5 dB

     4.3    Environmental Conditions during Testing:

The following environmental conditions were maintained during the course of testing:
    Ambient Temperature: 20-25oC
    Relative humidity: 40-60%

Deviating test conditions are indicated at individual test description where applicable.
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5     Measurement Procedures

Testing is performed according to the guidelines provided in FCC publication (KDB) 971168 D01 v02r02 –
“Measurement Guidance for Certification of Licensed Digital Transmitters” and according to relevant parts of
ANSI/TIA-603-D-2010 as detailed below.



                                       Test Setup for Conducted Measurements
                                                        Measurement Path

                                         Attenuator

                      Spectrum                        Combiner              EUT
                      Analyzer




                                                       BS




     5.1 Radiated Measurement
       The exploratory measurement is accomplished by running a matrix of 16 sweeps over the required frequency
         range with R&S Test-SW EMC32 for 4 positions of the turntable, two orthogonal positions of the EUT and
         both antenna polarizations. This procedure exceeds the requirement of the above standards to cover the 3
         orthogonal axis of the EUT. A max peak detector is utilized during the exploratory measurement. The Test-
         SW creates an overall maximum trace for all 12 sweeps and saves the settings for each point of this trace.
         The maximum trace is part of the test report.
       The 10 highest emissions are selected with an automatic algorithm of EMC32 searching for peaks in the
         noise floor and ensuring that broadband signals are not selected multiple times.
       The maxima are then put through the final measurement and again maximized in a 90deg range of the
         turntable, fine search in frequency domain and height scan between 1m and 4m.
       The above procedure is repeated for all possible ways of power supply to EUT and for all supported
         modulations.
       In case there are no emissions above noise floor level only the maximum trace is reported as described
         above.
       The results are split up into up to 4 frequency ranges due to antenna bandwidth restrictions. A magnetic loop
         is used from 9 kHz to 30 MHz, a Biconilog antenna is used from 30 MHz to 1 GHz, and two different horn
         antennas are used to cover frequencies up to 40 GHz.
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                          Radiated Emissions Test Setup below 30MHz Measurements

                                                                                         Height Scan
                                                                                         1-4m




    EUT at                             3 m Distance
    80cm
                                                                      Loop
                                                                      Measurement Antenna


             Turn-Table




                                          Chamber Ground plane
                                                                                            EMI Receiver



                          Radiated Emissions Test Setup 30MHz-1GHz Measurements

                                                                                         Height Scan
                                                                                         1-4m




                                       3 m Distance

    EUT at
    80 cm

                                                                     BiLog
                                                                     Measurement Antenna

             Turn-Table




                                          Chamber Ground plane
                                                                                            EMI Receiver
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                                 Radiated Emissions Test Setup above 1GHz Measurements

                                                                                                  Height Scan
                                                                                                     1-4m




                                               3 m Distance

         EUT at
         150 cm
                                                                             Horn
                                                                             Measurement Antenna


                    Turn-Table




                                                      Chamber Ground plane

                                                                                                    EMI Receiver



   5.2     Sample Calculations for Field Strength Measurements

Field Strength is calculated from the Spectrum Analyzer/ Receiver readings, taking into account the following
parameters:
     Measured reading in dBµV
     Cable Loss between the receiving antenna and SA in dB and
     Antenna Factor in dB/m

All radiated measurement plots in this report are taken from a test SW that calculates the Field Strength based on the
following equation:

                  FS (dBµV/m) = Measured Value on SA (dBµV)- Cable Loss (dB)+ Antenna Factor (dB/m)

Example:

          Frequency              Measured SA          Cable Loss      Antenna Factor Correction        Field Strength Result
            (MHz)                  (dBµV)                (dB)                   (dB)                         (dBµV/m)
            1000                    80.5                  3.5                     14                            98.0
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6      Measurement Results Summary

     6.1    FCC 27 / RSS-139
                                                 Temperature and
     Test Specification       Test Case                                  Mode         Pass      Fail   NA   NP    Result
                                                Voltage Conditions
      §2.1046; §27.50      RF Output Power           Nominal          LTE Band 13                             Note 2
                                                Extreme Temperature
      §2.1055; §27.54     Frequency Stability                         LTE Band 13                             Note 2
                                                     and Voltage
      §2.1049; §27.53     Occupied Bandwidth         Nominal          LTE Band 13                             Note 2
                               Band Edge
      §2.1051; §27.53                                  Nominal      LTE Band 13                               Note 2
                              Compliance
                           Conducted Spurious
     §2.1051; §27.53                                   Nominal      LTE Band 13                               Note 2
                               Emissions
                            Radiated Spurious
     §2.1053; §27.53                                   Nominal      LTE Band 13                              Complies
                               Emissions
Note 1: NA= Not Applicable; NP= Not Performed.
Note 2: Data leveraged from modular approval, FCC ID: XPY2AGQN4NNN.
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7     Test Result Data

7.1     Radiated Spurious Emissions

7.1.1     Measurement utilizing KDB 971168 D01 Power Meas License Digital Systems v02r02, and according
          to ANSI C63.26-2015:


Spectrum Analyzer Settings for FCC 22
     Frequency Range             30MHz – 1 GHz                            1 – 1.58 GHz                1.58 – 9 GHz
    Resolution Bandwidth             100 kHz                                 1 MHz                       1 MHz
      Video Bandwidth                100 kHz                                 1 MHz                       1 MHz
          Detector                    Peak                                    Peak                        Peak
         Trace Mode                 Max Hold                                Max Hold                    Max Hold
        Sweep Time                    Auto                                    Auto                        Auto


Spectrum Analyzer Settings for FCC 24
     Frequency Range           30MHz – 1 GHz                 1 – 2.7 GHz               2.7 – 18 GHz     18 – 19.1 GHz
   Resolution Bandwidth           100 kHz                       1 MHz                     1 MHz             1 MHz
      Video Bandwidth             100 kHz                       1 MHz                     1 MHz             1 MHz
          Detector                 Peak                          Peak                      Peak              Peak
         Trace Mode              Max Hold                     Max Hold                   Max Hold         Max Hold
        Sweep Time                 Auto                          Auto                      Auto              Auto


7.1.2     Limits:

7.1.2.1    FCC Part 22.917 (a); FCC Part 24.238 (a); FCC Part 27.53 (h)
          Out of band emissions. The power of any emission outside of the authorized operating frequency ranges
          must be attenuated below the transmitting power (P) by a factor of at least 43 + 10 log(P) dB.


7.1.2.2      RSS-132 Part 5.5; RSS-133 Part 6.5; RSS-139 Part 6.6 Transmitter Unwanted Emissions
          Mobile and base station equipment shall comply with the limits in (i) and (ii) below.
          i.In the first 1.0 MHz band immediately outside and adjacent to each of the sub-bands specified in Section
          5.1, the power of emissions per any 1% of the occupied bandwidth shall be attenuated (in dB) below the
          transmitter output power P ( dBW) by at least 43 + 10 log10p (watts).
          ii.After the first 1.0 MHz immediately outside and adjacent to each of the sub-bands, the power of emissions
          in any 100 kHz bandwidth shall be attenuated (in dB) below the transmitter output power P (dBW) by at
          least 43 + 10 log10 p (watts). If the measurement is performed using 1% of the occupied bandwidth, power
          integration over 100 kHz is required.

          Note: The limit calculation result is a constant of -13 dBm.
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7.1.3    Test conditions and setup:

   Ambient Temperature (C)                                                  EUT Set-Up #                                      EUT operating mode                                                              Power Input
                   22                                                                      1                                   LTE Band 13 + BTLE 5.0                                                         3.6VDC Battery

7.1.4    Measurement result:

Plot #    Channel                                       EUT operating mode                                                                Scan Frequency                                            Limit (dBm)                Result
  1-5       Low                                                    LTE Band 13                                                              9 kHz – 26 GHz                                                         -13          Pass
  6-8       High                                                   LTE Band 13                                                             30 MHz – 18 GHz                                                         -13          Pass

7.1.5    Measurement Plots:


                                                                                  Plot # 1 Radiated Emissions: 9 kHz – 30 MHz
                                                                                                                   Channel: Low

                                          0
                                                                                                                                                                                                            -13d Bm

                                        -20
                         Level in dBm




                                        -40


                                        -60


                                        -80




                                              9k            20         30      50            100k            200       300      500             1M       2M       3M       5M              10M          20         30M

                                                                                                                         Frequency in Hz

                                              Previe w Resu lt 2-RMS                Previe w Resu lt 1-PK+                   Critical_Freqs RMS                 Critical_Freqs PK+
                                              -13d Bm                               Final_Result PK+                         Final_Result RMS




                                                                                  Plot # 2 Radiated Emissions: 30 MHz – 1GHz
                                                                                                                   Channel: Low
                                        20
                                                                                                                                                                                           778.112500 MHz
                                                                                                                                                                                             16.544 dBm
                                         0
                                                                                                                                                                                                                   -13d Bm
                        Level in dBm




                                        -20



                                        -40



                                        -60




                                         30M                       50        60             80       100M                                 200             300            400         500                     800         1G

                                                                                                                             Frequency in Hz

                                          Previe w Resu lt 1-PK+            Critical_Freqs PK+               -13d Bm              Final_Result PK+         Final_Result RMS
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                                                                         Plot # 3 Radiated Emissions: 1-3 GHz
                                                                                           Channel: Low
                                                                                             Final Result
                                                                                                      Meas.
            Frequency                     MaxPeak           RMS             Limit     Margin                        Bandwidth               Height                     Azimuth            Corr.
                                                                                                      Time                                                   Pol
              (MHz)                        (dBm)           (dBm)           (dBm)       (dB)                           (kHz)                  (cm)                       (deg)             (dB)
                                                                                                      (ms)
             1555.5                            ---         -36.60             -13     -23.6           500.0         1000.000                 155.0              V       26.0              -64.1
             1555.5                          -26.71          ---               ---      ---           500.0         1000.000                 190.0              V       45.0              -64.1


                                10

                                                                                                                                          2.401500000 GHz
                                 0                                                                                                           1.727 dBm


                                -10                                                                                                                                           -13d Bm
                 Level in dBm




                                -20


                                -30


                                -40


                                -50



                                  1G                                                                                         2G                                                    3G

                                                                                                  Frequency in Hz

                                  Previe w Resu lt 2-RMS     Previe w Resu lt 1-PK+    Critical_Freqs RMS            Critical_Freqs PK+
                                  -13d Bm                    Final_Result PK+          Final_Result RMS




                                                                        Plot # 4 Radiated Emissions: 3-18 GHz
                                                                                           Channel: Low
                                                                                             Final Result
                                                                                                      Meas.
            Frequency                     MaxPeak           RMS             Limit     Margin                        Bandwidth               Height                  Azimuth             Corr.
                                                                                                      Time                                                  Pol
              (MHz)                        (dBm)           (dBm)           (dBm)       (dB)                           (kHz)                  (cm)                    (deg)              (dB)
                                                                                                      (ms)
           3889.500000                       -42.10         ---                ---         ---         10.0         1000.000                 180.0          H        126.0              -101.4
           4666.000000                       -50.81         ---                ---         ---         10.0         1000.000                 226.0          V        178.0               -99.9
           4804.500000                       -54.34         ---                ---         ---         10.0         1000.000                 174.0          V        315.0              -100.3
           7205.000000                       -48.24         ---                ---         ---         10.0         1000.000                 225.0          H        17.0                -95.7


                                 0


                                -10                                                                                                                                           -13d Bm


                                -20
                 Level in dBm




                                -30


                                -40


                                -50


                                -60




                                  3G                                         5G        6             7          8        9        10G                                             18G

                                                                                                 Frequency in Hz

                                  Previe w Resu lt 2-RMS     Previe w Resu lt 1-PK+    Critical_Freqs RMS            Critical_Freqs PK+
                                  -13d Bm                    Final_Result PK+          Final_Result RMS
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                                                                             Plot # 5 Radiated Emissions: 18-26 GHz
                                                                                                         Channel: Low

                                         0
                                                                                                                                                                                                       -13d Bm

                                    -20
                    Level in dBm




                                    -40


                                    -60


                                    -80




                                         18      18.5        19    19.5       20        20.5        21      21.5        22          22.5     23         23.5     24       24.5       25         25.5         26

                                                                                                             Frequency in GHz

                                         Previe w Resu lt 2-RMS            Previe w Resu lt 1-PK+                  Critical_Freqs RMS                    Critical_Freqs PK+
                                         -13d Bm                           Final_Result PK+                        Final_Result RMS




                                                                          Plot # 6 Radiated Emissions: 30 MHz – 1GHz
                                                                                                         Channel: High


                                   20
                                                                                                                                                                               785.387500 MHz
                                                                                                                                                                                 11.508 dBm
                                    0
                                                                                                                                                                                                        -13d Bm
                 Level in dBm




                                   -20



                                   -40



                                   -60




                                    30M                       50    60             80      100M                               200                 300          400       500                    800          1G

                                                                                                               Frequency in Hz

                                     Previe w Result 1-PK+         Critical_Freqs PK+             -13d Bm             Final_Result PK+             Final_Result RMS
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                                                                          Plot # 7 Radiated Emissions: 1-3 GHz
                                                                                            Channel: High
                                                                                              Final Result
                                                                                                        Meas.
            Frequency                     MaxPeak            RMS             Limit     Margin                        Bandwidth               Height                     Azimuth            Corr.
                                                                                                        Time                                                  Pol
              (MHz)                        (dBm)            (dBm)           (dBm)       (dB)                           (kHz)                  (cm)                       (deg)             (dB)
                                                                                                        (ms)
           1555.000000                         ---          -39.70             -13     -26.7            500.0        1000.000                 155.0              V        33.0             -64.1
           1555.000000                       -29.12           ---               ---      ---            500.0        1000.000                 184.0              V        32.0             -64.1
           1570.500000                         ---          -43.30             -13     -30.3            500.0        1000.000                 172.0              V        45.0             -63.9
           1570.500000                       -25.04           ---               ---      ---            500.0        1000.000                 184.0              V        26.0             -63.9


                                10
                                                                                                                                           2.401500000 GHz
                                 0                                                                                                            1.673 dBm


                                -10                                                                                                                                            -13dBm
                 Level in dBm




                                -20

                                -30

                                -40

                                -50


                                  1G                                                                                          2G                                                    3G

                                                                                                   Frequency in Hz

                                  Preview Result 2-RMS        Preview Result 1-PK+      Critical_Freqs RMS            Critical_Freqs PK+
                                  -13dBm                      Final_Result PK+          Final_Result RMS




                                                                         Plot # 8 Radiated Emissions: 3-18 GHz
                                                                                            Channel: High
                                                                                              Final Result
                                                                                                        Meas.
            Frequency                     MaxPeak            RMS             Limit     Margin                        Bandwidth               Height                  Azimuth             Corr.
                                                                                                        Time                                                 Pol
              (MHz)                        (dBm)            (dBm)           (dBm)       (dB)                           (kHz)                  (cm)                    (deg)              (dB)
                                                                                                        (ms)
           3887.000000                       -48.40          ---                ---         ---          10.0        1000.000                 227.0          H        191.0          -101.4
           3927.000000                       -37.28          ---                ---         ---          10.0        1000.000                 245.0          H        187.0          -101.3
           4665.500000                       -51.41          ---                ---         ---          10.0        1000.000                 173.0          V        155.0           -99.9
           4804.000000                       -54.22          ---                ---         ---          10.0        1000.000                 185.0          H         -5.0          -100.3
           7205.000000                       -49.16          ---                ---         ---          10.0        1000.000                 223.0          H        14.0            -95.7


                                -10
                                                                                                                                                                               -13d Bm
                                -15

                                -20

                                -25

                                -30
                 Level in dBm




                                -35

                                -40

                                -45

                                -50

                                -55

                                -60

                                -65


                                  3G                                          5G        6              7         8        9        10G                                             18G

                                                                                                   Frequency in Hz

                                  Previe w Resu lt 2-RM S     Previe w Resu lt 1-PK+    Critical_Freqs RM S           Critical_Freqs PK+
                                  -13d Bm                     Final_Result PK+          Final_Result RM S
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8       Test setup photos

        Setup photos are included in supporting file name: “EMC_IRHYT_011_FCC_27_Setup_photos.pdf”



9       Test Equipment And Ancillaries Used For Testing

                                                                                                                                                                               Last
                                                                                                                                                      Calibration
                 Item Name                          Equipment Type                 Manufacturer                  Model                Serial #                              Calibration
                                                                                                                                                        Cycle
                                                                                                                                                                               Date
           Antenna Loop Passive                       Loop Antenna                 ETS Lindgren                   6507                161344             3 Year             10/26/2017

         Antenna Biconilog 3142E                    Biconlog Antenna                   EMCO                      3142E                166067             3 Year             06/27/2017

       Antenna Horn 3115 SN 35111                     Horn Antenna                     EMCO                       3115                 35111             3 Year             07/24/2015

            Antenna Horn 3116                         Horn Antenna                 ETS Lindgren                   3116                 70497             3 Year             10/31/2017

          Horn Antenna 3117-PA                        Horn Antenna                 ETS Lindgren                 3117-PA               215984             3 Year             01/26/2018
                                                                                      Rohde &
                   ESU40                            EMI Test Receiver                                           ESU40                 100251             3 Year             01/31/2018
                                                                                      Schwarz
       Thermometer Humidity TM320                Thermometer Humidity                 Dickson                   TM320                 5280063            1 Year             11/02/2017

                  CMW500                         Base Station Simulator                 R&S                    CMW500                 127068             2 Year             07/01/2017

                    FSU                             Spectrum Analyzer                   R&S                       FSU                 200256             2 Year             07/04/2017

           Antenna Loop Passive                       Loop Antenna                 ETS Lindgren                   6507                161344             3 Year             10/26/2017

         Antenna Biconilog 3142E                    Biconlog Antenna                   EMCO                      3142E                166067             3 Year             06/27/2017
    Equipment used meets the measurement uncertainty requirements as required per applicable standards for 95% confidence levels.
    Calibration due dates, unless defined specifically, falls on the last day of the month. Items indicated “N/A” for cal status either do not specifically require calibration or is
    internally characterized before use.
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10 Revision History

                                                                                Report prepared
     Date                    Report Name                 Changes to report
                                                                                      by
   2018-05-03            EMC_IRHYT_011_FCC_27                 Initial Version      Kevin Wang
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                      Exhibit 10
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      DEPARTMENT OF HEALTH & HUMAN SERVICES                                    Public Health Service


                                                                               Food and Drug Administration
                                                                               10903 New Hampshire Avenue
                                                                               Document Control Center - WO66-G609
                                                                               Silver Spring, MD 20993-0002

                                               June 2, 2017

 iRhythm Technologies, Inc.
 Rich Laguna
 Director of Quality & Regulatory Affairs
 650 Townsend Street
 Suite 380
 San Francisco, CA 94103

 Re: K163512
     Trade/Device Name: Zio QX ECG Monitoring System
     Regulation Number: 21 CFR 870.2800
     Regulation Name: Medical Magnetic Tape Recorder
     Regulatory Class: Class II
     Product Code: DSH, DQK, DXH, DSI
     Dated: May 2, 2017
     Received: May 3, 2017

 Dear Rich Laguna:

 We have reviewed your Section 510(k) premarket notification of intent to market the device
 referenced above and have determined the device is substantially equivalent (for the indications
 for use stated in the enclosure) to legally marketed predicate devices marketed in interstate
 commerce prior to May 28, 1976, the enactment date of the Medical Device Amendments, or to
 devices that have been reclassified in accordance with the provisions of the Federal Food, Drug,
 and Cosmetic Act (Act) that do not require approval of a premarket approval application (PMA).
 You may, therefore, market the device, subject to the general controls provisions of the Act. The
 general controls provisions of the Act include requirements for annual registration, listing of
 devices, good manufacturing practice, labeling, and prohibitions against misbranding and
 adulteration. Please note: CDRH does not evaluate information related to contract liability
 warranties. We remind you, however, that device labeling must be truthful and not misleading.

 If your device is classified (see above) into either class II (Special Controls) or class III (PMA),
 it may be subject to additional controls. Existing major regulations affecting your device can be
 found in the Code of Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may
 publish further announcements concerning your device in the Federal Register.

 Please be advised that FDA's issuance of a substantial equivalence determination does not mean
 that FDA has made a determination that your device complies with other requirements of the Act
 or any Federal statutes and regulations administered by other Federal agencies. You must comply
 with all the Act's requirements, including, but not limited to: registration and listing (21 CFR
 Part 807); labeling (21 CFR Part 801); medical device reporting (reporting of medical device-
 related adverse events) (21 CFR 803); good manufacturing practice requirements as set forth in
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 Page 2 - Rich Laguna

 the quality systems (QS) regulation (21 CFR Part 820); and if applicable, the electronic product
 radiation control provisions (Sections 531-542 of the Act); 21 CFR 1000-1050.

 If you desire specific advice for your device on our labeling regulation (21 CFR Part 801), please
 contact the Division of Industry and Consumer Education at its toll-free number (800) 638-2041
 or (301) 796-7100 or at its Internet address
 http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm. Also, please note
 the regulation entitled, "Misbranding by reference to premarket notification" (21 CFR Part
 807.97). For questions regarding the reporting of adverse events under the MDR regulation (21
 CFR Part 803), please go to
 http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/default.htm for the CDRH's Office
 of Surveillance and Biometrics/Division of Postmarket Surveillance.

 You may obtain other general information on your responsibilities under the Act from the
 Division of Industry and Consumer Education at its toll-free number (800) 638-2041 or (301)
 796-7100 or at its Internet address
 http://www.fda.gov/MedicalDevices/ResourcesforYou/Industry/default.htm.

                                                     Sincerely,


                                               for
                                                     Bram D. Zuckerman, M.D.
                                                     Director
                                                     Division of Cardiovascular Devices
                                                     Office of Device Evaluation
                                                     Center for Devices and Radiological Health

 Enclosure
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                   DEPARTMENT OF HEALTH AND HUMAN SERVICES                                  Form Approved: OMB No. 0910-0120
                           Food and Drug Administration                                     Expiration Date: January 31, 2017
                                 Indications for Use                                        See PRA Statement below.

510(k) Number (if known)
K163512

Device Name
Zio® QX ECG Monitoring System



Indications for Use (Describe)
The Zio QX ECG Monitoring System is intended to capture, analyze and report symptomatic and asymptomatic cardiac
events and continuous electrocardiogram (ECG) information for long-term monitoring. While continuously recording
patient ECG, both patient-triggered and automatically detected arrhythmia events are transmitted to a monitoring center
for reporting. After wear, a final report is generated based on beat-to-beat information from the entire ECG recording. It is
indicated for use on patients 18 years or older who may be asymptomatic or who may suffer from transient symptoms
such as palpitations, shortness of breath, dizziness, light-headedness, pre-syncope, syncope, fatigue, or anxiety. The
reports are provided for review by the intended user to render a diagnosis based on clinical judgment and experience. It is
not intended for use on critical care patients.




Type of Use (Select one or both, as applicable)
                  Prescription Use (Part 21 CFR 801 Subpart D)             Over-The-Counter Use (21 CFR 801 Subpart C)

                                       CONTINUE ON A SEPARATE PAGE IF NEEDED.

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 iRhythm Technologies, Inc.                        Zio® QX ECG Monitoring System
                                                                Traditional 510(k)
 510(k) SUMMARY


                                    510(k) Notification __K163512__


 I.   GENERAL INFORMATION [21CFR807.92(a)(1)]

      Applicant:
      iRhythm Technologies, Inc.
      650 Townsend Street, Suite 500
      San Francisco, CA 94103
      U.S.A.
      Phone:     415-632-5700
      Fax:       415-632-5701

      Contact Person:
      Rich Laguna
      Director Quality & Regulatory Affairs
      Phone:     415-632-5749
      Email:     rlaguna@irhythmtech.com

      Date Prepared: May 2, 2017

II.   DEVICE INFORMATION [21CFR708.92(a)(2)]

      Trade Name:
      Zio® QX ECG Monitoring System

      Generic/Common Name:
      Medical magnetic tape recorder

      Classification Names:
      Medical magnetic tape recorder [21 CFR§870.2800]
      Programmable diagnostic computer [21CFR§870.1425]
      Telephone electrocardiograph transmitter and receiver [21CFR§870.2920]
      Arrhythmia detector and alarm (including ST-segment measurement and alarm) [21 CFR§870.1025]

      Regulatory Class:
      Class II (special controls)

      Product Codes:
      DSH, Recorder, Magnetic Tape, Medical
      DQK, Computer, Diagnostic, Programmable
      DXH, Transmitters And Receivers, Electrocardiograph, Telephone
      DSI, Detector And Alarm, Arrhythmia




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III.   PREDICATE DEVICES [21CFR708.92(a)(3)]

       The following predicate devices have been selected:
       - iRhythm Technologies, Inc. Zio® SR ECG Monitoring System [K143513] (primary)
       - Medtronic, Inc. SEEQ™ Mobile Cardiac Telemetry (MCT) System [K133701]
       No reference devices were used in this submission.

IV.    DEVICE DESCRIPTION [21CFR708.92(a)(4)]

       The Zio® QX ECG Monitoring System consists of three key device components: (1) Zio QX
       Patch Recorder with Bluetooth technology, (2) Zio QX Wireless Gateway with both
       Bluetooth and cellular technology, and (3) the Zio ECG Utilization Service (ZEUS) System for
       data analysis and reporting.

       The Zio® QX Patch is a non-sterile, single-patient-use ECG monitor that provides a
       continuous, single-channel recording in addition to asymptomatic and symptomatic data
       transmission for up to 14 days. The Zio® QX Patch is applied and activated by the patient.
       Once activated, the Patch records ECG without patient interaction, with the goal of
       improving patient compliance via simplicity of operation. The Zio® QX Patch, in conjunction
       with the Wireless Gateway and the ZEUS System, has arrhythmia auto-detection
       capabilities. Additionally, patients have the option of pressing a convenient trigger button
       which marks the continuous record and initiates the wireless transfer of a 90-second ECG
       strip. The wireless transfer of data is enabled by the Zio® QX Gateway, which requires
       Bluetooth proximity to the Patch and cellular network reception but no patient interaction
       to transmit to the monitoring center. The patient is encouraged to document symptomatic
       events in either the provided booklet, mobile medical app (iOS 9+, Android 4.4+) or via a
       patient website, which will support symptom-rhythm correlation in the Zio QX Report.

       At the conclusion of the wear period (up to 14 days), the patient removes the Zio® QX Patch
       and returns it by mail to an iRhythm data processing center.

       Upon receipt of both symptomatic/asymptomatic transmissions (during wear) and
       downloaded continuous ECG data (post wear) at iRhythm’s Clinical Center (iCC), the data is
       processed through the ZEUS detection algorithm and delivered to the QA Tool module
       where the results are reviewed and/or adjusted by iRhythm’s Certified Cardiographic
       Technicians (CCTs) for accuracy. iRhythm employed and trained Patch in-take and CCT
       personnel follow internal procedures for processing and are made aware of performance
       limitations and anomalies with both the detection algorithms and software workflow tools.
       All anomalies are visible to and, where appropriate, are manually corrected by iRhythm
       Technologies CCTs during the QA review and/or Patch Report edits. The CCT generates a
       final report (Zio QX Report) of the ECG findings contained within the data, thereby providing
       a complete ECG processing and analysis service.

       Upon explicit request from a clinician responsible for the patient’s healthcare, longer
       segments of ECG data from the continuous recording on the Patch can also be wirelessly


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     retrieved during the wear period. Alternatively, such periods are also available for inclusion
     in the final report, where the entire ECG recording is available for review and selective
     inclusion based on clinical relevance.

V.   INDICATIONS FOR USE [21CFR708.92(a)(5)]

     The Indications for Use statement for the Zio® QX ECG Monitoring System is as follows:

        The Zio QX ECG Monitoring System is intended to capture, analyze and report
        symptomatic and asymptomatic cardiac events and continuous electrocardiogram (ECG)
        information for long-term monitoring. While continuously recording patient ECG, both
        patient-triggered and automatically detected arrhythmia events are transmitted to a
        monitoring center for reporting. After wear, a final report is generated based on beat-
        to-beat information from the entire ECG recording. It is indicated for use on patients 18
        years or older who may be asymptomatic or who may suffer from transient symptoms
        such as palpitations, shortness of breath, dizziness, light-headedness, pre-syncope,
        syncope, fatigue, or anxiety. The reports are provided for review by the intended user to
        render a diagnosis based on clinical judgment and experience. It is not intended for use
        on critical care patients.

     The Indications for Use statement for the Zio® QX ECG Monitoring System differs slightly
     from that of the primary predicate device to address automatically detected events during
     wear; however, these differences do not alter the intended use of the device. Collectively,
     the subject device has the same intended use in cardiac arrhythmia diagnostics as the two
     predicate devices. Differences in the proposed Indications for Use statement are not critical
     to the intended use of the device, nor do they affect the safety and effectiveness of the
     subject device relative to the predicate devices. Therefore, the subject device can be
     considered substantially equivalent to the predicate devices.




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VI.   COMPARISON OF TECHNOLOGICAL CHARACTERISTICS WITH PREDICATE DEVICES
      [21CFR708.92(a)(6)]

      The proposed indications for use statement for the Zio® QX ECG Monitoring System reflect
      the same intended use as represented in the cleared Indications for Use statements for the
      predicate devices. The performance testing results demonstrate that the differences in the
      technological characteristics between the devices do not raise any new issues of safety or
      effectiveness, demonstrating that the subject device is as safe and as effective as the
      predicate devices. Therefore, the Zio® QX ECG Monitoring System is determined to be
      substantially equivalent to the predicate devices. A comparison table outlining the
      differences and similarities between the subject device, the Zio® QX ECG Monitoring
      System, and the predicate devices is provided in Table 1.

      Table 1: Substantial Equivalence Summary Table
                              Subject device:         Primary predicate:
                           iRhythm Technologies     iRhythm Technologies         Predicate:
                         Zio® QX ECG Monitoring    Zio® SR ECG Monitoring      Medtronic, Inc.
                                    System                  System           SEEQ™ MCT System
          Feature                 [K163512]               [K143513]              [K133701]
      General Characteristics
      Classification    Class II                  Class II                  Class II
      Classification    21CFR§870.2800            21CFR§870.2800            21CFR§870.1025
      Regulation(s)     21CFR§870.1425            21CFR§870.1425
                        21CFR§870.2920            21CFR§870.2920
                        21CFR§870.1025
      Product Code(s) DSH, DQK, DXH, DSI          DSH, DQK, DXH             DSI
      Patient           Ambulatory                Same                      Same
      Environment
      Patient           Non-pediatric, non-       Same                      Non-critical care
      Population        critical care patients                              patients
      Technological Characteristics
      Key System        1) Zio® QX Patch          1) Zio® SR Patch          1) SEEQ™ MCT
      Components        (wearable sensor)         (wearable sensor)         Wearable Sensor
                        2) Zio® QX Gateway        2) Zio® SR Gateway        2) SEEQ™ MCT
                        (transmitter)             (transmitter)             Transmitter
                        3) ZEUS System            3) ZEUS System            3) Software
                        (software)                (software)
      Event Trigger     Manually by patient or    Manually by patient       Manually by patient
                        automatically by                                    or automatically by
                        arrhythmia detection                                arrhythmia detection
                        algorithm                                           algorithm




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VII.   PERFORMANCE DATA [21CFR708.92(b)]

       There are no required FDA performance standards for the Zio® QX ECG Monitoring System.
       All necessary performance testing was conducted on the Zio® QX ECG Monitoring System to
       ensure performance as intended per specifications and to support a determination of
       substantial equivalence to the predicate devices.

       [21CFR708.92(b)(1)]:
       Nonclinical testing included:

       x   System performance testing
       x   Mechanical verification testing
       x   Software verification testing
       x   Firmware verification testing
       x   Electrical safety and EMC testing

       Automated ECG analysis performance was quantified for any claimed analysis metrics. The
       resulting statistics demonstrate sensitivity and positive predictivity levels which satisfy
       requirements.

       The scope of the nonclinical testing summarized in Table 2 demonstrates that the Zio® QX
       ECG Monitoring System is in conformance with FDA-recognized consensus standards and
       FDA guidance documents.


       Table 2: FDA-Recognized Consensus Standards & Guidance Document Summary
       FDA #   Body       Number / Version             Title
       5-70    AAMI       14971:2007/(R)2010           Medical Devices - Applications Of Risk Management To
               ANSI ISO   (Corrected 4 October 2007)   Medical Devices
       19-4    AAMI       ES60601-1:2005/(R)2012 and   Medical Electrical Equipment - Part 1: General
               ANSI       A1:2012, C1:2009/(R)2012     Requirements For Basic Safety And Essential
                          and A2:2010/(R)2012          Performance (IEC 60601-1:2005, MOD)
       19-12   AAMI       60601-1-2:2014               Medical Electrical Equipment -- Part 1-2: General Requirements
               ANSI IEC                                For Basic Safety And Essential Performance -- Collateral
                                                       Standard: Electromagnetic Disturbances -- Requirements And
                                                       Tests
       19-1    IEC        60601-1-2                    Medical Electrical Equipment - Part 1-2: General
                          Edition 3: 2007-03           Requirements For Basic Safety And Essential
                                                       Performance - Collateral Standard: Electromagnetic
                                                       Compatibility - Requirements And Tests
       19-6    IEC        60601-1-11                   Medical Electrical Equipment - Part 1-11: General
                          Edition 1.0 2010-04          Requirements For Basic Safety And Essential
                          [Including: Technical        Performance - Collateral Standard: Requirements For
                          Corrigendum 1 (2011)]        Medical Electrical Equipment And Medical Electrical
                                                       Systems Used In The Home Healthcare Environment
       3-127   AAMI       60601-2-47:2012              Medical Electrical Equipment -- Part 2-47: Particular
               ANSI IEC                                Requirements For The Basic Safety And Essential
                                                       Performance Of Ambulatory Electrocardiographic



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        Table 2: FDA-Recognized Consensus Standards & Guidance Document Summary
        FDA #   Body       Number / Version          Title
                                                     Systems
        3-52    AAMI       EC12:2000/(R)2010         Disposable ECG Electrodes
                ANSI
        3-118   AAMI       EC57:2012                 Testing And Reporting Performance Results Of Cardiac
                ANSI                                 Rhythm And ST-Segment Measurement Algorithms
        N/A     U.S. FDA   October 28, 2003          Guidance for Industry and FDA Staff – Class II Special
                                                     Controls Guidance Document: Arrhythmia Detector and
                                                     Alarm
        N/A     U.S. FDA   October 2, 2014           Guidance for Industry and FDA Staff – Content of
                                                     Premarket Submissions for Management of
                                                     Cybersecurity in Medical Devices

        [21CFR708.92(b)(2)]:
        No clinical testing was performed in support of this premarket notification.

        [21CFR708.92(b)(3)]:
        The results confirm by examination and provision of objective evidence that the design
        output met the design input requirements. The results of the nonclinical testing performed
        demonstrate that the Zio® QX ECG Monitoring System meets the requirements of
        established conformance standards and performance specifications necessary for its
        intended use and does not raise new questions of safety or effectiveness as compared to
        the predicate devices.

VIII.   CONCLUSION

        The Zio® QX ECG Monitoring System is substantially equivalent to the predicate devices.




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                      Exhibit 11
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    ACE BRIEF FOR NEW AND EMERGING
          HEALTH TECHNOLOGIES



   Zio XT for Ambulatory ECG Monitoring
   for Patients Suspected to have Cardiac
                 Arrhythmia




  Document Number: HSB-M 04/2023
  Date: March 2023




    This briefing presents independent research by the ACE. It reflects the evidence available at the time of writing based
    on a limited literature search. It does not involve critical appraisal and is not intended to be a definitive statement on the
    safety, efficacy or effectiveness of the health technology covered. The views expressed are those of the author and not
    necessarily those of the ACE, or the Ministry of Health.
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   Summary of Key Points
   •   Cardiac arrythmia (CA) is when the heart beats at an irregular rhythm. Atrial fibrillation
       (AF) is the most common form of CA and is an independent risk factor of stroke and
       heart failure.
   •   Patients suspected to have CA would generally undergo ambulatory electrocardiogram
       (ECG) monitoring. A Holter monitoring device is the standard ambulatory ECG monitor
       used to detect any CA events over a 24 or 48 hour period.
   •   The Zio XT is a single-lead ambulatory ECG patch that can monitor a patient’s ECG for
       up to 14 days. After the monitoring period, the patch is returned to the manufacturer.
       An algorithm is then used to detect for CA events and produce a report based on the
       ECG recording.
   •   Zio XT was found to be safe and accurate in the detection of CA events for patients who
       require ambulatory ECG monitoring.
           o NICE concluded there was no significant difference in diagnostic accuracy
                between Zio XT and Holter monitoring.
           o Zio XT was found to improve the diagnostic yield and detection rates of CA
                compared to the Holter device. Diagnostic yield for Zio XT ranged from 2.3% to
                32.5 % compared to 0% to 2.1% for the Holter Device.
           o Zio XT had similar diagnostic yields to other ECG devices ranging from 3% to
                44.7%. This includes pacemakers and other ambulatory ECG devices like the
                Carnation Ambulatory Monitor, e-Patch and 30-day event monitors.
           o There is some evidence that use of Zio XT led to change in the clinical
                management of patients, mainly the initiation of anticoagulants. However
                currently there is no evidence on the direct impact of Zio XT on patient
                outcomes.
           o Zio XT was found to be generally well accepted by patients and is associated
                with high device wear time. Overall, patients wore the Zio XT from 6.1 days to
                14 days.
           o Shorter waiting time and fewer follow up clinical visits were reported in patients
                who used Zio XT.
   •   Cost analysis presented in the NICE guidance showed that compared to blended
       strategies and based on a cost for the technology of £265 per person, Zio XT was likely
       to be cost saving (£3.47 to £59.80) for cardiology patients and cost incurring (£14.93 to
       £79.47) for stroke patients. A downstream stroke model including the costs of added
       risk of a recurrent stroke due to delayed or misdiagnosed patients with AF found Zio XT
       to be cost saving of £72.55 for no repeat testing and cost incurring of £33.79 for with
       or without repeat testing.
   •   The main limitation of the evidence is the lack of studies evaluating patient outcomes
       from using the Zio XT device.
   •   The main implementation considerations are the need for protocols to ensure both
       conformity of the AI algorithm to MOH guidelines and confidentiality of patient data
       due to the need for a third-party to process ECG data.




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     I. Background
  Cardiac arrhythmia (CA) is the condition of irregular heartbeat when the electrical signal
  controlling the heartbeat malfunctions. There are two broad categories of arrhythmia:
  tachycardia and bradycardia. The most common form of CA is atrial fibrillation (AF). Signs and
  symptoms of AF include a fluttering feeling in the chest or a racing heartbeat. However, some
  people with AF may be asymptomatic. It is important for AF to be detected and treated as
  soon as possible as it is a known independent risk factor of stroke1 and heart failure.2
  Worldwide prevalence of AF is about 0.51%, and the condition impacts around 37 million
  people.3 This prevalence has increased by 33% over the last 20 years, and is projected to
  increase by more than 60% by 2050.3 In the local context, a 2008 study among Chinese
  residents estimated AF prevalence to be 2.6% in men and 0.6% in women, increasing to 5.8%
  for those aged 80 years and above.4 AF prevalence is also predicted to increase locally due to
  an ageing population. Patients with AF are older, with a higher prevalence of age-related
  comorbidities like diabetes, hypertension and ischemic heart diseases.5
  AF is traditionally detected using ECG, obtained either during a clinic visit or from the patient
  wearing a Holter monitor over 24 to 48 hours. Both are limited by the brief duration of
  monitoring, which may not adequately capture infrequent AF episodes.6 In addition, the
  Holter device might not be comfortable to wear for long periods due to skin irritation at the
  locations where the electrodes are attached.

     II. Technology
  The Zio XT (iRhythm Technologies, Inc; San Francisco, CA) is a novel, single-use, single-lead
  ECG monitor that can record up to 14 days of ECG data. The device is a patch that adheres to
  the patient’s left chest and monitors the electrical impulses of the heart, with ECG recordings
  stored internally within the device. It is wireless and waterproof, allowing ECG to be
  continuously monitored during exercise, showering and while sleeping (Figure 1).




   Figure 1: The Zio XT wearable ECG patch (left) and how it is worn by the patient (right). Image adapted from:
                         https://www.irhythmtech.com/providers/zio-service/zio-monitors

  After the recording period, the device can be returned via mail to the company who process
  and analyse the ECG data. A report is generated based on the recorded ECG data using a deep
  learning algorithm called ZEUS (Zio ECG Utilization Service) that can detect more than 13 types
  of cardiac arrhythmias (Table A1 in Appendix A), sinus rhythm and artifacts. The report


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  summarises clinically relevant information like the wear time and total analysable time after
  artifact removal. It also provides graphs of clinically significant arrhythmias with additional
  related information (e.g., number and duration of episodes, heart rate range and average
  heart rate). Findings from the report are further checked and validated by certified
  cardiographic technicians.
  The Zio XT presents a few novel benefits to address the limitations of current clinical ECG
  measurement (including ambulatory ECG monitoring Holter devices). One main benefit is the
  long-term recording duration of ECG data by Zio XT (14 days) compared to a Holter monitor
  (24-48 hours). Also, the single-patch, waterproof and wireless Zio XT may increase the total
  wear duration compared to contemporary devices, such as the Holter which requires multiple
  electrodes connected to a wearable pouch by wires.

    III. Regulatory and Subsidy Status
  The Zio XT patch was approved by the United States Food and Drug Administration (FDA) in
  February 2012.7 The AI system used to generate the report, the ZEUS System, was approved
  by the FDA in November 2014.8 In Europe, the Zio XT was Conformité Européenne (CE)
  marked in December 2014.9
  At the time of writing, a newer version of the Zio XT wearable patch has gained FDA approval.
  This newer product focuses on enhancing patient comfort, while providing similar functions
  to the current Zio XT patch.

    IV. Stage of Development in Singapore

   ☒      Yet to emerge                            ☐      Established

   ☐      Investigational / Experimental           ☐      Established but modification in
          (subject of clinical trials or deviate          indication or technique
          from standard practice and not
          routinely used)

   ☐      Nearly established                       ☐      Established but should consider for
                                                          reassessment (due to perceived
                                                          no/low value)



    V. Treatment Pathway
  For symptomatic patients suspected to have CA, the first method of assessment would be a
  manual pulse palpitation to check for irregularities. This is performed on patients presenting
  with breathlessness, palpitations, syncope, dizziness, chest discomfort and/or stroke or
  transient ischemic attack.
  For patients with no symptoms for CA but suspected to have CA, or when an irregular pulse
  is detected, a 12 lead ECG is performed to record their heart rhythm and electrical activity.
  Additionally, blood tests and an echocardiogram can be performed to confirm the presence


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  of AF. The European Society of Cardiology (ESC) recommends that all patients suspected to
  have AF undergo a 12-lead ECG to establish the diagnosis for AF.10
  However, CA might not be present during the ECG session when the patient is in the clinics,
  hence, a need for longer term monitoring of the ECG signals. An ambulatory ECG device, the
  Holter, is a wearable recording device that can continuously monitor the ECG signal over 24–
  48 hours while the patient is not at the clinic. Patch-based wearable devices like the Zio XT
  present a useful option for patients who require a longer period of ambulatory ECG
  monitoring but do not want or need a loop recorder, which is invasively implanted.
  Consultation with a local clinician found that the two main uses for patch-based wearable
  devices would be: (1) to diagnose CA in patients with infrequent, paroxysmal symptoms that
  suggest the presence of heart rhythm abnormalities; and (2) to diagnose asymptomatic but
  clinically significant CA in high risk patients (Personal communication: Senior Consultant from
  Tan Tock Seng Hospital, 16 February 2023). Another local clinician has stated that the Zio XT
  can be a viable alternative to the Holter (Personal communication: Senior Consultant from
  Tan Tock Seng Hospital, 13 February 2023).
  The Zio XT could be a viable alternative or follow up to the Holter monitor in diagnosing CA,
  especially in asymptomatic patients. The Zio XT may result in higher diagnostic yields for CA,
  leading to earlier detection and management of CA, leading to downstream reduction in
  incidence of CA-related diseases like stroke or heart failure.
    VI. Summary of Evidence
  This assessment was conducted using the Population, Intervention, Comparator and Outcome
  (PICO) criteria (Table 1). Literature searches were performed in Pubmed, Embase, Cochrane
  and the International Network of Agencies for Health Technology Assessment (INAHTA)
  databases. The main body of evidence to inform this brief includes a health technology
  assessment (HTA) report by the National Institute of Health and Care Excellence (NICE), which
  consists of 17 published studies (with a total of 169,063 people who had ambulatory ECG
  recordings) and 13 abstracts. An additional 6 published studies not included in the NICE HTA
  guidance report were also included (one randomised controlled trial12, three comparative
  studies13,14,16 and two non-comparative studies11,15). Table B3 in the Appendix summarises
  the key evidence for Zio XT from the NICE HTA guidance. Appendix B provides an overview of
  the evidence base of this brief.
  Table 1: PICO criteria
   Population              Patients suspected to have CA
   Intervention            Zio XT wearable ECG monitor patch
   Comparator              Other ambulatory ECG monitoring devices including Holter
   Outcome                 Safety, clinical- and cost-effectiveness
   Abbreviations: CA, Cardiac arrhythmia; ECG, Electrocardiogram

  Safety
  The use of the Zio XT is deemed to be relatively safe, with no serious adverse events reported.
  A total of 138 adverse events reported to FDA MAUDE (Manufacturer and User Facility Device
  Experience), consisting mostly of contact dermatitis. It should be noted there were 12 cases

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  of false negatives or incorrect diagnoses reported which the manufacturer, iRhythm, suggests
  were due to faulty hardware or misinterpreting the report.17 In terms of clinical outcomes,
  Gupta et al. (2022) reported that the use of Zio XT showed no increased risk of adverse
  outcomes (all cause death, ischemic stroke or transient ischemic attack, other arterial
  thromboembolic event and hospitalised heart failure) compared to 24-hour Holter and 30-
  day cardiac event monitor.13
  Effectiveness
  Accuracy
  Based on three studies included in the NICE guidance that looked at diagnostic accuracy of
  Zio XT, NICE concluded there was no significant difference in diagnostic accuracy between Zio
  XT and Holter monitoring.17 The company calculated accuracy data based on one included
  study and found that Zio XT had a 99% sensitivity, 100% specificity, 98% positive predictive
  value and 98% negative predictive value when using the clinical investigator’s decision as the
  gold standard.17 Another study in the NICE report compared Zio XT with an event recorder
  (Novacor R Test) and found that Zio XT was more accurate in detecting AF (R2 value: Zio XT
  0.99, Novacor R Test 0.029), when referencing cardiac pacemaker as the gold standard. 18
  There is also evidence for high agreement concordance with Holter monitoring for AF event
  detection found in another study within the report, where 25 CA events recorded by the
  Holter device was also identified on Zio XT in the same 24-hour period.18
  Based on a technical study included in the report, NICE considered the diagnostic
  performance of the fixed deep neural network used as part of Zio XT’s algorithm (ZEUS) was
  adequate when compared with a committee of cardiologists.
  Patient Experience and Wear Time
  Evidence from the NICE HTA guidance report showed that patients generally preferred using
  the Zio XT patch compared to the Holter monitor, as it is easier to wear and also more
  comfortable.18 The report attributed these findings to the fact that the Zio XT had no external
  wirings and hence can be worn under the patient’s clothes, be more discreet and be worn
  during sleep. Also, the Zio XT is waterproof which allows the patient to wear it even during
  showers and exercise.
  Across the evidence base included in this brief, the total device wear time of the Zio XT ranged
  from 6.1 days to 14 days out of an intended 14 days.11,14,18 One study had a median wear time
  of 27.4 days, out of an intended 28 days.12 Table C2 in the Appendix C shows the individual
  device wear times (if measured).
  Diagnostic Yield and occurrence of CA
  Compared to Holter monitoring, the Zio XT had a higher diagnostic yield (2.3% to 32.5% versus
  0% to 2.1%)12,13,15-17 and a higher number of CA events detected (87 to 96 events versus 61
  events)12,13,15-17 (Table 2). This is consistent with the evidence described in the NICE HTA
  guidance showing higher diagnostic yields with the Zio XT over total wear time, compared to
  24-hour Holter monitoring.18 The longer monitoring time for Zio XT of 14-days, compared to



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  Holter which only monitors between 24-48 hours could have contributed to the increased
  diagnostic yield of the Zio XT.
  Table 2: Overall key effectiveness parameters between Zio XT, Holter and other comparators
                                                                                          Other ECG Monitoring
                                  Zio XT                     Holter
                                                                                          Modalities*
   Diagnostic yield                2.3% to 32.5%                  0% to 2.1%                     3% to 44.7%
   Number of CA events             87 to 96                       61                             122
   *Composite of routine clinical follow-up plus a pulse check and heart auscultation, Carnation Ambulatory Monitor, ePatch,
   30-day event monitor and cardiac pacemaker.
   A more detailed comparison based on individual studies can be found in Table C1 in the Appendix.

  When comparing the diagnostic yield of Zio XT with other ambulatory ECG monitoring device,
  the results were mixed. It was higher for Zio XT (6%) compared to the 30-day event monitor
  (3%), though the difference was not statistically significant (p=0.07). The number of detected
  events for Zio XT (86.7 events) were lower compared to the Carnation Ambulatory Monitor
  ECG patch (121.7 events). Similarly, Zio XT detected CA events compared to pacemakers
  (32.5% versus 44.7%). Table C1 in the Appendix summarises the diagnostic yields from the
  studies in the evidence base.
  The summary of evidence from the NICE report found about 46-70% of CA events detected
  occur within 48 hours18, meaning at least a third to half of CA events could remain undetected
  by the Holter monitor due to its shorter monitoring period compared to Zio XT. This trend is
  consistent with previous reviews.19,20
  Clinical Utility
  Clinical Management
  NICE has stated from their evidence review that the use of Zio XT does have an impact on the
  clinical management of the patients.18 This was also observed in the RCT by Gladstone et al.
  (2021) which reported a higher indication of oral anticoagulant therapy due to AF for the
  group using the Zio XT compared to standard care, at 6 months (4.1% vs. 0.5%). 12 However,
  the study by Gupta et al. (2022) did not observe any significant difference in clinical
  management between Zio XT, 24-hour Holter and the 30-day event monitor.13 There are no
  studies that have looked at how Zio XT impacts patient outcomes directly.
  Impact on Public Healthcare System
  Lang et al. (2022) have noted that patients who received Zio XT ambulatory ECG monitoring
  had a significantly shorter wait time to receiving their device and the results of the recording
  compared to patients who used Holter monitoring.14 The number of visits required by the
  patient was also lower by a median of two visits for the Zio XT group.
  Cost Effectiveness
  A de novo cost analysis included in the NICE report compared the 14-day Zio XT with a blended
  strategy based on a 24-hour Holter monitor or cardiac event recorder. Costs associated with
  diagnosis of patients were analysed within two care pathway models: a cardiology model and
  a stroke model. A scenario analysis was included as the downstream stroke model. NICE
  considered the downstream stroke cost model to the most informative. The models were

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  tested in two scenarios: (1) no appointment after a negative result with no repeated test and
  (2) no appointment after any negative result, with or without repeat test. Table 3 describes
  each model analysed and what scenarios were used to test the models.
  Table 3: Cost analysis models and scenarios
   Care Pathway Models
   Model                Description
   Base case
   Cardiology Model     Cost associated with the diagnosis of patients with symptomatic palpitations or syncope
   Stroke Model         Cost associated with the diagnosis of patients who have had a stroke or transient ischemic attack
   Downstream Stroke    Economic consequences of increased risk of a recurrent stroke due to delayed or missed
   Model                diagnosis of atrial fibrillation
   Scenario Analyses
                        Description
   1                    No additional appointment needed after a negative result, and no repeated test
   2                    No additional appointment needed after any negative result, whether or not the test is repeated
   Adapted from NICE Guidance Report18

  Using a cost for the technology of £265 per person, cost modelling by NICE showed that Zio
  XT was cost saving or broadly cost neutral.18 Across all models and scenarios, Zio XT ranged
  from cost savings of £72.55 to cost incurring of £79.47. The degree of cost saving or cost
  incurring for each scenario for each model is detailed in Table 4. Zio XT was found to be cost
  saving in both scenarios in the cardiology model and cost incurring in both scenarios in the
  stroke model. For the downstream stroke model, Zio XT was cost saving only if the test was
  not repeated. Overall, NICE concluded that Zio XT was likely to be cost saving or cost neutral,
  but it highlighted the uncertainty about resource use of adopting Zio XT which would impact
  on the results significantly.
  Table 4: Degree of cost saving or cost incurring for each model and scenario
                                                                                              Amount (£) per patient
   Model                Scenario                              Cost Saving/Incurring
                                                                                              per year

                        No repeat test done                   Cost Saving                     £59.80
   Cardiology Model
                        With or without repeat test done      Cost Saving                     £3.47

                        No repeat test done                   Cost Incurring                  £14.93
   Stroke Model
                        With or without repeat test done      Cost Incurring                  £79.47

                        No repeat test done                   Cost Saving                     £72.55
   Downstream Stroke
   Model
                        With or without repeat test done      Cost Incurring                  £33.79

   Adapted from NICE Guidance Report18

  Five other studies within the NICE evidence base analysed the cost effectiveness of Zio XT
  compared to other devices including Holter monitoring. Two studies reported that Zio XT was
  cost saving while another two reported the opposite .18 A feasibility study by Khan et al. (2020)
  investigating the use of Zio XT for long-term continuous heart monitoring in a stroke clinic

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  reported that for 84% of patient’s out-of-pocket costs were less than USD$100 for the device.
  11 They suggest their approach may be more cost effective than using a Holter monitor, which

  has low sensitivity in detecting PAF in stroke patients.11
  Ongoing Trials
  A search on the ScanMedicine (NIHR Innovation Observatory) database was done and a total
  of three trials were found. One trial is comparing health outcomes and changes to treatment
  between patients wearing a Zio XT patch and those wearing a Holter monitor. Another is
  assessing if the use of Zio XT leads to increased detection of non-sustained ventricular
  tachycardia compared to 48 hour monitoring. The third trial is assessing the capability of Zio
  XT to predict who might develop AF. Table 5 summarises the details of these ongoing trials.
  Table 5: Ongoing trials for Zio XT
   Trial Name                     Estimated   Aim of Trial                                            Estimated Completion
                                  Enrolment                                                           Date
   A Multi-centre Cohort Study     1440       To analyse quantitative data (anticoagulant             December 2022
   Comparing Health Outcome                   uptake and other changes to treatment related to
   Data From Holter                           the results from monitoring) collected from
   Monitoring to 14 Day Zio                   participating sites and complementary qualitative
   Monitoring in People Where                 data on Zio XT utilisation from questionnaires.
   Ambulatory ECG Monitoring
   is Required (NCT05560828)
   Extended Ambulatory              300       To evaluate if the use of Zio XT results in             February 2022
   Monitoring With iRhythm                    identifying a greater burden of tachyarrhythmia-
   Zio XT Improves Care of                    NSVT compared to current ACCF/AHA guideline
   Patients With Hypertrophic                 recommended 48-hour monitoring.
   Cardiomyopathy (EXAMNE-
   HCM) (NCT04056715)
   Electrocardiogram-based         1000       To evaluate two devices (Zio patch and ECG) that        September 2024
   Artificial Intelligence-                   can predict who has or may develop atrial
   assisted Detection of Heart                fibrillation or structural heart disease based on the
   Disease (ECG-AID)                          results of an ECG.
   (NCT05442203)
   Abbreviations: ACCF, American College of Cardiology Foundation; AHA, American Heart Association; ECG,
   Electrocardiogram; NSVT, Non sustained ventricular tachycardia.

  Summary
  From the clinical evidence, the Zio XT patch is generally safe with no major adverse effects
  and has high patient wear times as it is easy to wear. Zio XT was found to provide similar
  diagnostic accuracy when compared to the Holter device. Zio XT improves diagnostic yield of
  CAs compared to the current standard of ambulatory ECG monitoring – the Holter device (6%
  to 32.5% versus 0% to 2.1%), though there were no significant differences when compared to
  other ECG monitoring devices. This improved diagnostic yield has led to changes in the clinical
  management of patients who used the Zio XT patch, mainly the introduction of anticoagulants
  to patients who were detected for CA during the monitoring period. However, there is no
  clear evidence if patients benefited from the change in the clinical management. There is
  some evidence that Zio XT was associated with shorter wait times to obtain results from the
  monitoring and also fewer hospital visits.



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  Based on the results of the NICE report, cost effectiveness of Zio XT hinges on the indication
  it was used for and whether repeat testing was done. Zio XT was found to be cost saving for
  patients in the cardiology model and cost incurring for patients in the stroke model. For the
  downstream stroke scenario, Zio XT was cost saving if no repeated testing was done. Across
  all scenarios and models, cost analysis findings point to an overall range of Zio XT being cost
  saving of £72.55 to cost incurring of £79.47.
  A limitation of the evidence base is the lack of studies looking at the impact of Zio XT on
  patient outcomes. Finally, evidence on the cost effectiveness of using the Zio XT patch
  remains mixed. More studies might help bring clarity on Zio XT’s clinical and cost efficacy.

      VII. Estimated Costs
  According to two studies in the NICE guidance, the price for the Zio XT in the UK ranges from
  £284 to £440 (S$459 to S$711)a per patient. Following consultation with NICE, the company
  lowered the cost from £310 to £265 (S$501 to SS$428)a per patient, inclusive Zio XT, analysis
  and data reporting.

   VIII. Implementation Considerations
  The use of this patch should not have a large impact on current healthcare practices with
  regards to ambulatory ECG monitoring, as the Zio XT functions very similarly to the Holter
  device. One slight difference would be the Zio XT patch has to be sent to the manufacturer
  for analysis of the ECG recording and to generate the report from the recording.18 This might
  ease the workload of a healthcare institution, as the processing of the ECG recording from
  Holter devices is usually done inhouse.14
  As Zio XT requires ECG recordings to be sent to either the manufacturer or a central server
  for processing, personal patient data may be exposed to an external party. Therefore, current
  clinical workflows need to be reassessed for any potential vulnerabilities for patient data to
  be compromised and safeguards have to be setup to minimise the risk of such events. In
  addition, before using the device, patients should be informed that personal data may be
  obtained during a recording, and proper consent obtained and documented to ensure
  transparency.
  Zio XT uses AI to recognise CA events from the ECG recordings. As such, there is a need to
  ensure the AI conforms as much as possible to the Ministry of Health (MOH)’s Artificial
  Intelligence in Healthcare Guidelines (AIHGIe).21 Relevant organisational approvals and
  proper documentation are required when introducing the device into the local healthcare
  ecosystem. This could include updating current clinical workflows, conducting risk assessment
  to predict potential failures of the device or AI software, ensuring the accuracy and
  performance of the AI, identifying and minimising any potential cybersecurity vulnerabilities,
  staff training for product familiarisation and also proper consent from patients to ensure
  transparency during usage of these devices. If introduced, long term monitoring and review
  of the devices is also required.

  a
   Based on the Monetary Authority of Singapore exchange rate as of 17 January 2023: £1=S$1.6150. Figures
  were rounded to the nearest dollar.

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    IX. Concurrent Developments
  Examples of novel ambulatory ECG monitoring devices are provided. The Cardiostat22 and the
  Spyder are worn as patches on the chest of the patient. The QardioCore23 is worn as a belt
  around the lower chest, just above the abdomen. Spyder24 is a locally created ambulatory
  ECG monitor that allows for real time monitoring.
  Table 6: Concurrent developments similar to Zio XT
   Device                               Brief Description                             Approval Status
   Cardiostat™                           Cardiostat™ is a single-lead ECG             Not FDA approved yet.
                                         patch that is worn on the chest. It is
                                         light, showerproof and can record
                                         ECG for up to 14 days.
   QardioCore                            QardioCore is a patchless, wireless          FDA approved.
                                         Holter monitor that is splash and rain
                                         resistant. In addition to ECG, it can
                                         monitor other parameters like skin
                                         temperature, heart rate, heart rate
                                         variability, respiratory rate and activity
                                         tracking.
   Spyder                                An ambulatory ECG monitoring patch           HSA and CE approved. Not FDA
                                         worn on the chest that can record up         approved yet.
                                         to 30 days. ECG data can be
                                         uploaded to cloud storage for
                                         healthcare staff to monitor patient
                                         ECG in real time.
   Abbreviations: CE, Conformitè Europëenne; ECG, Electrocardiogram; FDA, United States Food and Drugs
   Administration; HSA, Health Sciences Authority.



     X. Additional Information
  The NICE HTA guidance recommends the Zio XT as an option for people with suspected CA
  who would benefit from ambulatory ECG monitoring for periods longer than 24 hours – only
  if NHS organisations collect information on resource use associated with use of Zio XT, and on
  long-term clinical outcomes for people using Zio XT.
  In other guidelines that recommend the use of ambulatory ECG monitoring for the detection
  of CA, there is no direct mention of Zio XT. The European Society of Cardiology (ESC)
  guidelines on management of patients with ventricular arrhythmias recommend ambulatory
  ECG to detect and diagnose arrhythmias.25 The American Heart Association (AHA), American
  College of Cardiology (ACC) and Heart Rhythm Society (HRS) guidelines for management of
  patients with ventricular arrhythmias recommend the use of ambulatory ECG monitoring to
  evaluate symptoms (palpitations, presyncope or syncope).26




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   Appendix
  Appendix A: Irregular ECGs identified by Zio XT
  Table A1: List of Identifiable Arrhythmias by Zio XT
   S/N        Type of CA
   1           Atrial fibrillation
   2           Atrial flutter
   3           Atrioventricular block (AVB)
   4           Bigeminy
   5           Ectopic atrial rhythm (EAR)
   6           Idioventricular rhythm (IVR)
   7           Junctional rhythm
   8           Noise
   9           Sinus rhythm
   10          Supraventricular tachycardia (SVT)
   11          Trigeminy
   12          Ventricular tachycardia
   13          Wenckebach
   Adapted from Hannun et al. (2019)27
   Abbreviations: AF, Atrial fibrillation; AFL, Atrial flutter; AVB, Atrioventricular block; CA, Cardiac Arrhythmia; EAR, Ectopic
   atrial rhythm; IVR, Idioventricular rhythm; S/N, Serial number; SVT, Supraventricular tachycardia; VT, Ventricular
   tachycardia




                                                                                                                               14
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  Appendix B: Evidence Base
  Table B1: Summary of Evidence Base
   Type of Study                                                      Number of Studies
   NICE HTA Guidance
   Randomised controlled trial                                        1
   Prospective, within-subject comparative                            3
   Prospective, non-comparative                                       6
   Retrospective, non-comparative                                     7
   Abstract                                                           17
   Other Evidence Base
   Randomised controlled trial                                        1
   Prospective, comparative                                           3
   Prospective, non-comparative                                       1
   Retrospective,non-comparative                                      1
   Note:
   1. Inclusion criteria
       a. Studies that fulfil the PICO criteria listed in Table 1.
   2. Exclusion criteria
       a. Studies only available in abstract form.
       b. Duplicate studies.

  Table B2: Information on the included studies.
   Author (Year)        Type of Study        Interventions           Number of        Summary of Results
                                                                     Participants

   NICE (2020)18        HTA guidance         Zio XT; Holter;         169,063 (30          •   Evidence base shows that
                        report               CAM; e-patch,           studies)                 Zio XT increases diagnostic
                                             Novacor R-Test,                                  yield
                                             cardiac                                      •   Zio XT was generally
                                             pacemakers,                                      accepted by patients and
                                                                                              had high device wear time
                                                                                          •   The limitation of the
                                                                                              evidence base would be
                                                                                              insufficient evidence on
                                                                                              diagnostic accuracy of Zio
                                                                                              XT and its effect on clinical
                                                                                              outcomes

   Khan et              Non-comparative      Zio XT                  467                  •   It is feasible to implement
   al.(2020)11          feasibility study                                                     Zio XT for ambulatory ECG
                                                                                              monitoring in a stroke clinic

   Gladstone et al.     Randomised           Zio XT, Standard        856                  •   The use of Zio XT was well
   (2021)12             Clinical trial       clinical care                                    tolerated, increased the
                                                                                              detection rate for AF and
                                                                                              was associated with
                                                                                              initiation of anticoagulant
                                                                                              therapy

   Gupta et al.         Comparative          Zio XT, Holter,         330                  •   Zio XT and 30-day monitor
   (2022)13             matched study        Event monitor                                    were superior to Holter for
                                                                                              detection of new AF but not
                                                                                              different from each other



                                                                                                                          15
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                                                                                                •    Zio XT had higher frequency
                                                                                                     of NSVT compared to both
                                                                                                     Holter and event monitor

   Lang et al.            Retrospective          Zio XT, Holter       218                       •    Time taken to start ECG
   (2022)14               Holter data with                                                           monitoring and number of
                          prospective                                                                hospital visits were lower for
                          comparative                                                                Zio XT
                          study

   Rooney et al.          Prospective            Zio XT (2 weeks      2616                      •    Zio XT monitoring for 4
   (2019)15               cohort study           and 4 weeks)                                        weeks had 78% more
                          (non-                                                                      subclinical AF compared to
                          comparative)                                                               2 weeks of Zio XT
                                                                                                     monitoring

   Gutierrez et al.       Retrospective          Zio XT, cardiac      125                       •    Cardiac pacemaker cohort
   (2020)16               cohort                 pacemakers                                          (44.7%) had larger
                          comparative                                                                proportion of NSVT
                          study                                                                      compared to Zio XT cohort
                                                                                                     (32.5%)

   Abbreviations: AF, Atrial fibrillation; ECG, Electrocardiogram; HTA, Health technology assessment; NICE, National Institute
   for Health and Care Excellence; NSVT, Non-sustained ventricular tachycardia.

  Table B3: Summary of NICE HTA Guidance Evidence
   Key Evidence           Summary of Evidence
   Diagnostic Accuracy               •       Zio XT found to be more accurate than Novacor R Test (external event/loop
                                             monitor) but less accurate than pacemaker in detecting the presence or absence of
                                             atrial fibrillation.
                                     •       Zio XT had a 99% sensitivity, 100% specificity, 98% positive predictive value, 98%
                                             negative predictive value compared to decision of clinical investigator as gold
                                             standard.
                                     •       Simultaneous 24-hour monitoring period had mixed results. One found the Holter
                                             detected more CA events than Zio XT. Another found Holter and Zio XT detected
                                             the same events and had significant agreement.
                                     •       No significant difference in accuracy between Zio XT and Holter monitoring.
   Diagnostic Yield and              •       The diagnostic yield for arrhythmia is generally higher for Zio XT compared to Holter
   Time to Event                             monitoring, due to the extended monitoring period.
                                     •       Overall, about 46-70% of arrhythmias detected occur within 48-hours, with the
                                             variation being attributed to the heterogeneity of the monitored population.
   Clinical Pathway                  •       Multiple studies observed higher proportion of patients who used Zio XT were given
   Outcomes                                  medication or had medication switched.
                                     •       However, there is no clear evidence if patients benefitted from the change in the
                                             clinical pathways.
   Patient Experience and            •       Mean wear time was 10.8 to 12.8 days (out of 14 days) for the comparative studies.
   Wear Time                         •       The Zio XT was also worn longer compared to 3 other continuous cardiac monitors.
                                     •       Multiple studies found the Zio XT easy and comfortable to use compared to the
                                             Holter.
   Cost-effectiveness                •       A de novo cost analysis was done comparing Zio XT to the Holter device and event
                                             monitor.
                                     •       Three models (Cardiology, Stroke, Downstream Stroke) were tested with two
                                             scenarios (no repeat testing, with or without repeat testing).
                                     •       Across all models and scenarios, Zio XT ranged from cost saving of £72.55 to cost
                                             incurring of £79.47, depending on the model and scenario.




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  Appendix C: Relevant Zio XT Study Data
  Table C1: Diagnostic Yield Comparison
   Study            Comparator         Number of      Main Observation        Diagnostic Yield, n (%)           P value
                                       Participants
                                                                              Zio XT           Comparator

   NICE HTA Guidance Report18

   Barrett et al.   24-hour            146            CA events detected      96 (NR)          61 (NR)          <0.001
   (2014)           Holter                            over total wear time

                                                      CA events detected      52 (NR)          61 (NR)          0.013
                                                      over at 24 hours

   Kaura et al.     24-hour            116            Patients with           7 (16.3)         1 (2.1)          NR
   (2019)           Holter                            detected PAF ≥ 30s
                                                      at 90 days

                                       90             Patients with           6 (14.0)         1 (2.1)          NR
                                                      detected PAF ≥ 30s
                                                      at 28 days

   Rosenberg et     24-hour            74             Patients with AF        43 (NR)          25 (NR)          <0.0001
   al. (2013)       Holter                            events

   Reed et al.      No                 86             90-day diagnostic       NR (10.5)        NA               NA
   (2018)           comparator                        yield for symptomatic
                                                      significant
                                                      arrhythmia

   Rho et al.       CAM                30             Number of CA            86.7±0.6 (NR)    121.7±2.1        <0.001
   (2019)                                             events recorded                          (NR)

   Other Evidence Base

   Gladstone et     Routine            856            6-months diagnostic     NR (5.3)         NR (0.5)         NR
   al. (2021)12     clinical follow-                  yield for AF
                    up plus a
                    pulse check
                    and heart
                    auscultation
                    at baseline
                    and 6 months

   Gupta et al.     24-hour            330            Diagnostic yield of     NR (6)           24-hour          Zio XT vs
   (2021)13         Holter and                        AF≥30s                                   Holter: NR (0)   24-hour
                    30-day event                                                               30-day event     Holter:
                    monitor                                                                    monitor: NR      0.04
                                                                                               (3)              Zio XT vs
                                                                                                                30-day
                                                                                                                event
                                                                                                                monitor:
                                                                                                                0.07

   Gutierrez et     Cardiac            125            Patients with NSVT      13 (32.5)        38 (44.7)        NR
   al. (2020)16     Pacemakers                        events




                                                                                                                        17
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   Rooney et al.    None            386                Patients with             2 Weeks: 9           NA               NA
   (2019)15                                            subclinical AF            (2.3)
                                                                                 4 Weeks: 16
                                                                                 (4.1)

   Abbreviations: AF, Atrial fibrillation; CA, Cardiac arrhythmia; CAM, Carnation ambulatory monitoring; HTA, health technology
   assessment; NA, Not applicable; NICE, National Institute for Health and Care Excellence; NR, Not reported; NSVT, Non
   sustained ventricular tachycardia; PAF, Paroxysmal atrial fibrillation.

  Table C2: Device Wear Time
   Study                                                                       Patient Wear Time (Days)
                                                    Comparator                 Zio XT                      Comparator
   NICE HTA Guidance Report18
   Barrett et al. (2014)                            24-hour Holter             11.1 (0.9 to 14.0)          1.0 (0.9 to 1.0)
   Median, (Range)
   Eyesneck et al. (2019)                           Novacor R-Test             12.8 (11.9 to 14.2)         9.3 (7.4 to 11.2)
   Mean, (Range)
   Kaura et al. (2019)                              24-hour Holter             11.7 ± 3.7                  NR
   Mean ± SD
   Rosenberg et al. (2013)                          Holter                     10.8 ± 2.8                  NR
   Mean ± SD
   Go et al. (2018)                                 None                       14 (11 to 14)               NA
   Median (Analysable), (IQR)
   Heckbert et al. (2018)                           None                       13.8 (13.2 to 14.0)         NA
   Median, (IQR)
   Reed et al. (2018)                               None                       13.6 (11.8 to 14.0)         NA
   Median, (IQR)
   Schreiber et al. (2014)                          None                       6.9                         NA
   Median
   Schultz et al. (2019)                            None                       9.5 ± 4.1                   NA
   Mean ± SD
   Solomon et al. (2016)                            None                       9.6 ± 4.0                   NA
   Mean ± SD
   Tung et al. (2015)                               None                       10.9 (98.7), 13.0 (7.2 to   NA
   Mean (Analysable Percent), Median (IQR),                                    14.0), >10days: 66.9%
   Percentage
   Turakhia et al. (2013)                           None                       7.6 ± 3.6                   NA
   Mean ± SD
   Agarwal et al. (2015)                            None                       13.0 ± 2.3                  NA
   Mean ± SD
   Norby et al. (2015)                              None                       12.5                        NA
   Mean (Analysable)
   Sattar et al. (2012)                             None                       6.1 (5.8 to 6.4)            NA.
   Mean (95% CI)
   Turakhia et al. (2012)                           None                       7.1 ± 3.3                   NA
   Mean ± SD
   Other Evidence Base
   Gladstone et al. (2021)12                        Routine clinical follow-   27.4 (18.4 to 28.0)*        NR
   Median, (IQR)                                    up plus a pulse check
                                                    and heart auscultation
                                                    at baseline and 6
                                                    months
   Lang et al. (2022)14                             24-hour Holter             13.9                        NR
   Median
   Khan et al,(2020)11                              None                       12.1, 13.8                  NA
   Mean, Median

                                                                                                                               18
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   Rooney et al. (2019)15                         None                     ≥7 days: 91.6%            NA
   Percentage                                                              ≥10 days: 86.7%
                                                                           ≥12 days: 81.7%
   *Monitoring period is 28 days
   Abbreviations: CAM, Carnation ambulatory monitoring; CI, Confidence interval; HTA, health technology assessment; IQR,
   Inter quartile range; NA, Not applicable; NICE, National Institute for Health and Care Excellence; NR, Not reported; SD,
   Standard deviation. NA;




                                                                                                                       19
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                      Exhibit 12
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                                                        START GUIDE

1      PLAN & POSITION
Enroll the patient.
 • Online: www.zioreports.com
Write in Patient ID Number and Initials, Physician, Start Date & Time     1
on cover of Patient Instructions & Button Press Log.
Determine position:
 • Patient should stand with arms relaxed by their sides.
 • Skin should be free of perspiration.                                   2a   2b
 • Determine placement area without removing backing.
 • Place on flattest part of upper left chest:
   — 1 finger width below collarbone, centered over left
      pectoral muscle
   — Edge of the Zio XT Patch next to sternum
   — Angle so arrow on top label points upward
   — Avoid armpit and breast tissue

                                                                          3
2      PREP SKIN
Prepare a large area:
 • SHAVE area.
 • ABRADE skin, applying pressure for 40 broad strokes—
   10 times in the direction of each arrow in 2a & 2b
   (important for adhesion and ECG signal quality).
 • CLEAN skin thoroughly with all alcohol pads. Let dry for 1 minute.

                                                                          4a
3      APPLY PATCH
 • Hold device in the center and remove clear backings.
   Keep top label on. Do not touch adhesive.
 • Place Zio XT Patch in the recommended position.
 • Press firmly across the entire device for 2 minutes (see image 3).     4b

4      FINISH & ACTIVATE
 • Peel off the 2 parts of the top label (see image 4a).
 • Press firmly across the entire device for 2 minutes, working
   adhesive into the skin. Emphasize pressing on the dotted areas
   shown in figure 4b.                                                    4c
 • Firmly press the ‘Zio’ button and release (see image 4c). The green
   light will flash 5 times indicating that the monitoring has started.
 • Help patient get familiar with the location of the button.
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        USING THE PATIENT INSTRUCTIONS & BUTTON PRESS LOG
         Wear up to the Prescribed Duration
         Based on individual wear experiences the actual wear                                                                                         BUTTON PRESS LOG

         time may be shorter than prescribed.                                           PATIENT INSTRUCTIONS
                                                                                                                                                         I pressed the button on:
                                                                                                                                                                                                           AM
                                                                                        & BUTTON PRESS LOG
         Open for Patient Instructions and FAQs.                                                                                                          d     d      m m      y     y   h     h    m m   PM

                                                                                                                                                         ...because I felt:

         Each Time a Symptom is Felt...
                                                                                         E
                                                                                                                                                                    anxious               pounding




                                                                                        L
                                                                                                                                                                    arm or neck
                                                                                         PATIENT ID NUMBER:
                                                                                                                                                                      pain/tingling       short of breath



                                                                                       P
                                                                                                                                                                    chest pain
         Press the ‘Zio’ button.                                                         PATIENT INITIALS        FIRST:           LAST:
                                                                                                                                                                      or pressure
                                                                                                                                                                                          skipped beat(s),
                                                                                                                                                                                            irregular beats



                                                                                      M
                                                                                         START DATE:            /      /            TIME:                           dizziness             other
         Write the symptom in the Button Press Log.

                                                                                    SA
                                                                                         REMOVAL:       Physician prescribed duration of              days          fainted                   describe
                                                                                                        Patient to wear as long as possible (up to 14 days)         light headed


         Return the Zio XT Patch                                                                                                                         ...for this duration:
                                                                                         TO BE COMPLETED BY PATIENT

                                                                                         DATE REMOVED:                        /           /                         1 min or less         1 hour or less
                                                                                                                                                                    10 mins or less       More than 1 hour
         On cover, write in “Date Removed.”                                                                                                              ...while I was:
                                                                                                               S/N STICKER HERE
         See last page for how to remove the Zio XT Patch.                                                                                                    describe
                                                                                                                                                              activity

                                                                                                                                                                                                                11




FREQUENTLY ASKED QUESTIONS
How long am I supposed to wear the Zio XT Patch?                            INDICATIONS FOR USE
Wear the Zio XT Patch according to your physician                           The Zio XT Patch is a prescription-only, single patient use, continuously recording
                                                                            ECG monitor that can be worn up to 14 days. It is indicated for use on patients who
prescribed wear time but no longer than 14 days.                            may be asymptomatic or who may suffer from transient symptoms such as
NOTE: Based on individual wear experiences your actual wear                 palpitations, shortness of breath, dizziness, light-headedness, presyncope, syncope,
                                                                            fatigue, or anxiety.
time may be shorter than prescribed.
                                                                            CONTRAINDICATIONS
Can I shower with the Zio XT Patch on?                                      • Do not use the Zio XT Patch for patients with symptomatic episodes where
Yes, but please avoid showering during the first 24 hours of                  instance variations in cardiac performance could result in immediate danger to the
wearing the Zio XT Patch. After that, take brief showers with                 patient.
                                                                            • Do not use the Zio XT Patch in combination with external cardiac defibrillators or
your back facing the shower head, and keep soaps and lotions                  high frequency surgical equipment near strong magnetic fields or devices such
away from the Zio XT Patch.                                                   as MRI.
                                                                            • Do not use the Zio XT Patch on patients with neuro-stimulator, as it may disrupt the
Can I take a bath?                                                            quality of ECG data.
Yes, but keep the Zio XT Patch above water. The Zio XT Patch                • Do not use the Zio XT Patch on patients who do not have the competency to wear
should not be submerged in water.                                             the device for the prescribed monitoring period.
                                                                            WARNINGS
Can I go swimming or sit in a hot tub when the
                                                                            • Do not use the Zio XT Patch on patients with known allergic reaction to adhesives
Zio XT Patch is on?                                                           or hydrogels or with family history of adhesive skin allergies. Patient may
No.                                                                           experience skin irritation.
                                                                            • Do not reuse the Zio XT Patch on multiple patients. It is a single patient use device.
What if I don’t have symptoms?                                                Reuse will cause incorrect patient data and patient may experience skin irritation.
That’s okay. The Zio XT Patch is designed to capture every beat.            • Prior to patch application, examine the skin area of the patient for certain skin
                                                                              conditions (such as dermatitis, eczema, rashes/hives), acute/chronic cutaneous
Can I go about my daily activities?                                           infections or irritation.
Yes, but activities that cause excessive sweating may cause                          If skin irritation such as severe redness, itching or allergic symptoms
the patch to slide, become loose, fall off, or shorten wear time.                    develop, remove the Zio XT Patch from the patient’s chest.
                                                                                     Please call 0808 189 3411.
Especially in the first 24 hours, avoid such activities so that the
patch can fully adhere to your skin.                                        PRECAUTIIONS
                                                                            • The Zio XT Patch includes temperature and humidity limitations. If exposed,
Will the Zio XT Patch blink or make noise?                                    patients may experience degradation of adhesive performance causing the device
If it is working properly, the Zio XT Patch will not flash or                 to slip or fall off during the patient wear duration.
make noise.                                                                 • The Zio XT Patch has a shelf-life date. Use of expired device may cause a
                                                                              degradation of ECG signal quality and/or low battery condition.
What if the Zio XT Patch falls off?                                         • Do not use the Zio XT Patch if package is damaged. Device may not perform as
                                                                              intended.
Please call 0808 189 3411.
                                                                            • Safety and effectiveness of the Zio XT Patch on pediatric patients (younger than 18
How do I return the Zio XT Patch?                                             years old) has not been established.
                                                                            • Safety and effectiveness of the Zio XT Patch on patients receiving any form of
Place it (along with the Patient Instructions & Button Press Log)             pacing therapy has not been established. Paced cardiac rhythms may not be
in the original postage-paid box and put it in the Post.                      accurately detected and may be incorrectly classified.



                                                                       EC   REP


iRhythm Technologies, Inc.         iRhythm Technologies Ltd.          Emergo Europe
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                                   Fax: 0808 189 3303                 Fax: +31.70.346.7299                 0050                               ©2020 iRhythm Technologies, Inc. All rights reserved.
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                                   irhythmtech.co.uk
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                      Exhibit 13
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       DEPARTMENT OF HEALTH & HUMAN SERVICES                                     Public Health Service


                                                                                 Food and Drug Administration
                                                                                 10903 New Hampshire Avenue
                                                                                 Document Control Room -W066-0609
                                                                                 Silver Spring, MD 20993-0002




 iRhythm Technologies, Inc.
 d/o Mr. Michael S. Righter
 Manager of Quality Assurance and Regulatory Affairs                               ,JUL 1 8 2012
 650 Townsend Street
 Suite 380
 San Francisco, CA 94103


 Re:    K121319
        Trade/Device Name: Ziocg Patch
        Regulation Number: 21 CFR 870.2800
        Regulation Name: Medical Magnetic Tape Recorder
        Regulatory Class: Class 11 (two)
        Product Codes: DSH
        Dated: May 1, 2012
        Received: May 2, 2012

  Dear Mr. Righter:

  We have reviewed your Section 5 10(k) premarket notification of intent to market the device
  referenced above and have determined the device is substantially equivalent (for the indications
  for use stated in the enclosure) to legally marketed predicate devices marketed in interstate
  commerce prior to May 28, 1976, the enactment date of the Medical Device Amendments, or to
  devices that have been reclassified in accordance with the provisions of the Federal Food, Drug,
  and Cosmetic Act (Act) that do not require approval of a premarket approval application (PMA).
  You may, therefore, market the device, subject to the general controls provisions of the Act. The
  general controls provisions of the Act include requirements for annual registration, listing of
  devices, good manufacturing practice, labeling, and prohibitions against misbranding and
  adulteration.

  If your device is classified (see above) into either class II (Special Controls) or class III (PMA),
  it may be subject to additional controls. Existing major regulations affecting your device can be
  found in the Code of Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may
  publish further announcements concerning your device in the Federal Register.

  Please be advised that FDA's issuance of a substantial equivalence determination does not mnean
  that FDA has made a determination that your device complies wit other requirements of the Act
  or any Federal statutes and regulations administered by other Federal agencies. You must
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  Page 2 - Mr. Michael S. Righter

  comply with all the Act's requirements, including, but not limited to: registration and listing (21
  CFR Part 807); labeling (21 CER Part 801); medical device reporting (reporting of medical
  device-related adverse events) (21 CFR 803); good manufacturing practice requirements as set
  forth in the quality systems (QS) regulation (21 CFR Part 820); and if applicable, the electronic
  product radiation control provisions (Sections 531-542 of the Act); 21 CER 1000-1050.

  If you desire specific advice for your device on our labeling regulation (21 CFR Part 80 1), please
  go to http://www.fda.gov/AboutFDA/CentersOffices/CDRH/CDRllOffices/ucm 15809.htm for
  the Center for Devices and Radiological Health's (CDR1-'s) Office of Compliance. Also, please
  note the regulation entitled, "Misbranding by reference to premarket notification" (21 CFR Part
  807.97). For questions regarding the reporting of adverse events under the MDR regulation (21
  CER Part 803 ), please go to
  http://www.fda.gov/MedicalDevices/Safety/ReportaProblem/default.htm for the CDRH's, Office
  of Surveillance and Biometrics/Division of Postmarket Surveillance.

  You may obtain other general information on your responsibilities under the Act from the
  Division of Small Manufacturers, International and Consumer Assistance at its toll-free number-
  (800) 63 8-2041 or (30 1) 796-7 100 or at its Internet address
  http://www.fda.gov/MedicalDevices/ResourcesforYoti/Industry/default.htm.


                                                         Sincerely yoUrs




                                                   Ye4 Director
                                                    ** Division of Cardiovascular Devices
                                                       Office of Device Evaluation
                                                       Center for Devices and
                                                       Radiological Health

  Enclosure
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  iRhythm
                                     INDICATIONS FOR USE STATEMENT



 510(k) Number:

 Device Names:        Zia® Patch

 Indications for Use:

 The Zio® Patch is a prescription-only, single-patient-use, continuously recording EGG monitor that can be
 worn up to 14 days. It is indicated for use on patients who may be asymptomatic or who may suffer from
 transient symptoms such as palpitations, shortness of breath, dizziness, light-headedness, pre-syncope,
 syncope, fatigue, or anxiety.



 Prescription Use     X                                                Over-The-Counter Use        _     _


 (Part 21 CFR 801 Subpart D)                      AND/OR               (21 CFR 801 Subpart C)



   (PLEASE DO NOT WRITE BELOW THIS LINE-CONTINUE ON ANOTHER PAGE IF NEEDED)



                         Concurrence of CDRH, Office of Device Evaluation (ODE)




                                  Witon Sign-Off)
                                 Division of Cardiovascular Devices
                                 510(k) Number_             ______




650 Townsend Street, Suite 380    San Francisco, CA 94103    (415) 632-5700, T   (415) 632-5701 Fl www.irhythmtech.com
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                      Exhibit 14
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May 21, 2021

iRhythm Technologies, Inc.
Rey Jacinto
Sr. Manager, Regulatory Affairs
699 8th Street
San Francisco, California 94103


Re: K202359
    Trade/Device Name: Zio Monitor
    Regulation Number: 21 CFR 870.2800
    Regulation Name: Medical Magnetic Tape Recorder
    Regulatory Class: Class II
    Product Code: DSH, MWJ
    Dated: May 20, 2021
    Received: May 21, 2021

Dear Rey Jacinto:

We have reviewed your Section 510(k) premarket notification of intent to market the device referenced
above and have determined the device is substantially equivalent (for the indications for use stated in the
enclosure) to legally marketed predicate devices marketed in interstate commerce prior to May 28, 1976, the
enactment date of the Medical Device Amendments, or to devices that have been reclassified in accordance
with the provisions of the Federal Food, Drug, and Cosmetic Act (Act) that do not require approval of a
premarket approval application (PMA). You may, therefore, market the device, subject to the general
controls provisions of the Act. Although this letter refers to your product as a device, please be aware that
some cleared products may instead be combination products. The 510(k) Premarket Notification Database
located at https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfpmn/pmn.cfm identifies combination
product submissions. The general controls provisions of the Act include requirements for annual registration,
listing of devices, good manufacturing practice, labeling, and prohibitions against misbranding and
adulteration. Please note: CDRH does not evaluate information related to contract liability warranties. We
remind you, however, that device labeling must be truthful and not misleading.

If your device is classified (see above) into either class II (Special Controls) or class III (PMA), it may be
subject to additional controls. Existing major regulations affecting your device can be found in the Code of
Federal Regulations, Title 21, Parts 800 to 898. In addition, FDA may publish further announcements
concerning your device in the Federal Register.

Please be advised that FDA's issuance of a substantial equivalence determination does not mean that FDA
has made a determination that your device complies with other requirements of the Act or any Federal


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K202359 – Rey Jacinto                                                                                 Page 2


statutes and regulations administered by other Federal agencies. You must comply with all the Act's
requirements, including, but not limited to: registration and listing (21 CFR Part 807); labeling (21 CFR Part
801); medical device reporting (reporting of medical device-related adverse events) (21 CFR 803) for
devices or postmarketing safety reporting (21 CFR 4, Subpart B) for combination products (see
https://www.fda.gov/combination-products/guidance-regulatory-information/postmarketing-safety-reporting-
combination-products); good manufacturing practice requirements as set forth in the quality systems (QS)
regulation (21 CFR Part 820) for devices or current good manufacturing practices (21 CFR 4, Subpart A) for
combination products; and, if applicable, the electronic product radiation control provisions (Sections 531-
542 of the Act); 21 CFR 1000-1050.

Also, please note the regulation entitled, "Misbranding by reference to premarket notification" (21 CFR Part
807.97). For questions regarding the reporting of adverse events under the MDR regulation (21 CFR Part
803), please go to https://www.fda.gov/medical-devices/medical-device-safety/medical-device-reporting-
mdr-how-report-medical-device-problems.

For comprehensive regulatory information about medical devices and radiation-emitting products, including
information about labeling regulations, please see Device Advice (https://www.fda.gov/medical-
devices/device-advice-comprehensive-regulatory-assistance) and CDRH Learn
(https://www.fda.gov/training-and-continuing-education/cdrh-learn). Additionally, you may contact the
Division of Industry and Consumer Education (DICE) to ask a question about a specific regulatory topic. See
the DICE website (https://www.fda.gov/medical-devices/device-advice-comprehensive-regulatory-
assistance/contact-us-division-industry-and-consumer-education-dice) for more information or contact DICE
by email (DICE@fda.hhs.gov) or phone (1-800-638-2041 or 301-796-7100).

                                                 Sincerely,



                                                 Jennifer Shih Kozen
                                                 Assistant Director
                                                 Division of Cardiac Electrophysiology,
                                                   Diagnostics and Monitoring Devices
                                                 Office of Cardiovascular Devices
                                                 Office of Product Evaluation and Quality
                                                 Center for Devices and Radiological Health

Enclosure
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                   DEPARTMENT OF HEALTH AND HUMAN SERVICES                                 Form Approved: 0MB No. 0910-0120
                           Food and Drug Administration                                    Expiration Date: 06/30/2023
                                 Indications for Use                                       See PRA Statement below.

510(k) Number (if known)
K202359
Device Name
Zia® Monitor



Indications for Use (Describe)
The Zio Monitor is a prescription-only, single-patient-use, ECG monitor that continuously records data for up to 14 days.
It is indicated for use on patients who may be asymptomatic or who may suffer from transient symptoms such as
palpitations, shortness of breath, dizziness, lightheadedness, pre-syncope, syncope, fatigue or anxiety.




Type of Use (Select one or both, as applicable)
               [BJ Prescription Use (Part 21 CFR 801 Subpart D)          D Over-The-Counter Use (21 CFR 801 Subpart C)
                                       CONTINUE ON A SEPARATE PAGE IF NEEDED.

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 iRhythm Technologies, Inc.                                                   Zio® monitor
                                                                        TRADITIONAL 510(k)
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                                       510(k) Notification K202359

           General Information
           Applicant:
           iRhythm Technologies, Inc.
           699 8th Street, Suite 600
           San Francisco, CA 94103 USA
           Phone: 415-632-5700
           Fax: 415-632-5701
           Contact Person:
           Rey Jacinto
           Sr. Manager, Regulatory Affairs
           Phone:
           Email: rey.jacinto@irhythmtech.com
           Date Prepared:               2021

           Device Information
           Trade Name:
           Zio® monitor
           Generic/Common Name:
           Medical magnetic tape recorder
           Classification Names:
           Medical magnetic tape recorder [21CFR§870.2800]
           Regulatory Class:
           Class II
           Product Codes:
           DSH, Recorder, Magnetic Tape, Medical
           MWJ, Electrocardiograph, Ambulatory (Without Analysis)


           Predicate Devices
           The following predicate device has been selected:




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 iRhythm Technologies, Inc.                                                             Zio® monitor
                                                                                  TRADITIONAL 510(k)
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              iRhythm Technologies, Inc. Zio® XT Patch [K121319]

           The following reference device has been selected:
              iRhythm Technologies, Inc. Zio® AT Patch [K181502]

 IV.       Indications for Use
           The Indications for Use statement for the Zio monitor is as follows:

                  The Zio monitor is a prescription-only, single-patient-use ECG monitor that
                  continuously records data for up to 14 days. It is indicated for use on patients
                  who may be asymptomatic or who may suffer from transient symptoms such as
                  palpitations, shortness of breath, dizziness, lightheadedness, pre-syncope,
                  syncope, fatigue or anxiety.

 V.        Device Description
           The Zio monitor is a non-sterile, single-patient-use, long-term ambulatory ECG monitor
                                                                                      ientation. The
           goal of the Zio monitor is to help physicians initiate long-term, patient-compliant ECG
           monitoring utilizing proprietary technology.

           The Zio monitor is applied and activated by the patient at home or at a clinic. Once
           activated, the device provides continuous, uninterrupted ECG recording into memory
           with minimal patient interaction. There is a button on the surface of the Zio monitor,
           which serves to activate the device and may be pressed by the patient during wear to
           indicate when he or she is experiencing a symptom. Additionally, there is a surface LED
           light that blinks green to confirm proper activation or that the device is working, and
           orange to indicate loss of connection with the skin or the presence of error conditions.

 VI.       Comparison of Technological Characteristics with Predicate Devices (Substantial
           Equivalence)
           The Indications for Use statement for the Zio monitor are substantially equivalent to the
           cleared Indications for Use statement of the predicate device. Differences in the
           phrasing of the proposed Indications for Use statement from the predicate device are
           not critical to the intended use of the device, nor do they affect the
                         of the subject device relative to the predicate device (Section 12.3.2).
           Therefore, the subject device can be considered substantially equivalent to the
           predicate device.

           The performance testing results demonstrate that the differences in the technological
           characteristics (i.e. reduced weight and power) between the devices do not raise any




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 iRhythm Technologies, Inc.                                                            Zio® monitor
                                                                                 TRADITIONAL 510(k)
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           new issues of safety or efficacy                             . Therefore, the Zio
           monitor is determined to be substantially equivalent to the predicate device.

           A comparison table outlining the differences and similarities between the subject device
           and the predicate device is provided in Table 1.

           Table 1. Substantial Equivalence Summary Table
            Feature                       Subject Device:             Predicate Device:
                                          Zio® monitor                Zio® XT Patch
            General Characteristics
            Classification                Class II:                   Same
                                          21CFR870.2800
            Product Code                  DSH                         DSH
                                          MWJ
            Patient Environment           Ambulatory                  Same
            Patient Population            Non-pediatric, non-critical Same
                                          care patients
            Technological Characteristics
            Event Trigger                 Manually by patient         Same
            Size                          The Zio Monitor has a reduced form factor

 VII.      Performance Data
           There are no required FDA performance standards for the Zio monitor. All necessary
           performance testing was conducted on the Zio monitor to ensure performance as
           intended per specifications and to support a determination of substantial equivalence to
           the predicate device.

           Nonclinical testing included:

              Mechanical verification testing
              Biocompatibility testing
              Firmware verification testing
              Electrical safety and EMC testing

           The scope of the nonclinical testing summarized in Table 2 demonstrates that the Zio
           monitor is in conformance with FDA recognized consensus standards and FDA guidance
           documents.




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 iRhythm Technologies, Inc.                                                                 Zio® monitor
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           Table 2. FDA-Recognized Consensus Standards & Guidance Document Summary
           FDA#    Body     Number / Version                      Title
           5-40    AAMI     14971:2012(R)2010                     Medical Devices Applications Of
                   ANSI ISO (Corrected 4 October 2017)            Risk Management To Medical
                                                                  Devices
           19-4    AAMI       ES 60601-1:2005/(R)2012             Medical Electrical Equipment Part
                   ANSI       and A1:2012,                        1: General Requirements For Basic
                              C1:2009/(R)2012 and                 Safety And Essential Performance
                              A2:2010/(R)2012                     (IEC 60601-1:2005, MOD)
           19-8    AAMI       60601-1-2:2014                      Medical Electrical Equipment -- Part
                   ANSI IEC                                       1-2: General Requirements for Basic
                                                                  Safety And Essential Performance --
                                                                  Collateral Standard:
                                                                  Electromagnetic Disturbances --
                                                                  Requirements And Tests
           19-6    IEC        60601-1-11                          Medical Electrical Equipment Part
                              Edition 1.0 2010-04                 1-11: General Requirements For
                              [Including: Technical               Basic Safety And Essential
                              Corrigendum 1 (2011)]               Performance Collateral Standard:
                                                                  Requirements For Medical Electrical
                                                                  Equipment And Medical Electrical
                                                                  Systems Used In The Home
                                                                  Healthcare Environment
           3-127   AAMI       60601-2-47:2012                     Medical Electrical Equipment -- Part
                   ANSI IEC                                       2-47: Particular Requirements For
                                                                  The Basic Safety And Essential
                                                                  Performance Of Ambulatory
                                                                  Electrocardiographic Systems
           2-220   ISO        10993-1:2009                        Biological evaluation of medical
                                                                  devices Part 1: Evaluation and
                                                                  testing within a risk management
                                                                  process
           2-245   ISO        10993-5:2009                        Biological evaluation of medical
                                                                  devices Part 5: Tests for in vitro
                                                                  cytotoxicity
           2-174   ISO        10993-10:2010                       Biological evaluation of medical
                                                                  devices Part 10: Tests for irritation
                                                                  and skin sensitization
           13-79   IEC        62304 Edition 1.1 2015-06           Medical device software - Software
                              CONSOLIDATED VERSION                life cycle processes




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 iRhythm Technologies, Inc.                                                                   Zio® monitor
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           5-113   ASTM       D7386-16                             Standard Practice for Performance
                                                                   Testing of Packages for Single Delivery
                                                                   Systems
           5-99    ASTM       D4332-14                             Standard Practice for Conditioning
                                                                   Containers, Packages, or Packaging
                                                                   Components for Testing


 VIII.     Clinical Testing in Support of Substantial Equivalence Determination
           No clinical testing was performed in support of this premarket notification.

 IX.       Conclusion
           The results confirm by examination and provision of objective evidence that the design
           outputs met the design input requirements. The results of the nonclinical testing
           performed demonstrate that the Zio monitor meets the requirements of established
           conformance standards and performance specifications necessary for its intended use,
           and does not raise new questions of safety or effectiveness as compared to the
           predicate devices. The Zio monitor is substantially equivalent to the predicate device.




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   Behind the Design: How iRhythm Built Its New Zio Monitor
   Miniaturization, usability considerations, and future proofing all informed the design of the company’s latest wearable heart monitor.


              Amanda Pedersen
              October 4, 2023


       8 Min Read




    IMAGE COURTESY OF IRHYTHM




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   iRhythm Technologies recently launched its next-generation Zio monitor and enhanced Zio long-term continuous
   monitoring service in the United States. The San Francisco, CA-based company touts an improved form factor with the
   new wearable heart monitoring device, which is 23% thinner, 62% lighter, and 72% smaller compared to previous
   generations of the technology.

   But Mark Day, the chief technology officer at iRhythm, told MD+DI that the goal in designing the Zio monitor wasn’t just
   to make it smaller, but to deliver a better patient wear experience. Below is a Q&A based on our conversation with Day, in
   which he explains why the company made these design changes, and how it accomplished it from an engineering
   perspective. The responses have been edited for length.




   MD+DI: What was motivation behind the design considerations for the new Zio monitor?

   Day: It’s not just about making it smaller, it’s about the impact. The journey was really that we took a lot of the
   information that we've had and feedback from both patients and providers that we've received from the over 6 million
   Zio XT devices that we've manufactured, distributed, and serviced. And we took a really hard look at how we can improve
   that experience. So, that was the impetus. It is still, despite its fairly long tenure on the market now approaching the
   better part of 10 years, it’s still an industry-leading diagnostic device with respect to its wear time and patient
   compliance, but we saw an opportunity to really improve it.



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   MD+DI: What design and engineering challenges had to be overcome to make the device so much smaller and yet still
   manufacturable?

   Day: From a technical viewpoint what we did was really to leverage a lot of advances not just in microprocessor efficiency,
   which is certainly part of it in terms of miniaturization as well as energy efficiency, but also we really challenged ourselves

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   to figure out how to effectively fit in the smallest possible form factor, which for us was motivated a lot by the size of our
   battery, which is just a standard, easily available, and fortunately easily recyclable coin cell battery. We challenged
   ourselves to figure out how to miniaturize the device down to the level of one of those coin cells instead of the two that
   the Zio XT device uses. And that became feasible by the advances in microelectronic microprocessor efficiency and size
   as well through its miniaturization. But it also required a lot of really complicated dynamics from an electrical engineering
   perspective to figure out how to get all the components of a wearable medical device and a biosensor onto that small
   form factor. So, miniaturization was focused on very clever ways of handling some of the larger components, which for
   example involved moving some of the big resistors that are required on the device to the more flexible part of the patch
   instead of on the actual printed circuit board in the housing. And this is a patented feature that we've already received a
   patent on it and we're pursuing more around it, but it was the idea that these three big resistors are not too big in terms of
   the homage that they have but also in terms of the size that they are. So, if you put them on the circuit board, they are
   these pretty big components, so we realized pretty early on that we couldn't really do that and still fit the design
   constraints. So, we innovated a different way, which was to integrate it into the ECG tracings themselves.

   MD+DI: That's really cool. Were there any other design changes or unique features added to this device compared to
   previous generations?

   Day: I'd say we also learned a lot from our experience of how to attach circuit boards to a flexible housing. That was
   certainly another area that we’d already explored with the Zio XT device but could yet improve based on the feedback
   and what we saw both in our manufacturing as well as our intake experience from the device.

   But the other thing is to really talk more about the adhesive structure, which we call the dermal adhesive assembly. It's
   really the part of the patch that secures itself to the patient, which is obviously critical. For that it wasn't so much that we
   went back and reimagined a different adhesive, we do value the place that we've gone, which is the custom adhesive
   formulation. And we still have a lot of trust and belief that is effectively an appropriately balanced approach where you
   kind of have to have an aggressive enough adhesive to be able to work well, but not so aggressive that it's uncomfortable
   or irritating to a meaningful portion of population. So, it wasn't so much on the adhesive itself but rather on our
   observation that over time certainly one of the things that we've seen is that when patients sweat ... that sweat gets
   absorbed in the hydrocolloid adhesive, and one component of that adhesive in particular. And normally, like on the Zio XT
   patch, which is basically a fixed surface, it doesn't really have anywhere to go. So, it goes into the adhesive, and it changes
   the structure of the adhesive a little bit, and it has to basically get reabsorbed in the skin, which it will do if the patient
   stops sweating over time, but that's not necessarily an ideal approach.

   So, we put perforations in the dermal adhesive assembly itself to allow that moisture to transpire in one direction to be
   able to handle that moisture creation more efficiently and frankly, from a performance perspective, more effectively, and
   more comfortably from a patient's perspective, which is that you don't have this kind of moist mass against you for a long
   period of time, it figures out how to kind of passively get the moisture away from the skin. And we think all of that is going
   to result in a more comfortable experience for the patient.




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   MD+DI: I noticed the press release about the Zio monitor launch mentioned the device has a waterproof housing, but
   then in the footnotes it basically said that doesn’t mean the device should be submerged in water, so patients still have to
   be careful if they’re in a bathtub or whatnot.


   Day: In general, water and adhesives don't mix very well together. But the main reason [the device shouldn’t be
   submerged in water] is because water conducts electricity, so it will actually short the electrodes when you are swimming
   or you otherwise submerge it, you will also impact the performance over time. You can do those things, but we don't
   recommend them, you won't get any ECG that's readable of that. And it can’t do good things to the adhesive, it will
   probably shorten your wear time.


   MD+DI: What other unique takeaways or design and engineering lessons can you take from this project that you might be
   able to apply to a future project?

   Day: The other lesson that we put into this as well was to prepare for the future, in a lot of ways. In the time frame of the
   Zio XT device being commercialized we also introduced the Zio AT device, which looks similar to the Zio XT device (same
   form factor and size) but underneath the hood, the circuit board underneath that device between those two devices is
   different, one having Bluetooth the other not.


   And really, as we look forward to what we think the future looks like for biosensors of all kinds is that they have a
   connected feature in them. And we'll have to work through the appropriate regulatory and reimbursement processes to
   see this fully change, but I would strongly suspect that in five to 10 years the idea of a wearable device that doesn't
   communicate with some type of back-end infrastructure during, say, a wear time of a cardiac arrhythmia patient, will not
   be competitive.




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   ...All of this gets put into the engineering consideration of effectively looking at the landscape around you and trying to
   figure out what kind of technology you need to put into a hardware platform, because you don't want to be changing your
   hardware platform continuously, it's extremely costly for a business to invest in a new hardware platform ... So, you want
   to take an approach of making sure that you can design and develop a circuit board and frankly, an entire platform, that is
   future proof from the perspective of being connectable not just to our own infrastructure of say a gateway, a cellular
   gateway, but also a patient’s phone. That just opens up all kinds of possibilities and optionality of the platform in the
   future so, we really designed this to not just perform well from a patients perspective, but also to enable this platform to
   be a true platform in the sense that the Zio monitor device that we just introduced and we're rolling out right now is really
   the first of a number of different device services, effectively, that we deliver off this platform.




   About the Author(s)




                                                                 Amanda Pedersen

       Amanda Pedersen is a veteran journalist and award-winning columnist with a passion for helping medical device professionals
       connect the dots between the medtech news of the day and the bigger picture. She has been covering the medtech industry since
       2006.




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            Spotlight on Special Topics
 INITIAL REAL WORLD AND CLINICAL EXPERIENCE OF THE NEXT GENERATION AMBULATORY ECG
 ZIO MONITOR: IMPLICATIONS FOR STANDARD AND EXTENDED WEAR MONITORING
 Moderated Poster Contributions
 Pulmonary Vascular Disease, Valvular Heart Disease, Special Topics Moderated Poster Theater 4_Hall F
 Saturday, March 4, 2023, 1:30 p.m.-1:40 p.m.

 Session Title: Innovation, Digital Health, and Technology Moderated Poster Session 1
 Abstract Category: 60. Spotlight on Special Topics: Innovation, Digital Health, and Technology
 Presentation Number: 1021-07

 Authors: Jay H. Alexander, Mike Hsu, Jeffrey Ellis, ADINA MURESAN, Charlotte Bame, Alan Wilk, Lori Crosson, Kevin Clarkson, Mark
 Day, Mintu Turakhia, Judith C. Lenane, Highland Park Hospital, Bannockburn, IL, USA, iRhythm Technologies, Inc, San Francisco, CA,
 USA
 Background: Bulky ambulatory ECG devices may result in reduced patient compliance; subsequent missing and/or incomplete data
 complicate clinical decision making. A lighter and more compliant next generation ECG monitor (Zio monitor; iRhythm Technologies Inc;
 San Francisco, CA) cleared by FDA in May 2021 has been launched to improve patient and provider experience. This report details the first
 wear and clinical experience of the monitor.
 Methods: Commercial data were analyzed from 673 monitors prescribed by 75 US physicians. Wear metrics, analyzable data and clinical
 findings were determined. Additionally, 30 subjects enrolled in an IRB-approved, extended-wear validation study of safety and feasibility of
 30-day wear.
 Results: Zio monitors demonstrated high compliance and high quality ECG. Wear metrics and analyzable ECG were compared to national
 Zio XT prescriptions (Fig 1). Arrhythmia yield (AF ≥30 sec, SVT ≥90 bpm & ≥4 bt, VT ≥100 bpm & ≥4 bt, inc PVT/TdP/VF, Pause ≥3 s, and/
 or AVB (any 2nd Deg or CHB)) was 77.1% for Zio XT and 80.9% (p=0.0168) for Zio monitor.
 30-day clinical data demonstrated high compliance and high analyzable ECG (Fig 1) with no clinically significant skin irritation. Extended
 wear monitoring yielded additional clinical findings beyond 14 days.
 Conclusion: Post-clearance evaluations of this next generation ECG monitor showed consistent and even improved performance, with
 potential to greatly improve monitoring and decision making in complex patients.
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                      Exhibit 17
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                      Exhibit 18
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                                                                          US 2008O1399.53A1
  (19) United States
  (12) Patent Application Publication (10) Pub. No.: US 2008/0139953 A1
       Baker et al.                                                (43) Pub. Date:                           Jun. 12, 2008
  (54) BODY WORN PHYSIOLOGICAL SENSOR                                            Publication Classification
        DEVICE HAVING A DSPOSABLE
        ELECTRODEMODULE                                     (51) Int. Cl.
                                                                    A6IB5/04                       (2006.01)
  (75) Inventors:         Steven D. Baker, Beaverton, OR    (52) U.S. Cl. ........................................................ 6OO/SO9
                          (US); Eric T. McAdams,            (57)                          ABSTRACT
                          Whitehead (GB); James P. Welch,
                          Laguna Niguel, CA (US); Norbert   A body worn patient monitoring device includes at least one
                          Ohlenbusch, Andover, MA (US);     disposable module including a plurality of electrical connec
                          Thomas P. Blackadar, Natick, MA   tions to the body. The body worn patient monitoring device
                          (US)                              also includes at least one communication-computation mod
                                                            ule, the communication-computation module having at least
        Correspondence Address:                             one microprocessor to actively monitor the patient and to
       MARJAMA MULDOON BLASAK & SULL                        perform a real-time physiological analysis of the physiologi
       VAN LLP                                              cal signals. A radio circuit communicates a raw physiological
        250 SOUTHCLINTON STREET, SUITE 300                  signal or a result of the physiological analysis at a predeter
        SYRACUSE, NY 13202                                  mined time or on the occurrence of a predetermined event, via
                                                            a radio transmission to a remote radio receiver, wherein the at
  (73) Assignee:          Welch Allyn, Inc., Skaneateles    least one disposable module is mechanically and electrically
                          Falls, NY (US)                    coupled directly to the at least one communication-computa
                                                            tion module. The body worn patient monitoring device,
  (21) Appl. No.:         111591,619                        including the at least one disposable module and the at least
                                                            one communication-computation module, is directly non
  (22) Filed:             Nov. 1, 2006                      permanently affixed to the skin surface of the patient.

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                   703




           ECG    Pe.
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        ELECTRODES



                  703
              VIRTUAL
               ELECTRODE                   FIG.7B
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 262 of 703 PageID #: 1003


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Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 263 of 703 PageID #: 1004


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  US 2008/O 1399.53 A1                                                                                           Jun. 12, 2008


        BODY WORN PHYSIOLOGICAL SENSOR                               mit the full patient waveform, even when the patient is
           DEVICE HAVING A DSPOSABLE                                 healthy. While transmitting the full patient waveform is the
               ELECTRODE MODULE                                      preferred solution from a purely clinical standpoint, Such
                 FIELD OF THE INVENTION
                                                                     transmission requires significant power to transmit large
                                                                     amounts of data and restricts the design from being Small and
   0001. This invention relates generally to a physiological         inexpensive.
  monitor and more particularly to a body worn physiological          0008. Yet another problem is that arrhythmia analysis is a
  monitor.                                                           computationally intensive operation not well-suited to exist
             BACKGROUND OF THE INVENTION
                                                                     ing Small portable monitors that presently have no ability to
                                                                     perform arrhythmia analysis.
   0002 Measurements of various physiological parameters              0009. Therefore, there is a need for a body worn combined
  are important to the study of the human condition. Physi           physiological sensor and monitor having a disposable sensor,
  ological measurements can be particularly important in a           but used and worn by a patient as a single unit directly and
  health care setting, Such as in a hospital. One of the more        non-permanently affixed to a patient’s body. Also, what is
  important physiological measurements performed on a                needed is a physically compact resistive element for protect
  patient is the electrocardiogram (ECG), showing the condi          ing a body worn device from damage caused by multiple
  tion of the human heart.
   0003 Portable patient monitors have evolved that allow            defibrillation cycles. Also, what is needed is a medical-grade
  patients to enjoy at least some mobility. Typically a battery      monitor that can intelligently measure and transmit data only
  operated monitor can be hung on a belt, shoulder strap, or         as required to alert clinicians that the patient needs additional
  carried by a patient using some other similar hanging arrange      attention. What is also needed is a body-worn device capable
   ment. Sensors, such as ECG electrodes, are affixed to the         of running arrhythmia analysis through computationally effi
  patient’s body, Such as with tape, and connected to the battery    cient algorithms.
  operated monitor by wires. After a fixed interval of time, or at
  a low battery indication, the batteries can be replaced or                     SUMMARY OF THE INVENTION
  recharged. One example of a portable patient monitor is the
  Micropaq wireless patient monitor, manufactured by Welch            0010. According to one aspect, a body worn patient moni
  Allyn, Inc., that permits multi-parameter monitoring and           toring device comprises at least one disposable module
  patient alarm capabilities built in a small, rugged, light         including a plurality of electrical connections to the body. The
  weight, patient-wearable device.
   0004 Another version of a portable physiological monitor          electrical connections are coupled to a skin Surface of the
  is the heart rate monitor typically used by individuals engaged    patient to measure physiological signals of the patient. The at
  in an athletic activity. The monitor includes a sensor, which      least one disposable module includes a disposable module
  generally makes director indirect contact with an individuals      connector. The body worn patient monitoring device includes
  chest to monitor heartbeats and then by wires, or by wireless      at least one internal or external power source to power the
  techniques, the sensor transmits the sensed heart beat to a        body worn patient monitoring device. The body worn patient
  nearby microcomputer based monitor and display. Such units         monitoring device also includes at least one communication
  generally measure only heart beat and are not capable of           computation module, having a communication-computation
  doing any of the traditional ECG analysis functions.               module connector to receive physiological signals from the at
   0005. A recurrent problem with the portable monitors              least one disposable module via said disposable module con
  typically used in healthcare applications is the need for wires    nector. The communication-computation module also
  from sensors situated on the patient’s body to the portable        includes at least one microprocessor to actively monitor the
  unit. These wires can become tangled and cause discomfort or       patient and to perform a real-time physiological analysis of
  become unplugged when inadvertently pulled or tugged on.           the physiological signals and a radio circuit to communicate
  In addition, wire motion can increase ECG noise due to the         a raw physiological signal or a result of the physiological
  triboelectric effect. Muscle movement can also increase ECG        analysis at a predetermined time or on the occurrence of a
  noise, due to the typical placement of ECG electrodes over         predetermined event, via a radio transmission to a remote
  major muscles. Moreover, portable monitor battery mainte           radio receiver, wherein the at least one disposable module is
  nance (e.g. battery recharging or replacement) can be time         mechanically and electrically coupled directly to the at least
  consuming and costly.                                              one communication-computation module. The body worn
   0006 Another problem is related to the requirement that a         patient monitoring device, including the at least one dispos
  medical grade monitor survive multiple defibrillation cycles       able module and the at least one communication-computation
  of at least 360 joules. Conventionally, this requirement has       module, is directly non-permanently affixed to the skin Sur
  been met by one or more power resistors situated in series         face of the patient.
  with the wire leads of a fixed or portable physiological moni
  tor. The problem is that the physical volume of conventional        0011. According to another aspect, a method of providing
  power resistors is too large for use in a compact monitor          high Voltage circuit protection for a body worn monitor com
  application.                                                       prises the steps of providing a Substrate that Supports one or
   0007 Another shortcoming of small sensor devices is that          more electrical connections to a patient’s body; determining
  these devices lack the intelligence to vary the amount and type    a print pattern and thickness of a first material having a first
  of data transmitted, depending on patient condition. Exercise      resistivity to be printed on the Substrate; determining a print
  heart monitors do not transmit a full patient waveform for         pattern and thickness of a second material having a second
  clinical analysis while medical monitors measure and trans         resistivity to be printed on the substrate; printing the first
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  material onto the Substrate; and printing the second material      0034 FIG. 14 shows two exemplary positions for a body
  onto the substrate wherein at least part of the second material   worn ECG monitor to be non-permanently affixed directly to
  overlays the first material.                                      a patient’s body;
                                                                     0035 FIG. 15 shows a block diagram of a setup for simu
        BRIEF DESCRIPTION OF THE DRAWINGS                           lating the effect of patient defibrillation on resistive traces:
   0012 For a further understanding of these and objects of          0036 FIG. 16A symbolically shows resistive dots silk
  the invention, reference will be made to the following            screened on a tray:
  Detailed Description which is to be read in connection with        0037 FIG. 16B shows a histogram of an exemplary resis
  the accompanying drawings, in which:                              tive distribution of baked resistive dots; and
   0013 FIG. 1A shows an exemplary body worn physi                   0038 FIG. 17 shows an exemplary ECG waveform.
  ological monitor having a disposable electrode module;             0039 Package styling varies slightly between the draw
   0014 FIG. 1B shows a partially unassembled side view of          ings. Such minor differences, e.g. the case styling of compu
  the body worn physiological monitor of FIG. 1A:                   tation and communication module 102, illustrate minor varia
   0015 FIG. 1C shows an assembled side view of the body            tions in mechanical packaging Suitable for use as body worn
  worn physiological monitor of FIG. 1A:                            monitors. Drawings are not necessarily shown to scale.
   0016 FIG. 1D shows a bottom view of the body worn                                DETAILED DESCRIPTION
  physiological monitor of FIG. 1A:
   0017 FIG. 2 shows an exploded perspective view of an              0040 A “body worn” device is described herein with
  exemplary body worn physiological monitor;                        regard to certain exemplary embodiments. A "body worn         99


   0018 FIG. 3 shows an exploded perspective view of an             device is defined herein as a device that is directly, but non
  exemplary computation and communication module:                   permanently, affixed to a patient’s body. A “body worn moni
   0019 FIG. 4A shows an exemplary disposable unit flex             tor” is a device that can be directly “worn on the patients
  ible circuit board;                                               body as a single unit, including one or more physiological
   0020 FIG. 4B shows a partial enlarged view of a portion          sensors and a communications and computation module to
  of the flexible circuit board of FIG. 4A, further showing an      perform at least initial processing of one or more physiologi
  exemplary resistive trace having a fillet;                        cal measurements made using one or more physiological
   0021 FIG. 4C shows a partial side elevated view of a             sensors. Unlike prior art patient-wearable devices, at least one
  portion of the flexible circuit board of FIG. 4A, further show    sensor can be incorporated into the device that makes a direct
  ing an exemplary conductive Surface overlaying a resistive        or indirect (such as by capacitive coupling) electrical connec
  material;                                                         tion with the patient’s body without the use of external wires
   0022 FIG. 4D shows a partial side elevational view of the        from sensors to the device. In addition and unlike athletic
  circuit board of FIG. 4A, further showing an exemplary con        heart monitors, a “body worn monitor can be a full function
  ductive surface having a Snap receptacle;                         ing medical grade monitor, e.g. meeting the requirements of
   0023 FIG.5 shows a block diagram of one embodiment of            European Unions Medical Device Directive and other appli
  a body worn physiological monitor having a power source in        cable industry standards, such as EC-13 for an electrocardio
  a disposable unit;                                                graph. The body worn medical-grade monitor can include a
   0024 FIG. 6 shows a block diagram of one embodiment of           device, for example, such as a pulse Oximeter, CO monitor,
  a body worn physiological monitor having a power source in        respiration monitor, or can function as an ECG monitor,
  or connected to the computation and communication module:         incorporating physiological sensors, front end analog elec
   0025 FIG. 7A shows a schematic diagram of a direct               tronic signal conditioning circuits, and a microcomputer
  connected reference electrode used in conjunction with a          based computation unit with wireless reporting of measured
  body worn physiological monitor,                                  physiological data, all contained within in a “body worn
   0026 FIG. 7B shows a schematic diagram of a virtual              package that can be non-permanently affixed directly to a
  reference electrode as used in conjunction with a body worn       patient’s body. A body-worn medical-grade monitor can also
  physiological monitor,                                            include additional measurement capabilities beyond those
   0027 FIG. 8 shows a schematic diagram depicting one              mentioned here.
  embodiment of an analog Switching arrangement provided on          0041 FIGS. 1A-1D depict various views of an exemplary
  a body worn physiological monitor to select a reference elec      body worn physiological monitor 100 having a communica
  trode configuration;                                              tion and computation module 102 and a disposable electrode
   0028 FIG. 8A shows an exemplary driven lead circuit              module 110. In this exemplary embodiment, physiological
  topology for use with electrodes of a body worn physiological     monitor 100 is designed for use as an electrocardiogram
  monitor;                                                          (ECG) monitor for obtaining and recording and/or transmit
   0029 FIG.9 shows an exemplary ESIS filter circuit topol          ting ECG information, including ECG waveforms and alarms
  ogy with circuit protection;                                      for a person, such as a patient, wearing body worn physiologi
   0030 FIG. 10 shows an alternative circuit protection to          cal monitor 100.
  that depicted in FIG.9;                                            0042 FIG. 1A shows an exemplary top view of body worn
   0031 FIG. 11 shows a flow chart for an algorithm utilized        physiological monitor 100. A crescent shape allows the body
  by a body worn physiological monitor to detect whether a          worn physiological monitor 100 to be placed on the chest of
  patient has a pace maker;                                         a patient, and more specifically around the pectoralis major,
   0032 FIG. 12 shows a circuit topology of a high pass filter      to allow measurement of lead configuration I, II, or III, or to
  useful for baseline restoration;                                  be placed on the patient's side allowing measurement using a
   0033 FIG. 13 shows seven graphs of amplitudes plotted            V-lead configuration. Though not shown, multiple body worn
  Versus frequency to illustrate exemplary operation of the cir     physiological monitor 100 units can be used to effectively
  cuit of FIG. 12;                                                  provide multiple leads. By placing electrodes around the
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  body so that they are not situated directly atop major muscles,     105 in order to ensure good electrical connection with a
  both motion noise artifacts and muscle noise artifacts can be       patient’s skin surface (not shown). Tab 106, FIG. 1A, allows
  prevented. Moreover, by eliminating cables, noise due to            for easy removal of a protective backing 111 from adhesive
  cable motion or compression (i.e. triboelectric effect) can be      layer 105.
  eliminated.
                                                                       0047 Flexible printed circuit layer 101 can include con
   0043 FIG.1B shows a side elevated view of physiological            tacts, such as battery clips (not shown), to receive and connect
  monitor 100 having an exemplary attachment mechanism,               to batteries 204. (It is contemplated that in some future
  Such as a retention clip 104, to mechanically attach commu          embodiments, a single battery can provide Sufficient electri
  nications and computation module 102 to the top surface of          cal power.) In the exemplary embodiment, as shown in FIG.2,
  the disposable electrode module 110. Flexible printed circuit       batteries 204 can be mounted under respective battery flaps
  layer 101 can be made from a thin insulating material, such as      205 arranged on opposite sides of the flexible printed circuit
  according to this embodiment, a 75 micron thick layer of            layer 101. Alternatively, battery clips (not shown) or battery
  Mylar R. Typically electrical traces (not shown in FIGS.
  1A-1D) on flexible printed circuit layer 101 can be further         holders (not shown) can be used to provide both mechanical
  protected by an insulating covering, analogous to a conformal       Support and electrical connections for each of the batteries
  coating. A formed plastic layer or a cloth with adhesive on one     204. One type of battery holder suitable for such use, for
  side thereof can be used to cover and protect flexible printed      example, is the model 2990 battery holder, manufactured by
  circuit layer 101, as well as to provide anaesthetic outer layer    the Keystone Electronics Corp. of Astoria, N.Y. Battery cover
  to make the body worn monitor 100 visually appealing.               107 provides protection for batteries 204 as well as a surface
   0044 FIG.1C shows a side view of physiological monitor             to press upon when applying electrodes 103 to conductive
  100 in which the communications and computation module              surface 404. Retention clips 104 can comprise, for example, a
  102 has been affixed to disposable electrode module 110.            plurality of spring fingers with latching clips. Retention clip
  FIG. 1D depicts a view of the underside of exemplary physi          104, affixed to disposable electrode module 110, can be used
  ological monitor 100 showing one embodiment of disposable           to secure reusable communications and computation module
  electrode module 110 having electrodes 109. In this embodi          102 to disposable package 110. Reusable communications
  ment, each electrode 109 comprises electrode gel 103 and            and computation module 102 is herein illustrated in a simpli
  conductive surface 404 (FIG. 4). Together, electrode gel 103        fied representation, including cover 201, communications
  and conductive surface 404 create a half-cell, such as, for         and computation printed circuitboard assembly 202, and base
  example, a Silver/Silver Chloride half cell. Also and accord        2O3.
  ing to this embodiment, conductive surface 404 can directly          0048 FIG. 3 shows a mechanical view of an exemplary
  accept the electrode gel 103.                                       reusable communications and computation module 102, as
   0045 FIG. 2 shows an exploded assembly view of the                 well as a preferred method for making an electrical connec
  exemplary body worn physiological monitor 100. As noted             tion between flexible printed circuit layer 101 in disposable
  with regard to FIGS. 1A-1D, the body worn physiological             electrical module 110 and communications and computation
   monitor 100 includes a removable and reusable communica            printed circuit board assembly 202 situated in reusable com
  tions and computation module 102 and a disposable electrode         munications and computation module 102. In this exemplary
  module 110, the later including electrode gels 103 for ECG          embodiment, communications and computation printed cir
  monitoring and batteries 204 to power communications and            cuit board assembly 202 can include a plurality of press fit
  computation module 102. A flat planar insulating/adhesive           and/or soldered conductive sockets 301 for receiving electri
  member 105 includes a plurality of openings that are each           cal plug 302, the plug having a corresponding plurality of
  sized to receive electrode gels 103. The insulating member          conductive pins. Each conductive pin shown in plug 302 can
  105 provides a bottom side cover for the flexible printed           correspond to an electrical connection pad on flexible printed
  circuit layer 101 and augments adhesion to the human body.          circuit layer 101. A row of mechanical sockets 303 can
  Electrodegel 103, when attached to an appropriate substrate         receive the multi-pin row of plug 302. Thus, an electrical
  such as silver-silver-chloride or other substrate, can be used to   connection can be made between each pad offlexible printed
  establish a relatively low impedance electrical connection          circuit layer 101 having a conductive post on plug 302 and
  between conductive surface 404 (FIG. 4) and the patients            each corresponding conductive Socket 301 on communica
  skin.                                                               tions and computation printed circuit board assembly 202.
   0046 Electrode gels 103 can adhere to a patient’s skin.            Posts 304 can align and secure each of the cover 201, com
  While electrodegel 103 is typically an adhesive electrodegel,       munications and computation printed circuit board assembly
  the adhesion offered by electrode gels 103 alone might not          202, and base 203. Note that in FIG. 3, a simplified drawing
  give a sufficient holding force for non-permanently affixing        of cover 201 omits slots to receive retention clip 104 to affix
  body worn physiological monitor 100 to a patient. To achieve        communications and computation module 102 to disposable
  a better adhesion of body worn monitor 100 to a patients            package 110. A body worn monitor 100 would typically also
  skin, insulating/adhesive member 105 can be used to non             include retention clip 104 FIG. 2, or other suitable type of
  permanently affix body worn physiological monitor 100 to a          mechanical clip(s), in order to provide a secure mechanical
  patient. Thus, body worn monitor 100 can be applied to a            connection between communications and computation mod
  patient in the same way an adhesive strip is applied. Such as       ule 102 and disposable electrode module 110.
  for example, those adhesive strips sold under the brand name         0049 FIG. 4A shows one embodiment of flexible circuit
  “BAND-AID(R. One exemplary type of foam adhesive suit               board 101 in an expanded (e.g. unassembled) view. Flexible
  able for affixing a flexible circuit board to a patient is 1.6 mm   circuit board 101 is formed on a substrate 406. Substrate 406
  adhesive foam from Scapa Medical of Bedfordshire, UK. As            can be cut, for example, from a Mylar sheet of suitable thick
  shown in FIGS. 1B and 1C (although not to scale), each of the       ness. In this embodiment, one battery 204 can be mounted
  electrode gels 103 extend sufficiently below adhesive layer         adjacent to an conductive surface 404. Conductive gel 103
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  (not shown in FIG. 4) can be mounted on the exposed con             order to survive defibrillation, the resistive traces should dis
  ductive side of a conductive surface 404.                           sipate that portion of the potentially damaging defibrillation
   0050 Conductive surface 404 can also be viewed as the              energy that is coupled into the monitor. This fractional portion
  electrode portion of a half cell and electrode gel 103 can be       of the defibrillation energy typically enters body worn moni
  considered to be the electrolyte portion of a half cell. In         tor 100 from electrodes 109, FIG. 1D (electrodes 109 includ
  conventional terms of art, the combination of electrode and         ing conductive surface 404 and electrode gel 103).
  electrolyte and ECG electrode is typically referred to as a half     0057. It is desirable that the resistances of the protective
  cell. For example, the combination of a conductive Surface          resistive traces be in a range between about 1 kilo ohm to
  404 and an electrolyte layer (e.g., electrode gel 103) forms a      about 10 kilo ohms. Below 1 kilo ohm, depending on the
  half cell. For convenient quick reference to a half cell struc      resistive material used, it can be more likely that the resis
  ture, the term “electrode' (assigned reference designator           tance of the resistive traces 412 and 413 will increase with
  “109) is used interchangeably with “half cell herein. It is         each successive defibrillation pulse. Above 10 kilo ohms, a
  understood that in typical embodiments, electrode 109 com           high resistance impairs the signal to noise ratio, specifically
  prises conductive surface 404 and electrode gel 103.                due to thermal noise, which has a mean square value of
   0051 Typically, electrodes make use of a circular or               4*k*T*R*BW, where “k' is Boltzmann's constant, “T” is
  square conductive surface. Increasing the ratio of the perim        temperature measured in degrees Kelvin, “R” is resistance in
  eter of the surface to the area of the surface affects current      ohms, and “BW is bandwidth, in Hz, which becomes sig
  density distribution and defibrillation recovery.                   nificant relative to the EC-13 requirement that the noise
   0.052 For convenience, we define the term “annulus’                referred to input be less than 30 V peak-to-valley.
  herein and throughout as the region between two simple               0.058 Power dissipation in the herein described traces can
  curves. A simple curve is a closed curve that does not cross        be calculated by E/R, in which Erefers to the potential across
  itself. Under this definition, an annulus can include Substan       the trace and R is the resistance of the trace. R can be calcu
  tially square shapes, Substantially rectangular shapes, Sub         lated by pI/A, where p is the resistivity of the material used
  stantially circular shapes, Substantially oval shapes, as well as   to form the trace, L is the length of the trace, and A is the
  Substantially rectangular shapes with rounded corners. Fur          cross-sectional area of the trace.
  ther we include in the definition of annulus, the case of a          0059. In developing resistive traces for use on a flexible
  substantially “U” shaped surface as described by a single           printed circuit layer 101, typically formed on a Mylar sub
  closed curve.                                                       strate 406, such as shown in FIG. 4A, various materials were
   0053) One exemplary electrode gel 103 suitable for such            tested. Silver, including silver inks, while useable, was found
  use on a body worn monitor is type LT00063 hydrogel Sup             to be less desirable, because it was difficult to achieve suffi
  plied by Tyco Healthcare of Prague, Czech Republic. Typi            ciently thin silver traces on Mylar to achieve high enough
  cally, a conductive surface 404 creates the electrode portion       resistances. Carbon, including carbon pastes and carbon inks,
  of the half-cell. By increasing the ratio of perimeter to area of   was also tried and found to be suitable. In order to use carbon
  the circular electrode portion of the half cell, the signal to      however, several additional problems had to be solved. At 1
  noise ratio of the input ECG signal can be increased.               kilo ohm, the power dissipated by the resistors caused them to
   0054 As depicted herein on the exemplary circuit layout,           degrade across multiple defibrillation cycles. The solution
  two batteries 304 can be connected in series, with one polarity     was to make carbon traces in the range of about 8 to 10 kilo
  being made available at connection pad 407 from battery             ohms. 10 kilo ohm resistances proved to be a good compro
  connection 402, battery connection 401 creating the series          mise between noise levels, power dissipation by the resistors,
  connection between the two batteries, and connection pad            and manufacturing tolerances for depositing carbon ink on a
  410 providing the second polarity of the series connected           Mylar substrate to dissipate the power from multiple defibril
  batteries. Note that in some embodiments, a single battery          lation cycles. To achieve the desired resistance of about 10
  alternatively may be used in lieu of the exemplary arrange          kilo ohms (interchangeably represented herein as “10 k” or
  ment or two batteries can be also wired in parallel, depending      “10kS2'), for a given resistivity of the carbon paste, and given
  on the Voltage requirements of a particular communications          trace width and thickness (height), the length of the trace is
  and computation module 102.                                         then defined. In some cases, such as for traces 412, the length
   0055 Connection pads 408 and 409 electrically couple the           needed for a trace run, as between conductive surface 404 and
  signals from electrode gels 103 (not shown in FIGS. 4A-4D)          connection point 409, might belonger than the length defined
  via conductive surface 404 and resistive traces 412 to electri      for a particular trace resistance (typically 10 k). In this case,
  cal plug 302 (not shown in FIGS. 4A-4D). Electrode contact          traces can be extended by lengths of silver conductive traces.
  pad 405 can be connected via resistive trace 413 to connection      There can be a short overlay distance, on the order of 5 to 10
  pad 411 to provide a direct-connected reference electrode           mm, in which a silver trace overlaps the carbon trace to
  (not shown in FIGS. 4A-4D). Traces 412 extending between            provide a more robust connection between the resistive and
  conductive surface 404 and connection pads 408 and 409 and          conductive portions of the traces. Where overlap is used, the
  trace 413 extending between conductive surface 405 and              overall length of the resistive portion can be adjusted slightly
  connection pad 411 can be made from resistive materials             to maintain the desired overall resistance.
  including resistive metals, carbon, silverink, powders, paints,      0060 Another problem associated with carbon traces was
  or other material of determinable electrical resistance.            arcing at the interface between the carbon and conductive
   0056 Resistive traces on flexible circuit board layer 101          traces. Arcing was particularly problematic at the abrupt con
  replace the bulky power resistors needed by prior art moni          nection between the carbontrace and conductive surface 404.
  tors, having electrodes or sensors connected by wires or leads.     Arcing was also observed to occur between the end section of
  These resistive traces should survive multiple defibrillation       the carbon trace and conductive surface 404. (Electrode gels
  cycles such that body worn monitor 100 remains functional           103 create the conductive path to the patient through conduc
  even after one or more attempts to re-start a patient's heart. In   tive surface 404 and a layer of conductive gel.)
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   0061 According to one solution to the above noted arcing         resistance of each trace was about 14 kilo ohms. After each
  problem, as shown in FIG. 4B, a rounded (fillet) section 430      trace was subjected to 3 defibrillation cycles, the measured
  of carbon trace can be added at the interface to conductive       resistance increased to about 15 kilo ohms. Over a 3 mm
  surface 404. A fillet or “tear drop' shape causes the carbon      length, the trace widens to about 5 mm, terminating into a
  trace to become gradually wider as it connects to conductive      carbon annulus with an outer diameter of about 20 mm and an
  surface 404 and relieves the electrical potential stress at the   inner diameter of about 10 mm. A silver layer of PF-410 silver
  interface.                                                        ink from the Norcote Corp. of Eastleigh Hampshire, UK was
   0062 An alternative solution to the arcing problem is            then deposited over the carbon annulus, also to an overall
  shown in FIG. 4C, wherein carbon can be laid down beyond          thickness of about 7.5 microns. The deposition of the silver
  the trace (412) to include a pattern of conductive surface 404    layer was via the silk screen printing method, in which a 90T
  formed from carbon. A carbon annulus pattern can be depos         silk screen mesh was used. The Substrate containing the
  ited before the conductive surface 404 is deposited. Conduc       deposited silver ink was then cured inside a fan assisted air
  tive surface 404 can then be deposited as an overlay over the     circulated oven at 120° C. for a period of 15 minutes. A third
  earlier formed carbon annulus shape. Finally, conductive gel      dielectric insulating layer comprising SD2460, components
  103 can be attached to the conductive surface layer (the car      A & B (dielectric and hardener), manufactured by Lackwerke
  bon layer residing between conductive surface 404 and the         Peters GmbH+Co. KG of Kempen, Germany, and having a
  Mylar substrate used as flexible circuit board 101). Both of      thickness of approximately 13 microns was then deposited
  the aforementioned arcing solutions can be used together. It      over the traces and substrate, but not over the annulus. (The
  should also be noted that conductive surface 404 can be           electrodes were formed by attaching a conductive gel to the
  formed from suitable materials other than silver, including,      annulus. The conductive gel used was LT00063 hydrogel
  for example, materials such as silver chloride.                   from Tyco Healthcare of Prague, Czech Republic.) Again, the
   0063 Arcing can also occur between the resistive traces          silk screen printing process was used to deposit the dielectric
  and other (typically silver) conductive traces on the flexible    layer through a 90T screen mesh. The substrate was placed
  circuit board 101. Trace to trace arcing can be suppressed by     again into a fan assisted air circulated oven at 120° C. for a
  allowing Sufficient spacing between the traces. Generally a       period of 30 minutes.
  minimum spacing of about 3 mm/kV, as required by ASNI/             0.066 Example: Silver traces for use as conductive (not
  AAMIDF80:2003 57.10 BB, has been found to be sufficient           resistive) traces on a body worn monitor circuit Substrate
  to prevent trace to trace arcing from a defibrillation event.     were formed from a silver paste that was silkscreened onto a
  Closer trace spacing, as close as 0.01 mm/kV, can be              Mylar substrate. 45 mm long traces had a measured resistance
  employed Successfully by first applying an insulating dielec      in a range of 3.5 to 6 ohms, 75 mm traces had a measured
  tric layer, similar to a conformal coating, over the Surface of   resistance in a range of 6.5 to 13 ohms, and 105 mm traces had
  flexible circuitboard 101 that covers most of the substrate and   a measured resistance in a range of 10 to 16 ohms. The
  traces. The insulating dielectric layer can be prevented from     deposition of the silver layer was performed via the silk
  forming or adhering to conductive Surface 404. Such as by use     screen printing method in which a 90T silk screen mesh was
  of a mask during application of the insulating layer.             used. The Substrate containing the deposited silver ink was
   0064. In an alternate embodiment, as depicted in FIG. 4D,        then cured inside a fan assisted air circulated oven at 120° C.
  a snap device can be added to conductive surface 404 to           for a period of 15 minutes.
  accept a manufacture Snap-on electrode (not shown), such as,       0067 FIG. 15 diagrammatically depicts an exemplary test
  for example, the ConMed Cleartrace line of ECG electrodes         setup used to simulate the effect of a patient defibrillation on
  including the model 1700 Cleartrace electrode manufactured        resistive traces. Defibrillator 1501 was used to apply multiple
  by the ConMed Corp. of Utica, N.Y. or similar type electrodes     defibrillation shocks of 360 Joules each to the 100 ohm resis
  made by the 3M Corp. of St. Paul, Minn. When designed to          tor 1502. The 100 ohm resistor according to this setup simu
  accept a Snap-on electrode, the conductive Surface 404 is         lated a patient’s body. Note that most of the defibrillation
  typically smaller than in the previous embodiment. A recep        energy goes into the patient’s body by design, to restart the
  tacle Snap 432 for receiving the commercial Snap-on elec          patient’s heart. Resistive traces 1503 and 1504 were wired
  trode can be inserted by any suitable method, such as by press    across resistor 1502, also as shown in FIG. 15, in order to
  fitting or other fastening method, into conductive surface 404.   simulate the electrical circuit that would be formed between
  typically also penetrating through Substrate 406. In this         the resistive traces in a body worn monitor situated on a
  embodiment, arcing can be similarly Suppressed in this            patient undergoing defibrillation. Neon bulbs 1506 were used
  embodiment by adding a fillet to the carbon-conductive sur        as part of the protection circuitry that can be used with resis
  face interface and/or deposing a conductive Surface 404 over      tive traces in a body worn monitor. 400 ohm safety resistor
  a carbon layer as previously described.                           1505 was present as a precaution to limit short circuit current
   0065. Example: Resistive traces and an annulus were              in the event of a test setup failure. Both the 100 ohm resistor
  tested on a substrate formed from CT3 heat stabilized treated     (simulating human skin resistance) and the 400 ohm safety
  polyester (75 microns thick), such as manufactured by the         resistor were used in accordance with medical specification
  MacDermid Autotype Corp. of Schaumburg, Ill. Resistive            AAMI EC-13. Following 3 defibrillation shocks of 360
  traces were silk screened onto the substrate using 7102 car       Joules each, the measured resistance of the 10k carbon track
  bon paste conductor from the DuPont Corporation of Wilm           changed from 10k to 11 k following the first shock, to 13.1 k
  ington, Del. The carbon paste conductor was deposited             following the second shock, and to 13.2 k following the third
  through a 43T silk screen mesh. The Substrate containing the      shock. The measured resistance of the 9.7 k trace changed
  paste deposit was then cured inside a fan assisted air circu      from 9.7 k to 11.6 k following the first shock, to 13.0 k
  lated oven at 120° C. for a period of 5 minutes. The traces       following the second shock, and finally to 13.2 k, following
  formed were about 55 mm long and 2 mm wide, having an             the third shock. In a subsequent related test, the 100 ohm
  overall thickness of about 7.5 microns. The initial measured      resistor was replaced by a closer simulation in the form of a
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  fresh (dead) chicken. The setup otherwise remained the same           amplitude limited and filtered signals. In the exemplary body
  as shown in FIG. 15. In this case, the resistance as measured         worn ECG monitor, amplifiers 508 can advantageously be
  on each of the test resistive traces changed from 10.7 k to           differential amplifiers to amplify the difference signal (e.g.
  10.25 k, and from 8.5 k to 9.4 k, following multiple defibril         the ECG “vector”) between two ECG electrodes. The electri
  lations. During testing, it was also noted that the change in         cal output of amplifiers 508 can be electrically coupled to
  measured resistance of the resistive traces was generally con         both PACER circuits 509 and ECG circuits 510. PACER
  sistent. It was also noted that as a given resistive trace was        circuits 509 are described further below. ECG circuits 510
  increased, the (delta R caused by defibrillation/R net trace          perform several functions, including “trace restore', low pass
  resistance) can be minimized.                                         filtering (anti-aliasing), high pass filtering, and amplification
   0068. The screen printing technique for laying down resis            (gain). Low pass filtering filters signals according to the
  tive traces was further investigated by printing a plurality of       Nyquist criterion to avoid aliasing later when the signals are
  small carbon resistive dots 1601 of about 20 mm in diameter           digitized by analog to digital converter (ADC) 516. The high
  using a 7102 carbon ink applied by a screen printer (not              pass filter causes the input to be AC coupled from a roll off
  shown). The carbon dots 1601 were laid out on a tray 1602 as          frequency of about 0.05 Hz, as specified by industry ECG
  shown in FIG. 16A, for baking in an oven. A manually oper             standards. Gain is required to cause the Small pre-amplified
  ated Squeegee (not shown) was used to apply the resistive dots        potentials from physiological sensors (such as electrodes
  1601 to the tray 1602 through a mask (not shown). It was              109) to more closely match the available dynamic range of the
  determined that control of thickness during application was           digitizing ADC 516. Note that ADC 516 can be a dedicated
  one important factor for controlling the distribution of resis        ADC chip or can be included in a microcomputer integrated
  tance. It was noted that during manual application, the varia         circuit. Such as a microcomputer serving as microprocessor
  tion of resistance depended upon the distance between the             S12.
  plurality of dots 1601 and the person applying the resistive           0071. A microprocessor, such as microprocessor 512, is
  paste, and that the pressure applied using the Squeegee could         defined herein as synonymous and interchangeable with the
  also affect the final resistance by a factor of two. It was further   terms “microcomputer”, “microcontroller, and “micropro
  noted that “even heating across the tray 1602 was advanta             cessor. Such microprocessors are also interchangeably rep
  geous during oven drying, although this factor was found to           resented herein as “uP’ or “LLC. Further, any microprocessor
  have less effect on the final dot resistance distribution. A          disclosed herein can be replaced by any integrated device that
  resistance distribution of the baked and measured dots 1601 is        can perform the function of a microprocessor, Such as, but not
  shown in the histogram of FIG. 16B. This testing indicated            limited to, a field programmable gate array (“FPGA) pro
  that production traces laid down on a Substrate, such as Mylar,       grammed to perform the functions of a microprocessor.
  for use in a body worn monitor should preferably be printed            0072 Typically, one or more differential amplifiers can be
  using a semi-automatic screen print process. Such as by a             dedicated to particular difference Voltages associated with
  screen printing mechanical roller process. A digital multim           physiological sensors 501 or 504, but it should be noted that
  eter (“DMM) with probes placed at each edge of a dot 1601             one or more amplifiers 508 can also be multiplexed by tech
  was used to measure the resistance from one edge of the dot           niques as known in the art, to serve multiple physiological
  to the other. It was found that uniform application of ink was        sensors using a lesser number of amplifiers. Similarly, one or
  important to keeping a tight distribution of resistance, with         more ADCs 516 can serve two or more signals from physi
  even heating having a smaller influence on the distribution of        ological sensors 501 or 504 using techniques such as multi
  the resistance of the test dots. Since a trace with too low a         plexing in time that is digitizing one physiological sensor
  resistance has a greater AR/R, and higher probability of fail         difference signal at a time sending a digital result to a next
  ing and very high resistance traces result in worse S/N ratio,        stage one after the other. ECG circuits 510 and PACER cir
  it is important to have a reasonably tight tolerance on the trace     cuits 509 are referred to in the plural, since there can be
  resistance.                                                           individual circuits for each measured physiological signal,
   0069 FIG. 5 shows a block diagram representative of one              such as for each measured ECG vector.
  embodiment of the body worn physiological monitor 100.                (0073 Electrical power from power source 515 can be
  Physiological sensors 501 (such as electrodes 109 in FIG.1D)          regulated by regulator 514 and distributed as regulated volt
  can be electrically coupled to electromechanical connector            age 517 to most function blocks (as represented herein by the
  502 (as by the resistive traces 412 shown in FIG. 4). Connec          label “POWER”). Each of these function blocks also has a
  tor 502 serves to electrically couple communications and              control (“CTRL) input 511 from microprocessor 512, allow
  computation module 102 to a disposable electrode module               ing these circuits to be disabled, when not needed, in order to
  110 (FIG. 2). Secondary connector 503 can also electrically           save battery power. When viewed over time, most of the ECG
  couple one or more additional sensors, which can be situated          waveform does not contain useful information since there is
  both on and off of disposable electrode module 110, to elec           significant “dead time' between heartbeats. Therefore, for
  tromechanical connector 502 for electrical coupling along             example, from the end of a “T wave' at the end of one heart
  with physiological sensor signals 501 to communications and           beat to the beginning of a “P wave' at the beginning of the
  computation module 102 (shown in FIG. 1) via electrome                next heartbeat, circuits can be powered down (in a device
  chanical connector 505. Signals received by the communica             “sleep mode’) to save on the order of 60% of the energy
  tions and computation module 102 can be electrically                  stored in the power source that would have otherwise been
  coupled into communications and computation module 102                used during this dead time.
  via electronic protection circuits 506 and/or filters, such as        (0074 FIG. 17 shows an exemplary ECG waveform. In
  ESIS filters 507.                                                     brief, the P wave can be related to the electrical current
   0070 Signals can be limited or clipped in amplitude, as              causing atrial contraction. The QRS complex can be related to
  needed, by protection circuit 506, and filtered by filter 507.        ventricular contraction of the left and right ventricles. The Q
  One or more analog amplifiers 508 can be used to amplify the          wave can be related to electrical current traveling through the
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  intraventricular septum, while the R and S waves can be                0079. In another embodiment as shown in FIG.7B, virtual
  related to the ventricles contracting. The T-wave is due to the       electrode 702 performs a similar function as previously
  re-polarization of the ventricles. Usually, atrial re-polariza        described with regard to reference electrode 701. In this
  tion occurs atop the QRS complex, and being much smaller              embodiment, instead of creating a DC-coupled reference
  than the QRS complex, is not seen. The ST segment connects            electrode, electrode 701 is replaced by the capacitive cou
  the QRS complex to the T-wave. Irregular or missing waves             pling between flexible printed circuit layer 101 and the patient
  may be indicators of cardiac issues including: ischemic tis           703, resulting in a virtual electrode 702 with an AC coupled
  Sue, e.g. due to myocardial infarction, bundle branch block,          common. Such AC coupling increases with decreased dis
  atrial problems (specifically P-wave abnormalities), peri             tance between flexible printed circuit layer 101 and the
  carditis, and electrolyte disturbance.                                patient and can advantageously reduce 60 HZ common mode
   0075 Generally, power source 515 can include one or                  signals (AC signals).
  more “button” cells typically disposed on disposable elec              0080. In yet another version of a directly connected elec
  trode module 110; however, the block diagram of FIG. 6                trode 701, as shown in FIG. 8A, electrode 701 can be actively
  shows an embodiment of a body worn physiological monitor              driven by an electrical output from communications and com
  100 where power is supplied by a power source located on, or          putation module 102. Typically, an operational amplifier
  connected to communications and computation module 102                (Op.Amp) or other type of amplifier can be used to create a
  instead of residing within disposable electrode module 110.           “driven lead’. Driven lead circuits can be used to further
   0076 Beyond power saving considerations, it can also be              improve CMR over passive electrodes 701 as shown in FIG.
  desirable in some embodiments of body worn physiological              7A. An exemplary circuit suitable for use to drive an electrode
  monitor 100 to put the microcontroller and/or other circuits,         701 is shown in FIG. 8A. Amplifiers (OpAmps) 810 and 811
  including particularly digital circuits, into a sleep mode dur        buffer the high impedance signals from electrode 1 and 2
  ing an ADC conversion cycle to minimize pickup of self                (exemplary electrodes 109). Difference amplifier 508 con
  generated electrical noise and to minimize power use. Pref            veys the difference signal (such as an ECG vector) as previ
  erably, the A/D circuit can acquire multiple samples and              ously described. The two 10 kilo ohm resistors provide an
  buffer the samples, before awakening the microprocessor,              average of the common mode signals appearing simulta
  which then can batch-process the data. Buffering can be set to        neously at the inputs of buffer amplifiers 810 and 811. The
  match the patient's heart rate, as there is no significant clinical   inverting low pass filter built around OpAmp 812 inverts the
  benefit to analyzing every sample as it is taken.                     averaged common mode pickup signal (at electrodes 1 and 2)
   0.077 Turning back to the input circuits, typically ampli            and applies that signal out of phase (180 degree phase shifted)
  fiers 508 are differential or instrumentation amplifiers useful       to a directly connected driven electrode (such as electrode
  to selectively amplify desired difference signals between con         701). By applying the average common mode signal to the
  nector terminals (Such as an ECG vector), while rejecting             driven electrode, amplifier812 effectively suppresses com
  common mode signals (such as interfering signals that appear          mon mode signals at electrodes 1 and 2 within the effective
  simultaneously on both connector terminals). Beyond using a           bandwidth of the negative feedback loop by active noise
  differential amplifier, other techniques can be advantageously        cancellation. In theory, a virtual electrode 702 could be simi
  used to further reduce common mode pickup (CMR) and thus              larly driven, but the Voltage requirements to drive a capaci
  to improve the common mode rejection ratio (CMRR) of the              tively coupled common electrode are high enough to make a
  input amplifier stages of body worn physiological monitor             “driven virtual electrode a less practical option. Thus, it can
  100. CMR is of particular concern with regard to body worn            be seen that a reference electrode can be a passive connection
  physiological monitor 100 because of the proliferation of             or an actively driven connection.
  potentially interfering electromagnetic fields, such as from 50        0081. It can also be desirable to have more than one CMR
  HZ or 60Hz AC power line distribution throughout a hospital.          technique available. For example, in a low noise environment,
  For example, many fluorescent ceiling lamp fixtures generate          a lower power reference electrode might be used for CMR.
  strong 60 Hz, alternating current (AC) electromagnetic fields         Then if the noise increases to a level where the reference
  that can appear as common mode signals on physiological               electrode provides insufficient CMR, the body worn monitor
  sensors 501, such as ECG electrodes 109.                              can switch to a driven lead more suitable for CMR in a high
   0078 FIG. 7A shows one embodiment in which body                      noise environment. In this embodiment, a particular CMR
  worn physiological sensor 501 comprises a plurality of ECG            configuration can be selected by electronic switching. FIG. 8
  electrodes 109 and 701. Two electrodes 109 generate an ECG            shows one such exemplary Switching block represented as
  difference potential for patient 703. A third electrode, refer        reference electrode switch 801. Microprocessor (uP) 512 can
  ence electrode 701 can be electrically coupled to electronics         control reference electrode switch 801 to select direct con
  common 704 (or other potential level) and can be used to              nected electrode 701, virtual electrode 702, or directly con
  improve CMR. In this embodiment, the electronics common               nected electrode 701 additionally driven by a driven lead
  704 (shown as the negative terminal of the battery in FIG.7A)         circuit 802. It should also be noted that in the embodiment of
  can be directly tied to the patient in the vicinity of electrodes     FIG. 8, when virtual electrode 702 provides sufficient CMR,
  109. Thus, the electronics common of the electronic circuits          electrode 701 can be used as a third electrode, thus allowing
  in communications and computation module 102 can be                   body worn monitor 100 to simultaneously measure two dif
  made to more closely follow any change in potential in the            ferent heart vectors.
  vicinity of electrodes 109. Reference electrode 701 can be            I0082 FIG. 9 shows one embodiment of an exemplary
  particularly helpful to ensure that inputs 109 remain within a        defibrillation protection circuit (506) and ESIS filter 507. As
  reasonably narrow common mode range. Such as by reducing              shown in FIG. 9, electrodes 109 can be connected via input
  a 60 Hz, potential that would otherwise appear to move the            resistors R91 and R92. Gas discharge tubes, such as neon
  electronics common 704 at 60 Hz, with respect to electrodes           bulbs L1 and L2, can be used for over voltage protection by
  109.                                                                  firing at a designed Voltage to prevent large potentials from
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  appearing at the input leads to amplifier 508. The gas dis          I0087 PACER circuit 509 detects pacemaker pulses. One
  charge tubes can be disposed on either disposable electrode         reason to detect a pacemaker is to prevent the ECG circuitry
  module 110 or on the communication and computation mod              from inadvertently registering the regular pulses from a pace
  ule 102. Defibrillation protection resistors R91 and R92 can        maker as an actual heart rhythm. Separation of a pacemaker
  further reside in disposable electrode module 110, such as in       signal from signals generated by the heart is important both to
  the form of the resistance of traces 412.                           generate accurate ECG analysis results as well as to correctly
  I0083. ESIS filters 507 can be used to satisfy AAMI stan            detect the absence of an actual heart rhythm. For example, a
  dard EC13 on Electrosurgical Interference Suppression               pacemaker continues to function even where a human heart
  (ESIS). Standard EC13 addresses the ability of an ECG moni          has completely failed.
  torto display and process ECG signals in a satisfactory man         I0088 A pacer event (pacemaker signal) is typically a nar
  ner while connected to a patient on whom an electroSurgical         row pulse typically less than 100 microseconds wide.
  device is being used. Without such suppression, the high RF         Because of the capacitance between the pacer in a patient and
  output of an electroSurgical device can render ECG monitor          an ECG circuit, an otherwise relatively square pacer pulse as
  ing impossible and or render the monitor unusable. Resistors        administered at the patient's heartby a pacemaker, can appear
  R93 to R98 and capacitors C91 to C96 form cascaded low              to an ECG monitor as a pulse with a negative undershoot and
  pass filter sections (e.g. R93-C1). Three cascaded single pole      an exponential return to Zero that could inadvertently mimic
  filters are shown on each input leg of amplifier 508 as an          a QRS signal. A pacer signal, however, can be recognized by
  example; more or less stages can also be used. It is also not       an analog differentiator and alert microprocessor 512 to the
  necessary for each section of the cascaded filter to have iden      presence of a pacer and to disregard the refractory period of
  tical values or roll off points in the frequency domain to create   the corresponding R-C recovery due to the pacer signal. The
  a specific response, e.g., Bessel, Chebychev, or other filter       pacer detection circuit or PACER circuit can generate a
  response known to those skilled in the art. Also, ESIS filters      microprocessor interrupt to inform the microprocessor that a
  are not limited to cascaded single pole filters and can take        pacer event occurred and to marka corresponding physiologi
  other forms as known in the art.                                    cal signal in time as related to a pacer event. PACER circuit
   0084 Test circuit 906 can provide a relatively sharp tran          509 can also cause one or more pacer related circuits to
  sient signal for testing the PACER circuit described below as       automatically power down for power saving, where it is deter
  part of a body worn monitor 100 “power on self test”. Resis         mined that a patient is not using a pacemaker.
  tors R99 and R100 can pull the output of the differential           I0089 FIG. 11 shows an algorithm useful to determine if
  amplifier 508 allowing the microcontroller (512) to detect          the pacer circuit should be enabled. A typical PACER detec
  which electrode, if any, has detached, much as a “lead failed       tion circuit uses a significant percentage of the energy avail
  detection is accomplished by ECG monitors having leads.             able from a power source such as batteries 204. If a PACER
  Body worn monitor 100 does not use leads, but it is still           signal is not detected, such as at power up of body worn
  possible for one or both of the physiological sensors to move       monitor 100, the pacer circuit can be automatically disabled
  free of a patient’s body. Such disconnects can occur in situ        allowing for a longer battery life. Since typical PACER cir
  ations in which body worn monitor 100 partially moves away          cuits can use several amplifiers (Op.Amps), they can consume
  from the body to which it is non-permanently affixed. The           up to one third of the analog power, therefore securing the
  input impedance at one or both of the electrodes 109 changes        PACER circuits when they are not needed (i.e. the patient
  in a sensor off (sensor disconnect) event. When a patient is        does not have a pace maker) can cause a significant improve
  attached, amplifier 508 typically has an output voltage of near     ment in battery life. The algorithm also can also provide
  Zero volts. However, if one of the electrodes 109 comes off,        checks to determine if a demand type pace maker begins
  resistors R99 or R100 cause the output of amplifier 508 to          operation (which might be inactive at power up of body worn
  move to a most positive output (“positive rail’) or to a most       monitor 100) by analyzing beat variability. While it can be
  negative output (“negative rail'). Note that the negative rail      advantageous to have the body worn device automatically
  can be a small Voltage near Zero, in the case of single Supply      sense the presence of a pacemaker and to enable the PACER
  circuit operation, and that both inputs could be pulled to the      detection circuit, the choice as to whether to enable or disable
  same rail. Lead-fail detection can also be analyzed to deter        the PACER circuit can also be done by externally configuring
  mine when the device is attached to the patient and then to         the body worn device. Such external configuration can be
  automatically enter full operational mode. Such analysis can        done through a hardwired communication connection cable
  be done at a low frequency.                                         or via communications and computation module 102, in
  I0085. The ESIS filter 507 also can cause a stretching in the       which communications and computation module 102 is a
  time domain of a pacer pulse so that the event is recorded by       two-way radio transceiver communication device capable of
  at least one sample, even though the pacer pulse itself is of       receiving a configuration command sent for a remote radio
  small duration compared to the ADC sample rate and the              transceiver. The radio could be 802.11 compliant, but gener
  pacer pulse is likely to occur between samples.                     ally would use a lighter-weight (simpler) protocol that can be
  I0086 FIG. 10 shows an alternative circuit to accomplish            more energy efficient. A suitable lighter weight protocol
  over Voltage protection, such as is required during defibrilla      could be proprietary, or standards-based. Such as ZigBee or
  tion. In FIG. 10, diodes 1001 prevent the electrode potentials      Bluetooth. Abody worn physiological monitor 100 is particu
  from going much more than one diode Voltage drop above              larly well suited for use in hospital environment as part of an
  Vcc or below ground and resistors R91 and R92 limit current.        integrated wireless monitoring network. The details of Such
  Using circuit protection, Such as gas discharge tubes L1 and        monitoring networks are disclosed in U.S. patent application
  L2 (FIG. 9) and/or diodes 1001 (FIG. 10) combined with              Ser. No. 11/031,736 entitled, “Personal Status Physiological
  resistances R91 and R92, typically in the form of resistive         Monitor System and Architecture and Related Monitoring
  traces 412, a body worn device can survive multiple defibril        Methods', which is incorporated by reference herein in its
  lation cycles of at least 360 joules.                               entirety.
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   0090 FIG. 12 shows a high pass filter (HPF) suitable for             Source. An internal power source can be a renewable power
  use in ECG circuits block510. An advantage of a 0.5 Hz HPF            Source. Such as a rechargeable battery.
  is faster recovery from DC offsets due to patient movement,            0094. Another type of internal power source is a Peltier
  defibrillation, electrocuatery, etc. However ST segment               device operated in reverse, also called a Seebeck device.
  analysis is negatively impacted if HPF cutoff is greater than         Seebeck discovered that a conductor generates a Voltage
  about 0.05 Hz. Thus, it is preferable to have the ability to          when Subjected to a temperature gradient. Thermoelectric
  change between a 0.5 and 0.05 Hz cutoff frequency. The high           couples are solid-state devices capable of generating electri
  pass filter of FIG. 12 is implemented by a low pass filter            cal power from a temperature gradient, known as the Seebeck
  configured as an inverting amplifier in a negative feedback           effect. (By contrast, the Peltier effect refers to the situation
  circuit to give a net effective high pass transfer function from      where electrical energy is converted into a temperature gra
  circuit input to output. The corner frequency of the composite        dient.) A Seebeck device “couple' consists of one N-type and
  filter can be adjusted by switching in resistor R2. Alterna           one P-type semiconductor pellet. The temperature differen
  tively, S1 can be switched at a periodic rate to place a duty         tial causes electron flow from hot to cold in the N-type couple
  cycle on C. Note that the frequency of switching of SI should         and hole flow from hot to cold in the P-type couple. To create
  be fast with respect to the corner frequency of the anti-alias        an electromotive force (EMF), the following connections are
  ing low pass filter. The graphs A-D of FIG. 13 further illus          made: On the cold side (i.e. the side that is exposed to room
  trate the performance of the exemplary filter of FIG. 12. These       temperature) the pellets are joined and on the hot side (i.e. the
                                                                        patient side), the pellets are connected to a load. Such as the
  graphs show normalized amplitude on the vertical axis plot            computation and communication module 102. The open cir
  ted against frequency on the horizontal axis. FIG. 13, graph A        cuit voltage of a Seebeck device is given by V=SAT, in which
  represents a raw input signal. FIG. 13, graphs B and C are            S is the Seebeck coefficient in volts, K and AT is the tem
  Bode Plots representing the high and low-pass filter sections.        perature difference between the hot and cold sides. It is a
  After applying filter responses B & C to input Data A, filtered       challenge today to completely power the computation and
  data D is the result. The HPF cutoff can be 0.5 Hz or some            communication module 102 from a Seebeck device that is of
  lower value depending on whether R2 is switching in or if C           the same size as the computation and communication module
  is duty cycled.                                                       102. Presently, a Seebeck device may only provide supple
   0091 Another method to achieve this frequency change is              mentary power, but as electronics migrate toward lower
  to use digital filters implemented on Microprocessor 512 to           power and Seebeck coefficients and thermocouple densities
  reverse the effects of the 0.5 Hz HPF, then implement a digital       improve, a Seebeck device can be a viable long-term power
  HPF at a lower cutoff frequency, 0.05 Hz, for example. The            Solution for a patient-worn monitor. Other methods of gener
  response of the 0.5 Hz filter should be known to implement            ating energy, Such as mechanical (as is used in Some wrist
  the inverse filter. This response can be measured using micro         watches) and Solar, can also be viable methods for providing
  processor 512 to trigger the test circuit 906 to create an            a renewable self-contained power source for a body worn
  impulse, H(s). The inverse response is the 1-H(s) (FIG. 13,           monitor.
  graph E) and this inverse filter can be digitally implemented          0.095 Turning to analysis routines suitable for use on a
  by methods familiar to those skilled in the art. H'(s) is the         body worn monitor, typically, ECG beat picking, Such as by
  frequency response of the new HPF with lower cutoff fre               using wavelet or Fourier transforms and/or matched filter
  quency, nominally 0.05 Hz. The digital filter for H'(s) is            analysis in the time domain can be computationally expen
  digitally generated (F) and applied along with 1-H(s) (FIG.           sive. Modeling the QRS pulse as three triangles with alter
  13, graphE), resulting in the frequency response displayed in         nating polarities creates a rough matched filter for the QRS
  FIG. 13, graph G. A high pass filter suitable for use in ECG          pulse. Taking the second derivative results in impulse func
  circuits block 510 can be implemented in full or in part by           tions at the peaks of the triangles (where the first derivative is
  software that can run on microprocessor 512.                          discontinuous), and all other points are Zero. The second
   0092 FIG. 14 shows how a body worn monitor 100 con                   derivative method also makes the convolution with incoming
  figured as an ECG monitor can be situated on a patient in at          data extremely efficient as most of the multiplies have a 0 as
  least two different orientations to measure different heart           the multiplicand and requires minimal computation. The
  vectors. A primary heart vector is measured by orientation            result can then be integrated twice to produce a matched-filter
  from the patient’s right shoulder to the left hip, as shown by        output, which can be fed into the beat-picking algorithm that
  position 1401. An alternative position 1402 can be more               provides fiducial marks. Using a second matched filter that is
  Suitable where there is injury or where patient anatomy is            sinusoidal in shape and with appropriate discriminators, the
  such that it causes the preferred position 1401 to be less            system can provide indications of Life Threatening Arrhyth
  desirable. Also, body worn monitor 100 can be affixed to the          mias (LTA); that is, Asystole, Vfib, and Vitach. While the
  side of patient 703 (similar to a measurement made by a               accuracy of this system is less competitive with a high-end
  conventional ECG “V” lead) or back of a patient 703 (such as          Arrhythmia Solutions such as those provided, for example, by
  where a patient needs to sleep on their stomach) to monitor           Mortara, the filters can be tuned to err toward false positives
  still other ECG vectors (not shown). In effect, a body worn           and upon a positive LTA response, activate transmission of
  monitor 100 can be placed to pick a particular vector that can        full waveforms.
  be traversed by the electrodes 109. For example at least the           0096 Research has also shown that analysis of the R-R
  first three primary heart vectors, i.e. I, II, and III, can be made   portion of the ECG waveform interval statistics can provide a
  conveniently available in this manner.                                method to predict atrial flutter. Applying this and other low
   0093. While illustrated with an internal battery, it is impor        computational cost methods can allow a body worn monitor
  tant to note that a body worn physiological monitor 100 can           device to begin transmitting full waveforms for either clinical
  be powered by either an internal power source only, an exter          or algorithmic analysis by a more powerful engine, when the
  nal power source only, or by an internal or an external power         probability of other arrhythmias is high. Transmitting only
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  the R-R intervals of ECG waveforms is an example of a lossy       skilled in the art that various changes in detail may be effected
  data compression method. R-R intervals comprise a string of       therein without departing from the spirit and scope of the
  data and the string of data can also be compressed. Lossless or   invention as defined by the following claims. It is further
  lossy data compression of the entire waveform can be imple        understood that several aspects of the invention, including,
  mented to save battery life, including not transmitting (or       but not limited to, defibrillation protection resistors, pacer
  perhaps not even sampling) data between the T and the P           detect circuit disabling, methods for ECG signal high pass
  wave. Because data compression results in less data to trans      filtering, and various other low power modes are not limited to
  mit, the power saved may offset the computation cost of the       body worn monitors, and can be used in ECG monitors of any
  data compression.                                                 type.
   0097 While we have referred often to ECG applications              We claim:
  herein, the application of low-intensity computational meth
  ods as a power saving measure apply equally well to other           1. A body worn patient monitoring device comprising:
  types of low power-sensors, including, but not limited to           at least one disposable module including a plurality of
  EEG, SPO, temperature, and invasive or non-invasive blood                 electrical connections, the electrical connections cou
  pressure measurements. Whether the body-worn medical                      plable to a skin Surface to measure physiological signals,
  grade monitor performs complex analysis or simply com                     the at least one disposable module including a dispos
  pares a single numeric value to a single numeric limit, the               able module connector;
  device can function in a low-power radio state until a prede        at least one internal or external power Source to power the
  termined threshold is exceeded. A body worn monitor can                body worn patient monitoring device; and
  also periodically send data or send data upon external request.     at least one communication-computation module, having a
  Additionally, external devices can send commands to modify             communication-computation module connector to
  the operating parameters and thresholds.                               receive physiological signals from the at least one dis
   0098 Turning to other communication matters, it may be                posable module via said disposable module connector,
  that adverse events occur in which no uplink is available. In a        the communication-computation module including at
  case of no uplink (failed communications), the body worn               least one microprocessor to actively monitor the patient
  monitor can buffer time-stamped waveforms corresponding                and to perform a real-time physiological analysis of the
  to any adverse events. The buffers can also store waveforms            physiological signals and a radio circuit to communicate
  for later analysis in which this storage is triggered by the           an unprocessed physiological signal or a result of the
  patient when the patient recognizes a condition, such as chest         physiological analysis at a predetermined time or on the
  pain. In the case of an alarm that occurs when there is no             occurrence of a predetermined event, via a radio trans
  uplink, alarms can be configured to be latched until confirmed            mission to a remote radio receiver, wherein the at least
  by a clinician. Preferably, non-continuous data are marked              one disposable module is mechanically and electrically
  (time stamp, sample number) to allow correlation of non                 coupled directly to the at least one communication-com
  continuous data with continuous data and data are also                  putation module and the body worn patient monitoring
  marked to indicate when an alarm was initiated for later data           device including the at least one disposable module and
  analysis, including algorithm performance analysis.                     the at least one communication-computation module is
   0099. In those instances in which many body worn moni                  directly non-permanently affixed to the skin surface of
  tor devices are used in close proximity to one another, there           the patient.
  can be concern that the reports from one body worn monitor           2. The body worn device of claim 1, wherein the plurality
  might be interchanged with reports from another body worn         of electrical connections to the body comprise at least one of
  monitor. The body worn monitor presented herein, can be           direct electrical connections to the body and indirect electri
  configured with a patient context (i.e. name, room number,        cal connections to the body.
  patient ID, age, etc) and can maintain that context for as long      3. The body worn device of claim 2, wherein the indirect
  as the monitor is connected to the patient to avoid Such prob     electrical connections to the body comprise capacitive con
  lems. The body worn monitor can determine the status of its       nections to the body.
  connection to the patient via a continuous vital signs monitor,      4. The body worn device of claim 1, wherein the body worn
  pressure, temperature, galvanic response, or similar input.       patient monitoring device comprises an ECG monitor and at
  Upon detection of a loss of connection with a patient, the        least two of the electrical connections are ECG electrodes.
  device can, depending upon different variable settings, either      5. The body worn device of claim 4, wherein the ECG
  erase the patient context or when re-connected to the patient,    electrodes comprise a material screened onto a flexible sub
  require the care giver to confirm the patient context. When the   Strate.
  body worn monitor is initially powered up or connected to a          6. The body worn device of claim 5, further comprising at
  patient, it can have a time holdoff for alarms to prevent false   least one series current-limiting resistor to protect the com
  alarms (e.g. low heart rate, lead-fail detection) while the       munication-computation module during a patient defibrilla
  system stabilizes.                                                tion event.
   0100 Regarding firmware updates, where there are large              7. The body worn device of claim 6, wherein the least one
  numbers of body worn monitors in a hospital, it can be prob       series current-limiting resistor comprises a resistor screened
  lematic to keep them all updated with the latest version of       on the flexible substrate.
  firmware. One solution to this problem is to provide a wireless      8. The body worn device of claim 7, wherein the mechani
  update ability for downloading and installing new firmware        cal interface from the at least one series current-limiting
  and/or configurations into all of the body worn monitors.         resistor to the ECG electrode includes a filleted edge.
   0101 While the present invention has been particularly              9. The body worn device of claim 7, wherein the mechani
  shown and described with reference to the preferred mode as       cal interface from the at least one series current-limiting
  illustrated in the drawings, it will be understood by one         resistor to the ECG electrode comprises overlapped layers.
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     10. The body worn device of claim 9, wherein the over              29. The body worn device of claim 26, wherein the device
  lapped layers comprise a carbon resistive layer screened over      is configured by an external input to enable or disable the
  a conductive surface, the carbon resistive layer having Sub        pacer detect circuit.
  stantially the same shape as the conductive surface.                  30. The body worn device of claim 1, wherein the body
     11. The body worn device of claim 6, further comprising an      worn device includes circuit protection to allow the device to
  insulating material overlaying the at least one series current     survive multiple defibrillation cycles of at least 360 joules.
  limiting resistor to prevent arcing.                                  31. The body worn device of claim 30, wherein the circuit
     12. The body worn device of claim 5, wherein the ECG            protection comprises a gas discharge tube or a plurality of
  electrodes are formed Substantially in the shape of an annulus.    diodes to clamp or limit the signals from the electrical con
     13. The body worn device of claim 12, wherein the annulus       nections.
  comprises a conductive ink.                                           32. The body worn device of claim 30, wherein a plurality
     14. The body worn device of claim 5, wherein the substrate      of components of the circuit protection are distributed
  is shaped to allow placement on the patient to monitor at least    between the disposable module and the communication-com
  one of a set of standard ECG vectors while simultaneously          putation module.
  reducing motion and muscle artifact in the corresponding              33. The body worn device of claim 1, further comprising a
  ECG vector signal.                                                 high pass filter with a selectable corner frequency to filter the
     15. The body worn device of claim 1, wherein the at least       physiological signals.
  one power source is a renewable power source internal to the          34. The body worn device of claim 33, wherein the corner
  body worn device.                                                  frequency is selected by a Switch selectable resistance.
     16. The body worn device of claim 1, wherein the at least          35. The body worn device of claim 33, wherein the corner
  one power Source comprises a rechargeable battery or a one         frequency is selected by one or more Switching capacitors
  time use battery.                                                  Switched a rate higher than the corner frequency of a low pass
     17. The body worn device of claim 1, wherein the at least       anti-aliasing filter.
  one power source is a battery contained within said dispos            36. The body worn device of claim 33, wherein the high
  able module.                                                       pass filter is implemented in Software running on the micro
                                                                     processor.
    18. The body worn device of claim 1, wherein the at least
  one power source is a Seebeck device.                                 37. The body worn device of claim 1, wherein the body
    19. The body worn device of claim 1, wherein one of the          worn device self checks a pacer detection circuit by injecting
  electrical connections is a reference electrode that can be used   a simulated pacer pulse into a front end amplifier to stimulate
  to improve common mode rejection (CMR).                            the pacer detection circuit by simulating the presence of a
                                                                     patient’s pace maker.
     20. The body worn device of claim 1, further comprising a          38. The body worn device of claim 1, wherein the commu
  virtual electrode as a reference electrode to improve CMR.         nication-computation module includes circuit components to
     21. The body worn device of claim 20, wherein the virtual       detect failure of contact of one or more of the electrical
  electrode is an electrode situated near the skin of the patient,   connections with the skin Surface of the patient.
  but not directly connected to the skin.                              39. The body worn device of claim 1, wherein the commu
     22. The body worn device of claim 20, wherein the virtual       nication-computation module is protected from external high
  electrode comprises a capacitive coupling of a body of the         energy signals by electro-Surgical isolation Suppression cir
  communication-computation module to the skin Surface of            cuits.
  the patient to reduce power line frequency interference.             40. The body worn device of claim 1, wherein the micro
     23. The body worn device of claim 20, including a refer         processor automatically enters a sleep mode during a conver
  ence electrode Switch for selectively choosing between using       sion cycle of an analog to digital converter (ADC) to mini
  the virtual electrode as the reference electrode and a directly    mize noise pickup from digital circuits on the body worn
  connected electrode as the reference electrode and wherein         device.
  when the reference electrode switch selects the virtual elec
                                                                        41. The body worn device of claim 1, wherein an algorithm
  trode, the directly connected electrode can be used as an          running on a microprocessor in the body worn device causes
  additional ECG electrode.
                                                                     the body worn device to enter a low power mode that disables
    24. The body worn device of claim 20, wherein the refer          at least one circuit of the body worn device, from the end of a
  ence electrode is a passive electrical connection or the refer     “T wave' at the end of one heartbeat to the beginning of a “P
  ence electrode is actively driven.                                 wave' at the beginning of the next heartbeat, to save power.
    25. The body worn device of claim 1, wherein the commu              42. The body worn device of claim 4, including an ESIS
  nication-computation module includes a pacer detection cir         filter having a low enough corner frequency Such that the
  cuit.                                                              energy from a pacer pulse is recorded by at least one sample,
     26. The body worn device of claim 25, wherein the pacer         even though the pacer pulse itself is of Small duration com
  detection circuit generates a microprocessor interrupt to          pared to the sample rate and the pacer pulse occurs between
  inform the microprocessor that a pacer event occurred.             samples.
     27. The body worn device of claim 26, wherein the micro            43. The body worn device of claim 1, wherein neon bulbs
  processor interrupt is used to mark a corresponding physi          connected from the physiological sensors to an electronics
  ological signal in time as related to a pacer event.               common (ground) protect one or more internal circuits of the
     28. The body worn device of claim 26, wherein the device        communication-computation module from a defibrillation
  automatically determines if a patient has a pacemaker and          pulse.
  only enables the pacer detect circuit when a pacemaker is             44. The body worn device of claim 1, wherein a plurality of
  present.                                                           diodes disposed between the physiological sensors and an
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  electronics common (ground) protect one or more internal                  54. An ECG monitor comprising:
  circuits of the communication-computation module from a                   a plurality of electrical connections, said plurality of elec
  defibrillation pulse.                                                        trical connections being couplable to a skin Surface to
     45. A method of providing high Voltage circuit protection                 measure patient heartbeat signals;
  for a body worn monitor comprising the steps of                           at least one internal or external power Source to power the
     providing a Substrate that Supports one or more electrical                ECG monitor; and
        connections to a patient’s body;                                    an ECG electronics module to receive and process patient
     determining a print pattern and thickness of a first material            heartbeat signals from said plurality of electrical con
        having a first resistivity to be printed on the substrate;            nections and including a pacer detect circuit to detect the
     determining a print pattern and thickness of a second mate               presence or absence of a pacemaker, said ECG electron
        rial having a second resistivity to be printed on the Sub             ics module drawing power as an electrical load on said
       Strate;                                                                power source wherein said pacer detect circuit, upon
    printing the first material onto the Substrate; and                       detection of the absence of a pacemaker signal in a
    printing the second material onto the Substrate wherein at                patient being monitored by the ECG monitor, causes
       least part of the second the material overlays the first               said ECG electronics module to disable said pacer detect
       material.                                                               circuit in order to reduce said electrical load on said
     46. The method of claim 45, wherein both of the steps of                  power source.
  determining a print pattern and thickness of both the first and           55. The ECG monitor of claim 54, wherein said power
  second materials comprise the additional steps of determin              Source is a battery.
  ing a print pattern and thickness of both the first and second            56. A method to improve ECG signal high pass filtering
  materials, including a filleted section.                                including the steps of
     47. The method of claim 45, wherein both of the steps of               providing an ECG monitor having a programmed micro
  determining a print pattern and thickness of both the first and              processor and a plurality of electrical connections to
  second materials comprise the further steps of determining a                 measure patient heartbeat signals;
  print pattern and thickness of both the first and second mate             filtering said measured heartbeat signals with an analog
  rials to achieve a total resistance value.                                   high pass filter having a analog high pass cutoff fre
     48. The method of claim 45, wherein both of the steps of                  quency:
  determining a print pattern and thickness of both the first and           removing the effects of said analog high pass filter with a
  second materials comprise the further steps of determining a                 digital inverse filter algorithm resulting in substantially
  print pattern and thickness of both the first and second mate                unfiltered heartbeat signals;
  rials to achieve a spacing between two or more electrical                 filtering said Substantially unfiltered heartbeat signals digi
  traces of the print pattern, and applying an insulating layer                tally using a digital filter having a digital high pass filter
  after the step of printing of the second material.                           cutoff frequency lower than said analog cutoff fre
     49. An ECG monitor comprising:                                            quency.
     a plurality of electrical connections including at least one
        electrode, the electrical connections being couplable to a           57. The method of claim 56, wherein the step of filtering
        skin Surface to measure patient heartbeat signals;                said measured heartbeat signals with an analog high pass
     at least one internal or external power Source to power the          filter comprises the step offiltering said measured physiologi
       ECG monitor;                                                       cal signals with an analog high pass filter having a 0.5 HZ
    at least one current-limiting defibrillation protection resis         analog high pass cutoff frequency, and the step of filtering
       tor, said at least one current-limiting defibrillation pro         said Substantially unfiltered heartbeat signals digitally com
       tection resistor comprising a resistor screened onto a             prises the step of filtering said substantially unfiltered heart
       Substrate; and                                                     beat signals digitally using a digital filter having a digital 0.05
    an ECG electronics module, to receive and process patient             HZ high pass filter cutoff frequency.
      heartbeat signals from said plurality of electrical con                58. An ECG monitor comprising:
      nections, wherein said at least one current-limiting                   a plurality of electrical connections, said electrical connec
      defibrillation protection resistor is electrically disposed               tions being couplable to a skin Surface to measure patient
      between at least one of said plurality of electrical con                  heartbeat signals;
       nections and said ECG electronics module.                             at least one internal or external power Source to power the
    50. The ECG monitor of claim 49, wherein said at least one                 ECG monitor; and
  current-limiting defibrillation protection resistor comprises a           an ECG electronics module to receive and process heart
  resistor screened onto a flexible substrate.                                beat signals from said plurality of electrical connections,
    51. The ECG monitor of claim 49, wherein a mechanical                     said ECG electronics module drawing power as an elec
  interface is defined from said at least one series current                  trical load on said power source, said ECG electronics
  limiting resistor to said at least one ECG electrode, said                  module including a microprocessor to process heartbeat
  mechanical interface including a filleted edge.                             signals, wherein an algorithm running on said micropro
    52. The ECG monitor of claim 49, wherein a mechanical                     cessor causes the ECG monitor to enter a low power
  interface is defined from the at least one series current-limit              mode that disables at least one circuit of the ECG elec
  ing resistor to said at least one ECG electrode, said mechani                tronics module, from the end of a “T wave' at the end of
  cal interface including a plurality of overlapped layers.                    one heartbeat to the beginning of a “P wave' at the
     53. The ECG monitor of claim 52, wherein said plurality of                beginning of the next heartbeat, in order to reduce said
  overlapped layers comprise a carbon resistive layer screened                 electrical load on said power source.
  over a conductive surface, the carbon resistive layer having
  Substantially the same shape as said conductive Surface.                                           c   c   c   c    c
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                       Exhibit 19
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                                                                                            US0085.385 03B2


  (12) United States Patent                                               (10) Patent No.:               US 8,538,503 B2
         Kumar et al.                                                     (45) Date of Patent:                    Sep. 17, 2013
  (54) DEVICE FEATURES AND DESIGN                                      (56)                  References Cited
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  (75) Inventors: Uday N. Kumar, San Francisco, CA                            3,215,136 A     11/1965 Holter et al.
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  (73) Assignee: iRhythm Technologies, Inc., San                                        OTHER PUBLICATIONS
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                                                                       quicksheet (2004).*
  (*) Notice:        Subject to any disclaimer, the term of this
                     patent is extended or adjusted under 35                               (Continued)
                     U.S.C. 154(b) by 0 days.
                                                                       Primary Examiner — Lee S Cohen
  (21) Appl. No.: 13/563,546                                           Assistant Examiner — Erin M Cardinal
                                                                       (74) Attorney, Agent, or Firm — Knobbe, Martens, Olson &
  (22) Filed:        Jul. 31, 2012                                     Bear LLP
  (65)                   Prior Publication Data                        (57)                   ABSTRACT
         US 2012/031OO7OA1            Dec. 6, 2012                     An electronic device for long-term adhesion to a mammal
                                                                       includes a housing with an electronic component. The elec
                  Related U.S. Application Data                        tronic device may include a first wing and a second wing, each
  (63) Continuation of application No. 13/106,750, filed on            being integrally formed with the housing. An electrode is
       May 12, 2011.                                                   positioned on a bottom surface of each of the wings, the
                                                                       electrodes electrically connected to the electronic compo
  (60) Provisional application No. 61/334,081, filed on May            nent. An adhesive layer is provided for adhesion to a surface
         12, 2010.                                                     of the mammal. The adhesive layer may cover a portion of the
                                                                       bottom Surfaces of the wings but generally does not cover the
  (51) Int. Cl.                                                        electrode or a bottom surface of the housing. A method of
         A6 IB5/0408              (2006.01)                            applying an electronic device to a mammal includes remov
  (52) U.S. Cl.                                                        ing first and second adhesive covers from first and second
         USPC ............................ 600/391; 600/382; 600/393   wings of the electronic device to expose an electrode and an
  (58) Field of Classification Search                                  adhesive coated on a bottom Surface of each wing.
         USPC .................. 600/372, 382, 391,392,393,509
         See application file for complete search history.                            17 Claims, 11 Drawing Sheets




                                                             elec Shdirt barrier            126 adh guard off
                                                                                                     adhesion
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              100           104.               02      106

                                       -------------
                                        Detect Store
                                            Elect




                                                             F.G. 1
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                                                            FG, 1F
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                                       108




                                                                FG. 2B
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                        OO

                                        O2
                501     104      194               196     106

                         154. 144            146         56
                                                                     FIG. 5A


                         100
                                         102
                   50    104     194                196         06


                               54 44         148          156        FG 5B




                         100

                                 194    102 196




                                                                     F.G. 5C
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            801a    814                                   814   80b
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                                   elec Shdirt barrier    126 adh guard off-   FIG. 9B
                                                                adhesion




                                                                           FIG. OA
                          1003                                       000
                   --"
                    1001N002 Yle. As
                                                                    g
              50       assa                                     s
                        124        elec Shdirt barrier    126              F G. 1 OB
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           300           encasement (e.g.silicon)
            N
                                                                                    F.G. 11
             1300
                 N

                                                                                   F.G. 12




                                                                  flexible pcb
                                                              Sgtse flange

                                                                      adh F.G. 13A

                                                                         adh
                     W                                            r



                 £d LA-E2-EN
                            elec short barrier      air gap           adh FIG. 13B
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                                                        US 8,538,503 B2
                                 1.                                                                   2
          DEVICE FEATURES AND DESIGN                                     The electronic component in any of the devices described
       ELEMENTS FOR LONG-TERMIADHESION                                 herein may include a processor having a memory with com
                                                                       puter readable instructions to record signals from the first and
             CROSS-REFERENCE TO RELATED                                second electrodes while the electronic device is attached to
                    APPLICATIONS                                      the mammal. The processor may be configured to only con
                                                                      Vert signals from the electrodes to digital signals, filter those
     This application is a continuation of U.S. patent applica signals and then store the signals in memory.
  tion Ser. No. 13/106,750, filed May 12, 2011, which claims each        In another aspect, the device includes a flap connected to
  priority to U.S. Provisional Patent Application No. 61/334, 10 Additionallyof the wings. The flaps may extend below the housing.
  081, filed May 12, 2010, entitled “Device Features and bottom surface              or alternatively, the adhesive layer is coated on a
  Design Elements for Long-Term Adhesion.” which is incor                               of the flaps.
  porated by reference as if fully set forth herein.                     In another aspect, the device includes a connector segment
                                                                      In one aspect, the connector segment configured to connect
               INCORPORATION BY REFERENCE                             the flaps together. In other aspects, the connector segment is
                                                                   15 located at least partially below the housing. Still further, the
     All publications and patent applications mentioned in this connector segment is not attached to the housing.
  specification are herein incorporated by reference to the same         In one alternative, the adhesive layer is coated on a bottom
  extent as if each individual publication or patent application surface of the flap.
  was specifically and individually indicated to be incorporated         In still another aspect, the adhesive for adhesion to a Sur
  by reference.                                                       face of the mammal is an adhesive that can absorb fluids. In
                                                                      another aspect, the adhesive that can absorb fluids is a hydro
                   FIELD OF THE INVENTION                             colloid adhesive. In another aspect, the adhesive for adhesion
                                                                      to a Surface of the mammal is a pressure-sensitive adhesive.
     This application relates to devices worn on a body for The pressure sensitive adhesive is selected from the group
  monitoring, recording, reporting and/or treating the person 25 consisting of a polyacrylate, a polyisobutlene, and a polysi
  wearing the device. Improvements in the device design ele loxane. In one alternative, the device includes a diffusion
  ments and functionality are disclosed for maintaining the barrier between the adhesive layer and each of the wings. The
  device in contact with and operational for extended periods of device may also include an additional adhesive layer and
  time, typically longer than 24 hours.                               material layer between the wing and the adhesive layer for
                                                                   30 adhesion to the mammal. The material layer is configured to
             BACKGROUND OF THE INVENTION                              prevent diffusion of adhesive components from the adhesive
                                                                      layer to the wing. The diffusion barrier may be made from
     The ability to adhere a medical device to a human body for polyester or other suitable synthetic material.
  a long-period of time is dependent on a variety of factors. In         In one aspect of the device, all or substantially all of the
  addition to the type and nature of the adhesive chosen, another 35 electronic components are within the housing. In another
  factor is the mechanical design of the device. By design, this aspect, the wing is free from electronic components. In one
  refers to, but is not limited to, the device shape, size, weight, aspect, the wing is more flexible than the housing. In one
  flexibility, and rigidity. These design elements are influenced alternative, the wings and the housing are made from the same
  by a number of additional factors, including, but not limited material. In another aspect, the wings and the housing are
  to, where on the body the device will attach and the duration 40 made from different materials. In another, the wings are made
  of the attachment, moisture conditions in that area, movement       from a fabric. In still another aspect, the material used to make
  conditions in that area, stretching and contraction in that area, the wings includes a synthetic fiber. In another alternative, the
  interactions with external factors in that area such as clothing, wing and the flap are composed of the same material.
  and purposeful and/or inadvertent interaction between the              In another alternative, the device includes a hinge portion
  person wearing the device and the device.                        45 between the housing wing. The hinge portion is configured to
     As many are typically used on the body for less than 24 allow the device to bend between the housing and the wmg. In
  hours, devices have not been designed that can withstand one aspect, the hinge portion exists between a rigid portion of
  longer-term adhesion. Hence, there is a need to implement the device and a flexible portion of the device. In one alter
  device features and design elements that have the ability to native, the rigid portion of the device corresponds to the
  enhance the likelihood of adhesion of a device to a human 50 portion of the housing including the electronics and the flex
  body for 24 hours or more, while accommodating the func ible portion of the device includes awmg
  tionality, shape, size, weight, flexibility, and rigidity of a         In one aspect, the bottom Surface of the wing and the
  given device.                                                       bottom Surface of the flap are contiguous. In another aspect,
                                                                      the bottom Surfaces of the wings, the flap, and the connectors
                              SUMMARY                              55 are contiguous. In still other aspects, the flaps and the con
                                                                      nector are contiguous.
     In one aspect of the invention, there is an electronic device       In another aspect, the connector has at least one hole
  for long-term adhesion to a mammal. The device has a hous extending it. The hole may have any of a number of shapes
  ing containing an electronic component with a first wing and Such as circular, oval, round, or triangular.
  a second wing integrally formed with the housing. There is an 60 In one aspect, the housing is thicker at a center of the
  electrodepositioned on a bottom Surface of each of the wings housing than at edges of the housing.
  with the electrodes electrically connected to the electronic           In another aspect of the device, the housing is unattached to
  component. An adhesive layer is provided for adhesion to a the mammal when the electrodes are in contact with the
  Surface of the mammal. The adhesive layer is coated on a mammal.
  portion of the bottom surface of the wings. The adhesive layer 65 In another alternative aspect of a device for long-term
  is not coated on the electrode or on a bottom surface of the        adhesion to a mammal, the device includes a housing with a
  housing.                                                            first wing extending laterally from the housing and a second
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  wing extending laterally from the housing without overlap            aspect, the porous foam pad comprises a biocompatible foam
  ping the first wing. There is a first electrode positioned on a      material. In one variation, the porous foam pad can absorb
  bottom Surface of the first wing and a second electrode posi         fluids. In still another aspect, the porous foam pad is attached
  tioned on a bottom surface of the second wing. An electronic         to the housing. In another, the porous foam pad is configured
  memory is positioned within the housing. The electronic              to be attached to the mammal. In another request, the porous
  memory is configured to receive and store electronic signals         foam pad can absorb fluids.
  from the first and second electrodes while the electronic               In one aspect of a method of applying an electronic device,
  device is attached to the mammal. There is also an adhesive          there is a step of removing a first adhesive cover from the first
  layer on a portion of a bottom surface of the first wing and the wing of the electronic device to expose an electrode and an
  second wing. The adhesive is not on a bottom Surface of the 10 adhesive coated on a bottom surface of a first wing. There is
  housing. When the device is worn on the mammal, only the a step of placing the exposed electrode into contact with the
  adhesive layer(s) are attached to the mammal.                        mammal by adhering the adhesive coated bottom of the first
     In one aspect, the portion of the bottom surface of the first wing to the mammal. There is also a step of removing a
  wing and the second wing does not include the first and second adhesive cover from the second wing of the electronic
  second electrodes. In one device aspect, the first wing, the 15 device to exposeanadhesive coated on a bottom surface of the
  second wing, and the housing are formed from the same second wing and another exposed electrode, There is also a
  material. In still another, the first wing, the second wing and step of placing the another exposed electrode into contact
  the housing integrally form a monolithic structure. In other with the mammal by adhering the adhesive coated bottom of
  aspects, an angle formed by the first wing, the second wing, the second wing to the mammal. After performing the remov
  and the housing is between approximately 90° and 180°. In ing and the placing steps, the housing is unattached to the
  one variation, the angle is approximately 180°. In another mammal, but is held in position on the mammal using the
  variation, the angle is approximately 135°.                          adhesive coated bottoms of the first and the second wings.
     In still other embodiments, there is a first hinged portion          In one alternative method of attaching a device, the elec
  between the first electrode and the processor and a second tronic device includes a first nap connected to the first wing
  hinged portion between the second electrode and the housing. 25 and a second flap connected to the second wing. The first and
     In a further aspect, at least a portion of the body uncovered second flaps each extend below the housing. The step of
  is not adhered to the mammal when signals from the elec removing a first adhesive cover from the first wing may also
  trodes are being recorded in memory.                                 include exposing an adhesive coated on a bottom Surface of
     In another aspect, the device includes a first flap connected the first flap. The step of removing a second adhesive cover
  to the first wing medial to the first electrode and a second flap 30 from the second wing may also include exposing an adhesive
  connected to the second wing medial to the second electrode. coated on a bottom surface of the second flap.
  Each nap may extend below the housing.                                  In another alternative method of attaching a device, after
     The device may also include a connector segment config performing the removing and the placing steps, the housing is
  ured to connect the flaps together. In one aspect, the connector held in position on the mammal using only the adhesive
  segment is located at least partially below the housing, but is 35 coated bottoms of the first wing, the second wing, the first flap
  not attached to the housing.                                         and the second flap.
     In another aspect, there is an electronic device that has a          In an alternative aspect of a method of applying an elec
  patch including a housing containing an electronic compo tronic device to a mammal for long-term adhesion, the
  nent. There is an electrode positioned on a bottom surface of method includes removing a first adhesive cover from the first
  the patch, the electrode electrically connected to the elec 40 wing of the electronic device to expose an electrode and an
  tronic component. There is a first adhesive strip extending adhesive coated on a bottom surface of the first wing. There is
  around the perimeter of the patch and a second adhesive strip also a step of removing a second adhesive cover from the
  extending around the perimeter of the first adhesive strip. In second wing of the electronic device to expose an adhesive
  one aspect, the first adhesive cover over the first adhesive strip coated on a bottom Surface of the second wing and another
  and a second adhesive cover over the second adhesive strip, 45 exposed electrode. There is a step of placing the exposed
  The first and second adhesive covers may be configured to be electrodes into contact with the mammal by adhering the
  separably removed from the first and second adhesive strips, adhesive coated on the bottom of the first and the second
  In one alternative, the first adhesive strip extends between the wings to the mammal. After performing the removing and the
  first and second adhesive covers. In another alternative, the        placing steps, the housing is unattached to the mammal, but is
  adhesive in the first and the second adhesive strips is an 50 held in position on the mammal using the adhesive coated
  adhesive that can absorb fluids. In still another aspect, the bottoms of the first and the second wings.
  adhesive that can absorb fluids is a hydrocolloid adhesive. In          There is also provided a method of applying an electronic
  one alternative, the adhesive in the first and the second adhe       device to a mammal for long-term adhesion wherein the
  sive is a pressure-sensitive adhesive. In some aspects, the electronic device includes a patch. The patch includes an
  pressure-sensitive adhesive is a polyacrylate, a polyisobuty 55 electronic component along with an electrode positioned on a
  lene, or a polysiloxane.                                             bottom surface of the patch and electrically connected to the
     In one alternative, the second adhesive strip partially over electronic component. There is a first adhesive strip extending
  laps the first adhesive strip. In another aspect, the second around the perimeter of the patch and a second adhesive
  adhesive strip is attached to a shell, the shell overlapping the extending around the perimeter of the first adhesive strip. One
  first adhesive strip.                                             60 aspect of a method of applying the device includes a step of
     In still another alternative device for long-term adhesion to removing an adhesive cover from the second adhesive strip of
  a mammal, the device includes a patch having a housing with the electronic device. There is a step of applying pressure to
  an electronic component contained therein, There is an elec the second adhesive strip to adhere the second adhesive strip
  trode positioned on a bottom surface of the patch, The elec to the mammal such that the electrode is in contact with the
  trode electrically connected to the electronic component 65 mammal. Then, after a period of time, removing an adhesive
  There is a porous foam pad configured to he positioned cover from the first adhesive strip of the electronic device.
  between the electronic component and the mammal. In one Next, there is the step of applying pressure to the first adhe
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  sive strip to adhere the first adhesive strip to the mammal such   by a mammal to which the device is attached including but not
  that the electrode remains in contact with the mammal.             limited to signals generated by one or more of EKG, EEG
     In another alternative method of applying an electronic and/or EMG.
  device to a mammal for long-term adhesion, the electronic                 BRIEF DESCRIPTION OF THE DRAWINGS
  device includes a patch, an electronic component, and an
  electrode positioned on a bottom Surface of the patch and             The novel features of the invention are set forth with par
  electrically connected to the electronic component. There is a ticularity    in the claims that follow. A better understanding of
  first adhesive strip extending around the perimeter of the the features and advantages of the present invention will be
  patch. The method includes a step of applying pressure to a 10 obtained by reference to the following detailed description
  first adhesive strip to adhere the first adhesive strip to the that sets forth illustrative embodiments, in which the prin
  mammal Such that the electrode is in contact with the mam          ciples of the invention are utilized, and the accompanying
  mal. After a period of time, placing a second adhesive strip drawings of which:
  around the perimeter of the first adhesive strip. Then there is       FIG. 1 is a top view of a patch having two wings;
  the step of applying pressure to the second adhesive strip to 15 of FIG.   1A is a representative cross-section of an embodiment
                                                                        the patch in FIG. 1;
  adhere the second adhesive strip to the mammal such that the          FIG. 1B is a representative cross-section of another
  electrode remains in contact with the mammal.
                                                                     embodiment of the patch in FIG. 1;
     Any of the above described devices may include additional          FIG. 1C is a representative cross-section of another
  aspects. A device may also include a first wire connecting the embodiment of the patch in FIG. 1;
  first electrode and the processor or an electronic memory and         FIG. 1D is a representative cross-section of another
  a second wire connecting the second electrode and the pro embodiment of the patch in FIG. 1;
  cessor or an electronic memory. The first and second wires            FIG. 1E is a representative cross-section of another
  extend within the body and the first and second wings. In one embodiment of the patch in FIG. 1;
  aspect, the first and second wires extend within and are com          FIG. 1F is a top view of a patch having three wings illus
  pletely encapsulated within the body and the first and second 25 trating an alternative electrode-electronics-electrode orienta
  wings. In one aspect, a conduit is provided within the body tion;
  and the wings and the wires pass through the conduit. In one          FIG. 2A is a schematic drawing of the electronics con
  alternative, the conduit extends from the processor or elec tained within a patch;
  tronic memory to an electrode so that the wire is completely 30 FIG. 2B is a schematic drawing of a patch with wiring
  within the conduit. In still other aspects of the devices having slack in the form of undulations between electronics
  described above, the first and second wires connecting the andFIG.     electrodes;
                                                                              2C is a schematic drawing of a patch with wiring
  electrodes to the processor or electronics each include slack having slack
  between the electrode and the processor. In one aspect, the electrodes; in the form of a coil between electronics and
  slack is located in a portion of each wing that is configured to 35 FIG. 3 is the bottom view of a patch having adhesive
  bed or flex. In another aspect, the slack is a portion of the wire thereon;
  within the wing and at least partially coiled about the first or      FIG. 4A shows a patch as worn by a person rolled to the
  the second electrode. In still other aspects, the slack is pro side;
  vided by a portion of the wire formed into a coil, a wave             FIG. 4B shows a patch as worn by a person playing golf;
  pattern, or a sinusoidal pattern along its length the connection 40 FIG. 5A shows a patch in response to a concave bend of the
  point on the electronics to the connection point on the elec skin;
  trode.                                                                FIGS. 5B and 5C show a patch in response to a convex bend
     In still other alternatives, the devices described above may of the skin;
  be applied to any of a wide variety of conventional physi             FIG. 6A is a bottom view of a patch having a connector
  ological data monitoring, recording and/or transmitting 45 between two flaps;
  devices. Any of the improved adhesion design features and             FIG. 6B is a cross-section of the patch of FIG. 6A:
  aspects may also be applied to conventional devices useful in         FIG. 7A is a bottom view of a patch having multiple covers
  the electronically controlled and/or time released delivery of forming strips of adhesive;
  pharmacological agents or blood testing, Such as glucose              FIG. 7B is a cross-section of the patch of FIG. 7A:
  monitors or other blood testing devices. Additional alterna 50 FIG. 8A is a bottom view of a patching having multiple
  tives to the devices described may include the specific com covers forming strip of adhesive around each electrode;
  ponents of a particular application Such as electronics,              FIG. 8B is a cross-section of the patch of FIG. 8A:
  antenna, power Supplies or charging connections, data ports           FIGS. 9A and 9B show a patch having multiple layers
  or connections for downloading or offloading information formed thereon;
  from the device, adding or offloading fluids from the device, 55 FIGS. 10A and 10B show a patching having multiple layers
  monitoring or sensing elements such as electrodes, probes or formed thereon, each layer having multiple patches of adhe
  sensors or any other component or components needed in the S1Ve:
  device specific function. In still other aspects, the electronic      FIG. 11 shows a patch having an open cell Support;
  component in any of the above devices is an electronic system         FIG. 12 shows a patch having an annular open cell Support;
  configured for performing, with the electronic signals of the 60 FIG. 13A shows a patch having a protective shell thereon;
  mammal detected by the electrodes, one or more or any com and
  bination of or the following electronic functions: monitoring,        FIG. 13B shows a cross-section of the patch of FIG. 13A.
  recording, analyzing, or processing using one or more algo
  rithms electronic signals from the mammal. Stili further, any                       DETAILED DESCRIPTION
  of the devices described above may include appropriate com 65
  ponents such that the device is used to detect, record, process       The following device features and design elements can be
  or transmit signals or information related to signals generated implemented into any device being adhered to the human
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  body for a long-period of time, typically greater than 24          housing 102 and each of the wings 104,106 when viewed in
  hours. As an example, the following device features and            profile, can each form a dome with a height that is greater at
  design elements can be used for long term adhesion of a            the center than at the ends of the respective component, i.e.
  cardiac rhythm monitoring patch ("patch') to the chest of a        Some or all of the components can be tapered at the ends
  person.                                                            and/or sides.
     Referring to FIGS. 1 and 1A, a patch 100 for long term            The electronics 108 can extend along only a portion of the
  adhesion includes a housing 102. The housing 102 can he distance between the electrodes 104, 106. For example, the
  formed from any flexible, durable material, such as a biocom electronics can occupy less than 90% of the distance between
  patible polymer, for example silicone. The housing 102 can the electrodes, for example less than 80%. By having the
  include electronic components 108 therein. As shown in FIG. 10 electronics 108 in a relatively limited space between the elec
  2, the electronics 108 can include a printed circuit board 220, trodes 124, 126, the flexibility of the patch 100 can be
  a battery 225, and a communications port mounted on the increased
  printed circuit board 220. The printed circuit board 220 can         The housing 102 can provide a watertight enclosure 110 for
  include analog circuits 210, digital circuits 215, and an acti electronic components 108 of the patch 100. The electronics
  vation or event notation button or switch 130. The electronics 15 108 can be unattached to the housing 102 such that the elec
  108 can be used, for example, to record continuous physi tronics 108 are free to move within the watertight enclosure
  ological signals from a mammal wearing the patch 100. A 110. Allowing the relatively rigid electronics 108 to move
  system for continuously recording data is described further in freely within the flexible housing 102 advantageously
  co-owned U.S. application Ser. No. 1 1/703,428, filed Feb. 6, enhances the overall flexibility of the patch 100. The wings
  2007, the entire contents of which are incorporated by refer      104, 106 can each have a watertight enclosure 114, 116
  ence herein.                                                      formed therein, which can be contiguous with the watertight
     As shown in FIGS. 1 and 1A, wings 104, 106 can be enclosure 110 of the housing 102.
  connected to the housing 102. The wings 104, 106 can be              Wiring 120 or other suitable electrical connections can
  integral with the housing 102 and, in some embodiments, can connect the electrodes 124, 126 with the electrical compo
  beformed of the same material as the housing 102. The wings 25 nents 108 of the housing. In some embodiments, as shown in
  104,106 can be more flexible than the electronic components FIGS. 1 B-1E, the contiguous nature of the enclosure 110 and
  108, which can be substantially rigid. An electrode 124, 126 the enclosures 114, 116 allows the wiring 120 to extend
  can extend through a bottom surface of each wing 104,106. within the patch 100 from the electrodes 124, 126 to the
  The electrodes can he positioned to detect an ECG of a mam electronic components 108. In other embodiments, one or
  mal wearing the patch 100 for processing by the electronics 30 more channels, tubes, or conduits are provided between the
  108. For example, the electrodes can be more than 2 cm apart, housing 102 and the wings 104,106, to provide space for the
  such as more than 3 cm apart, for example at least 6 cm apart. wiring 120. The tube or channel may be straight or curved. In
  The electrodes 124, 126 can be integral with the wings 104, use, the wire 120 positioned in the enclosures 110, 114,116 or
  106 so as to be inseparable from the wings 104,106 when the in the tube or channel may move relative thereto in order to
  patch is in use.                                               35 remain flexible within the housing. In one aspect, the flexible
     For a patch 100 that is entirely flexible and can conform, channels or tubes are formed within the device housing so that
  stretch, and adapt to the movement and conditions of the chest the housing, as it is being stretched, does not affect the ability
  underneath the device, adhesive can be placed over the entire of the components, such as wires, that may connect more rigid
  surface of the device that is in contact with the body, except structures, to move or elongate.
  for areas where sensors, electronics, or others elements such 40 As shown in FIG. 1, the wire 120 is straight with a direct
  as electrodes are interacting with the body related to the line of connection between the electrodes 124, 126 and the
  functioning of the device may be incorporated. Thus, as electronics 108. FIG. 1 illustrates an embodiment where the
  shown in FIG.3, an adhesive layer 166 can coat the bottom of length of the wires 120 connecting the electrodes 124, 126 to
  the patch 100 for attachment to the skin, For a patch 100 in electronics 108 are about the same distance as the spacing
  which there may be some areas that are not completely flex 45 between the electrode connection point on electronics 108
  ible and may not be able to stretch or contract (e.g., the and the electrodes 124,126. FIG.1F also illustrates a straight
  electronics 1(8), adhesive may be excluded from the portion line type connection where wire 120 length is nearly the same
  of the patch 100 underneath these areas. Thus, for example, as the spacing between the electronics 108 and the electrodes
  the bottom surface 302 of the housing 102, which contains the 124, 126. However, as a patient moves, the patch 100 flexes
  electronics, can remain free from adhesive. As shown in FIG. 50 along with patient movement. As shown in FIGS. 4B and 5C,
  1A, by not coating adhesive on a bottom Surface of the hous patch flexion may be severe and is likely to occur during long
  ing 102, the housing 102 can float above the adhered portions, term monitoring. In order to address the possible dislocation
  allowing for increased flexibility of the patch, as will be or breakage of the wire 120, the length or shape of the wire
  discussed further below. Further, as shown in FIG. 3 the          120 may be selected to permit patch flexion to occur with little
  bottom surface of the electrodes 124, 126 can remain free of 55 risk of wire 120 pulling from the electrode or electronics.
  adhesive. For example, a ring 362 without adhesive can be Numerous alternatives are possible to compensate for patch
  formed around each electrode 124, 126 to separate the elec flexion. Exemplary confirmations include undulations or Zig
  trodes from the adhesive 164, The adhesive can be, for            Zags 231 as shown in FIG. 2B, coils 233 as shown in FIG.2e,
  example, a pressure-sensitive adhesive, Such as polyacrylate, or a configuration that partially or fully wraps around an
  polyisobutlene, or a polysiloxane. Alternatively, the adhesive 60 electrode. In some embodiments, other components, such as
  can be a hydrocolloid which advantageously absorbs water.         the circuit hoard or electrodes, can alternatively or addition
     The wings 104, 106 and the housing 102 can form a ally contain additional length to help accommodate stretch or
  Smooth, contiguous outer Surface to the patch 100. As shown displacement. When the patch 100 is attached to a mammal,
  in FIG. 1A, when viewed from the top, the housing 102 and the slack in the wiring 120 allows the patch 100 to flex while
  wings 104, 106 can together form an oblong substantially 65 not placing stress on the wiring 120.
  oval shape. Further, the housing 102 can have a thickness that       While the illustrated embodiments of FIGS 1A-1D show
  is greater than the thickness of the wings 104, 106. The only show two wings and show the electrodes and electronics
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  in a direct line in a approximate 180 degree alignment of               Referring still to FIGS. 1 B-1E, the patch 100 can further
  electrode 124 to electronics 108 to electrode 126), other con        include a first flap 154 connected to the first wing 104 and a
  figurations are possible. For example, as shown in FIG. 1F,          second flap 156 connected to the second wing 106. The flaps
  the wings 104, 106 are arranged in an orientation less than          154, 156 can both extend from a position on the wings 104,
  180 degrees. In the illustrated embodiment, the angle formed         106 medial to the electrodes to a position below the housing
  by the electrodes and the electronics is about 135 degrees.          102, such as below the electronics 108. The flaps 154,156 can
  Other ranges are possible so long as electrode spacing is            remain unattached to the housing 102. As a result, gaps 144,
  provided to permit ECG monitoring. The orientation of the            146 can beformed between the flaps 154,156 and the housing
  wings 104,106 to the housing 102 also illustrates the use of an      102. The gaps can provide additional “floating for the hous
  additional adhesive tab 105. Tab 105 is shown as a semicir 10 ing 102 and the relatively rigid components 108 contained
  cular extension of the body 102. The bottom of tab 105 can therein.
  include adhesives as described herein and is used to provide            In some embodiments, shown in FIG. 1H, the flaps 154,
  additional anchoring of the patch to the patient. The tab 105        156 can be attached to the wings 104,106 with adhesive 134,
  may be formed in any of a number of different shapes such as 136. The adhesive 134, 136 can be the same as the adhesive
  rectangles, ovals, loops or strips. Further, in some embodi 15 164, 166 or different. For example, the adhesive 134, 136
  ments, the tab 105 can function similar to a wing, e.g. include could be a silicone adhesive. In other embodiments, shown in
  an electrode therethrough that connects to the electronics 108.      FIGS. 1C-1E, the flaps 154, 156 can be integral with the
      Referring to FIGS. 1A-1D and 2B-2C, a hinge portion wings 104, 106. For example, the flaps 154, 156 can be
  194,196 in the patch 100 can extend between each electrode Solvent welded to and/or formed during the molding process
  124,126 and the electronics 108. The hingeportions 194,196 of the wings 104, 105 such that hinges 194, 196 form below
  can have a thickness less than the thickness of Surrounding the wings 104,106. Additionally or alternatively, one or more
  portions of the patch 100, For example, if the hinge portions of the flaps 154, 156 may be separably attached to the wings
  194, 196 are in the wings 104,106, then the thickness can be 104,106. In some embodiments, shown in FIGS. 1B and 1C,
  less than adjacent portions of the wings. Likewise, the hinge the materials making up the naps 154, 156 can extend all the
  portions 194, 196 can have a width less than adjacent portions 25 way to the lateral edge of the patch 100. In other embodi
  of the patch 100, e.g., less than adjacent portions of the wings ments, shown in FIG.1D, a flap can extend on each side of the
  104,106. Alternatively, the hinged portion can be formed by electrodes, i.e. one flap can extend medially and the other
  the adjunct between a rigid portion, i.e. the electronics 108, laterally. In some embodiments, the lateral and medial—
  and a more flexible portion, The hinged portion allows the extending flaps are part of the same annular flap. In other
  patch 100 to bend between the housing 102 and wings 104, 30 embodiments, shown in FIG. 1E, the flaps and materials
  106 to compensate for any movement caused by the patient. making up the flaps extend only from a position medial to the
  As shown in FIGS. 2B and 2C, the slack in the wiring 120 can electrodes underneath the housing.
  be placed at or proximal to the hinge portions 194, 196 to              The Flaps 154, 156 may be positioned in virtually any
  allow for bending at the hinge portions 194, 196 without relationship to the adhered flexible area such that, when
  pulling or breaking the wiring 120.                               35 attached in use, the attachment of the flap or flaps effectively
      Referring to FIGS. 4A and 4B, having adhesive on the counteracts the expected external forces acting on the device,
  bottom of the patch 100 except in the areas substantially specifically those forces that may dislodge the adhered flex
  around the electrodes and directly underneath the housing ible areas. Further, in embodiments such as that shown in
  102 can create a floating section 455 over the skin of the FIG.1F where there are more than two wings, there can be a
  mammal to which the patch 100 is attached. The floating 40 flap corresponding to each additional wing.
  section 455 can house the more rigid or less flexible electronic        The adhesive layers 164, 166 can coat all or a portion of the
  components while the flexible wings 104,106 can be adhered bottom of each of the flaps 154, 156. In some embodiments,
  to the skin and provide the flexibility necessary to hold the the adhesive 164, 166 extends continuously from the bottom
  patch 100 in place. As a result of this selective use of adhesive surface of the wings 104, 106 to the bottom surface of the
  areas and non-adhesive areas, the limitation on device flex 45 flaps 154, 156, except for areas proximate to the electrodes
  ibility imposed by the less flexible floating section can he 124,126. Further, the top surface of the flaps 154, 156, i.e. the
  mitigated or reduced by hounding the floating section with surface closest to the housing 102, can remain free of adhe
  one or more adhered flexible areas. The flexible sections can        sive to ensure that the housing 102 remains floating. In some
  thus adhere to the body if the underlying portion of the body embodiments, the only portion of the patch 100 including
  is stretched and/or contracted while the floating section is free 50 adhesive for adhesion to the skin can be the flaps 154, 156.
  to move above the skin, for example if the person wearing the           Referring to FIGS.5A-5C, the naps 154, 156, can provide
  device rolls over (as shown in FIG. 4A) or is involved in hinge-like behavior for the patch 100. Thus, as shown in FIG.
  activities that can otherwise cause movement of the skin (as 5A, if the skin 501 is stretched or bent in a concave manner,
  shown in FIG. 4B).                                                   the gaps 144, 146 between the flaps 154, 156 and the housing
      Referring back to FIGS. 1 B-1E, each wing 104,106 can 55 102 can approach Zero such that the patch 100 can sit sub
  include a material layer 214,216 between the adhesive 164,           stantially flat on the skin 501. As shown, the hinge portions
  166 and the wings 104,106, The material layer 214,216 can 194, 196 between the housing 102 and wings 104,106 can
  be, for example, a polyester layer. The material layer 214,216 provide additional flexibility for concave bends by flattening
  can be attached to the patch 100 with a layer of adhesive as the patch 100 is stretched. In contrast, as shown in FIGS.
  204,206, The adhesive 204, 206 can be the same as the adhe 60 5B and 5C, as the skin 501 is bent in an increasingly convex
  sive 164, 166 or different. For example, the adhesive 204, 206 manner, the gaps 144, 146 between the flaps 154, 156 and the
  could be a silicone adhesive. The material layer 214 can serve housing 102 can increase, thereby allowing the flexible wings
  as a barrier to prevent diffusion or migration of adhesive 104,106 to remain adhered to the skin and the rigid housing
  components, such as a tackifier, from the adhesive 164, 166          102 to float above skin. As shown, the hingeportions 194,196
  into the wings 104,106 or housing 102. The material layer 65 between the housing and the wings 104, 106 can provide
  214 canthus advantageously serve to maintain the strength of additional flexibility for convex bends by folding inward as
  the adhesive 104,106 over time.                                      the patch 100 is bent.
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     When placed substantially flat on the skin 501, the patch           long-term in the face of significant acute and chronic forces
   100 can have a height that extends no more than 2 cm off of           due to stretching, contraction, and torsion.
  the skin, such as no more than 1.5 cm off of the skin, when               Adhesive can be selectively applied to the connector and/or
  lying flat on the patient and no more than 4 cm. Such as no naps to provide the desired body attachment locations
  more than cm off of the skin when floating above the skin. The depending upon the specific use of the device. For example,
  relatively low height of the patch 100 can enhance long-term one piece of material including flaps and the connector can be
  adhesion by reducing the potential for the patch 100 to snag or adhered along two or more edges and/or with adhesive only
  rip off of the skin.                                                   covering certain areas. In another aspect, at least a portion of
     Advantageously, the flaps 154,156 can function as anchors the skin-contacting Surface of the unitary nap connector
  for adhesion that mitigates shear force. The flaps 154,156 can 10 structure does not include any adhesive. Additionally or alter
  provide a different direction for the acute and chronic forces natively, the connector segment incorporating the flaps may
  being experienced by the device due to stretching, contrac be              integral parts of the larger device housing (e.g. could be
  tion, or torsion to be spread out over both the flap as well as the molded       as part of the device housing or enclosure).
  flexible adhesive areas. Further, by pre-aligning the orienta
  tion of the floating section, adhered flexible area and the flaps,  15    In  some   embodiments, the patch 100 can include one or
  the device may be better able to tolerate (i.e., remain attached more release liners to cover parts of the adhesive prior to
  to the body and in use) and/or tailor the interaction with the adhesion. As is particular to devices having multiple adhesive
  forces acting on the device in order to better withstand the areas and/or multiple adhesive components (i.e., flaps and
  acute or chronic forces being experienced by the device. flexible sections), the manner of applying the device may be
  Tailoring the response of the device to the expected forces is specifically detailed in order to ensure that the device and the
  O                                                                      adhesive portions are properly engaged. In one particular
     Because the flaps can be used to counteract forces acting on aspect, the release liners are removed in a particular order to
  a particular device, it is to be appreciated that the dimensions, minimize the likelihood that the device adhesive is misap
  flexibility, attachment technique, and/or orientation between plied. For example, a portion of the adhesive may be exposed
  a flap and another component may vary depending upon the 25 first and used to affix the device to the body, Thereafter, a
  purpose of a particular flap. Accordingly, a flap may have the second set of adhesive liners may be removed to expose and
  same or different characteristics from another flap or compo affix one or more flaps to the body. A stepwise adhesive
  nent of the device. In one aspect, at least one flap is more exposure method may be implemented during device appli
  flexible that the other flaps in a particular device. In another cation Such that elements, such as the one or more flaps do not
  aspect, each of the flaps has similar flexibility. In still another 30 fold on themselves, for example.
  aspect, at least one flap is more flexible than the device com            Breaking up the areas in which the adhesive is used to
  ponent to which it is attached or from which it originates. In adhere the device, whether it be splitting it up to rigid areas, to
  still another aspect, at least one flap is less flexible than the create flaps, to create connector segments with holes, of any
  device component to which it is attached or from which it of the other techniques described above may also have ben
  originates.                                                         35 efits in terms of preventing moisture bridges that could act as
     Referring to FIGS. 6A and 6B, in one embodiment, the conducting pathways between electrical sensing elements,
  flaps 154,156 may be augmented by a connector segment 607 Such as electrodes. Bridges of moisture could short-circuit
  used to join the flaps together. The connector segment 607 can electrical connections and/or prevent the proper functioning
  extend below the housing 102, but remain unattached to the of the device, particularly if the device has an electrical func
  housing 102. As shown in FIG. 6A, the flaps 154, 156 and the 40 tion, Such as sensing via electrodes.
  connector 607 can together form a butterfly shape. In one                 In some applications, a long-duration patch may experi
  embodiment, the connector segment 607 and the flaps 154, ence excessive forces due to acute (quick and/or rapid) or
  156 are formed from a single piece of material. The connector chronic (slow and/or prolonged) contraction, stretching, or
  segment 607 can be made of the same material as the flaps torsion. In Such applications, the hinge points between a
  154, 156 or of different material. In one embodiment, the 45 floating rigid section and flexible adhered sections may be
  bottom surface of the connector is covered with adhesive. In           modified in order to align with and counteract or mitigate the
  another embodiment, the bottom surface of the connector                predominant direction of the force acting on the patch. In
  does not include any adhesive. Further, as shown in FIG. 6B,           Some device situations or configurations, the strength and
  the connector segment 607 can be thicker in the middle, under direction of the acute or chronic force may be so strong that
  the housing 102, than near the edges, i.e., closer to the elec 50 the forces imparted on the device adhesive surfaces or com
  trodes. The variable thickness can help prevent the connector ponents may be distributed differently in addition to or as an
  segment 607 from capturing moisture thereunder. The con alternative to the hinge described above.
  nector segment 607 can advantageously prevent the device                  Further, the device construction can be made in Such a way
  from flipping when attached to the patient.                            that the housing is fashioned so that the axes of the housing
     The connector segment 607 can include one or more holes 55 are structured and placed along or against the direction of
  614, 616. In some configurations, the connector segment may various forces, possibly during certain states, such as sleep
  trap moisture and/or inadvertently stick to the body. The holes ing, so that the device itself can help counteract these forces
  614, 616 can advantageously minimize the potential for and improve long-term adhesion.
  undesired Sticking or moisture collection. The size, shape and            Advantageously, the patch described herein can provide
  placement of the holes mitigate or reduce the collection of 60 long-term adhesion to the skin. Having the various flexible
  moisture and/or undesired adhesive while still providing a portions and/or hinged portions can compensate for stressed
  connector with Sufficient structural integrity (i.e. the connec caused as the skin stretches or bends, while allowing the rigid
  tor allows the flaps to be connected to one another in order to portion to float about the skin. As a result, the devices
  prevent them from folding). Additionally or alternatively, the described herein can adhere to the skin substantially continu
  connector holes could also be made to preferentially allow 65 ously for more than 24 hours, such as greater than 3 days, for
  forces to be distributed along certain axes of the connector in example, greater than 7 days, greater than 14 days, or greater
  order to further maximize the ability of the device to adhere than 21 days.
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                               13                                                                   14
    Another mechanism for adhering a patch to the skin long         spaces between adjacent portions of the Support. The open
  term is described with respect to FIGS. 7-10. As shown in the     cell structured support 1302 may be attached to both the skin
  embodiments of FIGS. 7-10, one or more parts of the patch         and to the rigid portion, to only the rigid portion, or to only the
  are used in a temporary fashion in order to improve adhesion.     skin. Because of the open cell structure of the support, the
  The adhesive used in the embodiments described below can 5 flexible movement of the skin can be absorbed by the struc
  include a hydrocolloid or a pressure-sensitive adhesive. Such ture entirely or partially such that the rigid portion does not
  as polyacrylate, polyisobutylenes, or polysiloxane.               impact or has a reduced impact on the ability of the device to
     In one embodiment, shown in FIGS. 7A and 7B, the patch accommodate movement and remain affixed. In addition, the
  700 can be surrounded with an adhesive 760 having multiple open cell Support may have a thickness selected to enhance
  covers 701, 703, 705 thereon that can be peeled away in a 10 patient comfort so that the more rigid portion of a device does
  sequence to expose strips of adhesive 760 underneath. The not push against the skin. In one aspect, the open cell structure
  covers 701,703,705 can be concentric with one another and         is a biocompatible foam material. In another aspect, the open
  be configured to be pulled off separately and sequentially cell material is positioned between an electronics module on
  starting from the inside of the patch 700. Each additional the device and the skin when worn by a patient. The open cell
  exposed area of adhesive 760 can increase the adhesion life of 15 Support can advantageously absorb fluids to keep the elec
  the patch 700. Although only three covers are shown in FIG. trodes from shorting.
  7 A, other numbers, such as 2, 4, 5, or more are possible.           Referring to FIG. 13, the patch can have a shell design.
  Further, each electrode 124, 126 of the patch 700 can include Adhesive can be placed on the perimeter edge of the bottom
  a barrier 714,716 to protect the electrodes 124, 126 from ring. The circuit board and electrode unit can be dropped into
  shortage.                                                         the bottom ring, and a shell can be dropped on top of the
     In another embodiment, shown in FIGS. 8A and 8B, each          circuitboard and electrode. The perimeter adhesive can create
  electrode 124, 126 can be surrounded by a patch of adhesive a watertight chamber therein.
  864, 866. Accordingly, a set of covers 801, 803,805,807 can          The shape of a particular electronic device embodiment
  be positioned sequentially around each of the electrodes 124, may vary. The shape, footprint, perimeter or boundary of the
  126 over the adhesive 864,866. The covers 801, 803,805,807 25 device may be a circle or circular (see FIG. 13A), an oval (see
  can be concentric with one another and be configured to be FIG. 1A, 2A), a triangle or generally triangular (see FIG.1F)
  pulled off sequentially starting from the inside. Each addi or a compound curve. Examples of a device embodiments
  tional exposed strip of adhesive 864, 866 can increase the having a compound curve shape are shown in FIGS. 2B, 2B,
  adhesion life of the patch 100. Although only four covers are 3, 6A, 7A, and 8A. In some embodiments, the compound
  shown in FIG. 8A, other numbers, such as 2, 3, 5, or more are 30 curve includes one or more concave curves and one or more
  possible. Further, each electrode 124, 126 of the patch 800 convex curves. FIG. 3 illustrates a device having a convex
  can include a barrier814, 816 to protect from shortage.             surface along the top (where reference 102 indicates), a con
     Referring to FIGS. 9A-9B, in other embodiments, shells or cave Surface along the bottom and convex shaped edges
  layers 901,902,903 can extend over all or a portion of the around the electrodes 124, 126. FIGS. 2B and 2C illustrate a
  patch 900. Each layer 901,902,903 can include a strip of 35 device embodiment having a convex shape on either side of
  adhesive 962 on the bottom surface and an adhesion guard the electronics 108 and around the electrodes 124, 126. The
  982 protecting the adhesive. As shown in FIG. 913, as the convex shapes are separated by a concave portion. The con
  patch 900 is worn over a period of time, the layers 901, 902, cave portion is between the convex portion on the electronics
  903 can be sequentially removed. As a new layer is exposed, and the convex portion on the electrodes. In some embodi
  the adhesive guard 982 of that layer can be peeled away such 40 ments, the concave portion corresponds at least partially with
  that the adhesive 962 of the new layer can be used to adhere a hinge, hinge region or area of reduced.
  the patch 900 to the skin. In a similar embodiment, referring          While described in the context of a heart monitor, the
  to FIGS. 10A-10B, each of the layers 1001, 1002, 1003 can device adhesion improvements described herein are not so
  include multiple portions of adhesive to help adhere the layer limited. The improvement described in this application may
  to both the skin and the patch itself. As with the embodiments 45 be applied to any of a wide variety of conventional physi
  of FIGS. 7-8, the number of layers in the embodiments of ological data monitoring, recording and/or transmitting
  FIGS. 9 and 10 can vary. For example, there can be 2, 3, 4, or devices. The improved adhesion design features may also he
  5 or more layers.                                                   applied to conventional devices useful in the electronically
     In some embodiments, the layers or covers of the embodi controlled and/or time released delivery of pharmacological
  ments described herein can be added to the device over time 50 agents or blood testing, such as glucose monitors or other
  to improve adhesion. Further, the multiple layers or covers of blood testing devices. As such, the description, characteristics
  the embodiments described herein can be partially over and functionality of the components described herein may be
  lapped. Further, in some embodiments, the strips of adhesive modified as needed to include the specific components of a
  can be overlapped.                                                  particular application Such as electronics, antenna, power
     Advantageously, the use of multiple covers or layers can 55 Supplies or charging connections, data ports or connections
  assist in the adhesive performance of a base or core device for downloading or offloading information from the device,
  because the added surface area or adhesive force of the com         adding or offloading fluids from the device, monitoring or
  bined outer layer aids in preventing layer pull away and/or sensing elements such as electrodes, probes or sensors or any
  may act to spread forces being experienced away from the other component or components needed in the device specific
  core device by spreading those forces over a larger area.        60 function. In addition or alternatively, devices described
     Referring to FIGS. 11 and 12, an open cell structured herein may be used to detect, record, or transmit signals or
  support 1330 or porous foam can be used to support a more information related to signals generated by a body including
  rigid or less flexible portion 1302 of the patch 1300. As shown but not limited to one or more of EKG, EEG, and/or EMG.
  in FIG. 11, the open cell structured support 1330 can fully fill       What is claimed is:
  an area below the rigid portion 1302. Alternatively, as shown 65 1. An electronic device for long-term adhesion to a mam
  in FIG. 12, the open cell structured support 1330 can be an mal, the device comprising:
  annular shape or have some other configuration that includes           a housing:
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                                  15                                                                 16
     a physiologic data collection circuit contained in the hous         7. The electronic device of claim 6, further comprising a
        ing:                                                          connector segment configured to connect the flaps together
     multiple wings extending laterally from the housing with without directly attaching to the bottom surface of the hous
        out overlapping, wherein each wing includes a hinge 1ng.
        portion adjacent the housing:                                    8. The electronic device of claim 1, wherein the second
                                                                      adhesive   layer adds adhesive surface area to the first adhesive
     an electrode integral with a bottom surface of each of the layer to distribute
        wings so as to be inseparable from the wings during use                            forces over a larger area.
                                                                         9. The electronic device of claim 1, wherein the first adhe
        of the device, the electrodes electrically connected to the sive layer comprises an adhesive that can absorb fluids.
        physiologic data collection circuit;                             10. The electronic device of claim 9, wherein the first
     a first adhesive layer on the bottom surfaces of the wings 10 adhesive layer comprises a hydrocolloid adhesive.
        and not on a bottom Surface of the housing, wherein the          11. The electronic device of claim 1, wherein the first
        first adhesive layer provides adhesion to the skin of the adhesive layer comprises a pressure-sensitive adhesive.
        mammal, and wherein the housing is attached to the               12. The electronic device of claim 11, wherein the pressure
                                                                      sensitive
        mammal’s skin only via the first adhesive layer and is 15 polyacrylate,  adhesive is selected from the group consisting of a
        not directly attached to the skin of the mammal when the                      a polyisobutylene and a polysiloxane.
        electrodes are in contact with the mammal; and                   13. The   electronic device of claim 1, further comprising:
     a second adhesive layer functioning as an adhesion guard            a third adhesive layer between the wing and the first adhe
                                                                            sive layer; and
        protecting the first adhesive layer.                             a material layer between the wing and the first adhesive
     2. The electronic device of claim 1, wherein the wings are             layer.
  more flexible than the housing.                                        14. The electronic device of claim 1, wherein the multiple
     3. The electronic device of claim 1, wherein the wings and wings comprise two wings extending from approximately
  the housing are made from the same material.                        opposite ends of the housing.
     4. The electronic device of claim 1, wherein the wings and          15. The electronic device of claim 14, further comprising at
  the housing are made from different materials.                   25 least one additional wing extending from the housing without
     5. The electronic device of claim 1, wherein each hinge overlapping the two wings.
  portion is thinner than an adjacent portion of the wing of             16. The electronic device of claim 1, wherein the physi
  which it is a part.                                                 ologic data collection circuit extends along only a portion of
     6. The electronic device of claim 1, further comprising a 30 a distance between the electrodes.
  flap connected to each wing, the flaps extending below the             17. The electronic device of claim 1, wherein the physi
  housing but not directly attached to the bottom surface of the ologic data collection circuit is configured to collect cardiac
  housing, wherein the first adhesive layer extends onto a bot rhythm data from the mammal.
  tom Surface of each flap.                                                                    k   k   k   k   k
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                              UNITED STATES PATENT AND TRADEMARK OFFICE
                                   CERTIFICATE OF CORRECTION
PATENT NO.                  : 8,538,503 B2                                                                                      Page 1 of 1
APPLICATIONNO.              : 13/563546
DATED                       : September 17, 2013
INVENTOR(S)                 : Kumar et al.

It is certified that error appears in the above-identified patent and that said Letters Patent is hereby corrected as shown below:

                  Title page 1 (item 75, Inventors) at line 8, Change “Tim Bahney to --Timothy J. Bahney--.
                  In column 2 (title page 2, item 56) at line 41, Under Other Publications, Change “desriptions
         to --descriptions--.
                  In column 2 (title page 2, item 56) at line 58, Under Other Publications, Change “24-hou’ to
         --24-hour--.


                  In the Specification:
                  In column 2 at line 51, Change “wmg to --wmg.--.
                  In column 3 at line 66, Change “he” to --be--.
                  In column 5 at line 64, Change “Stili' to --Still--.
                  In column 8 at line 12, Change “increased to -increased.--.
                  In column 11 at line 21, Change “one' to --one.--.




                                                                                   Signed and Sealed this
                                                                              Twenty-seventh Day of May, 2014

                                                                          74-4-04- 2% 4            Michelle K. Lee
                                                                           Deputy Director of the United States Patent and Trademark Office
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Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 321 of 703 PageID #: 1062
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                       Exhibit 23
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 335 of 703 PageID #: 1076
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  (71) Applicant: iRhythm Technologies, Inc., San                               A61B 19/026; A61B5/04025; A61B5/04087;
                  Francisco, CA (US)                                                   A61B 17/54: A61B 2019/0267: A61B
                                                                                      2017/320004: A61B 2562/0209; A61B
  (72) Inventors: Genaro Sebastian Sepulveda, San                                             2017/00761; A16B 17/320004
                  Francisco, CA (US); Timothy Jon                        USPC ......... 606/131-133; 132/75.6, 76.4; 600/372,
                  Bahney, San Francisco, CA (US); Shena                               600/382,386,391,392; 607/149, 152-153
                  Hae Park, San Francisco, CA (US)                       See application file for complete search history.
  (73) Assignee: iRhythm Technologies, Inc., San                 (56)                     References Cited
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  (22) Filed:       Apr. 7, 2014
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  (65)                 Prior Publication Data
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  (51)   Int. C.                                                 Primary Examiner — Amy R. Weisberg
         A6B 17/50              (2006.01)                        (74) Attorney, Agent, or Firm — Knobbe, Martens, Olson &
         A6B 7/32               (2006.01)                        Bear LLP
         A6 IB5/0402            (2006.01)
         A6 IB5/0408            (2006.01)                        (57)                       ABSTRACT
         A6B 7/54               (2006.01)                        The present invention relates to devices, methods, and sys
         A6B 9/02               (2006.01)                        tems for abrading the skin in preparation for attachment of an
  (52)   U.S. C.                                                 electrode. In some embodiments, the invention may provide
         CPC ............. A61B 17/32 (2013.01); A61 B 5/04025   for a simple, low-cost device 120 with a flat, abrading surface
                 (2013.01); A61B5/04087 (2013.01); A61B          that removes the topmost layer of the skin without causing
              1754 (2013.01); A61B 19/026 (2013.01); A61B        undue injury.
                   2017/320004 (2013.01); A61B 2019/0267
                                                 (2013.01)                        13 Claims, 12 Drawing Sheets
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                       SKNABRADER                                      abrasion and cleaning step into a single tool, these instru
                                                                       ments are easily confused for alcohol wipes intended for just
             CROSS-REFERENCE TO RELATED                                cleaning, and the pressure required for abrasion is not
                    APPLICATIONS                                       achieved.
                                                                      Because of the limitations of existing skin abrasion tools,
     This application claims the benefit of U.S. Provisional there is need for a simple, one-piece, disposable and low-cost
  Application No. 61/809,817, filed Apr. 8, 2013, entitled SKIN tool that can effectively abrade the skin while being easy to
  ABRADER. The contents of the aforementioned application manipulate and that minimizes the amount of attention that
  are hereby incorporated by reference in their entirety as if must be given to this part of the prep process.
  fully set forth herein. The benefit of priority to the foregoing 10
  application is claimed under the appropriate legal basis,                   SUMMARY OF THE INVENTION
  including, without limitation, under 35 U.S.C. S 119(e).
                                                                      Embodiments of the present invention relate to skin abra
            BACKGROUND OF THE INVENTION                                sion devices. In one embodiment, a skin abrasion device
                                                                  15   comprises: a flat abrasive Surface with a rounded shape and a
    1. Field of the Invention                                          holding layer to facilitate handling the device while applying
     This application describes embodiments of apparatuses,            even pressure to the skin. The device can be used in advance
  methods, and systems for the abrasion of skin in preparation         of skin-Surface application of electrodes or devices that con
  for application of an electrode for detection of cardiac and         tain electrodes for sensing biopotentials such as an ECG. In
  other low level electrical signals generated within the human Some embodiments, the skin abrasion tool enables even and
  body, allowing for improved short term and long-term adhe thorough removal of the top layer of stratum corneum without
  sion and improved conductance through skin, resulting in causing injury to the skin in the form of scratches or gouges,
  better signal quality of recorded data.                             regardless of the experience level of the user.
     2. Description of the Related Art                                   In one embodiment, a dermal preparation device for prepa
     Skin contact electrodes are used extensively for detecting 25 ration of the stratum corneum of a patient for long term
  and transforming potentials generated within the body into adhesion of an electrode to the patient, comprises:
  electrical signals which may be monitored for a variety of             a Support layer having an upper Surface, a lower Surface, a
  functions, such as the preparation of electrocardiograms and              major axis extending through a geometrical center of the
  electroencephalograms. Many disposable electrode assem                    Support layer and along the longest dimension of the
  blies and similar devices utilize an electrode together with an 30        Support layer,
  adhesive for holding the electrode in position on the skin. For        an abrasive adhered to the lower surface;
  the best electrical contact with mammalian skin, it is desirable       a handle secured to the upper layer; and
  to remove hair and a portion of the epidermis, as well as             wherein the handle is formed by bonding a first portion of
  surface oils. Typically, the process involves removal of hairby           a handle layer to the Support layer, and folding a second
  shaving or other depilatory method. Next, the skin is abraded 35          portion of the handle layer to form the handle.
  for the removal of the dry layers of stratum corneum, fol              In some embodiments, the Support layer of the dermal
  lowed by cleaning and defatting of the skin using an alcohol preparation device is approximately circular, and the major
  wipe. The skin abrasion process exposes more conductive axis is a diameter of the circle. In certain embodiments, the
  layers of skin to improve electric connection, promoting bet major axis is no more than about 2.5 inches long. In further
  ter transmission of a cleaner signal.                            40 embodiments, the is no more than about 2.0 inches long.
     As mentioned previously, electrodes may contain an adhe Certain embodiments may cal for the dermal preparation
  sive to keep the electrode in contact with the skin. The outer device to further comprise an atraumatic edge. In some
  layers of the stratum corneum are typically the driest and embodiments, the atraumatic peripheral edge comprises a
  nearest to being sloughed off by the body. Removing these rounded Surface formed by inclining a peripheral edge of the
  cells prior to electrode placement allows the adhesive to come 45 device away from a plane defined by the lower surface, in the
  into newer, more anchored layers of the skin, promoting direction of the upper surface. In further embodiments, the
  longer adhesion performance. With sensing applications that Support layer is sufficiently flexible that when pressed against
  require longer-term wear periods, Sufficient removal of skin a dermal surface using the handle, the lower surface will
  takes on greater importance. The development of a long-term deform into a convex surface against the dermal Surface. In
  recording ECG patch has further created a need for a tool that 50 some embodiments, the handle is bonded to the support layer
  is effective in thoroughly removing the stratum corneum lay along a bond which extends at least about 50% of the maxi
  ers, to allow for patch adhesion for periods up to and beyond mum dimension of the Support, along the axis of the bond. In
  14 days.                                                            certain embodiments, the handle is bonded to the support
     As critical as the skin abrasion process is for good signal layer along a bond which extends at least about 85% of the
  conduction and long term adhesion, it is a process that is often 55 maximum dimension of the Support, along the axis of the
  incomplete in practice. This is largely due to the limitations of bond. In further embodiments, the handle is bonded directly
  existing abrasion tools in combination with the limited time to the Support layer. In certain embodiments, the handle is
  and attention typically given to the abrasion process. Certain bonded to the support layer by a bond which covers at least
  abrasion tools, resembling woven polymer sponges, have a about 15% of the total area of the upper surface of the support
  coarse texture. Though the sensation of abrasion is height 60 layer. In certain embodiments, the handle is bonded to the
  ened for the patient, the contours of the tools surface are support layer by a bond which covers at least about 35% of the
  more conducive to creating scratches in the skin than evenly total area of the upper Surface of the Support layer. In some
  removing the outer stratum corneum layer. Other products, embodiments, the abrasive comprises a grit ranging from
  Such as pumice-impregnated alcohol wipes, do an adequate about 36-66 um.
  job of abrading the skin without causing unwanted injury to 65 In further embodiments, in a dermal preparation device as
  the skin, however significant pressure and attention is described above where the handle is bonded to the support
  required for an effective outcome. In combining the skin layer along a bond which extends at least about 50% of the
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  maximum dimension of the Support along the axis of the           ensuring properties of flexibility and resilience in the abra
  bond, the axis of the bond is substantially parallel to the majorsion device is the ability to conform against the curvature and
  axis. In some embodiments, a transdermal electrode and Sur       contours of the body where electrodes would be placed, while
  face preparation kit, comprises at least one transdermal elec maintaining a relatively even plane Such that the pressure
  trode configured for adhesive attachment to a patient’s skin, applied to the skin during abrasion can be substantially uni
  and at least one dermal preparation device as described above. formly distributed across the surface as best as practicable.
     In some embodiments, a dermal preparation device for             It will be understood by one skilled in the art that the
  preparation of the stratum corneum of a patient for long term geometric shapes of the peripheral edge of the skin abrasion
  adhesion of an electrode to the patient, comprises:              device described herein are non-limiting. The embodiments
     an abrasive Surface;                                       10 of the skin abrasion device described herein are applicable to
     an inner layer, and,                                          a wide variety of geometric shapes.
     a holding layer further comprising a gripping portion.           In some embodiments, the abrasive layer 102 can comprise
     In certain embodiments, a method of abrading the skin of a material sheet Such as medical grade or equivalent Sandpa
  patient via a dermal preparation device in preparation for the per, where a range of grit sizes can be used depending upon
  long term adhesion of an electrode, comprises:                15 the level of abrasion or gentleness desired as well as the type
     placing the dermal preparation device on the skin;            of skin that is being abraded. In some embodiments, the
     grasping a gripping portion of the dermal abrasion device; average diameter of the grit may range in size from about
     applying pressure to the skin through the dermal abrasion 16-93 microns (Lm). For example, the grit can have an aver
        device; and                                                age diameter ranging from: about 20-90 um, about 25-85um,
     moving the device in a manner to remove a desirable about 30-80 um, about 35-75 um, about 40-70 um, about
        amount of skin.                                            45-65um, or about 50-60 um. Preferably, Grit diameters in
     In some embodiments, the method may comprise prepar the range of 36-66 um can provide a level of abrasion that is
  ing the skin for application of the dermal preparation device. effective with minimal pressure and a perception of minimal
  Certain embodiments may call for the method to further com roughness by the Subject being abraded.
  prise adhering a physiological monitoring device that com 25 In some embodiments, the abrasive surface 103 may be a
  prises an electrode. In embodiments of the method, a physi surface that is embedded with or bonded to abrasive material,
  ological parameter may be measured with the physiological Such as polymeric or mineral particles, or one that is textured
  monitoring device. In embodiments, the desirable amount of through material properties or a manufacturing process.
  skin comprises an amount of skin configured to improve the          Preferably, the abrasive surface 103 is biocompatible. In
  signal quality of the physiological monitoring device.        30 one embodiment, the abrasive surface 103 may comprise a
                                                                   biocompatible mineral such as silicon carbide. Another
         BRIEF DESCRIPTION OF THE DRAWINGS                         embodiment may be a biologically inert polymer that is
                                                                      formed or molded to have an abrasive texture, such as hook
    FIGS. 1A-B illustrate different views of embodiments of a    and loop fasteners. Further embodiments include the use of
  skin abrasion device.                                       35 aluminum oxide, alumina-Zirconia, chromium oxide,
    FIGS. 2A-E illustrate different views and photographs of          ceramic aluminum oxide or any other appropriately abrasive
  embodiments of a skin abrasion device.                              material.
    FIG. 3 illustrates an embodiment of a sheet for use in           In some embodiments, the abrasive surface 103 may com
  manufacturing a skin abrasion device.                           prise commercially available abrasive surfaces such as 426U
    FIG. 4 illustrates an additional embodiment of a skin abra 40 Abrasive, available from 3M Innovative Properties Company.
  sion device.                                                    Further abrasive surfaces may also include those described in
     FIG. 5 illustrates a method for the manufacture of skin        U.S. Pat. No. 6,136,008, SKIN ABRASION DEVICE FOR
  abrasion devices.                                                 BIOMEDICAL ELECTRODE, filed Mar. 19, 1998 and
     FIG. 6 illustrates an additional method for the manufacture    hereby incorporated by reference. For example, as described
  of a skin abrasion device.                                     45 in U.S. Pat. No. 6,136,008, an abrasive surface can comprise:
    FIGS. 7A-B illustrate embodiments of packaging for a skin       a polymeric geometrically structured Surface abrasive which
  abrasion device.                                                  minimizes and preferably avoids any use of mineral particle
     FIG. 8 illustrates an additional embodiment of packaging content, making the assembly of a skin abrasion device in a
  for a skin abrasion device.                                       high-speed, low-cost biomedical electrode manufacturing
     FIG. 9 illustrates an embodiment of a kit containing skin 50 facility possible under GMP/QSR conditions; and a predeter
  abrasion devices.                                                 mined pattern of geometrically structured Surface abrasive,
     FIG.10 illustrates an embodiment of a kit containing mate which permits assured, engineered Surfaces for consistent
  rials related to prepping the surface of the skin for electrode abrading properties on a specific type of mammalian skin or
  placement.                                                        a specific mammal, in order to achieve reduced skin imped
                                                                 55 ance without undue damage or painto the patient. Using these
                    DETAILED DESCRIPTION                            parameters, it is possible to engineer a geometrically struc
                                                                    tured Surface abrasive based upon the tooling used to produce
     Embodiments disclosed herein relate to apparatuses and Such surface.
  methods directed towards the use and manufacture of skin             As further described in U.S. Pat. No. 6,136,008, a portion
  abrasion devices.                                              60 of an abrasive surface can be engineered from a variety of
     FIG. 1A illustrates an embodiment of a skin abrasion           polymeric materials. Non-limiting examples of Such poly
  device 100 comprising an abrasive layer 102 with an abrasive mers include (meth)acrylates such as triacrylates prepared
  surface 103, an adhesive layer 104, an inner sheet 106, a from one or more monomers such as trimethyolpropane tria
  partial adhesive layer 108, and a holding layer 110 further crylate and triacrylate of trishydroxyethyl isocyanate. Addi
  comprising a gripping portion 112. The skin abrasion device 65 tives can be added to Such an abrasive Surface and can include
  100 may be flexible and can be further configured to remove pigments, dyes, plasticizers, anti-oxidants, and fillers as
  at least a portion of the stratum corneum. An advantage of desired by those skilled in the art.
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     The embodiments described herein may further include the          to the adhesive layer 108 functions as the gripping portion
  use of open-coat abrasives or perforations, in order to mini         112, which can be a tab, handle, or other protrusion. The
  mize the collection of abraded skin that may reduce the effec        gripping portion 112 can be grasped between the fingers of a
  tiveness of the abrasive during the time of use.                     user to control the movement and applied pressure of the skin
     In certain preferable embodiments, the material properties        abrasion device.
  of the selected abrasive material sheet used in the abrasive           In some embodiments, the portion of the holding layer 110
  layer 102 contribute to the flexibility and structural resilience    attached to the adhesive layer 108 can be at least about 1%, at
  of the abrasive device. In some embodiments, the abrasive     least about 5%, at least about 10%, at least about 15%, at least
  surface 102 can be laminated to the inner sheet 106 via an    about 20%, at least about 25%, at least about 30%, at least
  adhesive layer 104. Adhesive layer 104 can comprise any 10 about 35%, at least about 40%, at least about 45%, at least
  suitable adhesive material, for example a double-sided rubber about 50%, at least about 55%, at least about 60%, at least
  adhesive such as 300LSE manufactured by 3M Innovative about 65%, at least about 70%, at least about 75%, at least
  Properties Company. In some embodiments, adhesive layer about 80%, at least about 90%, or about 100% of the total area
   104 is a glue or other adhesive material sheet or substance.        of the holding layer 110. In certain embodiments, the portion
     In certain embodiments, the inner sheet 106 can be a flex 15 of the holding layer 110 that is attached to the inner sheet 106
  ible sheet or film, preferably constructed from a polymer such      by adhesive layer 108 is no more than about 70%, about 60%,
  as polythethylene terephthalate. In other embodiments, the          or about 50% of the area of the holding layer 110.
  inner sheet 106 can comprise any suitable polymer, for                 In certain embodiments, the holding layer 110 can be a
  example polyethylenes, polypropylenes, polyesters, vinyl            flexible sheet or film, preferably constructed from a polymer
  esters, other flexible polymer films. The thickness of the inner    such as polythethylene terephthalate. In other embodiments,
  sheet 106 can range from about 0.002 inches to 0.015 inches.        the holding layer 110 can comprise any suitable polymer, for
  For example, the thickness of the inner sheet 106 can range         example polyethylenes, polypropylenes, polyesters, vinyl
  from: about 0.003-0.014 inches, about 0.004-0.013 inches,           esters, or other flexible polymer films. The thickness of the
  about 0.005-0.012 inches, about 0.006-0.011 inches, about           holding layer can range from about 0.001-0.010 inches. For
  0.007-0.010 inches, or about 0.008-0.009 inches. The use of 25 example, the thickness of the holding layer 110 can range
  a flexible polymer film advantageously contributes to the from: about 0.002-0.009 inches, about 0.003-0.008 inches,
  flexibility and structural resilience of the skin abrasion about 0.004-0.007 inches, or about 0.005-0.006 inches.
  device.                                                                In some embodiments, the holding layer 110 can be printed
     In certain embodiments, the thickness of the inner sheet         to include text instructions, diagrams, images, or other label
  106 is desirably selected to complement the material proper 30 ing that facilitates use of the device for certain applications, or
  ties of the abrasive layer. For example, if the abrasive layer is that aid incorrect selection of the device as applicable to cases
  particularly thick, then a thinner inner sheet layer may be in which multiple abrasion devices are provided to the user.
  more desirable.                                                     For example, a visual indicium such as a number symbol or
     Another advantage of laminating the inner sheet 106 to the color code may be provided on the holding layer, or visible
  abrasive surface 102 is the minimization of creases that can 35 through the holding layer, indicative of a particular coarse
  form on the abrasive Surface, as certainabrasive materials can      ness of the abrasive layer 102. In certain embodiments, a
  be prone to crease-forming due to bending. Such creasing can plurality of abrasion devices may be provided, each having
  produce sharp corners which may scratch or break the skin, two unique abrasive characteristics and unique correspond
  increasing the likelihood of skin irritation or sensitization to ing indicium.
  electrode materials.                                             40    In some embodiments, the abrasive layer is not comprised
     In some embodiments, the inner sheet 106 is attached to an       of a separate layer, but rather, the bottom layer of the abrasive
  adhesive layer 108 that covers less than 100% of an upper device is comprised of grit as described above, directly
  surface of the inner sheet 106. The partial adhesive layer 108 adhered to the inner sheet 106 via an adhesive.
  can be comprised of any suitable adhesive material, for                FIG. 1B illustrates an embodiment of a skin abrasion
  example a double-sided rubber adhesive such as 300LSE 45 device with a circular peripheral shape 120. In some embodi
  manufactured by 3M Innovative Properties Company. In ments, the abrasive device 120 may be rounded, circular, oval,
  other embodiments, the adhesive layer 108 is a type of glue or or otherwise curved. With a rounded shape, the abrasive
  other adhesive Substance. In some embodiments, the adhesive         device remains free of the types of angled or straight edges
  layer 108 can cover a portion of the inner sheet 106 ranging that can scratch, cut, or break the skin of the Subject during the
  from approximately 5% to 100% of inner sheet 106. For 50 abrasion process when the device is moved back and forth
  example, the portion of inner sheet 106 covered by adhesive with application of pressure. The abrasive device 120 may be
  layer 108 can be at least about 10%, at least about 15%, at made into further shapes without sharp or jagged edges
  least about 20%, at least about 25%, at least about 30%, at         unconfined to the aforementioned shapes. Similar to FIG.1A,
  least about 35%, at least about 40%, at least about 45%, at         In some embodiments, the portion of the holding layer 110
  least about 50%, at least about 55%, at least about 60%, at 55 attached to the adhesive layer 108 can be at least about 1%, at
  least about 65%, at least about 70%, at least about 75%, at    least about 5%, at least about 10%, at least about 15%, at least
  least about 80%, at least about 90%, or about 100% of the      about 20%, at least about 25%, at least about 30%, at least
  total top area of the inner sheet 106. In certain embodiments, about 35%, at least about 40%, at least about 45%, at least
  the adhesive layer 108 covers no more than about 60% or no about 50%, at least about 55%, at least about 60%, at least
  more than about 50% of the area of the inner sheets 106. In 60 about 65%, at least about 70%, at least about 75%, at least
  alternative embodiments, the inner sheet 106 can comprise about 80%, at least about 90%, or about 100% of the total area
  multiple thinner sheets laminated together.                      of the holding layer 110. In certain embodiments, the portion
    In some embodiments, the holding layer 110 can be of the holding layer 110 that is attached to the inner sheet 106
  attached to the inner sheet 106 via an adhesive layer 108. The by adhesive layer 108 is no more than about 70%, about 60%,
  adhesive layer 108 can be attached to only a portion of the 65 or about 50% of the area of the holding layer 110.
  holding layer 110. As will be described in greater detail           In some embodiments, the abrasive device comprises a
  below, the portion of the holding layer 110 that is not attached major axis 114 comprising the longest dimension that extends
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  across the geometric center of the device in a plane parallel to     FIG. 4 illustrates an embodiment of an abrasive device
  the plane of the abrasive device. The length of the major axis     similar to the embodiments described in FIGS. 1-2 that is
  114 can range from about 0.5-3.0 inches. For example, the        formed to have a slight upwardly concave shape, particularly
  length of the major axis can range from: about 0.75-2.75         at the edges, forming an atraumatic periphery 214. The abra
  inches, about 1.0-2.5 inches, about 1.25-2.25 inches, or about 5 sion device can have a rounded profile in plan view. In further
  1.5-2.0 inches. In a preferred embodiment, the length of the embodiments, the abrasion device may have a rectangular,
  major axis is 1.625 inches.                                      oval, or other shape in plan view. As with FIGS. 1-2, the
     FIGS. 2A-F illustrate different views of an embodiment of     abrasive device can comprise an abrasive layer 202, an adhe
  anabrasive device, similar to the device described in FIG.1B,    sive layer 204, an innersheet 206, a partial adhesive layer 208,
  wherein a holding feature such as the gripping portion 112 of 10 and a holding layer 210 comprising a gripping portion 212.
  the holding layer 110 can be pinched between the fingers 122 The atraumatic periphery 214 concaves upwardly and pre
  and used to abrade the skin 124. The gripping portion, which sents a convex curve along the peripheral lower edge which
  may be embodied as a tab, handle, or other protrusion, serves would reduce the risk of contact between skin and the poten
  to facilitate secure holding of the abrasion device while mini tially sharp edges of the abrasive device, further eliminating
  mizing contact between the abrasion device's user and the 15 potential for inadvertent Scratching or gouges in the skin. In
  skin of the Subject being abraded. The gripping portion also Some embodiments, the annular atraumatic Surface can be
  enables the clinician or wielder of the abrasion device to       formed by molding or thermoforming operations or by cold
  apply even pressure to the center of the abrasion device rather stamping the device or Support layer from a sheet stack. An
  than uneven pressure to one edge, as may be the case if a flat atraumatic periphery can alternatively be formed by tapering
  piece of abrasive material were held without a holding fea the thickness of the abrasion device towards the edges or by
  ture. In a preferred embodiment, the gripping portion 112 of using lower stiffness materials to construct an annular periph
  holding layer 110 extends across at least approximately half eral Zone on the device.
  of the abrasive device as defined by the major axis 114. In         As similarly described above in relation to FIG. 1, the
  Some embodiments, the gripping portion 112 has the approxi thickness of inner layer 206 can be varied, generally between
  mate shape of a half-circle. Preferably, the flat edge of the 25 about 0.001-0.015. A thicker inner layer 206 beyond about
  half-circle gripping portion 112 can extend across the entirety 0.01 may lead to decreased flexibility in the abrasive device:
  of major axis 114. However, in some embodiments, the flat however, depending upon the construction material, a thicker
  edge of the gripping portion 112 extends along only a portion inner layer can allow for greater ease in curving the edges of
  of the major axis 114. For example, the flat edge can extend the device.
  across: at least about 10%, at least about 20%, at least about 30 FIG. 5 illustrates an embodiment of a method 300 for
  30%, at least about 40%, at least about 50%, at least about      creating the concave shape of the abrasive device of FIG. 4
  60%, at least about 70%, at least about 80%, at least about through a cutting method using cutters 306 applied against a
  90%, or about 100%. Further, it will be understood that the      softer surface 304, causing the abrasive device 302 to take a
  gripping portion 112 is not limited to a flat edge aligning with curved edge 308. FIG. 6 illustrates an embodiment where
  the major axis 114. In some embodiments, the flat edge of the 35 preparation of the concave shape can be achieved through
  gripping portion may be located parallel to the major axis more deliberate forming methods 400 after the material is cut.
  between the major axis and the edge of the abrasive device. In In some embodiments, the material could be cut against an
  other embodiments, the flat edge of the gripping portion may explicitly concave surface 404, imparting that shape when the
  be perpendicular to the major axis 114. As will be understood cut force is applied.
  by those skilled in the art, in still other embodiments, the 40 The shape and form of the abrasion device is conducive to
  shape of the gripping portion may be rectangular, circular, or flat and user-friendly packaging. FIG. 7A illustrates an
  further shapes other than a half-circle.                         embodiment of a mechanism for packaging the abrasion
    FIG. 3 illustrates a sheet 130 for use in one method of          device 500 via a half-moon slit 502, where the tab or handle
  manufacturing the abrasion device as described above, com 504 of the abrasion device is presented on top of the slit 502.
  prising disc cut-outs 136, partial adhesion layer 134, and 45 FIG. 7B illustrates an embodiment of a mechanism for pack
  unadhered sections of holding layer 132. In some embodi aging the abrasion device 500 where the tab or handle 504
  ments, a method of producing the skin abrasion device com may extend in a direction away from the half-moon slit 502.
  prises: laminating the aforementioned abrasive Surface with a In some embodiments, the tab or handle 504 may extend in an
  backing material, or multiple materials, for structural Support opposite direction, directly away from the half-moon slit 502.
  and flexibility; attaching material that is used as a holding 50 In certain embodiments, the tab or handle can extend in a
  feature; and, cutting the material to a desired shape. Within direction perpendicular to the half-moon slit 502. It will be
  the aspect of manufacturing, the use of an abrasive film or understood by one of skill in the art that the slit may be of any
  sheet 130 facilitates the use of scalable and inexpensive con shape Suitable for holding the abrasion device, for example an
  Verting methods for laminating to other necessary materials. angular slit. The abrasion device may also be held by more
  In one embodiment of this process, as illustrated in FIG. 3, 55 than one slit, such as two slits, three slits, or more than three
  two abrasive discs 136 can be made as mirror images within slits. The half-moon slit may be a slit extending throughan arc
  the same 2-up die Strike. This approach could be repeated in of at least about 120° and preferably at least about 160°, or
  a pattern in both X and y dimensions, utilizing either a flat    180°, and may have a Substantially constant radius or a curve
  steel-rule die or a rotary die for large-scale production.       conforming to a portion of an oval or ellipse.
     In some embodiments, the abrasion device comprises a 60 FIG. 8 illustrates another packaging embodiment where
  topmost Support layer and a handle. In certain embodiments, the abrasion device is placed in a rectangular slot 506, which
  the handle can be attached to the support layer via two or more can secure the abrasion device through friction against the
  attachment points. Preferably, the two or more attachment packaging Surface, and presents a handle above or below the
  points can be spaced apart for further stability. In some slot. Both of these embodiments described in FIGS. 7 and 8
  embodiments, the attachment points for the handle can be 65 allow the user to grip the abrasion device from the included
  located in any location across the top surface of the abrasion tab or handle 504 and remove the device from the packaging
  device.                                                          without changing grip.
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                                                      US 9,173,670 B2
                                                                                                    10
     As described above, the abrasion device allows for versa          a handle secured to the upper surface, the handleformed by
  tility in its packaging. In one packaging embodiment, the               bonding a first portion of a handle layer to the Support
  abrasion device may be individually packaged and provided               layer, and folding a second portion of the handle layer to
  in multiple unit packaging 600. Alternately, many abrasion              form the handle.
  devices may be provided loose, in a box of multiple quantities       2. A dermal preparation system as in claim 1,
  602. FIG. 9 illustrates a kit embodiment, in which a single, or      wherein    the Support layer is approximately circular, and
  multiple abrasion devices are provided for use with a single            the  major  axis is a diameter of a circle.
                                                                       3. A dermal preparation system as in claim 1, wherein the
  electrode or other physiological monitoring product.              major axis is no more than about 2.5 inches long.
     In a kitted embodiment 700, the abrasion device's flatform 10 4. A dermal preparation system as in claim 1, wherein the
  factor allows for packaging within instructions along with major axis is no more than about 2.0 inches long.
  other skin preparation materials, such as razors and alcohol         5. A dermal preparation system as in claim 1, wherein the
  wipes. FIG. 10 illustrates one embodiment of such a kit, a Zio Support layer is sufficiently flexible that when pressed against
  Patch kitted assembly 704, which contains the monitor, shav a dermal surface using the handle, the lower surface will
  ing tool, abrading tool, and cleaning wipe(s) 702 packaged 15 deform into a convex surface against the dermal Surface.
  together within the application instructions booklet. Instruc        6. A dermal preparation system as in claim 1, wherein the
  tions 706 In another embodiment of the abrasion device            handle is bonded to the support layer along a bond which
  included within a kit, multiple abrasion devices of varying extends         at least about 50% of a maximum dimension of the
                                                                    Support layer, along an axis of the bond.
  coarseness could be provided for sequential steps of abrasion,       7. A dermal preparation system as in claim 6, wherein the
  Such as a coarse abrasion device for the first pass, and a finer
  grit abrasion device for the final pass. In another embodiment axis8. of   the bond is substantially parallel to the major axis.
  of the abrasion device included within a kit in which multiple handle dermal
                                                                          A
                                                                             is
                                                                                     preparation system as in claim 1, wherein the
                                                                                bonded   to the support layer along a bond which
  abrasion devices of varying coarseness could be provided for extends at least about         85% of a maximum dimension of the
  sequential steps of abrasion, the different abrasion devices Support layer, along an axis of the bond.
  could vary in size and shape So as to be distinguishable within 25 9. A dermal preparation system as in claim 1, wherein the
  the kit.                                                          handle is bonded to the support layer by a bond which covers
     In certain embodiments, the handle contains cut-outs           at least about 15% of a total area of the upper surface of the
  (semi-circular, triangular, rectangular, or any Suitable shape) Support layer.
  along its edge, giving the user a feature that helps peel the        10. A dermal preparation system as in claim 1, wherein the
  handle up from the main body of the device if it has not been 30 handle is bonded to the support layer by a bond which covers
  folded up.                                                        at least about 35% of a total area of the upper surface of the
     In some embodiments, the kit 700 may further include Support layer.
  instructions for the use of the abrasion device in combination       11. The system of claim 1, wherein the abrasive coating
  with a monitoring device. For example, the kit may include uniformly coats the entirety of the lower surface.
  instructions 706 such as how to enroll in an online website 35       12. The system of claim 1, wherein the dermal preparation
  related to the abrasion device. Further instructions may device further comprises an outer peripheral edge, the outer
  include advising a user as to properly planning for the place peripheral edge curving along the entirety of a circle and
  ment of the physiological monitoring device, including shav having no corners.
  ing, abrading the skin, cleaning the skin, removal of the            13. A dermal preparation kit for preparation of a stratum
  device, and proper application of the physiological monitor 40 corneum of a mammal for adhesion of an electrode to the
  ing device.                                                       mammal, comprising:
                                                                       an electrode configured for adhesive attachment to a mam
    What is claimed is:                                                   mal's skin; and
    1. A dermal preparation system for preparation of a stratum         a dermal preparation device separate from the electrode,
  corneum of a mammal for adhesion of an electrode to the 45              the dermal preparation device comprising:
  mammal, comprising:                                                   a Support layer having an upper Surface, a lower Surface,
    an electrode configured for adhesive attachment to a mam               and a major axis extending through a geometrical center
       mal's skin; and                                                     of the Support layer and along the longest dimension of
    a dermal preparation device separate from the electrode,              the Support layer,
       the dermal preparation device comprising:                50
                                                                        an abrasive coating the lower Surface, the abrasive coating
    a Support layer having an upper Surface, a lower Surface,              comprising a polymeric grit with diameters ranging
       and a major axis extending through a geometrical center             from about 36-66 um, the abrasive coating configured to
       of the Support layer and along the longest dimension of             mechanically remove a portion of the stratum corneum
       the Support layer,                                                 of the mammal; and
    an abrasive coating the lower Surface, the abrasive coating 55      a handle secured to the upper surface, the handleformed by
       comprising a polymeric grit with diameters ranging                  bonding a first portion of a handle layer to the Support
       from about 36-66 um, the abrasive coating configured to             layer, and folding a second portion of the handle layer to
                                                                          form a handle.
       mechanically remove a portion of the stratum corneum
       of the mammal; and
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                       Exhibit 26
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                                  Claim Chart for U.S. Patent No. 8,214,007 (“the ’007 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Next-generation Zio Monitor by iRhythm (the “Zio
Monitor”). The Accused Instrumentalities infringe the identified claims of the ’007 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 45                                                   Accused Instrumentalities
 45[pre] A body worn           To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 patient monitoring device     a body worn patient monitoring device in accordance with this claim. The Zio Monitor satisfies
 comprising:                   45[pre] because the Zio Monitor is a monitoring device that is worn on the patient’s body. In an
                               example, the Zio Monitor monitors patient ECG signals.




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 45                                       Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 45                                      Accused Instrumentalities




                                            (https://vimeo.com/855831164)


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         Claim 45                                                  Accused Instrumentalities
45[a] a disposable module     The Accused Instrumentalities include a disposable module including a plurality of electrical
including a plurality of      connections, the electrical connections adapted for electrical coupling to a skin surface to receive
electrical connections, the   physiological signals, the disposable module including a disposable module connector. The Zio
electrical connections        Monitor satisfies 45[a] because the Zio Monitor is a one-time use patient monitor. Thus, the “patch”
adapted for electrical        portion of the device is disposable. And, to function properly, the patch includes electrical
coupling to a skin surface    connections that interface with the skin to collect ECG data (i.e., physiological signals).
to receive physiological
signals, the disposable
module including a
disposable module
connector;




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 45                                        Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                        Accused Instrumentalities




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                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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Claim 45                                          Accused Instrumentalities




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)


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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)


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        Claim 45                                                 Accused Instrumentalities
45[b] a power source to      The Accused Instrumentalities include a power source to power the body worn patient monitoring
power the body worn          device. The Zio Monitor satisfies 45[b] because the Zio Monitor includes a battery (i.e., a power
patient monitoring device;   source). The battery powers the body worn device.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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Claim 45                                        Accused Instrumentalities




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                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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        Claim 45                                                Accused Instrumentalities
45[c] a communication-       The Accused Instrumentalities include a communication-computation module, having a
computation module,          communication-computation module connector to receive the physiological signals from the
having a communication-      disposable module via the disposable module connector. The Zio Monitor satisfies 45[c] because the
computation module           Zio Monitor includes a communication and computation module on the device. The module receives
connector to receive the     physiological signals from the disposable module via the connector of the disposable module.
physiological signals from
the disposable module via
the disposable module
connector, the
communication-
computation module
including:




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                        Accused Instrumentalities




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                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)


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        Claim 45                                                   Accused Instrumentalities
45[d] a microprocessor to     The Accused Instrumentalities include a communication-computation module including: a
actively monitor a patient    microprocessor to actively monitor a patient and to perform a real-time physiological analysis of
and to perform a real-time    the physiological signals, the analysis determining an occurrence of a predetermined ECG event.
physiological analysis of     The Zio Monitor satisfies 45[d] because it monitors the patient and can determine the occurrence of an
the physiological signals,    ECG event.
the analysis determining an
occurrence of a
predetermined ECG event,




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                               (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)


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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)



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Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




                                                (MAX30003 Datasheet)




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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)


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Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)



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Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)




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         Claim 45                                                   Accused Instrumentalities
45[e] a radio circuit to       The Accused Instrumentalities include a communication-computation module including: a radio
communicate an                 circuit to communicate an unprocessed physiological signal or a result of the physiological
unprocessed physiological      analysis, at a predetermined time or on an occurrence of a predetermined event, via a radio
signal or a result of the      transmission to a remote radio receiver. The Zio Monitor satisfies 45[e] because it can export data at
physiological analysis, at a   an occurrence of a predetermined event via, for example, Bluetooth LE.
predetermined time or on
an occurrence of a
predetermined event, via a
radio transmission to a
remote radio receiver, and




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 404 of 703 PageID #: 1145

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 405 of 703 PageID #: 1146

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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 406 of 703 PageID #: 1147

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 407 of 703 PageID #: 1148

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Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 408 of 703 PageID #: 1149

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 409 of 703 PageID #: 1150

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 410 of 703 PageID #: 1151

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 411 of 703 PageID #: 1152

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 412 of 703 PageID #: 1153

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX32666 Datasheet)


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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 413 of 703 PageID #: 1154

                                    CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 45                                                  Accused Instrumentalities
45[f] wherein the            The Accused Instrumentalities include a communication-computation module wherein the
disposable module has a      disposable module has a mechanical and electrical coupling to the communication-computation
mechanical and electrical    module, forming the body worn patient monitoring device as a single unit that is adapted to be
coupling to the              directly and non-permanently affixed to the skin surface of the patient. The Zio Monitor satisfies
communication-               45[f] because the disposable module is mechanically and electrically connected to the hardware of the
computation module,          patient worn device. This device is directly, non-permanently attached to the patient via the surface of
forming the body worn        the skin.
patient monitoring device
as a single unit that is
adapted to be directly and
non-permanently affixed to
the skin surface of the
patient; and




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                          Page 51 of 76
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 414 of 703 PageID #: 1155

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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 415 of 703 PageID #: 1156

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Claim 45                                        Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 416 of 703 PageID #: 1157

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 417 of 703 PageID #: 1158

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 418 of 703 PageID #: 1159

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 419 of 703 PageID #: 1160

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 420 of 703 PageID #: 1161

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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 45                                                    Accused Instrumentalities
45[g] at least one series     The Accused Instrumentalities include at least one series current-limiting resistor configured to
current-limiting resistor     protect the communication-computation module, the at least one series current-limiting resistor
configured to protect the     being screened on a flexible substrate, the at least one series current-limiting resistor being in the
communication-                form of resistive traces. The Zio Monitor includes a current limiting resistor located on the flexible
computation module, the at    substrate. Further, the current limiting resistor is in the form of resistive traces.
least one series current-
limiting resistor being
screened on a flexible
substrate, the at least one
series current-limiting
resistor being in the form
of resistive traces.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 422 of 703 PageID #: 1163

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Claim 45                                        Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         Page 60 of 76
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 423 of 703 PageID #: 1164

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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 424 of 703 PageID #: 1165

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 425 of 703 PageID #: 1166

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Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 426 of 703 PageID #: 1167

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 427 of 703 PageID #: 1168

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 428 of 703 PageID #: 1169

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 429 of 703 PageID #: 1170

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 430 of 703 PageID #: 1171

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 431 of 703 PageID #: 1172

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 432 of 703 PageID #: 1173

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                                (MAX30003 Datasheet)




                                                (MAX30003 Datasheet)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 433 of 703 PageID #: 1174

                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                          Accused Instrumentalities




                                                    (MAX30003 Datasheet)




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




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Claim 45                                          Accused Instrumentalities




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)


                                          Page 72 of 76
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 435 of 703 PageID #: 1176

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                         Accused Instrumentalities




                    (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)


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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                         Accused Instrumentalities




                    (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)


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Claim 45                                         Accused Instrumentalities




                    (https://patentimages.storage.googleapis.com/12/7b/34/ee9a6b3db2a824/US11399760.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 438 of 703 PageID #: 1179

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 45                                      Accused Instrumentalities




                                (https://www.irhythmtech.com/content/patents-trademarks)



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                       Exhibit 27
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 440 of 703 PageID #: 1181

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 8,965,492 (“the ’492 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio AT Patch Heart Monitor by iRhythm (“Zio
AT”). The Accused Instrumentalities infringe the identified claims of the ’492 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A body-worn patient To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 monitoring device          a body-worn patient monitoring device in accordance with this claim. The Zio AT satisfies 1[pre]
 comprising:                because the Zio AT is a monitoring device that is worn on the patient’s body. In an example, the Zio
                            AT monitors patient ECG.




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                            Page 1 of 14
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 441 of 703 PageID #: 1182

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Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                       (https://www.irhythmtech.com/providers/zio-service/ziosuite-patient-management)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 442 of 703 PageID #: 1183

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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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                                    CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                 Accused Instrumentalities




                                         (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)

1[a] a flexible printed      The Accused Instrumentalities include a flexible printed circuit layer made from an insulating
circuit layer made from an   material and defining a substrate. The Zio AT satisfies 1[a] because the Zio AT includes a printed
insulating material and      circuit layer designed to flexibly adhere to a patient.
defining a substrate;




                                         (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)



                                                          Page 4 of 14
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 444 of 703 PageID #: 1185

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Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 445 of 703 PageID #: 1186

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                   Accused Instrumentalities




                                               (https://www.irhythmtech.com/providers/zio-service/zio-monitors)
1[b] at least one electrode   The Accused Instrumentalities include at least one electrode disposed onto a surface of the
disposed onto a surface of    substrate. The Zio AT satisfies 1[b] because the Zio AT includes two electrodes on the surface of the
the substrate;                substrate to detect the electrical activity produced by the heart.




                                           (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


                                                           Page 6 of 14
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 446 of 703 PageID #: 1187

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         Claim 1                                                Accused Instrumentalities
1[c] at least one connection The Accused Instrumentalities include at least one connection pad. The Zio AT satisfies 1[c]
pad;                         because the Zio AT includes various connection pads.




                                         (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                         (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                         Page 7 of 14
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Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




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Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 449 of 703 PageID #: 1190

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                   Accused Instrumentalities




                                             (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)

1[d] at least one electrical   The Accused Instrumentalities include at least one electrical trace extending between the at least
trace extending between        one connection pad and a conductive surface of the least one electrode, the at least one electrical
the at least one connection    trace being made at least in part from a resistive material. The Zio AT satisfies 1[d] because the
pad and a conductive           electrodes of the Zio AT detect electrical signals. To function, the electrical signals must be carried
surface of the least one       upstream. In other words, the detected signals must travel from the electrodes to the connection pads.
electrode, the at least one    This is accomplished through the use of an electrical trace made of a resistive material.
electrical trace being made
at least in part from a
resistive material; and




                                            (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


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Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 451 of 703 PageID #: 1192

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Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)



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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 452 of 703 PageID #: 1193

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          Claim 1                                               Accused Instrumentalities




                                         (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)

1[e] an insulating layer   The Accused Instrumentalities include an insulating layer covering the flexible printed circuit
covering the flexible      layer. The Zio AT satisfies 1[e] because the Zio AT includes an insulating layer that covers the
printed circuit layer.     printed circuit layer.




                                        (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


                                                        Page 13 of 14
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 453 of 703 PageID #: 1194

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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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                       Exhibit 28
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 455 of 703 PageID #: 1196

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 8,965,492 (“the ’492 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio XT Patch Heart Monitor by iRhythm (“Zio
XT”). The Accused Instrumentalities infringe the identified claims of the ’492 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A body-worn patient To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 monitoring device          a body-worn patient monitoring device in accordance with this claim. The Zio XT satisfies 1[pre]
 comprising:                because the Zio XT is a monitoring device that is worn on the patient’s body. In an example, the Zio
                            XT monitors patient ECG.




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 458 of 703 PageID #: 1199

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Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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         Claim 1                                                 Accused Instrumentalities
1[a] a flexible printed      The Accused Instrumentalities include a flexible printed circuit layer made from an insulating
circuit layer made from an   material and defining a substrate. The Zio XT satisfies 1[a] because the Zio XT includes a printed
insulating material and      circuit layer designed to flexibly adhere to a patient.
defining a substrate;




                                  (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                               service/zio-monitors?hsLang=en)




                                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                                            CONFIDENTIAL – ATTORNEY WORK PRODUCT


            Claim 1                                                            Accused Instrumentalities




                                                   (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf) 1




                                                                (https://www.irhythmtech.com/patients/myzio/zio-xt)


1
 While this references the Zio-AT Clinical Reference Manual, upon information and belief, material within the Zio-AT Clinical Reference Manual is also
applicable to the Zio XT.

                                                                       Page 7 of 21
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         Claim 1                                                   Accused Instrumentalities
1[b] at least one electrode   The Accused Instrumentalities include at least one electrode disposed onto a surface of the
disposed onto a surface of    substrate. The Zio XT satisfies 1[b] because the Zio XT includes two electrodes on the surface of the
the substrate;                substrate to detect the electrical activity produced by the heart.




                                           (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                           Page 8 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 463 of 703 PageID #: 1204

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




                                       Page 9 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 464 of 703 PageID #: 1205

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)



                                         Page 10 of 21
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 465 of 703 PageID #: 1206

                                   CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                Accused Instrumentalities
1[c] at least one connection The Accused Instrumentalities include at least one connection pad. The Zio XT satisfies 1[c]
pad;                         because the Zio XT includes various connection pads.




                                 (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                              service/zio-monitors?hsLang=en)




                                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                         Page 11 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 466 of 703 PageID #: 1207

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                    (https://www.irhythmtech.com/patients/myzio/zio-xt)



                                        Page 12 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 467 of 703 PageID #: 1208

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)




               (https://web.archive.org/web/20200520152927/https://www.irhythmtech.com/patients/how-it-works)




                                          Page 13 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 468 of 703 PageID #: 1209

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                             (https://irhythmtech.co.uk/patient/)


                                         Page 14 of 21
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 469 of 703 PageID #: 1210

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                   Accused Instrumentalities
1[d] at least one electrical   The Accused Instrumentalities include at least one electrical trace extending between the at least
trace extending between        one connection pad and a conductive surface of the least one electrode, the at least one electrical
the at least one connection    trace being made at least in part from a resistive material. The Zio XT satisfies 1[d] because the
pad and a conductive           electrodes of the Zio XT detect electrical signals. To function, the electrical signals must be carried
surface of the least one       upstream. In other words, the detected signals must travel from the electrodes to the connection pads.
electrode, the at least one    This is accomplished through the use of an electrical trace made of a resistive material.
electrical trace being made
at least in part from a
resistive material; and




                                    (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                                 service/zio-monitors?hsLang=en)




                                                 (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                            Page 15 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 470 of 703 PageID #: 1211

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                    (https://www.irhythmtech.com/patients/myzio/zio-xt)



                                        Page 16 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 471 of 703 PageID #: 1212

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)




               (https://web.archive.org/web/20200520152927/https://www.irhythmtech.com/patients/how-it-works)




                                          Page 17 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 472 of 703 PageID #: 1213

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/reporting-3)




                                        Page 18 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 473 of 703 PageID #: 1214

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                                             (https://irhythmtech.co.uk/patient/)




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)


                                         Page 19 of 21
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 474 of 703 PageID #: 1215

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                               Accused Instrumentalities
1[e] an insulating layer   The Accused Instrumentalities include an insulating layer covering the flexible printed circuit
covering the flexible      layer. The Zio XT satisfies 1[e] because the Zio XT includes an insulating layer that covers the
printed circuit layer.     printed circuit layer.




                                (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                             service/zio-monitors?hsLang=en)




                                            (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                        Page 20 of 21
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 475 of 703 PageID #: 1216

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 21 of 21
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 476 of 703 PageID #: 1217




                       Exhibit 29
                Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 477 of 703 PageID #: 1218

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 8,965,492 (“the ’492 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Next-generation Zio Monitor by iRhythm (“Zio
Monitor”). The Accused Instrumentalities infringe the identified claims of the ’492 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                    Accused Instrumentalities
 1[pre] A body-worn patient To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 monitoring device          a body-worn patient monitoring device in accordance with this claim. The Zio Monitor satisfies
 comprising:                1[pre] because the Zio Monitor is a physiological sensor worn on the patient’s body. In an example,
                            the Zio Monitor monitors patient ECG signals (i.e., a physiological signal).




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                                             Page 1 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 478 of 703 PageID #: 1219

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         Page 2 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 479 of 703 PageID #: 1220

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        Page 3 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 480 of 703 PageID #: 1221

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (https://vimeo.com/855831164)


                                       Page 4 of 28
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 481 of 703 PageID #: 1222

                                    CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                 Accused Instrumentalities
1[a] a flexible printed      The Accused Instrumentalities include a flexible printed circuit layer made from an insulating
circuit layer made from an   material and defining a substrate. The Zio Monitor satisfies 1[a] because the Zio Monitor includes a
insulating material and      printed circuit layer designed to flexibly adhere to a patient.
defining a substrate;




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                          Page 5 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 482 of 703 PageID #: 1223

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 6 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 483 of 703 PageID #: 1224

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 7 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 484 of 703 PageID #: 1225

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                     (Zio Monitor Teardown Report (“Exhibit A”))




                                           (Zio Monitor Teardown Report)



                                       Page 8 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 485 of 703 PageID #: 1226

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                           (Zio Monitor Teardown Report)




                                           (Zio Monitor Teardown Report)




                                       Page 9 of 28
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 486 of 703 PageID #: 1227

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         Claim 1                                                  Accused Instrumentalities
1[b] at least one electrode   The Accused Instrumentalities include at least one electrode disposed onto a surface of the
disposed onto a surface of    substrate. The Zio Monitor satisfies 1[b] because the Zio Monitor includes two electrodes on the
the substrate;                surface of the substrate to detect the electrical activity produced by the heart.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                           Page 10 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 487 of 703 PageID #: 1228

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 11 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 488 of 703 PageID #: 1229

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 12 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 489 of 703 PageID #: 1230

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 13 of 28
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 490 of 703 PageID #: 1231

                                    CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                 Accused Instrumentalities
1[c] at least one connection The Accused Instrumentalities include at least one connection pad. The Zio Monitor satisfies 1[c]
pad;                         because the Zio Monitor includes various connection pads.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                         Page 14 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 491 of 703 PageID #: 1232

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 15 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 492 of 703 PageID #: 1233

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 16 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 493 of 703 PageID #: 1234

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 17 of 28
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 494 of 703 PageID #: 1235

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          Claim 1                                                    Accused Instrumentalities
1[d] at least one electrical   The Accused Instrumentalities include at least one electrical trace extending between the at least
trace extending between        one connection pad and a conductive surface of the least one electrode, the at least one electrical
the at least one connection    trace being made at least in part from a resistive material. The Zio Monitor satisfies 1[d] because
pad and a conductive           the electrodes of the Zio Monitor detect electrical signals. To function, the electrical signals must be
surface of the least one       carried upstream. In other words, the detected signals must travel from the electrodes to the
electrode, the at least one    connection pads. This is accomplished through the use of an electrical trace made of a resistive
electrical trace being made    material.
at least in part from a
resistive material; and




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                             Page 18 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 495 of 703 PageID #: 1236

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 19 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 496 of 703 PageID #: 1237

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 20 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 497 of 703 PageID #: 1238

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 21 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 498 of 703 PageID #: 1239

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                       Page 22 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 499 of 703 PageID #: 1240

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)


                                       Page 23 of 28
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 500 of 703 PageID #: 1241

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                               Accused Instrumentalities
1[e] an insulating layer   The Accused Instrumentalities include an insulating layer covering the flexible printed circuit
covering the flexible      layer. The Zio Monitor satisfies 1[e] because the Zio Monitor includes an insulating layer that covers
printed circuit layer.     the printed circuit layer.




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                        Page 24 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 501 of 703 PageID #: 1242

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        Page 25 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 502 of 703 PageID #: 1243

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 26 of 28
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 503 of 703 PageID #: 1244

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 504 of 703 PageID #: 1245

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 505 of 703 PageID #: 1246




                       Exhibit 30
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 506 of 703 PageID #: 1247

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 9,155,484 (“the ’484 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio AT Patch Heart Monitor by iRhythm (“Zio
AT”). The Accused Instrumentalities infringe the identified claims of the ’484 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A body-worn           To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 physiological sensor         a body-worn physiological sensor in accordance with this claim. The Zio AT satisfies 1[pre]
 comprising:                  because the Zio AT is a monitoring device that is worn on the patient’s body. In an example, the Zio
                              AT monitors patient ECG, which is a physiological signal.




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                            Page 1 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 507 of 703 PageID #: 1248

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Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                       (https://www.irhythmtech.com/providers/zio-service/ziosuite-patient-management)




                                          Page 2 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 508 of 703 PageID #: 1249

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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 509 of 703 PageID #: 1250

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Claim 1                                           Accused Instrumentalities




                           (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                  (https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-
                                        letters/irhythm-technologies-inc-643474-05252023)




                                           Page 4 of 18
             Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 510 of 703 PageID #: 1251

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 1                                              Accused Instrumentalities




                                     (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)

1[a] a computation-      The Accused Instrumentalities include a computation-communication module including a housing
communication module     retaining a processor. The Zio AT satisfies 1[a] because the Zio AT includes a module that processes
including a housing      collected ECG data and communicates such data to the gateway device. The module includes a
retaining a processor;   housing.




                                     (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                      Page 5 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 511 of 703 PageID #: 1252

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Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 512 of 703 PageID #: 1253

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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 513 of 703 PageID #: 1254

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 514 of 703 PageID #: 1255

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 515 of 703 PageID #: 1256

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Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 516 of 703 PageID #: 1257

                                       CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                     Accused Instrumentalities
1[b] a flexible circuit layer   The Accused Instrumentalities include a flexible circuit layer configured to be coupled to a skin
configured to be coupled to     surface of a subject to measure physiological signals, said computation-communication module
a skin surface of a subject     being attached to the flexible circuit layer. The Zio AT satisfies 1[b] because the Zio AT includes a
to measure physiological        flexible circuit layer “patch” that adheres to the patient. The “patch” includes electrodes for detecting
signals, said computation-      ECG data (i.e., physiological signals). The computation-communication module is attached to the
communication module            circuit layer.
being attached to the
flexible circuit layer;




                                                  (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                             (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


                                                              Page 11 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 517 of 703 PageID #: 1258

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 518 of 703 PageID #: 1259

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)


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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 519 of 703 PageID #: 1260

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                 Accused Instrumentalities




                                            (https://fccid.io/2AFBP-AT17P/Internal-Photos/Internal-Photos-3392984)

1[c] an adhesive covering     The Accused Instrumentalities include an adhesive covering at least a portion of the flexible circuit
at least a portion of the     layer. The Zio AT satisfies 1[c] because the Zio AT includes an adhesive covering on the flexible
flexible circuit layer; and   circuit layer. This adhesive layer allows the Zio AT to adhere to the patient.




                                               (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                           Page 14 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 520 of 703 PageID #: 1261

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 15 of 18
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 521 of 703 PageID #: 1262

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                Accused Instrumentalities




                                           (https://fccid.io/2AFBP-AT17P/Internal-Photos/Internal-Photos-3392984)




                                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)
1[d] a protective covering    The Accused Instrumentalities include a protective covering that protects the adhesive. The Zio AT
that protects the adhesive.   satisfies 1[d] because the Zio AT includes a protective covering over the adhesive.




                                               (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                          Page 16 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 522 of 703 PageID #: 1263

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-AT17P/Internal-Photos/Internal-Photos-3392984)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                         Page 17 of 18
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 523 of 703 PageID #: 1264

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                                          (https://fliphtml5.com/mmax/fttb/basic)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 18 of 18
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 524 of 703 PageID #: 1265




                       Exhibit 31
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 525 of 703 PageID #: 1266

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 9,155,484 (“the ’484 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio XT Patch Heart Monitor by iRhythm (“Zio
XT”). The Accused Instrumentalities infringe the identified claims of the ’484 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A body-worn           To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 physiological sensor         a body-worn physiological sensor in accordance with this claim. The Zio XT satisfies 1[pre]
 comprising:                  because the Zio XT is a monitoring device that is worn on the patient’s body. In an example, the Zio
                              XT monitors patient ECG, which is a physiological signal.




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)


                                                            Page 1 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 526 of 703 PageID #: 1267

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




                                       Page 2 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 527 of 703 PageID #: 1268

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


                                          Page 3 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 528 of 703 PageID #: 1269

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                          Page 4 of 23
             Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 529 of 703 PageID #: 1270

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 1                                              Accused Instrumentalities
1[a] a computation-      The Accused Instrumentalities include a computation-communication module including a housing
communication module     retaining a processor. The Zio XT satisfies 1[a] because the Zio XT includes a module that processes
including a housing      and stores the collected ECG data. The module includes a housing.
retaining a processor;




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                      Page 5 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 530 of 703 PageID #: 1271

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                          Page 6 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 531 of 703 PageID #: 1272

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)



                                          Page 7 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 532 of 703 PageID #: 1273

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




               (https://web.archive.org/web/20200520152927/https://www.irhythmtech.com/patients/how-it-works)




                                          Page 8 of 23
                  Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 533 of 703 PageID #: 1274

                                            CONFIDENTIAL – ATTORNEY WORK PRODUCT


            Claim 1                                                            Accused Instrumentalities




                                                                           (https://irhythmtech.co.uk/patient/)




                                                   (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf) 1


1
 While this references the Zio-AT Clinical Reference Manual, upon information and belief, material within the Zio-AT Clinical Reference Manual is also
applicable to the Zio XT.

                                                                       Page 9 of 23
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 534 of 703 PageID #: 1275

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          Claim 1                                                     Accused Instrumentalities
1[b] a flexible circuit layer   The Accused Instrumentalities include a flexible circuit layer configured to be coupled to a skin
configured to be coupled to     surface of a subject to measure physiological signals, said computation-communication module
a skin surface of a subject     being attached to the flexible circuit layer. The Zio XT satisfies 1[b] because the Zio XT includes a
to measure physiological        flexible circuit layer “patch” that adheres to the patient. The “patch” includes electrodes for detecting
signals, said computation-      ECG data (i.e., physiological signals). The computation-communication module is attached to the
communication module            circuit layer.
being attached to the
flexible circuit layer;




                                  (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                              Page 10 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 535 of 703 PageID #: 1276

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




                                       Page 11 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 536 of 703 PageID #: 1277

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                    (https://www.irhythmtech.com/patients/myzio/zio-xt)


                                        Page 12 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 537 of 703 PageID #: 1278

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 13 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 538 of 703 PageID #: 1279

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                                              (https://irhythmtech.co.uk/patient/)




               (https://web.archive.org/web/20200520152927/https://www.irhythmtech.com/patients/how-it-works)


                                          Page 14 of 23
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 539 of 703 PageID #: 1280

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          Claim 1                                                 Accused Instrumentalities
1[c] an adhesive covering     The Accused Instrumentalities include an adhesive covering at least a portion of the flexible circuit
at least a portion of the     layer. The Zio XT satisfies 1[c] because the Zio XT includes an adhesive covering on the flexible
flexible circuit layer; and   circuit layer. This adhesive layer allows the Zio XT to adhere to the patient’s skin.




                                                     (https://www.irhythmtech.com/patients/how-it-works)



                                                           Page 15 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 540 of 703 PageID #: 1281

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                    (https://www.irhythmtech.com/patients/myzio/zio-xt)


                                        Page 16 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 541 of 703 PageID #: 1282

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)




                                    (https://www.irhythmtech.com/patients/myzio/zio-xt)


                                         Page 17 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 542 of 703 PageID #: 1283

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Claim 1                                        Accused Instrumentalities




                                   (https://www.irhythmtech.com/patients/myzio/zio-xt)




                                       (https://help.myzio.com/zio-xt-safety.html)




                                       Page 18 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 543 of 703 PageID #: 1284

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 19 of 23
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 544 of 703 PageID #: 1285

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                Accused Instrumentalities
1[d] a protective covering    The Accused Instrumentalities include a protective covering that protects the adhesive. The Zio XT
that protects the adhesive.   satisfies 1[d] because the Zio XT includes a protective covering over the adhesive.




                                                     (https://www.irhythmtech.com/patients/how-it-works)




                                                          Page 20 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 545 of 703 PageID #: 1286

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Claim 1                                        Accused Instrumentalities




                                   (https://www.irhythmtech.com/patients/myzio/zio-xt)




                                   (https://www.irhythmtech.com/patients/myzio/zio-xt)




                                       Page 21 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 546 of 703 PageID #: 1287

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Claim 1                                        Accused Instrumentalities




                                   (https://www.irhythmtech.com/patients/myzio/zio-xt)




                                       (https://help.myzio.com/zio-xt-safety.html)




                                       Page 22 of 23
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 547 of 703 PageID #: 1288

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 23 of 23
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 548 of 703 PageID #: 1289




                       Exhibit 32
                Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 549 of 703 PageID #: 1290

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 9,155,484 (“the ’484 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Next-generation Zio Monitor by iRhythm (the “Zio
Monitor”). The Accused Instrumentalities infringe the identified claims of the ’484 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                    Accused Instrumentalities
 1[pre] A body-worn            To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 physiological sensor          a body-worn physiological sensor in accordance with this claim. The Zio Monitor satisfies 1[pre]
 comprising:                   because the Zio Monitor is a physiological sensor worn on the patient’s body. In an example, the Zio
                               Monitor monitors patient ECG signals (i.e., a physiological signal).




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                                             Page 1 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 550 of 703 PageID #: 1291

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         Page 2 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 551 of 703 PageID #: 1292

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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        Page 3 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 552 of 703 PageID #: 1293

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Claim 1                                       Accused Instrumentalities




                                            (https://vimeo.com/855831164)


                                       Page 4 of 35
             Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 553 of 703 PageID #: 1294

                               CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 1                                             Accused Instrumentalities
1[a] a computation-      The Accused Instrumentalities include a computation-communication module including a housing
communication module     retaining a processor. The Zio Monitor satisfies 1[a] because the Zio Monitor has a computation-
including a housing      communication module that includes a housing retaining a processor.
retaining a processor;




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                     Page 5 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 554 of 703 PageID #: 1295

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         Page 6 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 555 of 703 PageID #: 1296

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                     (Zio Monitor Teardown Report (“Exhibit A”))




                                           (Zio Monitor Teardown Report)



                                       Page 7 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 556 of 703 PageID #: 1297

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                           (Zio Monitor Teardown Report)




                                           (Zio Monitor Teardown Report)




                                       Page 8 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 557 of 703 PageID #: 1298

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                           (Zio Monitor Teardown Report)




                                       Page 9 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 558 of 703 PageID #: 1299

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                         (MAX30003 Datasheet (“Exhibit B”))




                                       Page 10 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 559 of 703 PageID #: 1300

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)


                                       Page 11 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 560 of 703 PageID #: 1301

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)



                                       Page 12 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 561 of 703 PageID #: 1302

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)




                                                (MAX30003 Datasheet)




                                       Page 13 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 562 of 703 PageID #: 1303

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                       Page 14 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 563 of 703 PageID #: 1304

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                         (MAX32666 Datasheet (“Exhibit C”))


                                       Page 15 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 564 of 703 PageID #: 1305

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)



                                       Page 16 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 565 of 703 PageID #: 1306

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)




                                       Page 17 of 35
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 566 of 703 PageID #: 1307

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          Claim 1                                                     Accused Instrumentalities
1[b] a flexible circuit layer   The Accused Instrumentalities include a flexible circuit layer configured to be coupled to a skin
configured to be coupled to     surface of a subject to measure physiological signals, said computation-communication module
a skin surface of a subject     being attached to the flexible circuit layer. The Zio Monitor satisfies 1[b] because the Zio Monitor
to measure physiological        includes a flexible circuit layer “patch” that adheres to the patient. The “patch” includes electrodes
signals, said computation-      for detecting ECG data (i.e., physiological signals). The computation-communication module is
communication module            attached to the flexible circuit layer.
being attached to the
flexible circuit layer;




                                  (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                              Page 18 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 567 of 703 PageID #: 1308

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 568 of 703 PageID #: 1309

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 20 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 569 of 703 PageID #: 1310

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 21 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 570 of 703 PageID #: 1311

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 22 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 571 of 703 PageID #: 1312

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                       Page 23 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 572 of 703 PageID #: 1313

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)


                                       Page 24 of 35
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 573 of 703 PageID #: 1314

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          Claim 1                                                  Accused Instrumentalities
1[c] an adhesive covering     The Accused Instrumentalities include an adhesive covering at least a portion of the flexible circuit
at least a portion of the     layer. The Zio Monitor satisfies 1[c] because the Zio Monitor includes an adhesive covering on the
flexible circuit layer; and   flexible circuit layer. This adhesive layer allows the Zio Monitor to adhere to the patient.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                           Page 25 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 574 of 703 PageID #: 1315

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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)


                                         Page 26 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 575 of 703 PageID #: 1316

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Claim 1                                           Accused Instrumentalities




                                   (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




                                          Page 27 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 576 of 703 PageID #: 1317

                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                           Accused Instrumentalities




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




                                          Page 28 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 577 of 703 PageID #: 1318

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 578 of 703 PageID #: 1319

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 30 of 35
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 579 of 703 PageID #: 1320

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                 Accused Instrumentalities
1[d] a protective covering    The Accused Instrumentalities include a protective covering that protects the adhesive. The Zio
that protects the adhesive.   Monitor satisfies 1[d] because the Zio Monitor includes a protective covering over the adhesive.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                          Page 31 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 580 of 703 PageID #: 1321

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        Page 32 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 581 of 703 PageID #: 1322

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



                                       Page 33 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 582 of 703 PageID #: 1323

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 34 of 35
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 583 of 703 PageID #: 1324

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                       Page 35 of 35
Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 584 of 703 PageID #: 1325




                       Exhibit 33
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 585 of 703 PageID #: 1326

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                 Claim Chart for U.S. Patent No. 10,159,422 (“the ’422 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio AT Patch Heart Monitor by iRhythm (“Zio
AT”). The Accused Instrumentalities infringe the identified claims of the ’422 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A method for          To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 manufacturing a body-        a method for manufacturing a body-worn physiological sensor in accordance with this claim. The
 worn physiological sensor,   Zio AT satisfies 1[pre] because the Zio AT is a sensor worn on the patient’s body. In an example, the
 the method comprising:       Zio AT monitors patient ECG signals (i.e., a physiological signal).




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                            Page 1 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 586 of 703 PageID #: 1327

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)



                                         Page 2 of 22
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 587 of 703 PageID #: 1328

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                   Accused Instrumentalities
1[a] providing a disposable   The Accused Instrumentalities provide a disposable substrate made from an insulating material,
substrate made from an        said substrate comprising. The Zio AT satisfies 1[a] because the Zio AT includes an adhesive patch
insulating material, said     that is a substrate from insulating materials. Further, the “patch” can only be used once. Thus, the
substrate comprising:         “patch” portion of the device is disposable.




                                               (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                           (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


                                                           Page 3 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 588 of 703 PageID #: 1329

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                         Page 4 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 589 of 703 PageID #: 1330

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 5 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 590 of 703 PageID #: 1331

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)

                                         Page 6 of 22
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 591 of 703 PageID #: 1332

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                Accused Instrumentalities
1[b] a flexible printed    The Accused Instrumentalities include a flexible printed circuit board layer made from the
circuit board layer made   insulating material. The Zio AT satisfies 1[b] because the Zio AT includes a “patch” that is a
from the insulating        flexible circuit board layer. The “patch” is made from insulating material.
material;




                                            (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)


                                                        Page 7 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 592 of 703 PageID #: 1333

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 8 of 22
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 593 of 703 PageID #: 1334

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                  Accused Instrumentalities
1[c] at least two electrodes   The Accused Instrumentalities include at least two electrodes disposed on the disposable substrate.
disposed on the disposable     The Zio AT satisfies 1[c] because the Zio AT includes two electrodes on the disposable substrate.
substrate; and




                                           (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                            Page 9 of 22
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 594 of 703 PageID #: 1335

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                             Accused Instrumentalities
1[d] conductive traces   The Accused Instrumentalities include conductive traces defined between the at least two
defined between the at   electrodes. The Zio AT satisfies 1[d] because the Zio AT includes traces between the two electrodes.
least two electrodes;




                                      (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                          (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                                      Page 10 of 22
             Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 595 of 703 PageID #: 1336

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                           Accused Instrumentalities
1[e] providing a          The Accused Instrumentalities provide a computation-communication module. The Zio AT
computation-              satisfies 1[e] because the Zio AT includes a computation-communication module.
communication module,
said module comprising:




                                         (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                     (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)



                                                    Page 11 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 596 of 703 PageID #: 1337

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


                                         Page 12 of 22
                  Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 597 of 703 PageID #: 1338

                                   CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                Accused Instrumentalities
1[f] a housing;              The Accused Instrumentalities include a module having a housing. The Zio AT satisfies 1[f]
                             because the computation-communication module includes a housing.




                                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                        Page 13 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 598 of 703 PageID #: 1339

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)

                                         Page 14 of 22
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 599 of 703 PageID #: 1340

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                              Accused Instrumentalities




                                        (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)

1[g] a processor disposed   The Accused Instrumentalities include a module having a processor disposed in the housing. The
in the housing; and         Zio AT satisfies 1[g] because the Zio AT includes a processor within the housing




                                        (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                       Page 15 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 600 of 703 PageID #: 1341

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)



                                         Page 16 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 601 of 703 PageID #: 1342

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Claim 1                                        Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                        Page 17 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 602 of 703 PageID #: 1343

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)


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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 603 of 703 PageID #: 1344

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                               Accused Instrumentalities
1[h] attaching the          The Accused Instrumentalities attach the computation-communication module to the disposable
computation-                substrate. The Zio AT satisfies 1[h] because the computation-communication module of the Zio AT
communication module to     is attached to the disposable substrate.
the disposable substrate.




                                            (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                        (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                                                       Page 19 of 22
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 604 of 703 PageID #: 1345

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)




                           (https://fccid.io/2AFBP-SR15P/Internal-Photos/internal-photos-2777081)


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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                           (https://fccid.io/2AFBP-AT17P/Internal-Photos/Internal-Photos-3392984)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 606 of 703 PageID #: 1347

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 607 of 703 PageID #: 1348




                       Exhibit 34
               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 608 of 703 PageID #: 1349

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                 Claim Chart for U.S. Patent No. 10,159,422 (“the ’422 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Zio XT Patch Heart Monitor by iRhythm (“Zio
XT”). The Accused Instrumentalities infringe the identified claims of the ’422 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                  Accused Instrumentalities
 1[pre] A method for          To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 manufacturing a body-        a method for manufacturing a body-worn physiological sensor in accordance with this claim. The
 worn physiological sensor,   Zio XT satisfies 1[pre] because the Zio XT is a sensor worn on the patient’s body. In an example, the
 the method comprising:       Zio XT monitors patient ECG signals (i.e. a physiological signal).




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)


                                                            Page 1 of 39
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Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 610 of 703 PageID #: 1351

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Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 611 of 703 PageID #: 1352

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 612 of 703 PageID #: 1353

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                   Accused Instrumentalities
1[a] providing a disposable   The Accused Instrumentalities provide a disposable substrate made from an insulating material.
substrate made from an        The Zio XT satisfies 1[a] because the Zio XT includes an adhesive patch that is a substrate from
insulating material, said     insulating materials. Further, the “patch” can only be used once. Thus, the “patch” portion of the
substrate comprising:         device is disposable.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                                            CONFIDENTIAL – ATTORNEY WORK PRODUCT


            Claim 1                                                            Accused Instrumentalities




                                                   (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf) 1




                                    (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                                            -%20UK.pdf)




1
 While this references the Zio-AT Clinical Reference Manual, upon information and belief, material within the Zio-AT Clinical Reference Manual is also
applicable to the Zio XT.

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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         (https://help.myzio.com/zio-xt-safety.html)




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                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                Accused Instrumentalities
1[b] a flexible printed    The Accused Instrumentalities include a flexible printed circuit board layer made from the
circuit board layer made   insulating material. The Zio XT satisfies 1[b] because the Zio XT includes a “patch” that is a
from the insulating        flexible circuit board layer. The “patch” is made from insulating material.
material;




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




               (https://www.innovationagencyexchange.org.uk/sites/default/files/Zio%20XT%20Start%20Guide%20
                                                       -%20UK.pdf)




                                         Page 13 of 39
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 621 of 703 PageID #: 1362

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         (https://help.myzio.com/zio-xt-safety.html)




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                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                  Accused Instrumentalities
1[c] at least two electrodes   The Accused Instrumentalities include at least two electrodes disposed on the disposable substrate.
disposed on the disposable     The Zio XT satisfies 1[c] because the Zio XT includes two electrodes on the disposable substrate.
substrate; and




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                             Accused Instrumentalities
1[d] conductive traces   The Accused Instrumentalities include conductive traces defined between the at least two
defined between the at   electrodes. The Zio XT satisfies 1[d] because the Zio XT includes conductive traces between the two
least two electrodes;    electrodes.




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                          (https://fccid.io/2AFBP-AT18G/User-Manual/User-Manual-2-3875381.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                           Accused Instrumentalities
1[e] providing a          The Accused Instrumentalities provide a computation-communication module. The Zio XT
computation-              satisfies 1[e] because the Zio XT includes a computation-communication module.
communication module,
said module comprising:




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


                                         Page 25 of 39
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 633 of 703 PageID #: 1374

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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                  Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 634 of 703 PageID #: 1375

                                   CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                Accused Instrumentalities
1[f] a housing;              The Accused Instrumentalities include a module having a housing. The Zio XT satisfies 1[f]
                             because the computation-communication module includes a housing.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 637 of 703 PageID #: 1378

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)


                                         Page 30 of 39
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 638 of 703 PageID #: 1379

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                              Accused Instrumentalities
1[g] a processor disposed   The Accused Instrumentalities include a module having a processor disposed in the housing. The
in the housing; and         Zio XT satisfies 1[g] because the Zio XT includes a processor within the housing




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 641 of 703 PageID #: 1382

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)


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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 642 of 703 PageID #: 1383

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                               Accused Instrumentalities
1[h] attaching the          The Accused Instrumentalities attach the computation-communication module to the disposable
computation-                substrate. The Zio XT satisfies 1[h] because the computation-communication module of the Zio XT
communication module to     is attached to the disposable substrate.
the disposable substrate.




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                       Page 35 of 39
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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                  (https://www.irhythmtech.com/patients/how-it-works)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 644 of 703 PageID #: 1385

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)


                                         Page 37 of 39
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 645 of 703 PageID #: 1386

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                          Accused Instrumentalities




                   (https://web.archive.org/web/20230130043111/https://www.irhythmtech.com/providers/zio-
                                                service/zio-monitors?hsLang=en)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 646 of 703 PageID #: 1387

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                       Exhibit 35
                Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 648 of 703 PageID #: 1389

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


                                  Claim Chart for U.S. Patent No. 10,159,422 (“the ’422 Patent”)

        The Accused Instrumentalities include, but are not necessarily limited to, the Next-generation Zio Monitor by iRhythm (“Zio
Monitor”). The Accused Instrumentalities infringe the identified claims of the ’422 Patent, as described below, either directly under 35
U.S.C. § 271(a), or indirectly under 35 U.S.C. §§ 271(b)–(c). The Accused Instrumentalities infringe such claims literally and, to the
extent not literally, under the doctrine of equivalents.

          Claim 1                                                    Accused Instrumentalities
 1[pre] A method for           To the extent that the preamble is deemed to be a limitation, the Accused Instrumentalities include
 manufacturing a body-         a method for manufacturing a body-worn physiological sensor in accordance with this claim. The
 worn physiological sensor,    Zio Monitor satisfies 1[pre] because the Zio Monitor is a physiological sensor worn on the patient’s
 the method comprising:        body. In an example, the Zio Monitor monitors patient ECG signals (i.e., a physiological signal).




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 1                                        Accused Instrumentalities




                             (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 1                                       Accused Instrumentalities




                                            (https://vimeo.com/855831164)


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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                     (Zio Monitor Teardown Report (“Exhibit A”))




                                           (Zio Monitor Teardown Report)



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Claim 1                                       Accused Instrumentalities




                                           (Zio Monitor Teardown Report)




                                           (Zio Monitor Teardown Report)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                           (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 655 of 703 PageID #: 1396

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                         (MAX30003 Datasheet (“Exhibit B”))


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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 656 of 703 PageID #: 1397

                                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                                   Accused Instrumentalities
1[a] providing a disposable   The Accused Instrumentalities provide a disposable substrate made from an insulating material,
substrate made from an        said substrate comprising. The Zio Monitor satisfies 1[a] because the Zio Monitor includes an
insulating material, said     adhesive patch that is a substrate. The adhesive patch is made from insulating materials. Further, the
substrate comprising:         adhesive patch can only be used once. Thus, the adhesive patch of the device is disposable.




                                (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                            Page 9 of 56
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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                         Page 10 of 56
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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 659 of 703 PageID #: 1400

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 12 of 56
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 660 of 703 PageID #: 1401

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                           Accused Instrumentalities




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)


                                          Page 14 of 56
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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)


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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 663 of 703 PageID #: 1404

                                  CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                               Accused Instrumentalities
1[b] a flexible printed    The Accused Instrumentalities include a flexible printed circuit board layer made from the
circuit board layer made   insulating material. The Zio Monitor satisfies 1[b] because the Zio Monitor includes a “patch”
from the insulating        portion that is a flexible circuit board layer. The “patch” is made from insulating material.
material;




                             (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                         Page 18 of 56
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 666 of 703 PageID #: 1407

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 667 of 703 PageID #: 1408

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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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               Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 668 of 703 PageID #: 1409

                                      CONFIDENTIAL – ATTORNEY WORK PRODUCT


          Claim 1                                                  Accused Instrumentalities
1[c] at least two electrodes   The Accused Instrumentalities include at least two electrodes disposed on the disposable substrate.
disposed on the disposable     The Zio Monitor satisfies 1[c] because the Zio Monitor includes two electrodes on the disposable
substrate; and                 substrate.




                                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                           Page 21 of 56
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 669 of 703 PageID #: 1410

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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



                                         Page 22 of 56
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 670 of 703 PageID #: 1411

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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 671 of 703 PageID #: 1412

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




                                       Page 24 of 56
              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 672 of 703 PageID #: 1413

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                             Accused Instrumentalities
1[d] conductive traces   The Accused Instrumentalities include conductive traces defined between the at least two
defined between the at   electrodes. The Zio Monitor satisfies 1[d] because the Zio Monitor includes traces between the two
least two electrodes;    electrodes.




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                                     Page 25 of 56
    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 673 of 703 PageID #: 1414

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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 674 of 703 PageID #: 1415

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 675 of 703 PageID #: 1416

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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 676 of 703 PageID #: 1417

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 677 of 703 PageID #: 1418

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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)


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             Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 678 of 703 PageID #: 1419

                                CONFIDENTIAL – ATTORNEY WORK PRODUCT


        Claim 1                                             Accused Instrumentalities
1[e] providing a          The Accused Instrumentalities provide a computation-communication module. The Zio Monitor
computation-              satisfies 1[e] because the Zio Monitor includes a computation-communication module.
communication module,
said module comprising:




                           (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                          (https://www.irhythmtech.com/providers/zio-service/zio-monitors)



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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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                  Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 681 of 703 PageID #: 1422

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         Claim 1                                                Accused Instrumentalities
1[f] a housing;              The Accused Instrumentalities include a module having a housing. The Zio Monitor satisfies 1[f]
                             because the computation-communication module includes a housing.




                               (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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              Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 684 of 703 PageID #: 1425

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         Claim 1                                              Accused Instrumentalities
1[g] a processor disposed   The Accused Instrumentalities include a module having a processor disposed in the housing. The
in the housing; and         Zio Monitor satisfies 1[g] because the Zio Monitor includes a processor within the housing




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                            (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




                                                       Page 37 of 56
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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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    Case 1:24-cv-00224-MN Document 12-1 Filed 04/24/24 Page 687 of 703 PageID #: 1428

                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)




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Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)


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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)



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                     CONFIDENTIAL – ATTORNEY WORK PRODUCT


Claim 1                                       Accused Instrumentalities




                                                (MAX30003 Datasheet)




                                                (MAX30003 Datasheet)




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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




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Claim 1                                       Accused Instrumentalities




                                         (MAX32666 Datasheet (“Exhibit C”))


                                       Page 46 of 56
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Claim 1                                       Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)



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Claim 1                                       Accused Instrumentalities




                                                (MAX32666 Datasheet)




                                                (MAX32666 Datasheet)




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                                   CONFIDENTIAL – ATTORNEY WORK PRODUCT


         Claim 1                                               Accused Instrumentalities
1[h] attaching the          The Accused Instrumentalities attach the computation-communication module to the disposable
computation-                substrate. The Zio Monitor satisfies 1[h] because the computation-communication module of the Zio
communication module to     Monitor is attached to the disposable substrate.
the disposable substrate.




                              (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                              (https://www.irhythmtech.com/providers/zio-service/zio-monitors)




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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)



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Claim 1                                       Accused Instrumentalities




                                            (Zio Monitor Teardown Report)




                                            (Zio Monitor Teardown Report)




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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




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Claim 1                                         Accused Instrumentalities




                 (https://s201.q4cdn.com/653785554/files/doc_downloads/V4_-_iRhythm_ESG_Report_2023.pdf)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




                                  (https://www.irhythmtech.com/patients/myzio/zio-monitor)




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Claim 1                                           Accused Instrumentalities




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)




                  (https://www.mddionline.com/cardiovascular/behind-the-design-how-irhythm-built-its-new-zio-
                                                          monitor)



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